Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 Page 1 of 175 Page ID
                                   #:3520



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12
     Attorneys for Plaintiffs and the Settlement Class
13
     [LIST OF ADDITIONAL COUNSEL ON SIGNATURE PAGE]
14
                             UNITED STATES DISTRICT COURT
15
                            CENTRAL DISTRICT OF CALIFORNIA
16
     In re: Hyundai and Kia Engine Litigation,           8:17-cv-00838-JLS-JDE
17

18                                                       Related Cases:
                                                         8:17-cv-01365-JLS-JDE
19
                                                         8:17-cv-02208-JLS-JDE
20                                                       2:18-cv-05255-JLS-JDE
                                                         8:18-cv-00622-JLS-JDE
21
                                                         8:18-cv-02223-JLS-JDE
22
                                                         DECLARATION OF STEVE W.
23
                                                         BERMAN IN SUPPORT OF
24                                                       PLAINTIFFS’ UNOPPOSED
25
                                                         MOTION FOR CLASS COUNSEL
                                                         FEE AND EXPENSE AWARD
26                                                       AND CLASS REPRESENTATIVE
27
                                                         SERVICE AWARDS

28


     010789-11/1347158 V1
Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 Page 2 of 175 Page ID
                                   #:3521



 1                                                Hon. Josephine L. Staton
 2
                                                  Courtroom 10A

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     010789-11/1347158 V1
Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 Page 3 of 175 Page ID
                                   #:3522



 1            I, STEVE W. BERMAN, declare as follows:
 2            1.       I am an attorney admitted pro hac vice in this litigation, the managing
 3   partner of the law firm Hagens Berman Sobol Shapiro LLP (“Hagens Berman”), and
 4   counsel of record for Plaintiffs Danny Dickerson, Robert Fockler, Amy Franklin,
 5   Donald House, Dave Loomis, Joseph McCallister, Arron Miller, Ricky Montoya,
 6   Lynn North, Mark Rice, Reid Schmitt, James Smith, and Chris Stackhouse (the
 7   “Flaherty Settling Plaintiffs”) in Flaherty v. Hyundai Motor Company, et al., No. 18-
 8   cv-02223 (C.D. Cal.). I could and would competently testify to the matters stated in
 9   this Declaration based on my personal knowledge or discussions with counsel in my
10   firm.
11            2.       I submit this Declaration in support of Plaintiffs’ Unopposed Motion for
12   Class Counsel Fee and Expense Award and Class Representative Service Awards,
13   which seeks $6,900,000 in attorneys’ fees and actual costs up to $175,000 in
14   connection with the class action settlement (“Settlement”) preliminarily approved by
15   this Court on May 7, 2020. (Doc. No. 132)
16            3.       This Court appointed me to serve as Class Counsel alongside Matthew
17   Schelkopf of Sauder Schelkopf, Adam Gonnelli of The Sultzer Law Group, and
18   Bonner Walsh of Walsh PLLC in its May 7, 2020 Order conditionally approving
19   Plaintiffs’ Motion for Preliminary Approval of Class Settlement. Id.
20   A.       HAGENS BERMAN’S EXPERIENCE AND QUALIFICATIONS
21            4.       As demonstrated by our firm résumé, attached as Exhibit 1, Hagens
22   Berman is among the most experienced and skilled practitioners in the complex
23   litigation field, and has a long and successful track record in such cases. Hagens
24   Berman is a nationally recognized law firm, with offices in Berkeley, Seattle, Boston,
25   Chicago, Los Angeles, Washington D.C., and Phoenix. We are consistently rated by
26   the National Law Journal as a top-ten plaintiffs’ firm in the country. The firm has
27   extensive experience litigating complex class actions asserting claims of securities,
28
     DECL. OF STEVE W. BERMAN ISO PLTFS.’ UNOPPOSED MOT. FOR CLASS COUNSEL FEE
     AND EXPENSE AWARD AND CLASS REPRESENTATIVE SERVICE AWARDS - 1
     010789-11/1347158 V1
Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 Page 4 of 175 Page ID
                                   #:3523



 1   investment fraud, product liability, tort, antitrust, consumer fraud, employment,
 2   environmental, and ERISA cases. Hagens Berman has been approved by courts to
 3   serve as class counsel in hundreds of class actions, including cases in this District.
 4   Moreover, the fact that Hagens Berman has demonstrated a willingness and ability to
 5   prosecute complex cases such as this was undoubtedly a factor that encouraged
 6   Defendants to engage in settlement discussions, and added valuable leverage in the
 7   negotiations, ultimately resulting in the recovery for the Class.
 8            5.        I have significant experience prosecuting consumer class action cases
 9   against automotive companies, including the following:
10                  Appointed as Co-Lead Counsel in In re General Motors LLC Ignition
11                   Switch Litig., No. 14-md-02543-JMF (S.D.N.Y), on behalf of millions of
                     former and current GM vehicle owners and lessees related to an ignition
12                   switch defect concealed by GM that resulted in economic loss, injury, and
13                   death. The court preliminarily approved a joint settlement of this case and
                     the ancillary bankruptcy action against GM’s former entity, General
14                   Motors Corp.
15
                    Appointed as Co-Lead Counsel in In re Toyota Motor Corp. Unintended
16                   Acceleration Marketing, Sales Practices, and Products Liability Litig.,
17                   No. 8:10-ml-02151-JVS-FMO (C.D. Cal.), on behalf of Toyota owners
                     alleging a defect causes vehicles to undergo sudden, unintended
18                   acceleration. The case settled and the settlement package was valued at
19                   up to $1.6 billion, which was at the time the largest automotive settlement
                     in history.
20

21                  Appointed as Co-Lead Counsel in In re MyFord Touch Consumer
                     Litigation, No. 3:13-cv-03072-EMC (N.D. Cal.), on behalf of owners of
22                   Ford vehicles equipped with MyFord Touch, an in-car communication
23                   and entertainment package, who claim that the system is flawed, putting
                     drivers at risk of an accident while causing economic hardship for
24                   owners. A federal judge overseeing the case recently certified nine
25                   subclasses of owners of affected vehicles in various states.

26                  Appointed as Co-Class Counsel in Meyer v. Nissan North America, Inc.,
27
                     No. BC 263136 (Super. Ct. Cal.), on behalf of Nissan Quest minivan
                     owners who alleged that their vehicles developed deposits in a part of the
28
     DECL. OF STEVE W. BERMAN ISO PLTFS.’ UNOPPOSED MOT. FOR CLASS COUNSEL FEE
     AND EXPENSE AWARD AND CLASS REPRESENTATIVE SERVICE AWARDS - 2
     010789-11/1347158 V1
Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 Page 5 of 175 Page ID
                                   #:3524



 1                     engine, causing drivers to apply increased pressure to push the accelerator
 2
                       down. The case settled, providing reimbursement for cleanings or
                       replacements and applicable warranty coverage.
 3
                    Appointed as Co-Settlement Class Counsel in In re Hyundai and Kia
 4
                     Fuel Economy Litigation, No. 2:13-md-2424-GW-FFM (C.D. Cal.), on
 5                   behalf of owners after the car manufacturers allegedly overstated the
 6
                     MPG fuel economy ratings on 900,000 of its cars. The case resulted in a
                     $255 million settlement. Lump-sum payment plan worth $400 million on
 7                   a cash basis, and worth even more if owners opt for store credit (150
 8
                     percent of cash award) or new car discount (200 percent of cash award)
                     options. In 2018 and 2019, I successfully petitioned for en banc review of
 9                   an adverse Ninth Circuit panel decision, argued, and obtained full
10
                     affirmance of the settlement. See In re Hyundai & Kia Fuel Econ. Litig.,
                     926 F.3d 539, 552 (9th Cir. 2019).
11

12
                    In Braverman v. BMW of North America, LLC, No. 8:16-cv-00966 (C.D.
                     Cal.), I represent BMW owners in a national class action lawsuit
13                   following reports that BMW’s i3 REx model electric cars contain a defect
14
                     that causes them to suddenly and without warning lose speed and power
                     mid-drive, putting drivers and passengers at risk of crash and injury. The
15                   class was recently certified.
16
                    Appointed to Plaintiffs’ Steering Committee in In re FCA US LLC
17                   Monostable Electronic Gearshift Litig., No. 2:16-md-02744-DML-DRG
                     (E.D. Mich.), on behalf of owners of Jeep Grand Cherokee, Chrysler 300,
18
                     and Dodge Charger vehicles alleging Fiat Chrysler fraudulently
19                   concealed and failed to remedy a design defect in 811,000 vehicles that
20
                     can cause cars to roll away after they are parked, causing injuries,
                     accidents and other serious unintended consequences. The class was
21                   certified in part late last year.
22
                    In Tershakovec v. Ford Motor Co., No. 1:17-cv-21087 (S.D. Fla.), I
23                   represent owners of certain 2016 Shelby GT350 Mustang models in a
                     case alleging that Ford sold these vehicles as track cars built to reach and
24
                     sustain high speeds, but failed to disclose that the absence of a
25                   transmission and differential coolers can greatly diminish the vehicle’s
                     reported track capabilities. Shelby owners are reporting that this defect
26
                     causes the vehicle to overheat and go into limp mode while in use, even
27                   when the car is not being tracked. The case is pending.
28
     DECL. OF STEVE W. BERMAN ISO PLTFS.’ UNOPPOSED MOT. FOR CLASS COUNSEL FEE
     AND EXPENSE AWARD AND CLASS REPRESENTATIVE SERVICE AWARDS - 3
     010789-11/1347158 V1
Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 Page 6 of 175 Page ID
                                   #:3525



 1                  Appointed as Class Counsel in Sheikh v. Tesla Motors, Inc., No. 5:17-cv-
 2                   02193-BLF (N.D. Cal.), on behalf of Tesla owners in a lawsuit against
                     the automaker for knowingly selling nearly 50,000 cars with
 3                   nonfunctional Enhanced Autopilot AP2.0 software that still has not met
 4                   Tesla’s promises, including inoperative Standard Safety Features on
                     affected models sold in Q4 2016 and Q1 2017. Preliminary approval was
 5                   granted in June 2018.
 6
                    I also have extensive experience litigating automotive emissions cheating
 7                   cases, such as: Volkswagen Diesel Emissions Litig., No. 3:15-md-02672-
 8                   CRB (N.D. Cal.) (Plaintiffs’ Steering Committee); Volkswagen Dealers
                     Litig., No. 3:15-md-02672-CRB (N.D. Cal.) (Class Counsel); Albers v.
 9                   Mercedes-Benz USA, LLC, No. 2:16-cv-00881-JLL-JAD (D.N.J.)
10                   (Interim Class Counsel); Counts v. General Motors LLC (“Chevy Cruze
                     Diesel Emissions Litig.), No. 1:16-cv-12541-TLL-PTM (E.D. Mich.); In
11                   re Chrysler-Dodge-Jeep Ecodiesel Marketing Sales Practices, and
12                   Products Liability Litig., No. 3:17-md-02777-EMC (N.D. Cal.)
                     (Plaintiffs’ Steering Committee); Bledsoe v. FCA US LCC, No. 4:16-cv-
13                   14024-TGB-RSW (E.D. Mich.); In re Duramax Diesel Litig., No. 1:17-
14                   cv-11661-TLL-PTM (E.D. Mich.).

15   B.       WORK PERFORMED BY HAGENS BERMAN
16
              6.       On December 14, 2018, after undertaking an investigation, Hagens
17
     Berman filed a class action in this District on behalf of the Flaherty Settling Plaintiffs
18
     against Hyundai Motor America (“HMA”), Hyundai Motor Company (“HMC”), Kia
19
     Motors Corporation (“KMC”), and Kia Motors America (“KMA”) (collectively
20
     “Defendants”), asserting claims for violations of the California Consumer Legal
21
     Remedies Act, the California Unfair Competition Law, the California False
22
     Advertising Law, and the Song-Beverly Act.1 Flaherty alleged Defendants’ flawed
23

24
          1
          My co-Class Counsel filed the following the proposed nationwide class actions:
25
     Centko and Lazar v. Kia Motors America, Inc., No. 8:17-cv-00838 (C.D. Cal.) on
26   May 10, 2017; Stanczak and Creps v. Kia Motors America, Inc. et al., No. 8:17-cv-
     1365 (C.D. Cal.) on August 8, 2017; Kinnick and Coats v. Hyundai Motor Company,
27
     et al., No. 8:17-cv-02208 (C.D. Cal.) on December 19, 2017; Brogan v. Hyundai
28   Motor America, et al., No. 8:17-cv-00622 (C.D. Cal) on January 23, 2018; Smolek v.
     DECL. OF STEVE W. BERMAN ISO PLTFS.’ UNOPPOSED MOT. FOR CLASS COUNSEL FEE
     AND EXPENSE AWARD AND CLASS REPRESENTATIVE SERVICE AWARDS - 4
     010789-11/1347158 V1
Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 Page 7 of 175 Page ID
                                   #:3526



 1   design and/or manufacturing processes resulted in the production and sale of Hyundai
 2   and Kia vehicles with defective Theta II GDI engines. These engines are prone to
 3   premature and irregular engine wear that, if not caught early, can result in sudden and
 4   catastrophic engine failure, and in some instances engine fire.
 5            7.       Hagens Berman’s pre-filing investigation included extensive review of
 6   publically available documents and research into Class Vehicles and their GDI
 7   engines, the scope of affected vehicles, identifying the defect and its mechanism,
 8   reported incidents of defect manifestation, the probability of such manifestation, the
 9   scope and effectiveness of existing recalls, and vehicle owner experiences. Before
10   filing, Hagens Berman also hired an expert to inspect Class Vehicles and opine on the
11   defect and its cause.
12            8.       Hagens Berman amended Flaherty twice, on January 10, 2019, and May
13   1, 2019, to include additional Plaintiffs and vehicles based on our continued
14   investigations described above and expert work.
15            9.       Throughout this litigation, our expert conducted at least five inspections
16   of Class Representative or prospective representatives’ vehicles, and purchased
17   numerous other exemplar vehicles for further inspection and testing. Hagens Berman
18   regularly communicated with and relied on this expert in conducting discovery of
19   Defendants and engaging in settlement negotiations.
20            10.      Besides the independent investigations conducted by my firm and co-
21   Class Counsel, the Parties engaged in confirmatory discovery over the course of 2019.
22   Defendants produced, and Plaintiffs’ counsel reviewed, thousands of pages of internal
23   documents relating to the Class Vehicles’ Theta II GDI engine design, engineering,
24   manufacturing, and pre- and post-production testing.
25

26
     Hyundai Motor America, et al., No. 2:18-cv-05255 (C.D. Cal.) on April 16, 2018. On
27
     August 7, 2018, the Court ordered these cases consolidated as In re Hyundai and Kia
28   Engine Litigation, No. 8:17-cv-00838 (C.D. Cal.) (ECF No. 85).
     DECL. OF STEVE W. BERMAN ISO PLTFS.’ UNOPPOSED MOT. FOR CLASS COUNSEL FEE
     AND EXPENSE AWARD AND CLASS REPRESENTATIVE SERVICE AWARDS - 5
     010789-11/1347158 V1
Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 Page 8 of 175 Page ID
                                   #:3527



 1            11.      Hagens Berman and co-Class Counsel jointly deposed two key HMC
 2   employees—a manufacturing executive and a lead research and design engineer—both
 3   of whom traveled from South Korea for their deposition. The depositions lasted for
 4   two days and covered hundreds of pages of documents produced by Defendants during
 5   confirmatory discovery. Plaintiffs’ counsel were in frequent, separate contact by
 6   phone and email with Defendants’ counsel during this time to discuss substantive
 7   settlement issues and ongoing discovery efforts.
 8            12.      Hagens Berman separately met and conferred with Defendants’
 9   representatives in person, by phone, and in writing for several months before
10   coordinating efforts with co-Class Counsel, which resulted in additional modifications
11   and enhancements to the proposed settlement such as an expanded class (to encompass
12   all vehicles outfitted with Theta II GDI engines), additional goodwill and
13   reimbursement payments, and a vehicle rebate.
14            13.      Once the Settlement was reached in principle, Class Counsel spent
15   months drafting and revising the Settlement Agreement and conferring with defense
16   counsel. We briefed preliminary approval, attended the preliminary approval hearing,
17   revised the Settlement and filed supplemental briefing as needed or at the Court’s
18   directive. We supervised Notice and creation of the Settlement websites. We are
19   currently fielding Class member inquiries and objections regarding the Settlement.
20   C.       HAGENS BERMAN LODESTAR AND EXPENSES
21            14.      Rule 23(h) of the Federal Rules of Civil Procedure provides in relevant
22   part that “[i]n a certified class action, the court may award reasonable attorney’s fees
23   and nontaxable costs that are authorized by law or by the parties’ agreement.” Class
24   Counsel seeks $6,900,000 in fees and actual costs up to $175,000 that Defendants
25   agreed to pay in connection with the Settlement.
26

27

28
     DECL. OF STEVE W. BERMAN ISO PLTFS.’ UNOPPOSED MOT. FOR CLASS COUNSEL FEE
     AND EXPENSE AWARD AND CLASS REPRESENTATIVE SERVICE AWARDS - 6
     010789-11/1347158 V1
Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 Page 9 of 175 Page ID
                                   #:3528



 1            15.      Hagens Berman attorneys and staff keep detailed, contemporaneous time
 2   records in all cases, including here. Time is billed in one-tenth of an hour increments,
 3   captured and submitted electronically on a daily basis, and audited for accuracy.
 4            16.      Hagens Berman’s hourly rates are the same as those charged for services
 5   in non-contingent matters, and federal courts throughout the country have approved
 6   Hagen Berman’s standard billing rates and reimbursement of costs as reasonable.2
 7            17.      As of September 25, 2020, Hagens Berman has spent 1730.50 hours
 8   litigating this case, for a total firm lodestar of $810,500. A summary of hours incurred
 9   by timekeeper, with respective rates and roles included, is below:
10            Timekeeper                 Role          Rate       Hours     Lodestar
      Aragon, Leonard              Partner            $650.00       2.30     $1,495.00
11
      Berman, Steve                Partner           $1,075.00     62.50    $67,187.50
12    Byszewski, Elaine            Partner            $700.00      11.50     $8,050.00
      Carey, Rob                   Partner            $800.00     114.50    $91,600.00
13
      DeStefano, John              Associate          $550.00       0.60      $330.00
14    Fitzpatrick, Rachel          Associate          $475.00    1095.20   $520,220.00
      Matt, Sean                   Partner            $800.00       4.00     $3,200.00
15

16    Conte, Jennifer              Paralegal          $300.00       2.30      $690.00
      Flexer, Carrie               Paralegal          $300.00       1.00      $300.00
17    Garcia, Adrian               Legal Assistant    $175.00      37.70     $6,597.50
      Gibson, Beth                 Paralegal          $290.00     167.10    $48,459.00
18
      Grueneich, Nicolle           Paralegal          $250.00      15.40     $3,850.00
19    Haegele, Robert              Paralegal          $250.00      26.80     $6,700.00
      Henson, Leigha               Paralegal          $250.00      71.20    $17,800.00
20
      Johnson, Cindy               Paralegal          $290.00      12.00     $3,480.00
21    Lovell, Chan                 Legal Assistant    $175.00       0.80      $140.00
      Pearce, Susan                Paralegal          $290.00     102.10    $29,609.00
22
      Schaaf, Chad                 Legal Assistant    $175.00       0.60      $105.00
23
         2
24        See, e.g., In re McKesson Corp. Derivative Litig., No. 4:17-cv-01850-CW (N.D.
     Cal. Apr. 22, 2020), Doc. 231-1 at 9-10; In re Hyundai and Kia Fuel Economy Litig.,
25
     2:13-ml-02424-GW-FFM (C.D. Cal. Nov. 14, 2019), Doc. 593 at 1; In re Celebrex
26   (Celecoxib) Antitrust Litig., No. 2:14-cv-00361-AWA-DEM (E.D. Va. April 18,
     2018), Doc. 630 at 6-10; In re Toyota Motor Corp. Unintended Acceleration
27
     Marketing, Sales Practices, and Products Liability Litig., No. 8:10-ml-02151-JVS-
28   FMO (C.D. Cal. July 24, 2013), Doc. 3933 at Attachment 2.
     DECL. OF STEVE W. BERMAN ISO PLTFS.’ UNOPPOSED MOT. FOR CLASS COUNSEL FEE
     AND EXPENSE AWARD AND CLASS REPRESENTATIVE SERVICE AWARDS - 7
     010789-11/1347158 V1
Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 Page 10 of 175 Page ID
                                    #:3529



 1            Timekeeper                  Role            Rate       Hours   Lodestar
      Skoda, Kennedy                Paralegal            $230.00       1.90     $437.00
 2
      Taylor, Shelby                Paralegal            $250.00       1.00     $250.00
 3    TOTALS:                                                       1730.50 $810,500.00

 4
              18.      As a general rule, our firm implements internal protocols and procedures
 5
     to strive for efficient, cost-effective, and quality work. We delegate tasks appropriately
 6
     among partners, associate attorneys, paralegals, and other staff according to
 7
     complexity, and with the goal to avoid unnecessary or duplicative work.
 8
              19.      As of September 25, 2020, Hagens Berman incurred $48,220.72 in costs
 9
     attributable to this litigation. A summary of these costs by category is below:
10                                Expense Category                            Amount
11    Federal Express / UPS, etc.                                               $810.27
      Messenger / Process Server                                              $1,156.40
12    In‐House Photocopying                                                     $203.25
13    Hotels                                                                    $597.98
      Meals                                                                     $119.56
14    Air Travel                                                              $1,938.12
      Ground Transportation (i.e., Uber, rental car)                            $331.60
15
      Deposition Costs / Transcripts                                          $1,793.95
16    Online Services / Legal Research (i.e., Westlaw, PACER, Everlaw)        $4,543.02
      Court Fees                                                              $1,260.63
17
      Expert Fees                                                            $23,870.94
18    Investigation Fees / Service Fees                                         $945.00
      Mediation Fees                                                         $10,650.00
19    TOTALS:                                                                $48,220.72
20
              20.      It is Hagens Berman’s policy and practice to prepare records from
21
     expense invoices, check and credit card records, and other source materials. Based on
22
     my oversight of our firm’s work in this litigation and my review of these records, I
23
     believe they constitute an accurate record of the expenses actually incurred by our
24
     firm.
25
              21.      In my professional opinion, these costs are typical and reasonable. The
26
     largest cost to date is for expert services, including obtaining and storing certain
27
     Plaintiff or Class vehicles. Such costs are necessary in an automotive defect case
28
     DECL. OF STEVE W. BERMAN ISO PLTFS.’ UNOPPOSED MOT. FOR CLASS COUNSEL FEE
     AND EXPENSE AWARD AND CLASS REPRESENTATIVE SERVICE AWARDS - 8
     010789-11/1347158 V1
Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 Page 11 of 175 Page ID
                                    #:3530



 1   requiring extensive investigation to establish and prosecute the Class members’
 2   claims.
 3            22.      Should the Court wish to review in camera any of the detailed time or
 4   cost records underlying the amounts recited in this Declaration, they are available.
 5            23.      As detailed more fully in paragraph 32 infra, Class Counsel is incurring
 6   more time and costs currently, and expects to continue incurring time and costs
 7   through final approval, the claims deadline, and perhaps on appeal.
 8   D.       THE SETTLEMENT IS FAIR, ADEQUATE, AND REASONABLE
 9            24.      Based on Hagens Berman’s investigation, the information obtained from
10   Defendants, and the strengths and weaknesses of the Parties’ respective claims and
11   defenses, I believe further litigation of the matters resolved by this Settlement would
12   be complex and costly, and subject the Parties to uncertain results. Litigation has been
13   ongoing for several years, and already consumed significant time, money, and
14   resources from the Parties and the Court. While I believe Plaintiffs’ claims are valid,
15   there is a recognized element of risk in any litigation. The Settlement here will
16   substantially reduce costs and the expenditure of resources, and eliminate the risk of
17   uncertain litigation outcomes.
18            25.      In light of the inherent risks and costs associated with litigation, the
19   Settlement is fair, reasonable, and adequate because it is the product of arm’s-length
20   negotiations between sophisticated counsel well-versed in automotive class action
21   litigation, and included confirmatory discovery and in-person meetings between
22   Plaintiffs’ counsel and Hyundai representatives to discuss claims and settlement
23   possibilities. The Settlement treats Class members equitably and provides reasonably
24   equivalent consideration in exchange for certain liability releases.
25            26.      I have negotiated other settlements with Defendants and its counsel, all of
26   which were deemed fair, reasonable, and adequate. See, e.g., In re Hyundai and Kia
27   Fuel Economy Litigation, No. 2:13-md-2424-GW-FFM (C.D. Cal.).
28
     DECL. OF STEVE W. BERMAN ISO PLTFS.’ UNOPPOSED MOT. FOR CLASS COUNSEL FEE
     AND EXPENSE AWARD AND CLASS REPRESENTATIVE SERVICE AWARDS - 9
     010789-11/1347158 V1
Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 Page 12 of 175 Page ID
                                    #:3531



 1   E.       THE REQUESTED FEE AND EXPENSE AWARD IS REASONABLE
 2            27.      The Parties did not negotiate attorneys’ fees and costs, or class
 3   representative service awards, until after reaching agreement on the Settlement.
 4            28.      On February 10, 2020, Class Counsel and Defendants’ counsel formally
 5   negotiated attorneys’ fees and costs with the assistance of retired Judge Edward A.
 6   Infante. This first mediation was unsuccessful, but the Parties continued to negotiate
 7   informally. On September 1, 2020, during a second mediation with Judge Infante,
 8   Defendants agreed to pay $6,900,000 in fees to Class Counsel and reimburse Class
 9   Counsel’s actual costs up to $175,000.
10            29.      The fees and costs that Class Counsel seeks—and Defendants have
11   agreed to pay—will will not diminish the Settlement’s value or the benefits it confers
12   to Class members.
13            30.      Hagens Berman prosecuted this litigation solely on a contingent-fee for
14   two years (and co-Class Counsel for even longer), all at risk of not receiving
15   compensation for their work and expenses on behalf of the Class. Class Counsel
16   collectively devoted substantial time and resources to this matter, forgoing other legal
17   work for which they could have been compensated.
18            31.      In light of Class Counsel’s work, the risks assumed, the uncertainties of
19   further litigation, and the results achieved, I believe the requested fees and expense
20   reimbursement is more than reasonable.
21            32.      Notably, this case and Class Counsel’s work is ongoing. We are currently
22   fielding extensive Class member communications, preparing final approval papers,
23   developing and administering a survey and declaration to thousands of Class members
24   regarding the settlement ahead of final approval, assisting and supervising the
25   settlement administration process, resolving certain objections (some of which require
26   depositions), and potentially defending the Settlement from any objector appeals.
27

28
     DECL. OF STEVE W. BERMAN ISO PLTFS.’ UNOPPOSED MOT. FOR CLASS COUNSEL FEE
     AND EXPENSE AWARD AND CLASS REPRESENTATIVE SERVICE AWARDS - 10
     010789-11/1347158 V1
Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 Page 13 of 175 Page ID
                                    #:3532



 1   F.       THE LEAD PLAINTIFFS DILIGENTLY SERVED THE CLASS
 2            33.      The Court’s May 7, 2020 Preliminary Approval Order appointed the
 3   following Plaintiffs as Class Representatives for the Class for settlement purposes:
 4   Cara Centko, Jenn Lazar, Christopher Stanczak, Rose Creps, James Kinnick, Wallace
 5   Coats, Maryanne Brogan, Andrea Smolek, Danny Dickerson, Robert Fockler, Amy
 6   Franklin, Donald House, Dave Loomis, Joseph McCallister, Arron Miller, Ricky
 7   Montoya, Lynn North, Mark Rice, Reid Schmitt, James Smith, and Chris Stackhouse.
 8            34.      The Flaherty Settling Plaintiffs appointed as Class Representatives here
 9   willingly participated in this litigation on behalf of the Class, despite any financial or
10   reputational risks. They understood this commitment required time and cooperation on
11   their part, including potential written discovery and depositions.
12            35.      Throughout the course of this litigation, the Flaherty Settling Plaintiffs
13   provided information, documents, and in some cases their vehicles for inspection, as
14   requested by Class Counsel. They communicated with counsel, reviewed and provided
15   information for pleadings, and generally stayed informed about the case.
16            36.      The Flaherty Settling Plaintiffs consulted with Class Counsel about the
17   Settlement and its terms, and later reviewed the Settlement Agreement itself, on behalf
18   of the Class they represent.
19            37.      In light of the foregoing, we believe it appropriate for the Court to
20   approve service awards to the Flaherty Settling Plaintiffs appointed as Class
21   Representatives given their devotion to the class, without which this Settlement would
22   not be possible.
23            38.      If the Court agrees, twenty-one Class Representatives (thirteen of which
24   are Flaherty Settling Plaintiffs) will each receive $3,500 Service Awards, for a total of
25   $73,500 in Service Awards paid by Defendants.
26

27

28
     DECL. OF STEVE W. BERMAN ISO PLTFS.’ UNOPPOSED MOT. FOR CLASS COUNSEL FEE
     AND EXPENSE AWARD AND CLASS REPRESENTATIVE SERVICE AWARDS - 11
     010789-11/1347158 V1
Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 Page 14 of 175 Page ID
                                    #:3533



 1            I declare under penalty of perjury under the laws of the United States that the
 2   foregoing is true and correct. Executed September 30, 2020, in Seattle, Washington.
 3

 4                                                           /s/ Steve W. Berman
                                                            STEVE W. BERMAN
 5

 6

 7
     Additional Counsel of Record:
 8
     Steve W. Berman (pro hac vice)
 9   HAGENS BERMAN SOBOL SHAPIRO LLP
     1301 Second Avenue, Suite 2000
10
     Seattle, WA 98101
11   Telephone: (206) 623-7292
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13   Attorneys for Plaintiffs and the Proposed Class
14

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28
     DECL. OF STEVE W. BERMAN ISO PLTFS.’ UNOPPOSED MOT. FOR CLASS COUNSEL FEE
     AND EXPENSE AWARD AND CLASS REPRESENTATIVE SERVICE AWARDS - 12
     010789-11/1347158 V1
Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 Page 15 of 175 Page ID
                                    #:3534




           EXHIBIT 1
Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 Page 16 of 175 Page ID
                                    #:3535



 HAGENS BERMAN




                                                         EXPERIENCE.
                                                         INNOVATION.
                                                            RESULTS.
 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   17 of 175 Page ID
                                                              GENS BERMAN SOBOL SHAPIRO LLP
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Hagens Berman is a national leader in class-action
litigation driven by a team of legal powerhouses. With
a tenacious spirit, we are motivated to make a positive
difference in people’s lives.




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   Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   18 of 175 Page ID
                                                                GENS BERMAN SOBOL SHAPIRO LLP
                                       #:3537




Table of Contents

INTRODUCTION                                                                     MANAGING PARTNER                                               OF COUNSEL
The Firm. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4      Steve W. Berman. . . . . . . . . . . . . . . . . . . 44        Gregory T. Arnold. . . . . . . . . . . . . . . . .  107
Locations. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5                                                                    Karl Barth . . . . . . . . . . . . . . . . . . . . . . .  110
                                                                                 PARTNER, EXECUTIVE                                             Molly A. Booker. . . . . . . . . . . . . . . . . . . . 111
PRACTICE AREAS                                                                   COMMITTEE MEMBER                                               Jeniphr A.E. Breckenridge . . . . . . . . . . . 112
Anti-Terrorism. . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9        Thomas M. Sobol. . . . . . . . . . . . . . . . . . . 49        Mark S. Carlson. . . . . . . . . . . . . . . . . . . . 113
Antitrust. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .  10   Anthony D. Shapiro. . . . . . . . . . . . . . . . . 53         Jeannie Evans. . . . . . . . . . . . . . . . . . . . . 115
Automotive - Non-Emissions Cases. . . . . . . . . . .  13                        Robert B. Carey. . . . . . . . . . . . . . . . . . . . 55      Philip J. Graves. . . . . . . . . . . . . . . . . . . . 116
Automotive - Emissions Litigation. . . . . . . . . . . . .  15                                                                                  Laura Hayes. . . . . . . . . . . . . . . . . . . . . . . 118
Civil and Human Rights. . . . . . . . . . . . . . . . . . . . . . 17                                                                            John D. Jenkins. . . . . . . . . . . . . . . . . . . . 119
                                                                                 PARTNER
Consumer Protection - General Class Litigation. .  18                                                                                           Wesley Kelman. . . . . . . . . . . . . . . . . . . . 120
                                                                                 Leonard W. Aragon. . . . . . . . . . . . . . . . . 58
Consumer Protection - Drug and Supplement                                                                                                       Michella A. Kras. . . . . . . . . . . . . . . . . . . . 121
                                                                                 Lauren Guth Barnes . . . . . . . . . . . . . . . . 59
  Litigation. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 20                                                                    Benjamin A. Krass. . . . . . . . . . . . . . . . . 122
                                                                                 Ian M. Bauer . . . . . . . . . . . . . . . . . . . . . . 62
Employment Litigation. . . . . . . . . . . . . . . . . . . . . . 23                                                                             James J. Nicklaus. . . . . . . . . . . . . . . . . 124
                                                                                 Elaine T. Byszewski. . . . . . . . . . . . . . . . . 64
Environmental Litigation . . . . . . . . . . . . . . . . . . . . 25                                                                             Jerrod C. Patterson. . . . . . . . . . . . . . . . 125
                                                                                 Catherine Y.N. Gannon . . . . . . . . . . . . . . 66
Governmental Representation. . . . . . . . . . . . . . . . 27                                                                                   Greer N. Shaw. . . . . . . . . . . . . . . . . . . .  127
                                                                                 Kristen A. Johnson . . . . . . . . . . . . . . . . . 68
Intellectual Property . . . . . . . . . . . . . . . . . . . . . . . 29                                                                          Nick Styant-Browne . . . . . . . . . . . . . . .  129
                                                                                 Reed R. Kathrein. . . . . . . . . . . . . . . . . . . 70
Investor Fraud - Individual and Class Action                                                                                                    Hannah Schwarzschild. . . . . . . . . . . . . 130
                                                                                 Daniel J. Kurowski. . . . . . . . . . . . . . . . . . 73
  Litigation. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .  31                                                                   Nathaniel A. Tarnor. . . . . . . . . . . . . . . . . 131
                                                                                 Thomas E. Loeser. . . . . . . . . . . . . . . . . . 75
Investor Fraud - Institutional Investor Portfolio                                Robert F. Lopez. . . . . . . . . . . . . . . . . . . . 77
  Monitoring and Recovery Services . . . . . . . . . . 33                        Barbara Mahoney . . . . . . . . . . . . . . . . . . 80         ASSOCIATE
Personal Injury and Abuse . . . . . . . . . . . . . . . . . . 34                 Sean R. Matt . . . . . . . . . . . . . . . . . . . . . .  81   Tory Beardsley. . . . . . . . . . . . . . . . . . . .  132
Sports Litigation . . . . . . . . . . . . . . . . . . . . . . . . . . 35         Martin D. McLean . . . . . . . . . . . . . . . . . . 83        Hannah Brennan. . . . . . . . . . . . . . . . . .  133
Whistleblower Litigation. . . . . . . . . . . . . . . . . . . . . 38             David P. Moody. . . . . . . . . . . . . . . . . . . . 84       Rochella T. Davis. . . . . . . . . . . . . . . . . .  136
                                                                                 David S. Nalven. . . . . . . . . . . . . . . . . . . . 85      John DeStefano. . . . . . . . . . . . . . . . . . .  137
APPELLATE VICTORIES                                                              Christopher A. O’Hara. . . . . . . . . . . . . . . 86          Rachel E. Fitzpatrick. . . . . . . . . . . . . . .  139
Strengthening Consumer Law. . . . . . . . . . . . . . . . 42                     Matthew F. Pawa. . . . . . . . . . . . . . . . . . . 87        Anthea D. Grivas. . . . . . . . . . . . . . . . . . 140
                                                                                 Shana E. Scarlett. . . . . . . . . . . . . . . . . . . 88      Ben Harrington. . . . . . . . . . . . . . . . . . . 142
                                                                                 Craig R. Spiegel. . . . . . . . . . . . . . . . . . . . 90     Kristie A. LaSalle. . . . . . . . . . . . . . . . . .  143
                                                                                 Ronnie Seidel Spiegel. . . . . . . . . . . . . . .  91         Jessica R. MacAuley. . . . . . . . . . . . . . . 144
                                                                                 Shayne C. Stevenson. . . . . . . . . . . . . . . .93           Abbye Klamann Ognibene. . . . . . . . . . .  145
                                                                                 Andrew M. Volk. . . . . . . . . . . . . . . . . . . . 96       Rio Pierce . . . . . . . . . . . . . . . . . . . . . . . 146
                                                                                 Garth Wojtanowicz. . . . . . . . . . . . . . . . . . 97        Christopher R. Pitoun . . . . . . . . . . . . . .  147
                                                                                 Jason A. Zweig. . . . . . . . . . . . . . . . . . . . 99       Benjamin J. Siegel. . . . . . . . . . . . . . . . . 148
                                                                                                                                                Whitney K. Siehl. . . . . . . . . . . . . . . . . . .  149
                                                                                                                                                Emilee Sisco. . . . . . . . . . . . . . . . . . . . . . 151
                                                                                 SENIOR COUNSEL
                                                                                                                                                Danielle Smith. . . . . . . . . . . . . . . . . . . . 152
                                                                                 Lucas E. Gilmore. . . . . . . . . . . . . . . . . . 102
                                                                                                                                                Shelby R. Smith. . . . . . . . . . . . . . . . . . .  153
                                                                                 Kevin K. Green. . . . . . . . . . . . . . . . . . . . 103
                                                                                                                                                Zoran (Zoki) Tasic. . . . . . . . . . . . . . . . .  154
                                                                                 Anne F. Johnson. . . . . . . . . . . . . . . . . . 106
                                                                                                                                                Jessica Thompson. . . . . . . . . . . . . . . . .  155
                                                                                                                                                Breanna Van Engelen . . . . . . . . . . . . . .  157
                                                                                                                                                Mark Vazquez . . . . . . . . . . . . . . . . . . . .  158
                                                                                                                                                Bradley J. Vettraino. . . . . . . . . . . . . . . .  159
                                                                                                                                                Ted Wojcik. . . . . . . . . . . . . . . . . . . . . . . 160




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  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   19 of 175 Page ID
                                                               GENS BERMAN SOBOL SHAPIRO LLP
                                      #:3538




INTRODUCTION

The Firm

Hagens Berman Sobol Shapiro LLP was founded in 1993 with one purpose: to help victims with claims
of fraud and negligence that adversely impact a broad group. The firm initially focused on class action
and other types of complex, multi-party litigation, but we have always represented plaintiffs/victims. As
the firm grew, it expanded its scope while staying true to its mission of taking on important cases that
implicate the public interest. The firm represents plaintiffs including investors, consumers, inventors,
workers, the environment, governments, whistleblowers and others.




We are one of the nation’s leading class-action law firms and have earned
an international reputation for excellence and innovation in ground-
breaking litigation against large corporations.

OUR FOCUS. Our focus is to represent plaintiffs/victims in product liability, tort, antitrust, consumer
fraud, securities and investment fraud, employment, whistleblower, intellectual property, environmental,
and employee pension protection cases. Our firm is particularly skilled at managing multi-state and
nationwide class actions through an organized, coordinated approach that implements an efficient and
aggressive prosecutorial strategy to place maximum pressure on defendants.

WE WIN. We believe excellence stems from a commitment to try each case, vigorously represent the
best interests of our clients, and obtain the maximum recovery. Our opponents know we are determined
and tenacious and they respect our skills and recognize our track record of achieving top results.

WHAT MAKES US DIFFERENT. We are driven to return to the class every possible portion of its
damages—our track record proves it. While many class action or individual plaintiff cases result in large
legal fees and no meaningful result for the client or class, Hagens Berman finds ways to return real
value to the victims of corporate fraud and/or malfeasance.

A NATIONWIDE REACH. The scope of our practice is truly nationwide. We have flourished through
our network of offices in eight cities across the United States, including Seattle, Boston, Chicago, Los
Angeles, New York, Phoenix, San Francisco and San Diego. Our reach is not limited to the cities where
we maintain offices. We have cases pending in courts across the country, with substantial activity in
California, New York, Washington, Arizona and Illinois.




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   20 of 175 Page ID
                                                              GENS BERMAN SOBOL SHAPIRO LLP
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INTRODUCTION

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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   21 of 175 Page ID
                                                              GENS BERMAN SOBOL SHAPIRO LLP




                                                                       ‘‘
                                     #:3540




‘‘ …the track record of Hagens
                                                                                           ‘‘
                                                                              Class counsel has consistently
                                                                            demonstrated extraordinary skill
  Berman[’s] Steve Berman is…                                               and effort.
  impressive, having racked…                                                — U.S. District Judge James Selna, Central District
  a $1.6 billion settlement in the Toyota                                     of California, In re Toyota Motor Corp. Unintended

  Unintended Acceleration Litigation            ‘‘                            Acceleration Marketing, Sales Practices and Products




                                                                       ‘‘
                                                                              Liability Litigation
  and a substantial number of really
  outstanding big-ticket results.                                             Berman is considered one of the
                                                                                                                                  ‘‘
  — Milton I. Shadur, Senior U.S. District Judge, naming
    Hagens Berman Interim Class Counsel in Stericycle
                                                                            nation’s top class-action lawyers.
    Pricing MDL                                                             — Associated Press




                                             Elite Trial Lawyers
                                                  The National Law Journal


    The Plaintiffs’ Hot List: The Year’s Hottest Firms
                                                  The National Law Journal


                                Most Feared Plaintiffs Firms
                                                                   Law360




‘‘                                                                     ‘‘
    Landmark consumer cases are
                                                             ‘‘                All right, I think I can conclude on
  business as usual for Steve Berman.                                       the basis with my five years with you
  — The National Law Journal, naming Steve Berman one of                    all, watching this litigation progress
    the 100 most influential attorneys in the nation for the
                                                                            and seeing it wind to a conclusion,
    third time in a row
                                                                            that the results are exceptional...                   ‘‘
‘‘
                                                                            You did an exceptionally good job at

    [A] clear choice emerges. That
                                                          ‘‘                organizing and managing the case...
                                                                            — U.S. District Court for the Northern District of
  choice is the Hagens Berman firm.                                           California, In re Dynamic Random Access Memory
                                                                              Antitrust Litigation (Hagens Berman was co-lead
  — U.S. District Court for the Northern District of California,              counsel and helped achieve the $325 million class
    In re Optical Disk Drive Products Antitrust Litigation                    settlement)
    (appointing the firm lead counsel)



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   Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   22 of 175 Page ID
                                                                GENS BERMAN SOBOL SHAPIRO LLP
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VISA-MASTERCARD ANTITRUST LITIGATION                        VOLKSWAGEN EMISSIONS LITIGATION

The firm served as co-lead counsel in what was              Hagens Berman was named a member of the
then the largest antitrust settlement in history –          Plaintiffs’ Steering Committee and part of the
valued at $27 billion.                                      Settlement Negotiating team in this monumental
                                                            case that culminated in the largest automotive
VOLKSWAGEN FRANCHISE DEALERS LITIGATION                     settlement in history – $17.4 billion.
The firm served as lead counsel representing                TOYOTA UNINTENDED ACCELERATION LITIGATION
VW franchise dealers in this suit related to the            Hagens Berman obtained the then largest
automaker’s Dieselgate scandal. A $1.6 billion              automotive settlement in history in this class
settlement was reached, and represents a result             action that recovered $1.6 billion for vehicle
of nearly full damages for the class.                       owners.


                               STATE OF WASHINGTON, ET AL. V. PHILIP MORRIS, ET AL.

           Hagens Berman represented 13 states in the largest
              recovery in litigation history – $206 billion.

E-BOOKS ANTITRUST LITIGATION                                DRAM ANTITRUST LITIGATION
Hagens Berman served as co-lead counsel in this             The firm was co-lead counsel, and the case
matter and secured a combined $560 million                  settled for $345 million in favor of purchasers of
settlement on behalf of consumers against                   dynamic random access memory chips (DRAM).
Apple and five of the nation’s largest publishing
companies.

LCD ANTITRUST LITIGATION                                    AVERAGE WHOLESALE PRICE DRUG LITIGATION

Hagens Berman served as a member of the                     Hagens Berman was co-lead counsel in this
Executive Committee representing consumers                  ground-breaking drug pricing case against
against multiple defendants in multi-district               the world’s largest pharmaceutical companies,
litigation. The total settlements exceeded                  resulting in a victory at trial. The court approved a
$470 million.                                               total of $338 million in settlements.

MCKESSON DRUG LITIGATION                                     ENRON ERISA LITIGATION
Hagens Berman was lead counsel in these                      Hagens Berman was co-lead counsel in this
racketeering cases against McKesson for drug                 ERISA litigation, which recovered in excess of
pricing fraud that settled for more than $444                $250 million, the largest ERISA settlement in
million on the eve of trials.                                history.
DAVITA HEALTHCARE PERSONAL INJURY LITIGATION
A Denver jury awarded a monumental $383.5                    CHARLES SCHWAB SECURITIES LITIGATION
million jury verdict against GranuFlo dialysis               The firm was lead counsel in this action alleging
provider DaVita Inc. on June 27, 2018, to families           fraud in the management of the Schwab
of three patients who suffered cardiac arrests and           YieldPlus mutual fund; a $235 million class
died after receiving dialysis treatments at DaVita           settlement was approved by the court.
clinics.

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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   23 of 175 Page ID
                                                              GENS BERMAN SOBOL SHAPIRO LLP
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                                                       Practice Areas




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  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   24 of 175 Page ID
                                                               GENS BERMAN SOBOL SHAPIRO LLP
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PRACTICE AREAS

Anti-Terrorism

With a long track record of upholding the rights of the voiceless, Hagens Berman fights for
justice on behalf of victims of international terrorism. Our anti-terrorism legal team builds
on our robust history to forge innovative cases, bringing action against those that support
terrorism.

Hagens Berman has always believed in fighting for the rights           > Chiquita Bananas
of those with no voice – those who are victims to tragic                Hagens Berman represents American citizens who were victims
circumstances beyond their control. With our guiding principles         of terrorism in Colombia. The victims were harmed by Colombian
driving our efforts, the firm has expanded its practice areas to        terrorists that Chiquita Brands International Inc. paid so that it
include anti-terrorism litigation.                                      could grow bananas in Colombia in regions that were controlled
                                                                        by the terrorists. Chiquita is one of the world’s largest producers
It’s no secret that some businesses and individuals have pled guilty
                                                                        and marketers of fruits and vegetables and admitted it paid
to violating United States laws that prohibit financial transactions
                                                                        Colombian terrorist organizations as part of a guilty plea to settle
with terrorist organizations and foreign states that support
                                                                        criminal charges brought by the U.S. Department of Justice
terrorism. We believe that the law is one of the most powerful tools
to combat terrorism, and our renowned team of litigators brings         Chiquita was placed on corporate probation and paid a $25
a fresh perspective to the fight for victims’ rights in this complex    million dollar fine because of its conduct in Colombia.
arena.
                                                                        Plaintiffs have sued Chiquita under the U.S. Anti-Terrorism Act,
Through a deep understanding of both U.S. and international             which allows American victims of international terrorism to sue
anti-terrorism laws, Hagens Berman builds on its foundation to          anyone responsible and to recover treble damages and attorney’s
investigate acts of terrorism and forge ironclad cases against          fees. The claims are pending in the U.S. District Court for the
anyone responsible, to help ensure that those at the mercy of the       Southern District of Florida as part of the consolidated multi-
world’s most egregious perpetrators of violence are represented         district litigation to resolve claims related to Chiquita’s payments
with the utmost integrity and determination.                            to Colombian terrorist organizations.

The firm’s new practice area carries out our mission of building
a safer world through novel applications of the law and steadfast
dedication.




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  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   25 of 175 Page ID
                                                               GENS BERMAN SOBOL SHAPIRO LLP
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PRACTICE AREAS

Antitrust

Hagens Berman works to preserve healthy marketplace competition and fair trade by protecting
consumers and businesses that purchase goods and services from price fixing, market
allocation agreements, monopolistic schemes and other trade restraints. The firm’s lawyers
have earned an enviable reputation as experts in this often confusing and combative area of
commercial litigation. Our attorneys have a deep understanding of the legal and economic
issues within the marketplace, allowing us to employ groundbreaking market theories that shed
light on restrictive anti-competitive practices.

Hagens Berman represents millions of consumers in several                > NCAA: Scholarships/Grants-In-Aid (GIAs)
high-profile class-action lawsuits, and takes on major antitrust         In a first-of-its-kind antitrust action and potentially far-reaching
litigation to improve market conditions for consumers, businesses        case, Hagens Berman filed a class-action affecting approximately
and investors. We have represented plaintiffs in markets as diverse      40,000 Division I collegiate athletes who played men’s or
as debit and credit card services, personal computer components,         women’s basketball, or FBS football, brought against the NCAA
electric and gas power, airlines, and internet services, and we have     and its most powerful members, including the Pac-12, Big Ten,
prevailed against some of the world’s largest corporations.              Big-12, SEC and ACC, claiming these entities violated federal
                                                                         antitrust laws by drastically reducing the number of scholarships
The firm has also generated substantial recoveries on behalf of
                                                                         and financial aid student-athletes receive to an amount below
health plans and consumers in antitrust involving pharmaceutical
                                                                         the actual cost of attendance and far below what the free market
companies abusing patent rights to block generic drugs from
                                                                         would bare.
coming to market. Hagens Berman has served as lead or co-
                                                                         The firm continues to fight on behalf of student-athletes to level
lead counsel in landmark litigation challenging anti-competitive
                                                                         the playing field and bring fairness to college sports and players.
practices, in the Paxil Direct Purchaser Litigation ($100 million),
                                                                         RESULT:   $208.9 million settlement, bringing an estimated average
Relafen Antitrust Litigation ($75 million), Tricor Indirect Purchaser
                                                                         amount of $6,500 to each eligible class member who played his
Antitrust Litigation ($65.7 million), and Augmentin Antitrust
                                                                         or her sport for four years.
Litigation ($29 million). Representative antitrust successes on
behalf of our clients include:                                          > Apple E-books
                                                                         With state attorneys general, the firm secured a $166 million
> Visa/MasterCard
                                                                         settlement with publishing companies that conspired with Apple
 Helped lead this record-breaking antitrust case against credit
                                                                         to fix e-book prices. The firm then look on Apple for its part in
 card giants Visa and MasterCard that challenged charges
                                                                         the price-fixing conspiracy. In the final stage in the lawsuit, the
 imposed in connection with debit cards.
                                                                         Supreme Court denied appeal from Apple, bringing the consumer
 RESULT:   $3.05 billion settlement and injunctive relief valued at
                                                                         payback amount to more than twice the amount of losses
 more than $20 billion.
                                                                         suffered by the class of e-book purchasers. This represents one
                                                                         of the most successful recovery of damages in any antitrust
                                                                         lawsuit in the country.
                                                                         RESULT:   $560 million total settlements.




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  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   26 of 175 Page ID
                                                               GENS BERMAN SOBOL SHAPIRO LLP
                                      #:3545




PRACTICE AREAS

Antitrust

> Animation Workers Antitrust                                            > Lithium Ion Batteries
 Hagens Berman represents a nationwide class of animators                 Hagens Berman filed a class-action lawsuit against some of the
 and other artistic workers in an antitrust class-action case filed       largest electronics manufacturers including Sony, Samsung and
 against defendants Pixar, Lucasfilm and its division Industrial          Panasonic for illegally fixing the price of lithium ion batteries,
 Light & Magic, DreamWorks Animation, The Walt Disney                     pushing costs higher for consumers. Defendants collectively
 Company, Sony Pictures Animation, Sony Pictures Imageworks,              controlled between 60 to 90 percent of the market for lithium-
 Blue Sky Studios, ImageMovers LLC, ImageMovers Digital LLC               ion batteries between 2000 and 2011 and used that power to fix
 and others.                                                              battery prices.
 RESULT:   Total settlements have reached $168 million, resulting in a    RESULT:   $65 million in total settlements against multiple
 payment of more than $13,000 per class member.                           defendants.

> TFT LCDs                                                               > AC Nielsen
 Hagens Berman Sobol Shapiro filed a class-action lawsuit                 Represented Information Resources, Inc. (“IRI”), in a suit claiming
 against several major manufacturers of TFT LCD products,                 that AC Nielsen’s anti-competitive practices caused IRI to suffer
 claiming the companies engaged in a conspiracy to fix, raise,            significant losses.
 maintain and stabilize the price of televisions, desktop and             RESULT:   $55 million settlement.
 notebook computer monitors, mobile phones, personal digital
                                                                         > Dairy Products
 assistants (PDAs) and other devices. After years of representing
                                                                          The firm filed a class-action suit against several large players
 consumers against multiple defendants in multi-district litigation,
                                                                          in the dairy industry, including the National Milk Producers
 the case against Toshiba went to trial. Toshiba was found guilty of
                                                                          Federation, Dairy Farmers of America, Land O’Lakes, Inc.,
 price-fixing in 2012, and settled.
                                                                          Agri-Mark, Inc. and Cooperatives Working Together (CWT) that
 RESULT:   $470 million in total settlements.
                                                                          together produce nearly 70 percent of the milk consumed in
> DRAM                                                                    the United States. The suit alleging that the groups conspired
 The suit claimed DRAM (Dynamic Random Access Memory)                     to fix the price of milk throughout the United States through an
 manufacturers secretly agreed to reduce the supply of DRAM,              organized scheme to limit production, involving the needless and
 a necessary component in a wide variety of electronics                   premature slaughtering of 500,000 cows.
 which artificially raised prices. The class included equipment           RESULT:   $52 million settlement on behalf of consumers in 15 states
 manufacturers, franchise distributors and purchasers.                    and the District of Columbia who purchased dairy products.
 RESULT:   $375 million settlement.
                                                                         > Toys “R” Us Baby Products
> Optical Disk Drives                                                     The firm brought this complaint on behalf of consumers claiming
 Hagens Berman fought on behalf of consumers in a lawsuit filed           Toys “R” Us and several baby product manufacturers violated
 against Philips, Pioneer and others for artificially inflating the       provisions of the Sherman Antitrust Act by conspiring to inflate
 price of ODDs for consumers.                                             prices of high-end baby products, including car seats, strollers,
 RESULT:   $180 million in total settlements reclaimed for consumers.     high chairs, crib bedding, breast pumps and infant carriers. The
                                                                          suit asked the court to end what it claims are anti-competitive
                                                                          activities and seeks damages caused by the company’s actions.
                                                                          RESULT:   $35.5 million settlement.




www.hbsslaw.com                                                                                                                                11
  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   27 of 175 Page ID
                                                               GENS BERMAN SOBOL SHAPIRO LLP
                                      #:3546




PRACTICE AREAS

Antitrust

> EA Madden                                                            > Nespresso
 Class action claimed that video game giant Electronic Arts used        Hagens Berman has assumed responsibility for a large antitrust
 exclusive licensing agreements with various football organizations     case against Nespresso, a leading single-serve espresso
 to nearly double the price of several of its games.                    and coffee maker, for its anticompetitive efforts to exclude
 RESULT:   $27 million settlement and imposed limits on EA’s ability    environmentally friendly, biodegradable coffee capsules from the
 to pursue exclusive licensing agreements.                              market.
                                                                        In May 2010, our client Ethical Coffee Company (“ECC”) sought to
> Resistors Antitrust Litigation
                                                                        introduce an environmentally sound and more economical coffee
 Hagens Berman is co-lead lead counsel, representing direct
                                                                        capsule to be used in Nespresso’s widely used coffee makers.
 purchasers of linear resistors (a device in electronics used to
                                                                        It manufactured a single-use coffee capsule that did not contain
 limit electric current) against an alleged cartel of manufacturers
                                                                        harmful aluminum found in Nespresso’s capsules. Nespresso
 who conspired to limit linear resistor price competition for
                                                                        knew that ECC posed a formidable challenge to its business
 nearly a decade. The case is in its early stages and discovery is
                                                                        model, which relied on captive consumers buying coffee capsules
 ongoing.
                                                                        only from Nespresso. With a captive market, Nespresso could
                                                                        continue to charge consumers an inflated price, and continue to
                                                                        use the aluminum capsules that harm the environment.
                                                                        The U.S. Court has already ruled that these claims can proceed
                                                                        to discovery. Hagens Berman anticipates damages associated
                                                                        with Nespresso’s actions to be in the hundreds of millions of
                                                                        dollars.




www.hbsslaw.com                                                                                                                          12
  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   28 of 175 Page ID
                                                               GENS BERMAN SOBOL SHAPIRO LLP
                                      #:3547




PRACTICE AREAS

Automotive - Non-Emissions Cases

In litigating cases we strive to make an impact for a large volume of consumers, especially
those who fall victim to the gross negligence and oversight of some of the nation’s largest
entities: automakers. Hagens Berman’s automotive litigation team has been named a 2016
Practice Group of the Year by Law360, highlighting its “eye toward landmark matters and
general excellence,” in this area of law.

The federal court overseeing the massive multi-district litigation        RESULT:   Settlement package valued at up to $1.6 billion, which was
against Toyota appointed the firm to co-lead one of the largest           at the time the largest automotive settlement in history.
consolidations of class-action cases in U.S. history. The litigation
                                                                         > MyFord Touch
combined more than 300 state and federal suits concerning
                                                                          Hagens Berman represents owners of Ford vehicles equipped
acceleration defects tainting Toyota vehicles. Hagens Berman and
                                                                          with MyFord Touch, an in-car communication and entertainment
its two co-lead firms were selected from more than 70 law firms
                                                                          package, who claim that the system is flawed, putting drivers at
applying for the role. Since then, the firm’s automotive practice area
                                                                          risk of an accident while causing economic hardship for owners.
has grown by leaps and bounds, pioneering new investigations into
                                                                          The complaint cites internal Ford documents that purportedly
defects, false marketing and safety hazards affecting millions of
                                                                          show that 500 of every 1,000 vehicles have issues involving
drivers across the nation.
                                                                          MyFord Touch due to software bugs, and failures of the software
The firm was recently named to the National Law Journal’s list            process and architecture. Owners report that Ford has been
of Elite Trial Lawyers for its work fighting corporate wrongdoing         unable to fix the problem, even after repeated visits. A federal
in the automotive industry. The firm’s auto team members who              judge overseeing the case recently certified nine subclasses of
worked on Toyota were also named finalists for Public Justice’s           owners of affected vehicles in various states.
Trial Lawyer of the Year award.
                                                                         > Nissan Quest Accelerator Litigation
> General Motors Ignition Switch Litigation                               Represented Nissan Quest minivan owners who alleged that
  Co-lead counsel in high-profile case on behalf of millions of           their vehicles developed deposits in a part of the engine, causing
  owners of recalled GM vehicles affected by a safety defect linked       drivers to apply increased pressure to push the accelerator down.
  to more than 120 fatalities. The suit alleges GM did not take           RESULT:   Settlement providing reimbursement for cleanings or
  appropriate measures, despite having prior knowledge of the             replacements and applicable warranty coverage.
  defect. The case is pending, and most recently, the Supreme
                                                                         > Hyundai Kia MPG
  Court refused to hear GM’s appeal regarding the pending suits
                                                                          Hagens Berman sued Hyundai and Kia on behalf of owners after
  when it claimed the cases were barred by its 2009 bankruptcy.
                                                                          the car manufacturers overstated the MPG fuel economy ratings
> Toyota Sudden, Unintended Acceleration Litigation                       on 900,000 of its cars. The suit seeks to give owners the ability
  Co-lead counsel for the economic loss class in this lawsuit filed       to recover a lump-sum award for the lifetime extra fuel costs,
  on behalf of Toyota owners alleging a defect causes vehicles to         rather than applying every year for that year’s losses.
  undergo sudden, unintended acceleration. In addition to safety          RESULT:   $255 million settlement. Lump-sum payment plan worth
  risks, consumers suffered economic loss from decreased value of         $400 million on a cash basis, and worth even more if owners opt
  Toyota vehicles following media coverage of the alleged defect.         for store credit (150 percent of cash award) or new car discount
                                                                          (200 percent of cash award) options.

www.hbsslaw.com                                                                                                                              13
 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   29 of 175 Page ID
                                                              GENS BERMAN SOBOL SHAPIRO LLP
                                     #:3548




PRACTICE AREAS

Automotive - Non-Emissions Cases

> BMW i3 REx                                                          > Ford Shelby GT350 Mustang Overheating
 Hagens Berman is representing BMW owners in a national class-         Hagens Berman represents owners of certain 2016 Shelby
 action lawsuit, following reports that BMW’s i3 REx model electric    GT350 Mustang models in a case alleging that Ford has sold
 cars contain a defect that causes them to suddenly and without        these vehicles as track cars built to reach and sustain high
 warning lose speed and power mid-drive, putting drivers and           speeds, but failed to disclose that the absence of a transmission
 passengers at risk of crash and injury.                               and differential coolers can greatly diminish the vehicle’s reported
                                                                       track capabilities. Shelby owners are reporting that this defect
> Fiat Chrysler Gear Shifter Rollaway Defect
                                                                       causes the vehicle to overheat and go into limp mode, while in
 Hagens Berman has filed a national class-action lawsuit
                                                                       use, even when the car is not being tracked
 representing owners of Jeep Grand Cherokee, Chrysler 300 and
 Dodge Charger vehicles. The lawsuit states that Fiat Chrysler        > Tesla AP2 Defect
 fraudulently concealed and failed to remedy a design defect in        The firm represents Tesla owners in a lawsuit against the
 811,000 vehicles that can cause cars to roll away after they are      automaker for knowingly selling nearly 50,000 cars with
 parked, causing injuries, accidents and other serious unintended      nonfunctional Enhanced Autopilot AP2.0 software that still has
 consequences.                                                         not met Tesla’s promises, including inoperative Standard Safety
                                                                       Features on affected models sold in Q4 2016 and Q1 2017.




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  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   30 of 175 Page ID
                                                               GENS BERMAN SOBOL SHAPIRO LLP
                                      #:3549




PRACTICE AREAS

Automotive - Emissions Litigation

Having played a lead role in the record-breaking Volkswagen diesel emissions case, Hagens
Berman knew the story wasn’t over. Since the Dieselgate scandal began, the firm has uniquely
dedicated resources to uncovering cheating devices used by other automakers. The firm has
become a trailblazer in this highly specialized realm, outpacing federal agencies in unmasking
fraud in emissions reporting.

When news broke in 2015 of Volkswagen’s massive diesel                 RESULT:   The largest automotive settlement in history, $14.7 billion.
emissions-cheating scandal, Hagens Berman was the first firm
                                                                      > Volkswagen Dealers Litigation
in the nation to file suit against the automaker for its egregious
                                                                       Hagens Berman served as lead counsel in a first-of-its-kind
fraud, going on to represent thousands of owners in litigation
                                                                       lawsuit brought by a franchise dealer. Three family-owned
and take a leading role on the Plaintiffs’ Steering Committee
                                                                       Volkswagen dealers filed a class action against VW stating
that would finalize a $14.7 billion, record-breaking settlement for
                                                                       that it intentionally defrauded dealers by installing so-called
owners. Since this case emerged, Hagens Berman has been on
                                                                       “defeat devices” in its diesel cars, and separately carried out a
the forefront of emissions litigation, relying on our legal team’s
                                                                       systematic, illegal pricing and allocation scheme that favored
steadfast and intensive investigative skills to unearth many other
                                                                       some dealers over others and illegally channeled financing
emissions-cheating schemes perpetrated by General Motors, Fiat
                                                                       business to VW affiliate, Volkswagen Credit, Inc. The settlement
Chrysler, Mercedes and other automakers, staying one step ahead
                                                                       garnered nearly unanimous approval of dealers, with 99 percent
of government regulators in our pursuit of car manufacturers that
                                                                       participation in the settlement.
have violated emissions standards and regulations, as well as
                                                                       RESULT:   $1.67 billion in benefits to Volkswagen dealers.
consumer confidence.

                                                                      > Mercedes BlueTEC Emissions Litigation
Hagens Berman’s managing partner, Steve Berman, has dedicated
                                                                       Judge Jose L. Linares appointed the firm as interim class
the firm’s resources to upholding the rights of consumers and
                                                                       counsel in this class-action case against Mercedes concerning
the environment, becoming a one-man EPA. The firm is uniquely
                                                                       emissions of its BlueTEC diesel vehicles. Hagens Berman
dedicated to this cause, and is the only firm that has purchased
                                                                       currently represents thousands of vehicle owners who were told
an emission testing machine to determine if other diesel car
                                                                       by Mercedes that their diesel cars were “the world’s cleanest and
manufacturers install similar cheating devices, bringing new cases
                                                                       most advanced diesel,” when in fact testing at highway speeds,
based on the firm’s own research, time and testing.
                                                                       at low temperatures, and at variable speeds, indicate a systemic
> Volkswagen Diesel Emissions Litigation                               failure to meet emissions standards. Low temperature testing at
  Hagens Berman was the first firm in the nation to file a             highway speeds for example, produced emissions that were 8.1
  lawsuit against Volkswagen for its emissions fraud, seeking          to 19.7 times the highway emissions standard. The lawsuit adds
  swift remedies for consumers affected by Volkswagen’s fraud          that testing at low temperatures at variable speeds produced
  and violation of state regulations. The firm was named to the        emissions as high as 30.8 times the standard.
  Plaintiffs’ Steering Committee leading the national fight against
  VW, Porsche and Audi on behalf of owners and lessors of
  affected vehicles, and also served as part of the Settlement
  Negotiating team.


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  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   31 of 175 Page ID
                                                               GENS BERMAN SOBOL SHAPIRO LLP
                                      #:3550




PRACTICE AREAS

Automotive - Emissions Litigation

> Chevy Cruze Diesel Emissions Litigation                              > Dodge RAM 2500/3500 Diesel Emissions Litigation
 Hagens Berman filed a class-action lawsuit against Chevrolet           According to the firm’s investigation, Dodge has sold hundreds
 (a division of General Motors) for installing emissions-cheating       of thousands of Dodge RAM 2500 and 3500 trucks equipped
 software in Cruze Clean Turbo Diesel cars, forcing consumers           with Cummins diesel engines that release illegally high levels
 to pay high premiums for vehicles that pollute at illegal levels.      of NOx emissions at up to 14 times the legal limit. This defect
 While Chevy marketed these cars as a clean option, the firm’s          causes certain parts to wear out more quickly, potentially costing
 testing has revealed emissions released at up to 13 times the          owners between $3,000 and 5,000 to fix. The firm is leading a
 federal standard. In a recent ruling, U.S. District Judge Thomas       national class action against Fiat Chrysler for knowingly inducing
 L. Ludington upheld claims brought by owners.                          consumers to pay premium prices for vehicles that fail to comply
                                                                        with federal regulations, and ultimately lead to higher costs of
> Audi Emissions Litigation
                                                                        repairs for purchasers.
 Hagens Berman unearthed additional emissions-cheating by Audi,
 affecting its gasoline 3.0-liter vehicles. The firm’s investigation   > General Motors Duramax Emissions Litigation
 shows that the newly discovered defeat device is installed in          Hagens Berman recently pioneered another instance of diesel
 gasoline engines and changes how the transmission operates             emissions fraud. The firm’s independent testing revealed that
 when testing is detected to lower CO2 emissions, but otherwise         GM had installed multiple emissions-masking defeat devices
 allows excessive CO2 emissions in normal, on-road driving.             in its Duramax trucks, including Chevy Silverado and GMC
                                                                        Sierra models, in a cover-up akin to Volkswagen’s Dieselgate
> Fiat Chrysler EcoDiesel Emissions Litigation
                                                                        concealment. In real world conditions the trucks emit 2 to 5
 The firm is leading charges against Fiat Chrysler that it sold
                                                                        times the legal limit of deadly NOx pollutants, and the emissions
 hundreds of thousands of EcoDiesel-branded vehicles that
                                                                        cheating devices are installed in an estimated 705,000 affected
 release illegally high levels of NOx emissions, despite explicitly
                                                                        vehicles.
 selling these “Eco” diesels to consumers who wanted a more
 environmentally friendly vehicle. Hagens Berman was the
 first firm in the nation to uncover this scheme and file against
 Fiat Chrysler on behalf of owners of Dodge RAM 1500 and
 Jeep Grand Cherokee EcoDiesel vehicles. Following the firm’s
 groundbreaking suit, the EPA took notice, filing formal accusations
 against Fiat Chrysler.




www.hbsslaw.com                                                                                                                            16
  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   32 of 175 Page ID
                                                               GENS BERMAN SOBOL SHAPIRO LLP
                                      #:3551




PRACTICE AREAS

Civil and Human Rights

Hagens Berman has represented individuals and organizations in difficult civil rights challenges
that have arisen in the past two decades. In doing so, we have managed cases presenting
complex legal and factual issues that are often related to highly charged political and historical
events. Our clients have included such diverse communities as World War II prisoners of war,
conscripted civilians and entire villages.

In this cutting-edge practice area, the firm vigilantly keeps abreast     > Hungarian Gold Train
of new state and national legislation and case-law developments.           Following the firm’s representation of former forced and enslaved
We achieve positive precedents by zealously prosecuting in our             laborers for German companies in the Nazi Slave Labor Litigation,
clients’ interests. Some examples of our work in this area include:        Hagens Berman led a team of lawyers against the U.S. on behalf
                                                                           of Hungarian Holocaust survivors in the Hungarian Gold Train
> World Trade Organization Protests
                                                                           case. The suit claimed that, during the waning days of World
  During the 1999 World Trade Organization (WTO) protests in
                                                                           War II, the Hungarian Nazi government loaded plaintiffs’ valuable
  Seattle, tens of thousands of Seattle citizens became targets
                                                                           personal property onto a train, which the U.S. Army later seized,
  after Seattle officials banned all forms of peaceful protest. Seattle
                                                                           never returning the property to its owners and heirs.
  police attacked anyone found in the designated “no protest”
  zones with rubber bullets and tear gas. Hundreds of peaceful            > Dole Bananas
  protesters were arrested and incarcerated without probable               Hagens Berman filed suit against the Dole Food Company,
  cause for up to four days. The firm won a jury trial on liability        alleging that it misled consumers about its environmental record.
  and ultimately secured a settlement from Seattle officials after         The complaint alleged that Dole purchased bananas from a
  filing a class action alleging violations of the First and Fourth        grower in Guatemala that caused severe environmental damage
  Amendments.                                                              and health risks to local residents. Dole ultimately agreed to
                                                                           take action to improve environmental conditions, collaborating
                                                                           with a non-profit group on a water filtration project for local
                                                                           communities.




www.hbsslaw.com                                                                                                                              17
  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   33 of 175 Page ID
                                                               GENS BERMAN SOBOL SHAPIRO LLP
                                      #:3552




PRACTICE AREAS

Consumer Protection - General Class Litigation

Hagens Berman is a leader in protecting consumers, representing millions in large-scale cases
that challenge unfair, deceptive and fraudulent practices.

We realize that consumers suffer the brunt of corporate wrongdoing and have little power
to hold companies responsible or to change those tactics. We believe that when backed by a
tenacious spirit and determination, class action cases have the ability to serve as a powerful
line of defense in consumer protection.

Hagens Berman pursues class litigation on behalf of clients            and its contractual commitment to charge as service fees only
to confront fraudulent practices that consumers alone cannot           “costs incurred in servicing” a given reservation.
effectively dispute. We make consumers’ concerns a priority,           RESULT:   Summary judgment in the amount of $184 million. The
collecting consumer complaints against suspected companies and         case settled for cash and consumer credits totaling $123.4
exploring all avenues for prosecution.                                 million.

Hagens Berman’s legacy of protecting consumer rights reflects the     > Stericycle
wide spectrum of scams that occur in the marketplace. The cases        The firm served as court-appointed lead counsel in a class-action
that we have led have challenged a variety of practices such as:       lawsuit against Stericycle alleging that the company violated
                                                                       contracts and defrauded them by hundreds of millions of dollars
> False, deceptive advertising of consumer products and services
                                                                       through an automatic price-increasing scheme. In February of
> False billing and over-charging by credit card companies, banks,     2017, a federal judge certified a nationwide consumer class. The
  telecommunications providers, power companies, hospitals,            class had more than 246,000 class members, with damages
  insurance plans, shipping companies, airlines and Internet           estimated preliminarily at $608 million.
  companies                                                            RESULT:   $295 million settlement

> Deceptive practices in selling insurance and financial products
                                                                      > Tenet Healthcare
  and services such as life insurance and annuities
                                                                       In a pioneering suit filed by Hagens Berman, plaintiffs alleged that
> Predatory and other unfair lending practices, and fraudulent         Tenet Healthcare charged excessive prices to uninsured patients
 activities related to home purchases                                  at 114 hospitals owned and operated by Tenet subsidiaries in 16
                                                                       different states.
A few case examples are:
                                                                       RESULT:   Tenet settled and agreed to refund to class members

> Expedia Hotel Taxes and Service Fees Litigation                      amounts paid in excess of certain thresholds over a four-and-a-

 Hagens Berman led a nationwide class-action suit arising from         half year period.

 bundled “taxes and service fees” that Expedia collects when
 its consumers book hotel reservations. Plaintiffs alleged that by
 collecting exorbitant fees as a flat percentage of the room rates,
 Expedia violated both the Washington Consumer Protection Act




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   34 of 175 Page ID
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PRACTICE AREAS

Consumer Protection - General Class Litigation

> Wells Fargo Force-Placed Insurance                                > Consumer Insurance Litigation
 Hagens Berman brought a case against Wells Fargo alleging it        Hagens Berman has pioneered theories to ensure that in first-
 used “force-placed” insurance clauses in mortgage agreements,       and third-party contexts consumers and health plans always
 a practice that enables the bank to charge homeowners               receive the treatment and benefits to which they are entitled.
 insurance premiums up to 10 times higher than normal rates.         Many of our cases have succeeded in expanding coverage owed
 RESULT:   Hagens Berman reached a settlement in this case, under    and providing more benefits; recovering underpayments of
 which all class members will be sent checks for more than           benefits; and returning uninsured/underinsured premiums from
 double the amount of commissions that Wells Fargo wrongfully        the misleading tactics of the insurer.
 extracted from the force placement of insurance on class
 members’ properties.




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  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   35 of 175 Page ID
                                                               GENS BERMAN SOBOL SHAPIRO LLP
                                      #:3554




PRACTICE AREAS

Consumer Protection - Drug and Supplement Litigation

Hagens Berman aggressively pursues pharmaceutical industry litigation, fighting against waste,
fraud and abuse in healthcare. For decades, pharmaceutical manufacturers have been among
the most profitable companies in America. But while pharmaceutical companies become richer,
consumers, health plans and insurers pay higher costs for prescription and over-the-counter
drugs and supplements. We shine the light of public scrutiny on this industry’s practices and
represent individuals, direct and indirect purchasers, and the nation’s most forward-thinking
public-interest groups.


The firm’s pharmaceutical and dietary supplement litigation           > Prograf Antitrust Litigation
practice is second to none in the nation in terms of expertise,        Hagens Berman represented purchasers who alleged
commitment and landmark results. Hagens Berman’s attorneys             Astellas Pharma US, Inc. unlawfully maintained its
have argued suits against dozens of major drug companies and the       monopoly and prevented generic competition for Prograf, an
firm’s aggressive prosecution of pharmaceutical industry litigation    immunosuppressant used to help prevent organ rejection in
has recovered more than $1 billion in gross settlement funds.          transplant patients, harming purchasers by forcing them to pay
                                                                       inflated brand name prices for longer than they should have
RECENT ANTITRUST RESOLUTIONS
                                                                       absent the anticompetitive conduct.

In the last few years, Hagens Berman – as lead or co-lead class        RESULT:   The parties’ motion for final approval of the $98 million

counsel – has garnered significant settlements in several antitrust    class settlement is under advisement with the court.

cases involving prescription drugs. In each case, the plaintiffs
alleged that a manufacturer of a brand-name drug violated federal     > Relafen Antitrust Litigation

or state antitrust laws by delaying generic competitors from coming    Hagens Berman filed a class-action lawsuit against

to market, forcing purchasers to buy the more expensive brand          GlaxoSmithKline, SmithKline Beecham Corporation, Beecham

name version instead of the generic equivalent. Examples of our        Group PLC and SmithKline Beecham PLC, on behalf of

recent successes include:                                              consumers and third-party payors who purchased the drug
                                                                       Relafen or its generic alternatives. The suit alleged that the
> Flonase Antitrust Litigation                                         companies who manufacture and sell Relafen unlawfully obtained
  Hagens Berman represented purchasers in this case alleging           a patent which allowed them to enforce a monopoly over Relafen
  pharmaceutical giant GlaxoSmithKline filed petitions to prevent      and prevented competition by generic prescription drugs, causing
  the emergence of generic competitors to its drug Flonase, all to     consumers to pay inflated prices for the drug.
  overcharge consumers and purchasers of the drug, which would         RESULT:   Under the terms of the settlement, the defendants will pay
  have been priced lower had a generic competitor been allowed to      damages of $75 million to those included in the class. Of the total
  come to market.                                                      settlement amount, $25 million will be allocated to consumers
  RESULT:   $150 million class settlement.                             and $50 million will be used to pay the claims of insurers and
                                                                       other third-party payors.




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  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   36 of 175 Page ID
                                                               GENS BERMAN SOBOL SHAPIRO LLP
                                      #:3555




PRACTICE AREAS

Consumer Protection - Drug and Supplement Litigation

> Skelaxin Antitrust Litigation                                         > Average Wholesale Price Drug Litigation
  The firm represented purchasers in this case alleging King              Hagens Berman served as co-lead counsel and lead trial counsel
  Pharmaceuticals LLC and Mutual Pharmaceutical Company                   in this sprawling litigation against most of the nation’s largest
  alleging conspired to suppress generic competition and preserve         pharma companies, which alleges defendants artificially inflated
  King’s monopoly in the market for the brand name muscle                 Average Wholesale Price.
  relaxant Skelaxin.                                                      RESULT:   Approximately $338 million in class settlements. Hagens
  RESULT:   $73 million class settlement.                                 Berman’s work in this area led to many state governments filing
                                                                          suit and hundreds of millions in additional recovery.
> Tricor Antitrust
  In June 2005, Hagens Berman filed an antitrust lawsuit on
                                                                        FRAUDULENT MARKETING RESOLUTIONS
  behalf of a class of consumers and third party payors against
  pharmaceutical manufacturers Abbott Laboratories and Fournier         Hagens Berman also litigates against drug companies that
  Industries concerning the brand name cholesterol drug Tricor.         fraudulently promote drugs for uses not approved by the Food and
  HBSS was appointed co-lead class counsel by the Court.                Drug Administration (FDA), commonly known as “off-label” uses.
  RESULT:   $65.7 million recovery for consumers and third party        We also litigate cases against dietary supplement manufacturers
  payers who sued Abbott Laboratories and Fournier Industies in         for making false claims about their products. Recent successes
  an antitrust action concerning the cholesterol drug Tricor.           include:

                                                                        > Neurontin Third Party Payor Litigation
FRAUDULENT DRUG PRICING RESOLUTIONS
                                                                          Hagens Berman served as co-lead trial counsel in this case
Hagens Berman has led many complex cases that take on fraud               alleging that Pfizer fraudulently and unlawfully promoted the drug
and inflated drug prices throughout the U.S. This includes                Neurontin for uses unapproved by the FDA.
sweeping manipulation of the average wholesale price benchmark            RESULT:   A jury returned a $47 million verdict in favor of a single
used to set prices for prescription drugs nationwide, fraudulent          third-party payor plaintiff, automatically trebled to $142 million,
marketing of prescription drugs and the rampant use of co-pay             and the court recently approved a $325 million class settlement.
subsidy cards that drive up healthcare costs. These efforts have led
to several significant settlements:                                     > Lupron
                                                                          Hagens Berman prosecuted a lawsuit against TAP
> McKesson and First DataBank Drug Litigation
                                                                          Pharmaceuticals Products, Inc. on behalf of a class of consumers
  The firm discovered a far-reaching fraud by McKesson and
                                                                          and third-party payors who purchased the drug Lupron. The
  became lead counsel in this RICO case against McKesson and
                                                                          suit charged that TAP Pharmaceutical Products, Inc., Abbott
  First DataBank, alleging the companies fraudulently inflated
                                                                          Laboratories and Takeda Pharmaceutical Company Limited
  prices of more than 400 prescription drugs.
                                                                          conspired to fraudulently market, sell and distribute Lupron,
  RESULT:   $350 million settlement and a four percent rollback on
                                                                          causing consumers to pay inflated prices for the drug.
  the prices of 95 percent of the nation’s retail branded drugs, the
                                                                          RESULT:   Judge Richard Stearns issued a preliminary approval of
  net impact of which could be in the billions of dollars. The states
                                                                          the proposed settlement between TAP Pharmaceuticals and the
  and federal government then used Hagens Berman’s work to
                                                                          class. Under the terms of the settlement, $150 million will be paid
  bring additional suits. Hagens Berman represented several states
                                                                          by TAP on behalf of all defendants.
  and obtained settlements three to seven times more than that of
  the Attorneys General. Almost $1 billion was recovered from the
  McKesson fraud.

www.hbsslaw.com                                                                                                                                  21
 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   37 of 175 Page ID
                                                              GENS BERMAN SOBOL SHAPIRO LLP
                                     #:3556




PRACTICE AREAS

Consumer Protection - Drug and Supplement Litigation

> Celebrex/Bextra                                                      > Bayer Combination Aspirin/Supplement Litigation
 Hagens Berman filed a class-action lawsuit against Pfizer on           Hagens Berman served as lead counsel on behalf of consumers
 behalf of individual consumers and third-party payors who paid         in a suit alleging that Bayer Healthcare LLC deceptively marketed
 for the drug Bextra. The firm was praised by Judge Breyer for its      Bayer® Women’s Low-Dose Aspirin + Calcium, an 81 mg aspirin
 “unstinting” efforts on behalf of the class, adding, “The attorneys    pill combined with calcium, and Bayer® Aspirin With Heart
 on both sides were sophisticated, skilled, professional counsel        Advantage, an 81 mg aspirin pill combined with phytosterols.
 whose object was to zealously pursue their clients’ interest, but      Plaintiffs alleged that Bayer overcharged consumers for these
 not at the cost of abandoning the appropriate litigation goals,        products or that these products should not have been sold,
 which were to see, whether or not, based upon the merits of the        because these products were not FDA-approved, could not
 cases, a settlement could be achieved.”                                provide all advertised health benefits, and were inappropriate for
 RESULT:   $89 million settlement.                                      long-term use.
                                                                        RESULT:   $15 million settlement.
> Vioxx Third Party Payor Marketing and Sales Practices
 Litigation                                                            OTHER LANDMARK CASES
 The firm served as lead counsel for third party payors in
                                                                       > New England Compounding Center Meningitis Outbreak
 the Vioxx MDL, alleging that Merck & Co. misled physicians,
                                                                        In 2012, the Center for Disease Control confirmed that New
 consumers and health benefit providers when it touted Vioxx as a
                                                                        England Compounding Center sold at least 17,000 potentially
 superior product to other non-steroidal anti-inflammatory drugs.
                                                                        tainted steroid shots to 75 clinics in 23 states across the
 According to the lawsuit,
                                                                        country, resulting in more than 64 deaths and 751 cases of
 The drug had no benefits over less expensive medications, but
                                                                        fungal meningitis, stroke or paraspinal/peripheral joint infection.
 carried increased risk of causing cardiovascular events.
                                                                        HBSS attorneys Thomas M. Sobol and Kristen A. Johnson serve
 RESULT:   $80 million settlement.
                                                                        as Court-appointed Lead Counsel for the Plaintiffs’ Steering
                                                                        Committee on behalf of plaintiff-victims in MDL 2419 consolidated
> Serono Drug Litigation
                                                                        before The Honorable Ray W. Zobel in the United States District
 Hagens Berman served as lead counsel for a class of consumers
                                                                        Court for the District of Massachusetts.
 and third party payors in a suit alleging that global biotechnology
                                                                        RESULT:   $100 million settlement.
 company Serono, Inc. schemed to substantially increase sales of
 the AIDS drug Serostim by duping patients diagnosed with HIV
 into believing they suffered from AIDS-wasting and needed the
 drug to treat that condition.
 RESULT:   $24 million settlement.




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  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   38 of 175 Page ID
                                                               GENS BERMAN SOBOL SHAPIRO LLP
                                      #:3557




PRACTICE AREAS

Employment Litigation

Hagens Berman takes special interest in protecting workers from exploitation or abuse. We take
on race and gender discrimination, immigrant worker issues, wage and hour issues, on-the-job
injury settlements and other crucial workplace issues.

Often, employees accept labor abuses or a curbing of their           > Washington State Ferry Workers Wage Litigation
rights because they don’t know the law, respect their superiors       Represented “on-call” seamen who alleged that they were not
or fear for their jobs. We act on behalf of employees who may         paid for being “on call” in violation of federal and state law.
lack the individual power to bring about meaningful change in         RESULT:   Better working conditions for the employees and
the workplace. We take a comprehensive approach to rooting            rearrangement in work assignments and the “on-call” system.
out systemic employee abuses through in-depth investigation,
                                                                     > SunDance Rehabilitation Corporation
knowledgeable experts and fervent exploration of prosecution
                                                                      Filed a class action against SunDance challenging illegal wage
strategies. Hagens Berman is a firm well-versed in taking on
                                                                      manipulation, inconsistent contracts and other compensation
complicated employee policies and bringing about significant
                                                                      tricks used to force caregivers to work unpaid overtime.
results. Representative cases include:
                                                                      RESULT:   $3 million settlement of stock to be distributed out of the
> CB Richard Ellis Sexual Harassment Litigation                       company’s bankruptcy estate.
 Filed a class action against CB Richard Ellis, Inc., on behalf of
                                                                     > Schneider National Carriers - Regional Drivers
 16,000 current and former female employees who alleged that
                                                                      The firm represents a certified class of regional drivers in a
 the company fostered a climate of severe sexual harassment
                                                                      suit filed against Schneider National Carriers, claiming that the
 and discriminated against female employees by subjecting them
                                                                      company failed to pay its workers for all of their on duty time
 to a hostile, intimidating and offensive work environment, also
                                                                      devoted to a variety of work tasks, including vehicle inspections,
 resulting in emotional distress and other physical and economic
                                                                      fueling, and waiting on customers and assignments. The suit also
 injuries to the class.
                                                                      claims that the company does not provide proper meal and rest
 RESULT:   An innovative and unprecedented settlement requiring
                                                                      breaks and the company is liable for substantial penalties under
 changes to human resources policies and procedures, as well
                                                                      the California Labor Code.
 as the potential for individual awards of up to $150,000 per
                                                                      RESULT:   A $28 million settlement on behalf of drivers.
 class member. The company agreed to increase supervisor
 accountability, address sexually inappropriate conduct in the       > Schneider National Carriers - Mechanics
 workplace, enhance record-keeping practices and conduct annual       Hagens Berman filed a class-action lawsuit alleging that
 reviews of settlement compliance by a court appointed monitor.       Schneider National Carriers failed to provide mechanics with
                                                                      proper overtime compensation, meal and rest break premiums,
> Costco Wholesale Corporation Wage & Hour Litigation
                                                                      and accurate wage statements as required by California law.
 Filed a class action against Costco Wholesale Corporation
                                                                      RESULT:   In March of 2013, the case was settled on terms mutually
 on behalf of 2,000 current and former ancillary department
                                                                      acceptable to the parties.
 employees, alleging that the company misclassified them
 as “exempt” executives, denying these employees overtime
 compensation, meal breaks and other employment benefits.
 RESULT:   $15 million cash settlement on behalf of the class.




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   39 of 175 Page ID
                                                              GENS BERMAN SOBOL SHAPIRO LLP
                                     #:3558




PRACTICE AREAS

Employment Litigation

> Swift Transportation Co. of Arizona LLC
 The firm represents a certified class of Washington-based truck
 drivers against Swift Transportation. The suit alleges that Swift
 failed to pay the drivers overtime and other earned wages in
 violation of Washington state law.
 An agreement to settle the case was granted preliminary approval
 in October 2018. Final approval is pending.




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  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   40 of 175 Page ID
                                                               GENS BERMAN SOBOL SHAPIRO LLP
                                      #:3559




PRACTICE AREAS

Environmental Litigation

Since Hagens Berman’s founding, it has sought to work toward one simple goal: work for
the greater good. Hagens Berman has established a nationally recognized environmental
litigation practice, having handled several landmark cases in the Northwest, the nation and
internationally.
Hagens Berman believes that protecting and restoring our               RESULT:   A $5 billion judgment was awarded by a federal jury,
environment from damage caused by irresponsible and illegal            and a $98 million settlement was achieved with Alyeska, the oil
corporate action is some of the most rewarding work a law firm         company consortium that owned the output of the pipeline.
can do. Our firm has established an internationally recognized
                                                                      > San Francisco and Oakland Climate Change Litigation
environmental litigation practice.
                                                                       Hagens Berman represents the cities of San Francisco and
SCIENCE AND THE LAW                                                    Oakland, Calif. in two lawsuits filed against BP, Chevron Corp.,
Hagens Berman’s success in environmental litigation stems from a       Exxon Mobil Corp., Royal Dutch Shell PLC and ConocoPhillips
deep understanding of the medical and environmental science that       alleging that the Big Oil giants are responsible for the cities’ costs
measures potential hazards. That expertise is translated into the      of protecting themselves from global warming-induced sea level
courtroom as our attorneys explain those hazards to a judge or jury    rise, including expenses to construct seawalls to protect the
in easily understood terms.                                            two cities’ more than 5 million residents. The newly filed case
                                                                       seek an order requiring defendants to abate the global warming-
ENVIRONMENTAL EXPERTS                                                  induced sea level rise by funding an abatement program to build
The firm has fostered deep relationships with top-notch                sea walls and other infrastructure. Attorneys for the cities say
environmental experts that result in resonating arguments and          this abatement fund will be in the billions.
court victories, as well as thoroughly researched and vetted
investigations.                                                       > Chinook Ferry Litigation
                                                                       The firm represented a class of property owners who challenged
REAL IMPACTS                                                           Washington State Ferries’ high-speed operation of a new
Environmental law is a priority at our firm and we have taken an       generation of fast ferries in an environmentally sensitive area of
active role in expanding this practice area. In 2003, Steve Berman     Puget Sound. Two of the ferries at issue caused environmental
and his wife Kathy worked with the University of Washington to         havoc and property damage, compelling property owners to act.
create the Kathy and Steve Berman Environmental Law Clinic,            A SEPA study conducted in response to the suit confirmed the
giving law students the training and opportunities needed to           adverse environmental impacts of the fast ferry service
become hands-on advocates for the environment.                         RESULT:   A $4.4 million settlement resulted that is among the most
                                                                       favorable in the annals of class litigation in Washington state.
Hagens Berman’s significant environmental cases include:
                                                                      > Grand Canyon Litigation
> Exxon Valdez Oil Spill Litigation
                                                                       The firm represented the Sierra Club in a challenge to a Forest
  Hagens Berman represented various classes of claimants,
                                                                       Service decision to allow commercial development on the
  including fisherman and businesses located in Prince William
                                                                       southern edge of the Grand Canyon National Park.
  Sound and other impacted areas who were damaged by one of
                                                                       RESULT:   The trial court enjoined the project.
  the worst oil spills in United States history.



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  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   41 of 175 Page ID
                                                               GENS BERMAN SOBOL SHAPIRO LLP
                                      #:3560




PRACTICE AREAS

Environmental Litigation
> Kerr-McGee Radiation Case                                            > Diesel Emissions Litigation
 The firm brought a class action on behalf of residents of West         Second to none in uncovering emissions-cheating, the firm
 Chicago, Illinois who were exposed to radioactive uranium tailings     has dedicated its time and resources to breaking up the dirty
 from a rare earth facility operated by Kerr-McGee.                     diesel ring. After filing the first lawsuit in the country against
 RESULT:   A medical monitoring settlement valued in excess of $5       Volkswagen, Audi and Porsche for its massive Dieselgate scandal
 million                                                                in 2015, the firm went on to unmask emissions-cheating devices
                                                                        installed in vehicles made by Fiat Chrysler, Mercedes and General
> Skagit Valley Flood Litigation
                                                                        Motors and continues to investigate diesel cars for excessive,
 Hagens Berman represented farmers, homeowners and
                                                                        illegal and environmentally harmful levels of emissions.
 businesses who claimed damages as a result of the 1990 flooding
                                                                        RESULT:   The firm’s independently researched active cases have led
 of this community. The case was in litigation for ten years and
                                                                        to investigations by the EPA, DOJ and European authorities.
 involved a jury trial of more than five months.
 RESULT:   Following the entry of 53 verdicts against Skagit County,   > Kivalina Global Warming Litigation
 the trial court entered judgments exceeding $6.3 million.              A tiny impoverished Alaskan village of Inupiat Eskimos took
 Ultimately, the State Supreme Court reversed this judgment.            action against some of the world’s largest greenhouse gas
 Despite this reversal, the firm is proud of this representation and    offenders, claiming that contributions to global warming are
 believes that the Supreme Court erred.                                 leading to the destruction of their village and causing erosion
                                                                        to the land that will eventually put the entire community under
> Idaho Grass Burning Case
                                                                        water. Hagens Berman, along with five law firms and two non-
 In 2002, Hagens Berman brought a class-action lawsuit on
                                                                        profit legal organizations, filed a suit against nine oil companies
 behalf of Idaho residents who claimed grass-burning farmers
                                                                        and 14 electric power companies that emit large quantities of
 released more than 785 tons of pollutants into the air, including
                                                                        greenhouse gases into the atmosphere. The lawsuit alleged their
 concentrations of polycyclic aromatic hydrocarbons (PAHs),
                                                                        actions resulted in the destruction of protective ice, exposing the
 proven carcinogens. Burning the fields annually caused serious
                                                                        village to severe storms that destroy the ground the village stands
 health problems, especially to those with respiratory ailments
                                                                        on. Relocating the village of Kivalina could cost between $95 and
 such as cystic fibrosis and asthma. The suit also asserted that
                                                                        $400 million, an expense the community cannot afford.
 Idaho’s grass burning policies are far below the standards of
 other states such as neighboring Washington, where farmers use        > Cane Run Power Plant Coal Ash Case
 other techniques to remove grass residue from the fields.              In 2013, Hagens Berman filed a class-action lawsuit against
 RESULT:   The lawsuit settled in 2006 under confidential terms.        Louisville Gas and Electric Company alleging it illegally dumped
                                                                        waste from a coal-fired power plant onto neighboring property
> Dole Bananas Case
                                                                        and homes where thousands of Kentucky residents live.
 The firm took on Dole Food Company Inc. in a class-action
                                                                        According to the complaint, Louisville Gas and Electric Company’s
 lawsuit claiming the world’s largest fruit and vegetable company
                                                                        Cane Run Power Plant is fueled by the burning of coal, which
 lied to consumers about its environmental record and banana-
                                                                        also produces coal combustion byproducts—primarily fly ash and
 growing practices. The suit alleged that Dole misrepresented
                                                                        bottom ash—that contain significant quantities of toxic materials,
 its commitment to the environment in selling bananas from a
                                                                        including arsenic, chromium and lead. The dust spewed by Cane
 Guatemalan banana plantation that did not comply with proper
                                                                        Run contains known carcinogens, posing significant potential
 environmental practices.
                                                                        health hazards.
 RESULT:   The suit culminated in 2013. Dole and non-profit
 organization Water and Sanitation Health, Inc. collaborated on a
 water filter project to assist local communities in Guatemala.

www.hbsslaw.com                                                                                                                               26
  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   42 of 175 Page ID
                                                               GENS BERMAN SOBOL SHAPIRO LLP
                                      #:3561




PRACTICE AREAS

Governmental Representation

Hagens Berman has been selected by public officials to represent government agencies and
bring civil law enforcement and damage recoupment actions designed to protect citizens and
the treasury. We understand the needs of elected officials and the obligation to impartially and
zealously represent the interests of the public, are often chosen after competitive bidding and
have been hired by officials from across the political spectrum.

Hagens Berman has assisted governments in recovering billions of          RESULT:   Hagens Berman has started the AWP class action, which
dollars in damages and penalties from corporate wrongdoers and,           resulted in many states filing cases. The firm represented several
in the process, helped reform how some industries do business.            of those states in successful litigation.
In serving government, we are often able to leverage the firm’s
                                                                         > McKesson Government Litigation
expertise and success in related private class-action litigation.
                                                                          On the heels of Hagens Berman’s class action against McKesson,
Successes on behalf of government clients include:
                                                                          the firm led lawsuits by states (Connecticut, Utah, Virginia,
> Big Tobacco                                                             Montana, Arizona).
  We represented 13 states in landmark Medicaid-recoupment                RESULT:   These states obtained recoveries three to seven times
  litigation against the country’s major tobacco companies. Only          larger than states settling in the multi-state Attorneys General
  two states took cases to trial – Washington and Minnesota. The          settlement. In addition, the firm obtained $12.5 million for the City
  firm served as trial counsel for the state of Washington, becoming      of San Francisco and $82 million for a nationwide class of public
  only one of two private firms in the entire country to take a state     payors.
  case to trial.
                                                                         > Zyprexa Marketing & Sales Practices Litigation - Connecticut
  Hagens Berman was instrumental in developing what came to               Hagens Berman served as outside counsel to then-Attorney
  be accepted as the predominant legal tactic to use against the          General Richard Blumenthal in litigation alleging that Lilly
  tobacco industry: emphasizing traditional law enforcement claims        engaged in unlawful off-label promotion of the atypical
  such as state consumer protection, antitrust and racketeering           antipsychotic Zyprexa. The litigation also alleged that Lilly made
  laws. This approach proved to be nearly universally successful          significant misrepresentations about Zyprexa’s safety and
  at the pleading stage, leaving the industry vulnerable to a profits-    efficacy, resulting in millions of dollars in excess pharmaceutical
  disgorgement remedy, penalties and double damages. The firm             costs borne by the State and its taxpayers.
  also focused state legal claims on the industry’s deplorable            RESULT:   $25 million settlement.
  practice of luring children to tobacco use.
                                                                         > General Motors Ignition Switch Litigation
  RESULT:   $206 billion for state programs, the largest settlement in
                                                                          Hagens Berman is pleased to be assisting the Arizona Attorney
  the history of civil litigation in the U.S.
                                                                          General in its law enforcement action versus GM, as well as
> McKesson Average Wholesale Price Litigation                             the district attorney of Orange County, California who filed a
  This litigation is yet another example of fraudulent drug price         consumer protection lawsuit against GM, claiming the automaker
  inflation impacting not just consumers and private health               deliberately endangered motorists and the public by intentionally
  plans, but public health programs such as Medicaid and local            concealing widespread, serious safety defects.
  government-sponsored plans as well.



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  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   43 of 175 Page ID
                                                               GENS BERMAN SOBOL SHAPIRO LLP
                                      #:3562




PRACTICE AREAS

Governmental Representation

> State Opioid Litigation                                              > Municipal Lending
 Hagens Berman was hired to assist multiple municipalities in           Hagens Berman represents the cities of Los Angeles and Miami
 lawsuits brought against large pharmaceutical manufacturers            in a series of lawsuits filed against the nation’s largest banks,
 including Purdue Pharma, Cephalon, Janssen Pharmaceuticals,            including CitiGroup, JP Morgan, Wells Fargo and Bank of America
 Endo Health Solutions and Actavis charging that these companies        alleging that they engage in systematic discrimination against
 and others deceived physicians and consumers about the                 minority borrowers, resulting in reduced property tax receipts
 dangers of prescription painkillers.                                   and other damages to the cities. The suits seek damages for the
                                                                        City, claiming that the banks’ alleged discriminatory behavior
 The firm was first hired by California governmental entities for
                                                                        resulted in foreclosures, causing a reduction of property tax
 the counties of Orange and Santa Clara. The state of Mississippi
                                                                        revenues and increased municipal service costs.
 also retained the firm’s counsel in its state suit brought against
 the manufacturer of opioids. The suit alleges that the pharma
 companies engaged in tactics to prolong use of opioids despite
 knowing that opioids were too addictive and debilitating for long-
 term use for chronic non-cancer pain.

 In a third filing, Hagens Berman was retained as trial counsel
 for the state of Ohio. Filed on May 31, 2017, the firm is assisting
 the Ohio Attorney General’s office in its case against five opioid
 makers. Ohio Attorney General Mike DeWine stated that “drug
 companies engaged in fraudulent marketing regarding the risks
 and benefits of prescription opioids which fueled Ohio’s opioid
 epidemic,” and that “these pharmaceutical companies purposely
 misled doctors about the dangers connected with pain meds that
 they produced, and that they did so for the purpose of increasing
 sales.”




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  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   44 of 175 Page ID
                                                               GENS BERMAN SOBOL SHAPIRO LLP
                                      #:3563




PRACTICE AREAS

Intellectual Property

The Hagens Berman intellectual property team has deep experience in all aspects of intellectual
property litigation. We specialize in complex and significant damages cases against some of the
world’s largest corporations.

The firm is primarily engaged in patent infringement litigation         > Oracle
at this time. We seek to represent intellectual property owners,         The firm represents Thought Inc. against Oracle Corporation in
including inventors, universities, non-practicing entities, and other    a suit alleging infringement of seven patents covering various
groups whose patent portfolios represents a significant creative         aspects of middleware systems providing application to database
and capital investment.                                                  mapping, reading and persistence.

Our current and recent engagements include the following:               > Salesforce
                                                                         The firm represents Applications in Internet Time LLC in patent
> Bombadier Inc.
                                                                         litigation against Salesforce Inc. The suit alleges that our client’s
  The firm represented Arctic Cat Inc. in patent infringement
                                                                         patents cover the core architecture of Salesforce’s platform for
  litigation against Bombardier Recreational Products and BRP U.S.
                                                                         developing, customizing, and updating cloud-based software
  Inc. The complaint alleges that Bombardier’s Sea-Doo personal
                                                                         applications.
  watercraft infringe Arctic Cat’s patents covering temporary
  steerable thrust technology used when the rider turns in off-         > Nintendo
  throttle situations.                                                   The firm represented Japan-based Shinsedai Company in patent
  RESULT:   Florida U.S. District Judge Beth Bloom issued a final        infringement litigation against Nintendo. The suit alleged that our
  judgment of $46.7 million against defendants, trebling initial         client’s patents were infringed by various sports games for the
  damages of $15.5 million awarded in a unanimous jury verdict.          Nintendo Wii.

> Angry Birds
  Hagens Berman represented a Seattle artist who filed a lawsuit
  against Hartz Mountain Corporation – one of the nation’s largest
  producers of pet-related products – claiming the company
  illegally sold the artist’s trademarked Angry Birds pet toy line to
  video game giant Rovio Entertainment Ltd, robbing her of millions
                                                                            Unlike other intellectual property firms,
  of dollars of royalty fees.                                               Hagens Berman only represents plaintiffs.
            The case settled under confidential terms, which the firm
  RESULT:
                                                                            This reduces the risk of potential conflicts
  found to be extremely satisfactory for the plaintiff.
                                                                            of interest which often create delays in
> Samsung, LG, Apple
  The firm represents FlatWorld Interactives LLC in patent litigation
                                                                            deciding whether or not to take a case at
  against Samsung, LG and Apple. The complaints allege that the             larger firms.
  defendants’ mobile handsets, tablets, media players and other
  devices infringe a FlatWorld patent covering the use of certain
  gestures to control touchscreen displays.
  RESULT:   The case settled.

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  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   45 of 175 Page ID
                                                               GENS BERMAN SOBOL SHAPIRO LLP
                                      #:3564




PRACTICE AREAS

Intellectual Property

> Electronic Arts
  Hagens Berman represents the original software developer of the
  Electronic Arts (EA) NFL Madden Football video game series in
  a suit alleging that he is owed royalties on EA Madden NFL titles
  as well as other derivative products. We prevailed in two trials
  against EA, and the verdicts were designated as the Top Verdict
  of the Year (2013) by The Daily Journal. The judgment is on
  appeal and if upheld will return for a final damages phase.

Hagens Berman is also skilled in other aspects of intellectual
property law, including trademark, trade dress, trade secret and
copyright litigation.




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  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   46 of 175 Page ID
                                                               GENS BERMAN SOBOL SHAPIRO LLP
                                      #:3565




PRACTICE AREAS

Investor Fraud - Individual and Class Action Litigation

Investing is a speculative business involving assessment of a variety of risks that can only be
properly weighed with full disclosure of accurate information. No investor should suffer undue
risk or incur losses due to misrepresentations related to their investment decisions.

Our attorneys work for institutional and individual investors           > Boeing
defrauded by unscrupulous corporate insiders and mutual funds.           Uncovered critical production problems with the 777 airliner
The firm vigorously pursues fraud recovery litigation, forcing           documented internally by Boeing, but swept under the rug until a
corporations and mutual funds to answer to deceived investors.           pending merger with McDonnell Douglas was completed.
                                                                         RESULT:   Record-breaking settlement of more than $92.5 million.
Hagens Berman is one of the country’s leading securities litigation
firms advising clients in both individual and class-action cases. The   > J.P. Morgan – Madoff
firm has experience, dedication and a team with the horsepower           Case alleges that banking and investment giant J.P. Morgan was
required to drive complex cases to exemplary outcomes. Our               complicit in aiding Bernard Madoff’s Ponzi scheme. Investors
attorneys are authorities in an array of issues unique to federal        claim that J.P. Morgan operated as Bernard L. Madoff Investment
and state securities statutes and related laws. We use a variety of      Securities LLC’s primary banker for more than 20 years.
highly experienced experts as an integral part of our prosecution        RESULT:   $218 million settlement amount for the class and a total
team. Successes on behalf of our investor clients include:               of $2.2 billion paid from JPMorgan that will benefit victims of
                                                                         Madoff’s Ponzi scheme.
> Charles Schwab Securities Litigation
 Lead counsel, alleging fraud in the management of the Schwab           > Morrison Knudsen
 YieldPlus mutual fund.                                                  Filed a shareholder class action, alleging that MK’s senior officers
 RESULT:   $235 million class settlement for investors.                  concealed hundreds of millions in losses.
                                                                         RESULT:   More than $63 million for investors.
> Oppenheimer
 Additional counsel for lead plaintiffs in class action alleging        > Raytheon/Washington Group
 Oppenheimer misled investors regarding its Champion and Core            Charged Raytheon with deliberately misrepresenting the true
 Bond Funds.                                                             financial condition of Raytheon Engineers & Constructors division
 RESULT:   $100 million for the classes.                                 in order to sell this division to the Washington Group at an
                                                                         artificially inflated price.
> Tremont
                                                                         RESULT:   $39 million settlement.
 Co-lead counsel in a case alleging Tremont Group Holdings
 breached its fiduciary duties by turning over $3.1 billion to          > U.S. West
 Bernard Madoff. On Sept. 14, 2015, after nearly two years of            Represented shareholders of U.S. West New Vector in a
 negotiations and mediation, the court granted final approval of         challenge to the proposed buyout of minority shareholders by
 the plan of allocation and distribution of the funds which markets      U.S. West.
 estimate could yield investors as much as $1.45 billion.                RESULT:   The proposed buyout was stayed, and a settlement was
 RESULT:   $100 million settlement between investors, Tremont and        achieved, resulting in a $63 million increase in the price of the
 its affiliates.                                                         buyout.




www.hbsslaw.com                                                                                                                               31
  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   47 of 175 Page ID
                                                               GENS BERMAN SOBOL SHAPIRO LLP
                                      #:3566




PRACTICE AREAS

Investor Fraud - Individual and Class Action Litigation

Our current casework includes:                                          a default judgment in the amount of $535 million and certified
                                                                        a proposed class against China Media Express Holdings Inc.
> Theranos Investor Litigation                                          The case will proceed separately against Deloitte Touche
 Hagens Berman represents Theranos investors in a lawsuit that          Tohmatsu.
 states that Theranos and its officers set in motion a publicity        On May 6, 2015 Hagens Berman obtained a $12 million
 campaign to raise billions of dollars for Theranos and themselves,     settlement from Deloitte Touche Tohmatsu, one of the largest
 and to induce investors to invest in Theranos, all the while           settlements against an auditor in a Chinese “reverse merger”
 knowing that its “revolutionary” blood test technology was             case which is now awaiting final approval from the court.
 essentially a hoax. The suit filed against the company, its CEO
                                                                       > Altisource Asset Management Corporation
 Elizabeth Holmes and Ramesh Balwani, alleges that Theranos’
                                                                         The firm was appointed lead counsel in this institutional
 statements to investors were built on false statements. At the
                                                                         investor lawsuit brought on behalf of purchasers of Altisource
 crux of the court’s recent decision to uphold the investor case         Asset Management Corporation (AAMC). The complaint
 against Theranos was a finding that while plaintiffs did not            alleges that AAMC misrepresented or outright concealed its
 directly purchase their securities from defendants, claims made         relationship with these companies and the extent to which
 by Theranos, Holmes and Balwani constituted fraud.                      the interconnected entities engaged in conflicted transactions
                                                                         with themselves. Estimates of class-wide damages are in the
> Aequitas Investor Litigation                                           hundreds of millions of dollars. The firm recently filed the
 The firm represents a group of investors alleging that national         consolidated complaint and motions to dismiss are pending
 law firm Sidley Austin LLP, Oregon law firm Tonkon Torp LLP             before the U.S. District Court for the District of the Virgin
 and accounting firms Deloitte & Touche LLP and EisnerAmper             Islands.
 LLP violated Oregon securities laws by participating or materially
 aiding in misrepresentations made by Aequitas Management              WHISTLEBLOWERS
 LLC and contributing to a $350 million Ponzi scheme. Investors
                                                                       In an effort to curb Wall Street excesses, Congress passed the
 state, amongst other allegations, that in 2011 Aequitas began
                                                                       Dodd-Frank Wall Street Reform and Consumer Protection Act,
 purchasing loan receivables from Corinthian College Inc. and
                                                                       which built vigorous whistleblower protections into the legislation
 had bought the rights to collect $444 million in loans. Investment
                                                                       known as the “Wall Street Tip-Off Law.” The law empowers the
 managers hid the details of the transactions from investors,
                                                                       U.S. Securities and Exchange Commission to award between 10
 and deceived them when Corinthian’s business was hit with
                                                                       and 30 percent of any monetary sanctions recovered in excess of
 regulatory challenges in 2014. When Corinthcollapsed in May
                                                                       $1 million to whistleblowers who provide information leading to a
 2015, the investment group and its managers continued to sell
                                                                       successful SEC enforcement. It also provides similar rewards for
 securities and used the money to pay off other investors and fund
                                                                       whistleblowers reporting fraud in the commodities markets.
 a lavish lifestyle, until Aequitas ultimately imploded in 2017, the
 investors claim.                                                      Hagens Berman represents whistleblowers with claims involving
                                                                       violations of the Securities Exchange Act and the Commodities
> China MediaExpress
                                                                       Exchange Act. Unlike traditional whistleblower firms who have
  Hagens Berman represents investors in a case against China
                                                                       pivoted into this area, Hagens Berman has a strong background
  MediaExpress, which purported to be the owner of a network
                                                                       and history of success in securities, antitrust and other areas of
  of advertising terminals on buses throughout China. The case
  alleges that the company and its auditor (Deloitte Touche            fraud enforcement, making us an ideal partner for these cases. Our
  Tohmatsu) participated in accounting fraud that ultimately led       matters before the SEC/CFTC include a range of claims, including
  to the demise of the company. In early 2014, the court entered       market manipulation and fraudulent financial statements.


www.hbsslaw.com                                                                                                                             32
  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   48 of 175 Page ID
                                                               GENS BERMAN SOBOL SHAPIRO LLP
                                      #:3567




PRACTICE AREAS

Investor Fraud - Institutional Investor Portfolio Monitoring
and Recovery Services
Hagens Berman is a leading provider of specialized securities litigation services to public,
private and Taft-Hartley pension funds. We offer proprietary and unparalleled asset protection
and recovery services to both foreign and domestic institutions. Our institutional services
provide participants with the ability to identify, investigate and react to potential wrongdoing by
companies in which the institution invests.

PORTFOLIO MONITORING. Timely information and analysis are                 Our Portfolio Monitoring Service performs its functions with
the critical ingredients of a successful fraud recovery program.          almost no inconvenience to participating institutions. A client’s
Institutions must receive quick, reliable determinations concerning       custodian bank provides us with records detailing the client’s
the source and extent of their losses, the likelihood of recoupment       transactions from the prior several years and on a regular basis
and the best manner for pursuing it. Our Portfolio Monitoring             thereafter. Importantly, none of the institution’s own personnel is
Service provides these services at no cost to participating               required to share in this task, as we acquire the information directly
institutions. The Hagens Berman Portfolio Monitoring Service has          from the custodian bank.
three primary components:
                                                                          We provide our Portfolio Monitoring service with no strings
TRACKING. Alerts clients of any significant portfolio losses due to       attached and allow our clients to act without cost or commitment.
suspected fraud.                                                          In instances where a litigation opportunity arises, we believe our
                                                                          skills make us the ideal choice for such a role, although the client is
ANALYSIS. Provide clients with necessary legal and factual
                                                                          free to choose others.
analyses regarding possible recovery options, removing from the
institution any burden connected with scrutinizing myriad instances       When a portfolio loses money because of corporate deception,
of potential wrongdoing and attempt to decipher whether direct,           our litigation services seek to recover a substantial percentage of
recoverable injuries have resulted.                                       those losses, thereby increasing a fund’s performance metric. As
                                                                          fiduciaries, money managers may not have the ability or desire
REPORTING. Attorneys and forensic accounting fraud experts
                                                                          to risk funds on uncertain litigation using typical hourly-rate law
deliver a concise monthly report that furnishes comprehensive
                                                                          firms. Hagens Berman seeks to minimize the burden on the money
answers to these inquiries. On a case-by-case basis, the report
                                                                          manager by pursuing cases on a contingent-fee basis.
specifies each of the securities in which the client lost a significant
amount of money, and matches those securities with an analysis
of potential fraud likelihood, litigation options and an expert
recommendation on how best to proceed for maximum recovery.




www.hbsslaw.com                                                                                                                                 33
  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   49 of 175 Page ID
                                                               GENS BERMAN SOBOL SHAPIRO LLP
                                      #:3568




PRACTICE AREAS

Personal Injury and Abuse

For nearly two decades, Hagens Berman’s blend of professional expertise and commitment to
our clients has made our firm one of the most well-respected and successful mass tort and
personal injury law firms in the nation. We deliver exceptional results for our clients by obtaining
impressive verdicts and settlements in personal injury litigation.

Our attorneys have experience in wrongful death, brain injury           tens of thousands of citizens who are unable to protect themselves.
and other catastrophic injury cases, as well as deep experience         Many social workers do a fine job. Tragically, many do not. The
in social work negligence, medical malpractice, nursing home            results are often catastrophic when a social worker fails to monitor
negligence and sexual abuse cases.                                      and protect his or her vulnerable client. All too often, the failure
                                                                        to protect a child or disabled citizen leads to injury or sexual
Hagens Berman also has unparalleled experience in very specific
                                                                        victimization by predators. With more than $40 million in recoveries
areas of abuse law, recovering damages on behalf of some of the
                                                                        on behalf of vulnerable citizens who were neglected by social
most vulnerable people in our society.
                                                                        workers, Hagens Berman is the most experienced, successful and

Sexual Abuse Litigation Hagens Berman has represented a wide            knowledgeable group of attorneys in this dynamic area of the law.

spectrum of individuals who have been victims of sexual abuse,
                                                                        Workplace Injury While many workplace injury claims are
including children and developmentally disabled adults. We treat
                                                                        precluded by workers compensation laws, many instances of
each case individually, with compassion and attention to detail and
                                                                        workplace injury are caused by the negligence and dangerous
have the expertise, resources and track record to stand up to the
                                                                        oversight of third parties. In these instances, victims may have
toughest opponents. In the area of sexual abuse, our attorneys have
                                                                        valid claims. Hagens Berman’s personal injury legal team has
obtained record-breaking verdicts, including the largest personal
                                                                        successfully brought many workplace injury claims, holding third
injury verdict ever upheld by an appellate court in the state of
                                                                        parties liable for our clients’ serious bodily injuries.
Washington.
                                                                        Medical Malpractice Litigating a medical malpractice case takes
Nursing Home Negligence Nursing home negligence is a growing
                                                                        acute specialization and knowledge of medical treatments and
problem throughout the nation. As our population ages, reports of
                                                                        medicine. Notwithstanding these facts, Hagens Berman pursues
elder abuse and nursing home negligence continue to rise. Today,
                                                                        meritorious medical malpractice claims in instances where clients
elder abuse is one of the most rapidly escalating social problems
                                                                        have suffered life-altering personal injuries. Our firm’s personal
in our society. Hagens Berman is uniquely qualified to represent
                                                                        injury attorneys handle medical malpractice cases with the
victims of elder abuse and nursing home negligence. Our attorneys
                                                                        dedication and detail necessary to make victims whole. Hagens
have secured outstanding settlements in this area of the law
                                                                        Berman is very selective in accepting medical malpractice cases
and have committed to holding nursing homes accountable for
                                                                        and has been successful in recovering significant compensation for
wrongdoing.
                                                                        victims of medical error and negligence.

Social Work Negligence Social workers play a critical role in the
daily lives of our nation’s most vulnerable citizens. Social workers,
assigned to protect children, the developmentally disabled and
elderly adults, are responsible for critical aspects of the lives of




www.hbsslaw.com                                                                                                                                34
 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   50 of 175 Page ID
                                                              GENS BERMAN SOBOL SHAPIRO LLP
                                     #:3569




PRACTICE AREAS

Sports Litigation

Hagens Berman has one of the nation’s most highly regarded sports law practices. Our
attorneys are the vanguard of new and innovative legal approaches to protect the rights of
professional and amateur athletes in cases against large, well-financed interests, including the
National Collegiate Athletic Association (NCAA), the National Football League (NFL) and the
Fédération Internationale de Football Association (FIFA).

> NCAA: Concussions                                                   > Player Likeness Rights
 Cases of particular nationwide interest for fans, athletes and the    Hagens Berman attorneys representing student-athletes who
 general public involve numerous cases filed by Hagens Berman          claimed that the NCAA illegally used student-athletes’ names,
 against the NCAA. Recently, the firm has taken on the NCAA for        images and likenesses in Electronic Arts’ popular NCAA Football,
 its failure to prevent concussions and protect student-athletes       Basketball and March Madness video game series reached a
 who suffered concussions. Steve Berman serves as lead counsel         combined $60 million settlement with the NCAA and EA, marking
 in multi-district litigation as the firm finalizes a settlement       the first time the NCAA has agreed to a settlement that pays
 that will bring sweeping changes to the NCAA’s approach to            student-athletes for acts related to their participation in athletics.
 concussion treatment and prevention; provide a 50-year medical-       Settlement checks were sent to about 15,000 players, with
 monitoring program for student-athletes to screen for and track       average amounts of $1,100 and some up to $7,600.
 head injuries; and establish a $5 million fund for concussion
                                                                       The firm began this case with the knowledge that the NCAA
 research.
                                                                       and member schools were resolute in keeping as much control
 The core settlement benefits include a 50-year medical                over student-athletes as possible, and fought hard to ensure
 monitoring program overseen by a medical science committee            that plaintiffs would not be exploited for profit, especially by the
 appointed by the court that will screen and track concussions,        organization that vowed to prevent the athlete from exploitation.
 funded by a $70 million medical monitoring fund, paid by the
                                                                       The firm also represented NFL legend Jim Brown in litigation
 NCAA and its insurers. Examinations include neurological and
                                                                       against EA for improperly using his likeness in its NFL video
 neurocognitive assessments to evaluate potential injuries.
                                                                       games, culminating in a $600,000 voluntary judgment offered by
 The settlement also mandates significant changes to and               the video game manufacturer.
 enforcement of the NCAA’s concussion management policies
                                                                      > FIFA/U.S. Soccer: Concussions
 and return-to-play guidelines. All players will now receive a
                                                                       Several current and former soccer players filed a class action
 seasonal, baseline test to better assess concussions sustained
                                                                       against U.S. soccer’s governing bodies, which led to life-changing
 during the season. All athletes who have sustained a concussion
                                                                       safety measures brought to millions of U.S. youth soccer
 will now need to be cleared before returning to play. A medical
                                                                       players. Players represented by Hagens Berman alleged these
 professional trained in the diagnosis of concussions will be
                                                                       groups failed to adopt effective policies to evaluate and manage
 present at all games involving contact-sports. The settlement also
                                                                       concussions, leaving millions of players vulnerable to long-lasting
 creates reporting mandates for concussions and their treatment.
                                                                       brain injury.




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   51 of 175 Page ID
                                                              GENS BERMAN SOBOL SHAPIRO LLP
                                     #:3570




PRACTICE AREAS

Sports Litigation

 The settlement against six of the largest youth soccer                 > NCAA: Scholarships/Grants-In-Aid (GIAs)
 organizations completely eliminates heading for youth soccer’s         In a first-of-its-kind antitrust action and potentially far-reaching
 youngest players, greatly diminishing risks of concussions and         case, Hagens Berman filed a class-action affecting approximately
 traumatic head injuries. Prior to the settlement, no rule limited      40,000 Division I collegiate athletes who played men’s or
 headers in children’s soccer.                                          women’s basketball, or FBS football, brought against the NCAA
                                                                        and its most powerful members, including the Pac-12, Big Ten,
 It also sets new benchmarks for concussion measurement
                                                                        Big-12, SEC and ACC, claiming these entities violated federal
 and safety protocols, and highlights the importance of on-staff
                                                                        antitrust laws by drastically reducing the number of scholarships
 medical personnel at youth tournaments. Under the settlement,
                                                                        and financial aid student-athletes receive to an amount below
 youth players who have sustained a concussion during practice
                                                                        the actual cost of attendance and far below what the free market
 or a game will need to follow certain return-to-play protocols
                                                                        would bare.
 before they are allowed to play again. Steve Berman, a youth
 soccer coach, has seen first-hand the settlement’s impacts and         The firm continues to fight on behalf of student-athletes to level
 life-changing effects every time young athletes take to the field,     the playing field and bring fairness to college sports and players.
                                                                        The case resulted in a $208.9 million settlement, bringing an
> NCAA: Transfer Antitrust
                                                                        estimated average amount of $6,500 to each eligible class
 Hagens Berman has also recently taken on the NCAA on behalf
                                                                        member who played his or her sport for four years.
 of several highly recruited college athletes whose scholarships
 were revoked after a coaching change, or after the student-            In March of 2019, the firm spearheaded the trial on the injunctive
 athletes sought to transfer to another NCAA-member school. The         aspect of the case which resulted in a change of NCAA rules
 suit claims that the organization’s limits and Draconian transfer      limiting the financial treatment of athletes. The injunction
 regulations violate federal antitrust laws.                            will prohibit the NCAA from enforcing any rules that fix or
                                                                        limit compensation provided to college-athletes by schools or
 It the firm’s most recent suit against the sports-governing entity,
                                                                        conferences in consideration for their athletic services other than
 a Division I student-athlete at Northwestern University was faced
                                                                        cash compensation untethered to education-related expenses.
 with repeated harassment from the university to transfer, in order
                                                                        According to the Court, the NCAA is “permanently restrained and
 to underhandedly free up his athletic scholarship. According
                                                                        enjoined from agreeing to fix or limit compensation or benefits
 to the complaint, the university resorted to falsified records of
                                                                        related to education” that conferences may make available.
 misconduct, verbal harassment and more.
                                                                       > Pop Warner
 The firm’s case hinges on a destructive double-standard. While
                                                                        Hagens Berman represents youth athletes who have suffered
 Non-student-athletes are free to transfer and are eligible for
                                                                        traumatic brain injuries due to gross negligence, and filed a
 a new scholarship without waiting a year, and coaches often
                                                                        lawsuit on behalf of former Pop Warner football player Donnovan
 transfer to the tune of a hefty pay raise, student-athletes are
                                                                        Hill and his mother Crystal Dixon. The suit claims that the league
 penalized and forced to sit out a year before they can play
                                                                        insisted Hill use improper and dangerous tackling techniques
 elsewhere, making them much less sought after by other college
                                                                        which left the then 13-year-old paralyzed from the neck down.
 athletic programs. Hagens Berman continues to fights for
 student-athletes’ rights to be treated fairly and terminate the        Hagens Berman sought to hold Pop Warner, its affiliates, Hill’s
 NCAA’s anticompetitive practices and overbearing regulations           coaches and members of the Lakewood Pop Warner board of
 that limit players’ options and freedoms.                              directors accountable for the coaches’ repeated and incorrect
                                                                        instruction that Hill and his teammates tackle opposing players

www.hbsslaw.com                                                                                                                            36
  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   52 of 175 Page ID
                                                               GENS BERMAN SOBOL SHAPIRO LLP
                                      #:3571




PRACTICE AREAS

Sports Litigation

 by leading with the head. In January of 2016, the firm reached           serious safety issue at stake, the firm continues to urge MLB and
 a settlement on behalf of Donnovan and his mother, the details           its commissioner to make these more than recommendations to
 of which were not released. Sadly, months later, 17-year-                help end senseless and avoidable injuries to baseball’s biggest
 old Donnovan passed away. The firm believes that his case                fans.
 will continue to have a lasting impact on young athletes for
                                                                         > Other Cases
 generations and will help ensure safety in youth sports.
                                                                          In addition to its class actions, Hagens Berman has filed several
> MLB Foul Ball Injuries                                                  individual cases to uphold the rights of athletes and ensure a fair
 Hagens Berman filed a class-action lawsuit on behalf of baseball         and safe environment. The firm has filed multiple individual cases
 fans, seeking to extend safety netting to all major and minor            to address concussions and other traumatic head injuries among
 league ballparks from foul pole to foul pole. The suit alleges that      student-athletes at NCAA schools and in youth sports. Hagens
 tens of millions attend an MLB game annually, and every year             Berman continues to represent the interests of athletes and find
 fans of all ages, but often children, suffer horrific and preventable    innovative and effective applications of the law to uphold players’
 injuries, such as blindness, skull fractures, severe concussions         rights.
 and brain hemorrhages when struck by a fast-moving ball or
                                                                          The firm has also brought many concussions cases on behalf of
 flying shrapnel from a shattered bat.
                                                                          individual athletes, challenging large universities and institutions
 In December of 2015, MLB’s commissioner Rob Manfred issued               for the rights those who have suffered irreversible damage due
 a recommendation to all 30 MLB teams to implement extended               to gross negligence and lack of even the most basic concussion-
 safety measures, including additional safety netting at ballparks.       management guidelines.
 While the firm commends the league for finally addressing the




www.hbsslaw.com                                                                                                                              37
  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   53 of 175 Page ID
                                                               GENS BERMAN SOBOL SHAPIRO LLP
                                      #:3572




PRACTICE AREAS

Whistleblower Litigation

Hagens Berman represents whistleblowers under various programs at both the state and
federal levels. All of these whistleblower programs reward private citizens who blow the whistle
on fraud. In many cases, whistleblowers report fraud committed against the government and
may sue those individuals or companies responsible, helping the government recover losses.

Our depth and reach as a leading national plaintiffs’ firm with         > In U.S. ex rel. Lagow v. Bank of America
significant success in varied litigation against industry leaders in     Represented former District Manager at Landsafe, Countrywide
finance, health care, consumer products, and other fields causes         Financial’s mortgage appraisal arm, who alleged systematic
many whistleblowers to seek us to represent them in claims               abuse of appraisal guidelines as a means of inflating mortgage
alleging fraud against the government.                                   values.
                                                                         RESULT:   The case was successful, ultimately triggering a
Our firm also has several former prosecutors and other
                                                                         settlement of $1 billion, and our client received a substantial
government attorneys in its ranks and has a long history of working
                                                                         reward.
with governments, including close working relationships with
attorneys at the U.S. Department of Justice. The whistleblower          > In U.S. ex rel. Mackler v. Bank of America
programs under which Hagens Berman pursues cases include:                Represented a whistleblower who alleged that Bank of America
                                                                         failed to satisfy material conditions of its government contract to
FALSE CLAIMS ACT
                                                                         provide homeowners mortgage relief under the HAMP program.

Under the federal False Claims Act, and more than 30 similar             RESULT:   The case succeeded and was settled as part of the 2012

state laws, a whistleblower reports fraud committed against the          global mortgage settlement, resulting in an award to our client.

government, and under the law’s Qui Tam provision, may file suit
                                                                        > In U.S. ex rel. Horwitz v. Amgen
on its behalf to recover lost funds. False claims acts are one of
                                                                         Represented Dr. Marshall S. Horwitz, who played a key role in
the most effective tools in fighting Medicare and Medicaid fraud,
                                                                         uncovering an illegal scheme to manipulate the scientific record
defense contractor fraud, financial fraud, under-payment of
                                                                         regarding two of Amgen’s blockbuster drugs.
royalties, fraud in general services contracts and other types of
                                                                         RESULT:   $762 million in criminal and civil penalties levied by the
fraud perpetrated against governments.
                                                                         U.S. Department of Justice and an award to our client.

The whistleblower initially files the case under seal, giving it only
                                                                        > In U.S. ex rel. Thomas v. Sound Inpatient Physicians Inc. and
to the government and not to the defendant, which permits the
                                                                         Robert A. Bessler
government to investigate. After the investigation, the government
                                                                         Represented a former regional vice president of operations for
may take over the whistleblower’s suit, or it may decline. If the
                                                                         Sound Physicians, who blew the whistle on Sound’s alleged
government declines, the whistleblower can proceed alone on
                                                                         misconduct.
his or her behalf. In successful suits, the whistleblower normally
                                                                         RESULT:   Tacoma-based Sound Physicians agreed to pay the United
receives between 15 and 30 percent of the government’s recovery
                                                                         States government $14.5 million.
as a reward.
                                                                        > In U.S. ex rel. Plaintiffs v. Center for Diagnostic Imaging Inc.
Since 1986, federal and state false claims act recoveries have
                                                                         In May 2010, Hagens Berman joined as lead trial counsel a qui
totaled more than $22 billion. Some examples of our cases brought
                                                                         tam lawsuit on behalf of two whistleblowers against Center for
under the False Claims Act include:

www.hbsslaw.com                                                                                                                                 38
  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   54 of 175 Page ID
                                                               GENS BERMAN SOBOL SHAPIRO LLP
                                      #:3573




PRACTICE AREAS

Whistleblower Litigation

  Diagnostic Imaging, Inc. (CDI), alleging that CDI violated anti-       Markets, the second-largest financial exchange in the country).
  kickback laws and defrauded federally funded health programs by        The exchanges agreed to pay $14 million to settle charges that the
  presenting false claims for payment.                                   exchanges failed to accurately and completely disclose how order
  RESULT:   In 2011, the government intervened in the claims,            types functioned on its exchanges and for selectively providing
  which the company settled for approximately $1.3 million.              such information only to certain high-frequency trading firms.
  The government declined to intervene, however, in the no-
                                                                         Hagens Berman also represents an anonymous whistleblower
  written-orders and kickback claims, leaving those claims for
                                                                         who brought his concerns and original analysis related to the May
  the whistleblowers and their counsel to pursue on their own.
                                                                         2, 2010 Flash Crash to the CFTC after hundreds of hours spent
  The non-intervened claims settled for an additional $1.5 million
                                                                         analyzing data and other information.
  payment to the government.

> Medtronic
                                                                         Both the U.S. Commodity Futures Trading Commission (CFTC)
On Feb. 19, 2008 the court unsealed a qui tam lawsuit brought
                                                                         and the Department of Justice, in separate criminal and civil
by Hagens Berman against Medtronic, one of the world’s largest
                                                                         enforcement actions, brought charges of market manipulation and
medical technology companies, for fraudulent medical device
                                                                         spoofing against Nav Sarao Futures Limited PLC (Sarao Futures)
applications to the FDA and off-label promotion of its biliary
                                                                         and Navinder Singh Sarao (Sarao) based on the whistleblower’s
devices.
                                                                         information.
RESULT:   The case settled in 2012 for an amount that remained under
seal.                                                                    Hagens Berman has worked alongside government officials and
                                                                         regulators, establishing the credibility necessary to bring a case to
SECURITIES AND EXCHANGE COMMISSION /                                     the SEC or CFTC. When Hagens Berman brings a claim, we work
COMMODITY FUTURES TRADING COMMISSION                                     hard to earn their respect and regulators pay attention.

Since implementation of the SEC/CFTC Dodd Frank whistleblower            A few of the firm’s most recent whistleblower cases in this area
programs in 2011, Hagens Berman has naturally transitioned into          include:
representation of whistleblowers with claims involving violations of
the Securities Exchange Act and the Commodities Exchange Act.            > EDGA Exchange Inc. and EDGX Exchange Inc.
                                                                           Represented HFT whistleblower and market expert, Haim Bodek,
Unlike the False Claims Act, whistleblowers with these new                 in an SEC fraud whistleblower case against two exchanges
programs do not initially file a sealed lawsuit. Instead, they provide     formerly owned by Direct Edge Holdings and since acquired by
information directly to the SEC or the CFTC regarding violations of        Bats Global Markets, the second-largest financial exchange in the
the federal securities or commodities laws. If the whistleblower’s         country for spoofing.
information leads to an enforcement action, they may be entitled to        RESULT:   The case prompted the U.S. Securities and Exchange
between 10 and 30 percent of the recovery.                                 Commission to bring record-breaking fine of $14 million against
                                                                           defendants, the largest ever brought against a financial exchange.
The firm currently represents HFT whistleblower and market
expert, Haim Bodek, in an SEC fraud whistleblower case that
prompted the U.S. Securities and Exchange Commission to bring
record-breaking fines against two exchanges formerly owned
by Direct Edge Holdings (and since acquired by Bats Global



www.hbsslaw.com                                                                                                                              39
 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   55 of 175 Page ID
                                                              GENS BERMAN SOBOL SHAPIRO LLP
                                     #:3574




PRACTICE AREAS

Whistleblower Litigation

> Nav Sarao Futures Limited PLC                                       INTERNAL REVENUE SERVICE
 Hagens Berman represents an anonymous whistleblower who
                                                                      Hagens Berman also represents whistleblowers under the IRS
 brought his concerns and original analysis to the CFTC after
                                                                      whistleblower program enacted with the Tax Relief and Health Care
 hundreds of hours spent analyzing data and other information.
                                                                      Act of 2006.
 The claim brought about legal action against a market
 manipulator who profited more than $40 million from market           The IRS program offers rewards to those who come forward
 fraud and contributed to the May 6, 2010 Flash Crash.                with information about persons, corporations or any other entity
 RESULT:   Both the CFTC and the Department of Justice, in separate   that cheats on its taxes. In the event of a successful recovery of
 criminal and civil enforcement actions, brought charges of market    government funds, a whistleblower can be rewarded with up to 30
 manipulation and spoofing against Nav Sarao Futures Limited          percent of the overall amount collected in taxes, penalties and legal
 PLC and Navinder Singh Sarao based on the whistleblower’s            fees.
 information. The case is still pending under seal.
                                                                      Hagens Berman helps IRS whistleblowers present specific, credible
                                                                      tax fraud information to the IRS. Unlike some traditional False
                                                                      Claims Act firms, Hagens Berman has experience representing
                                                                      governments facing lost tax revenue due to fraud, making us well-
                                                                      positioned to prosecute these cases.




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   56 of 175 Page ID
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                                             Appellate Victories




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  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   57 of 175 Page ID
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APPELLATE VICTORIES

Strengthening Consumer Law

At Hagens Berman, we distinguish ourselves not merely by the results we obtain, but by how
we obtain them. Few class-action firms have our firm’s combination of resources and acumen
to see a case through as long as needed to obtain a favorable outcome. Our attorneys were
instrumental in obtaining these federal appellate decisions that have shaped consumer law and
bolstered the rights of millions nationwide:

> In Matter of Motors Liquidation Co., 829 F.3d 135 (2d Cir. 2016)        > Agnew v. Nat’l Collegiate Athletic Ass’n, 683 F.3d 328 (7th Cir.
  (General Motors bankruptcy reorganization did not bar claims              2012) (NCAA bylaws limiting scholarships per team and
  stemming from defective ignition switches)                                prohibiting multi-year scholarships are subject to antitrust
> George v. Urban Settlement Servs., 833 F.3d 1242 (10th Cir. 2016)         scrutiny and do not receive pro-competitive justification at
  (complaint adequately alleged Bank of America’s mortgage                  pleading stage)
  modification program violated RICO)                                     > In re Lupron Mktg. & Sales Practices Litig., 677 F.3d 21, 24 (1st Cir.
> In re Loestrin 24 Fe Antitrust Litig., 814 F.3d 538 (1st Cir. 2016)       2012) (approving cy pres provision in $150 million settlement)
  (“reverse payments” for antitrust purposes under Actavis are not        > In re Pharm. Indus. Average Wholesale Price Litig., 582 F.3d 156
  limited to cash payments)                                                 (1st Cir. 2009) (AstraZeneca illegally published inflated average
> Osborn v. Visa Inc., 797 F.3d 1057 (D.C. Cir. 2015) (complaint            wholesale drug prices, thereby giving windfall to physicians and
  adequately alleged Visa and MasterCard unlawfully agreed to               injuring patients who paid inflated prices)
  restrain trade in setting ATM access fees)
> Little v. Louisville Gas & Elec. Co., 805 F.3d 695 (6th Cir. 2015)      We set ourselves apart not only by getting results but by litigating
  (Clean Air Act did not preempt state nuisance claims against coal       every case through to finish – to trial and appeal, if necessary.
  plant for polluting surrounding community)                              This tenacious drive has led our firm to generate groundbreaking
> City of Miami v. Citigroup Inc., 801 F.3d 1268 (11th Cir. 2015)         precedents in consumer law.
  (reversing dismissal of complaint alleging Citigroup violated Fair
                                                                          Hagens Berman has also been active in state courts nationwide.
  Housing Act by pattern of discriminatory lending)
                                                                          Notable examples of our victories include:
> Rajagopalan v. NoteWorld, LLC, 718 F.3d 844 (9th Cir. 2013) (non-
  party could not invoke arbitration clause against plaintiff suing       > Garza v. Gama, 379 P.3d 1004 (Ariz. Ct. App. 2016) (reinstating
  debt services provider)                                                   certified class in wage-and-hour action prosecuted by Hagens
> In re Neurontin Mktg. & Sales Practices Litig., 712 F.3d 21 (1st Cir.     Berman since 2005)
  2013) (affirming $142 million verdict for injury suffered from          > In re Farm Raised Salmon Cases, 42 Cal. 4th 1077 (Cal. 2008)
  RICO scheme by Neurontin manufacturer Pfizer)                             (Federal Food, Drug and Cosmetic Act did not preempt state
> In re NCAA Student-Athlete Name & Likeness Licensing Litig., 724          claims for deceptive marketing of food products)
  F.3d 1268 (9th Cir. 2013) (First Amendment did not shield video         > Pickett v. Holland Am. Line-Westours, Inc., 35 P.3d 351 (Wash. 2001)
  game developer’s use of college athletes’ likenesses)                     (reversing state court of appeals and upholding class action
> Garcia v. Wachovia Corp., 699 F.3d 1273 (11th Cir. 2012) (Wells           settlement with cruise line)
  Fargo could not rely on Concepcion to evade waiver of any right
  to compel arbitration)


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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   58 of 175 Page ID
                                                              GENS BERMAN SOBOL SHAPIRO LLP
                                     #:3577




                                                               Legal Team




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    Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   59 of 175 Page ID
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                                   MANAGING PARTNER

                                   Steve W. Berman
                                   Served as co-lead counsel against Big Tobacco, resulting in the largest
                                   settlement in world history, and at the time the largest automotive, antitrust,
                                   ERISA and securities settlements in U.S. history.


CONTACT                            Steve Berman represents consumers, investors and employees in large, complex litigation held in state
1301 Second Avenue                 and federal courts. Steve’s trial experience has earned him significant recognition and led The National
Suite 2000                         Law Journal to name him one of the 100 most powerful lawyers in the nation, and to repeatedly name
Seattle, WA 98101
                                   Hagens Berman one of the top 10 plaintiffs’ firms in the country. Steve was named an MVP of the Year
                                   by Law360 in 2016 and 2017 for his class-action litigation and received the 2017 Plaintiffs’ Trailblazer
(206) 623-7292 office
                                   award. He was recognized for the third year in a row as an Elite Trial Lawyer by The National Law
(206) 623-0594 fax
steve@hbsslaw.com                  Journal.

YEARS OF EXPERIENCE                Steve co-founded Hagens Berman in 1993 after his prior firm refused to represent several young children
> 39                               who consumed fast food contaminated with E. coli—Steve knew he had to help. In that case, Steve proved
                                   that the poisoning was the result of Jack in the Box’s cost cutting measures along with gross negligence.
PRACTICE AREAS                     He was further inspired to build a firm that vociferously fought for the rights of those unable to fight for
>   Antitrust/Trade Law            themselves. Berman’s innovative approach, tenacious conviction and impeccable track record have earned
>   Consumer Protection            him an excellent reputation and numerous historic legal victories. He is considered one of the nation’s
>   Governmental Representation    most successful class-action attorneys, and has been praised for securing record-breaking settlements
>   Securities/Investment Fraud    and tangible benefits for class members. Steve is particularly known for his tenacity in forging consumer
>   Whistleblower/Qui Tam          settlements that return a high percentage of recovery to class members.
>   Patent Litigation
                                   CURRENT ROLE
BAR ADMISSIONS
> Washington                       > Managing Partner, Hagens Berman Sobol Shapiro LLP
> Illinois
                                   RECENT CASES
COURT ADMISSIONS                   > Emissions Litigation
> Supreme Court of the United        Steve has pioneered pursuing car manufacturers who have been violating emissions standards,
  States                             including: Mercedes BlueTEC vehicles, GM Chevy Cruze, Dodge Ram 2500 and 3500 trucks, Dodge
> Supreme Court of Illinois          Ram 1500 and Jeep Cherokee EcoDiesel vehicles, Chevy Silverado, GMC Sierra as well as other
> Supreme Court of                   models made by Ford, Audi and BMW. Steve and the firm’s unmatched work in emissions-cheating
  Washington
                                     investigations is often ahead of the EPA and government regulators.
> U.S. District Court for the
  Eastern and Western Districts
  of Washington                    > General Motors Ignition Switch Defect Litigation
> U.S. District Court for the        Steve serves as lead counsel seeking to obtain compensation for the millions of GM car owners who
  Northern and Central Districts     overpaid for cars that had hidden safety defects.
  of Illinois
> U.S. District Court for the
                                   > Climate Change – New York City, King County, Wash.
  District of Colorado
                                     Steve has always been a fighter for the rights of the environment. In 2017, he began the firm’s latest
> U.S. District Court for the
  Eastern District of Michigan
                                     endeavor to combat global climate change through novel applications of the law. Steve currently
> First Circuit Court of Appeals     represents the city of New York and Washington state’s King County in lawsuits filed against the
> Second Circuit Court of            world’s largest producers of oil: BP, Chevron Corp., Exxon Mobil Corp., Royal Dutch Shell PLC and
  Appeals



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       Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   60 of 175 Page ID
                                                                    GENS BERMAN SOBOL SHAPIRO LLP
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> Third Circuit Court of Appeals       MANAGING PARTNER

                                       Steve W. Berman
> Fifth Circuit Court of Appeals
> Sixth Circuit Court of Appeals
> Seventh Circuit Court of Appeals
> Eighth Circuit Court of Appeals
> Ninth Circuit Court of Appeals        ConocoPhillips. The cases seek to hold the Big Oil titans accountable for their brazen impact on global
> Tenth Circuit Court of Appeals        warming-induced sea level rise and related expenses to protect the cities and their millions of residents.
> Eleventh Circuit Court of Appeals
> DC Circuit Court of Appeals          > Opioids - Orange and Santa Clara County, Seattle
> Federal Circuit Court of Appeals       Steve has always been a fighter for the rights of the environment. In 2017, he began the firm’s latest
> U.S. Court of Federal Claims           endeavor to combat global climate change through novel applications of the law. Steve currently
                                         represents the city of New York and Washington state’s King County in multiple lawsuits filed against
EDUCATION                                the world’s largest producers of oil: BP, Chevron Corp., Exxon Mobil Corp., Royal Dutch Shell PLC and
> University of Chicago Law School,      ConocoPhillips. The cases seek to hold the Big Oil titans accountable for their brazen impact on global
  J.D., 1980                             warming-induced sea level rise and related expenses to protect the cities and their millions of residents.
> University of Michigan, B.A., 1976
                                       > Antitrust Litigation
                                         Corporate fraud has many faces, and Steve has taken on some of the largest perpetrators through
                                         antitrust law. Steve serves as co-lead counsel in Visa MasterCard ATM, Batteries, Optical Disc Drives
                                         and is in the leadership of a class-action lawsuit against Qualcomm for orchestrating a monopoly that
                                         led to purchasers paying significantly more for mobile devices. He serves as interim class counsel in
                                         a case against chicken producers for conspiring to stabilize prices by reducing chicken production.
                                         Most recently, Steve filed a proposed class-action lawsuit against the world’s largest manufacturers of
                                         Dynamic Random Access Memory for cornering the market and driving up DRAM.
                                       > Consumer Protection
                                         Steve is a leader in protecting millions of consumers in large-scale cases that challenge unfair,
                                         deceptive and fraudulent practices. He leads a class action on behalf of owners of Ford vehicles
                                         equipped with MyFord Touch, an in-car entertainment system, who claim the system is flawed, putting
                                         drivers at risk of an accident while causing economic hardship. Steve recently filed a class-action
                                         lawsuit against Facebook for allowing personal data to be harvested for psychographic profiling.

                                       RECENT SUCCESS
                                       > Volkswagen Franchise Dealerships - $1.6 billion
                                         Lead counsel for VW franchise dealers suit, in which a settlement of $1.6 billion has received final
                                         approval, and represents a substantial recovery for the class.
                                       > Stericycle Sterisafe Contract Litigation – $295 million
                                         Hagens Berman’s team, led by Steve Berman, filed a class-action lawsuit against Stericycle, a massive
                                         medical waste disposal company and achieved a sizable settlement for hundreds of thousands of its
                                         small business customers.
                                       > NCAA Grant-in-Aid Scholarships – $208 million
                                         Served as co-lead counsel in the Alston case that successfully challenged the NCAA’s limitations on the
                                         benefits student-athletes can receive as part of a scholarship, culminating in a $208 million settlement.
                                         The recovery amounts to 100 percent of single damages in an exceptional result in an antitrust case.
                                         Steve will co-lead a trial this year on the injunctive aspect of the case that could result in a change of
                                         NCAA rules limiting the financial treatment of athletes. The trial may change the landscape for how
                                         NCAA football and basketball players are compensated.
                                       > Dairy Price-Fixing – $52 million
                                         This antitrust suit’s filing unearthed a massive collusion between the biggest dairy producers in the




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   61 of 175 Page ID
                                                              GENS BERMAN SOBOL SHAPIRO LLP
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                     MANAGING PARTNER

                     Steve W. Berman
                       country, responsible for almost 70 percent of the nation’s milk. Not only was the price of milk artificially
                       inflated, but this scheme ultimately also cost 500,000 young cows their lives.

                     CAREER HIGHLIGHTS
                     > State Tobacco Litigation - $206 billion
                       Special assistant attorney general for the states of Washington, Arizona, Illinois, Indiana, New York,
                       Alaska, Idaho, Ohio, Oregon, Nevada, Montana, Vermont and Rhode Island in prosecuting major actions
                       against the tobacco industry. In November 1998, the initial proposed settlement led to a multi-state
                       settlement requiring the tobacco companies to pay the states $206 billion and to submit to broad
                       advertising and marketing restrictions – the largest civil settlement in history.
                     > Visa MasterCard ATM Antitrust Litigation - $27 billion
                       Co-lead counsel in what was then the largest antitrust settlement in history: a class-action lawsuit
                       alleging that Visa and MasterCard, together with Bank of America, JP Morgan Chase and Wells Fargo,
                       violated federal antitrust laws by establishing uniform agreements with U.S. banks, preventing ATM
                       operators from setting ATM access fees below the level of the fees charged on Visa’s and MasterCard’s
                       networks.
                     > Toyota Sudden, Unintended Acceleration - $1.6 billion
                       Hagens Berman was co-lead counsel in this massive MDL alleging that Toyota vehicles contained a
                       defect causing sudden, unintended acceleration (SUA). It was the largest automotive settlement in
                       history at the time, valued at up to $1.6 billion. The firm did not initially seek to lead the litigation, but
                       was sought out by the judge for its wealth of experience in managing very complex class-action MDLs.
                       Hagens Berman and managing partner Steve Berman agreed to take on the role of co-lead counsel for
                       the economic loss class and head the plaintiffs’ steering committee.
                     > Washington Public Power Supply System (WPPSS) - $700 million settlement
                       Represented bondholders and the bondholder trustee in a class-action lawsuit stemming from the
                       failure of two WPPSS nuclear projects. The case was one of the most complex and lengthy securities
                       fraud cases ever filed. The default was one of the largest municipal bond defaults in history. After years
                       of litigation, plaintiffs were awarded a $700 million settlement agreement brought against more than
                       200 defendants.
                     > E-books Antitrust Litigation - $560 million settlement
                       Fought against Apple and five of the nation’s top publishers for colluding to raise the price of e-books,
                       resulting in recovery equal to twice consumers’ actual damages. The firm recovered an initial settlement
                       of more than $160 million with defendant publishing companies in conjunction with several states
                       attorneys general. Steve then led the firm to pursue Apple for its involvement in the e-book price hike.
                       Apple took the case to the Supreme Court, where it was ruled that Apple had conspired to raise prices,
                       and the firm achieved an additional $450 million settlement for consumers.
                     > Enron Pension Protection Litigation - $250 million settlement
                       Led the class-action litigation on behalf of Enron employees and retirees alleging that Enron leadership,
                       including CEO Ken Lay, had a responsibility to protect the interests of those invested in the 401(k)
                       program, an obligation they abrogated. The court selected Steve to co-lead the case against Enron and
                       the other defendants.
                     > Charles Schwab Securities Litigation - $235 million settlement
                       Led the firm to file the first class-action lawsuit against Charles Schwab on Mar. 18, 2008, alleging that



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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   62 of 175 Page ID
                                                              GENS BERMAN SOBOL SHAPIRO LLP
                                     #:3581




                     MANAGING PARTNER

                     Steve W. Berman
                      Schwab deceived investors about the underlying risk in its Schwab YieldPlus Funds Investor Shares
                      and Schwab YieldPlus Funds Select Shares.
                     > JP Morgan Madoff Lawsuit - $218 million settlement
                       Represented Bernard L. Madoff investors in a suit filed against JPMorgan Chase Bank, one of the
                       largest banks in the world.
                     > Boeing Securities Litigation - $92.5 million settlement
                       Represented a class of tens of thousands of shareholders against Boeing, culminating in a proposed
                       settlement that was the second-largest awarded in the Northwest.
                     > NCAA Concussions - $75 million settlement, and 50-year medical monitoring fund
                       Led the firm’s pioneering NCAA concussions suit that culminated in a proposed settlement that will
                       provide a 50-year medical-monitoring program for student-athletes to screen for and track head
                       injuries; make sweeping changes to the NCAA’s approach to concussion treatment and prevention; and
                       establish a $5 million fund for concussion research, preliminarily approved by the court.
                     > US Youth Soccer Settlement
                       Revolutionary settlement that changed U.S. Soccer regulations and bought sweeping safety measures
                       to the game. Steve spearheaded a lawsuit against soccer-governing bodies, achieving a settlement that
                       ended heading of the ball for U.S. Soccer’s youngest players and greatly diminished risk of concussions
                       and traumatic brain injuries. Additionally, the settlement highlights the importance of on-staff medical
                       personnel at youth tournaments, as well as ongoing concussion education for coaches.

                     RECOGNITION
                     > 2018, 2020 Titan of the Plaintiffs Bar, Law360
                     > 2016-2019 Class Action MVP of the Year, Law360
                     > 2018-2019 Honoree for Outstanding Antitrust Litigation Achievement in Private Law Practice, American
                       Antitrust Institute
                     > 2014-2016, 2018-2019 Elite Trial Lawyers, The National Law Journal
                     > 2003-2019 Washington Super Lawyers
                     > 2014-2019 Lawdragon 500 Leading Lawyers in America
                     > 2018, 2016 Practice Group of the Year (Automotive), Law360
                     > 2018 State Executive Committee member, The National Trial Lawyers
                     > 2018 Top Attorney of the Year, International Association of Top Professionals
                     > 2017 Plaintiffs’ Trailblazer, The National Law Journal
                     > 2017 Class Actions (Plaintiff) Law Firm of the Year in California, Global Law Experts
                     > 2014 Finalist for Trial Lawyer of the Year, Public Justice
                     > 2013 One of the 100 most influential attorneys in America, The National Law Journal
                     > 2000 Most powerful lawyer in the state of Washington, The National Law Journal
                     > One of the top 10 plaintiffs’ firms in the country, The National Law Journal

                     OTHER NOTABLE CASES
                     > VW Emissions Litigation - $14.7 billion settlement
                       Steve served as a member of the Plaintiffs Steering Committee representing owners of Volkswagen
                       CleanDiesel vehicles that were installed with emissions-cheating software.
                     > McKesson Drug Class Litigation - $350 million settlement

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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   63 of 175 Page ID
                                                              GENS BERMAN SOBOL SHAPIRO LLP
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                     MANAGING PARTNER

                     Steve W. Berman
                       Lead counsel in an action that led to a rollback of benchmark prices of hundreds of brand name drugs,
                       and relief for third-party payers and insurers. His discovery of the McKesson scheme led to follow up
                       lawsuits by governmental entities and recovery in total of over $600 million.
                     > Average Wholesale Price Litigation - $338 million settlement
                       Steve served as lead trial counsel, securing trial verdicts against three drug companies that paved the
                       way for settlement.
                     > DRAM Memory Antitrust - $345 million settlement
                       Forged a class-action suit against leading DRAM (Dynamic Random Access Memory) manufacturers,
                       claiming the companies secretly agreed to reduce the supply of DRAM in order to artificially raise prices.
                     > Hyundai / Kia Fuel Efficiency - $210 million settlement
                       Led the firm’s aggressive fight as court-appointed co-lead counsel against Hyundai and Kia on behalf
                       of defrauded consumers who alleged the automakers had misrepresented fuel economies in vehicles,
                       securing what was believed to then be the second-largest automotive settlement in history.
                     > Bextra/Celebrex Marketing and Products Liability Litigation - $89 million settlement
                       Served as court-appointed member of the Plaintiffs Steering Committee and represented nationwide
                       consumers and third party payers who paid for Celebrex and Bextra. The firm was praised by the court
                       for its “unstinting” efforts on behalf of the class.
                     > McKesson Governmental Entity Class Litigation - $82 million settlement
                       Steve was lead counsel for a nationwide class of local governments that resulted in a settlement for
                       drug price-fixing claims.
                     > NCAA/Electronic Arts Name and Likeness - $60 million settlement
                       Represented current and former student-athletes against the NCAA and Electronic Arts concerning
                       illegal use of college football and basketball players’ names and likenesses in video games without
                       permission or consent from the players.
                     > State and Governmental Drug Litigation
                       Steve served as outside counsel for the state of New York for its Vioxx claims, several states for AWP
                       claims and several states for claims against McKesson. In each representation, Steve recovered far
                       more than the states in the NAAG multi-state settlements.
                     > Exxon Mobile Oil Spill
                       Steve represented clients against Exxon Mobil affected by the 10 million gallons of oil spilled off the
                       coast of Alaska by the Exxon Valdez (multimillion-dollar award).
                     > Lumber Liquidators Flooring
                       Steve was court-appointed co-lead counsel in litigation against Lumber Liquidators representing
                       consumers who unknowingly purchased flooring tainted with toxic levels of cancer-causing
                       formaldehyde. The consumer settlement was confidential.

                     PRESENTATIONS
                     > Steve is a frequent public speaker and has been a guest lecturer at Stanford University, University of
                       Washington, University of Michigan and Seattle University Law School.

                     PERSONAL INSIGHT
                     Steve was a high school and college soccer player and coach. Now that his daughter’s soccer skills
                     exceed his, he is relegated to being a certified soccer referee and spends weekends being yelled at by
                     parents, players and coaches. Steve is also an avid cyclist and is heavily involved in working with young
www.hbsslaw.com      riders on the international Hagens Berman Axeon cycling team.                                            48
  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   64 of 175 Page ID
                                                               GENS BERMAN SOBOL SHAPIRO LLP
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                                   PARTNER, EXECUTIVE COMMITTEE MEMBER

                                   Thomas M. Sobol

                                   Voted Massachusetts Ten Leading Litigators
                                   —The National Law Journal



CONTACT                            CURRENT ROLE
55 Cambridge Parkway
Suite 301
                                   > Partner & Executive Committee Member, Hagens Berman Sobol Shapiro LLP
Cambridge, MA 02142                > Leads Hagens Berman’s Boston office
                                   > Leader in drug pricing litigation efforts against numerous pharmaceutical and medical device companies
(617) 475-1950 office
(617) 482-3003 fax                 > Lead negotiator in court-approved settlements totaling more than $2 billion
tom@hbsslaw.com                    > Currently court-appointed co-lead counsel in Meijer Inc. v. Ranbaxy Inc. and court-appointed lead counsel
                                     for In re Restasis Antitrust Litigation, In re Zetia (Ezetimibe) Antitrust Litigation, In re Intuniv Antitrust Litigation,
YEARS OF EXPERIENCE
                                     In re Niaspan Anittrust Litigation, In re Loestrin 24 Fe Antitrust Litigation, In re Suboxone Antitrust Litigation, In
> 36
                                     re Lipitor Antitrust Litigation, and In re Effexor Antitrust Litigation
                                   > Appointed lead counsel in MDL No. 2149: In re New England Compounding Pharmacy Litigation Multidistrict
PRACTICE AREAS
> Pharmaceutical Fraud
                                     Litigation, representing more than 700 victims who contracted fungal meningitis or other serious health
> Consumer Protection                problems as a result of receiving contaminated products produced by NECC, resulting in a $200 million
> Antitrust Litigation               settlement
                                   > Lead counsel to the Prescription Access Litigation (PAL) project, the largest coalition of health care
BAR ADMISSIONS                       advocacy groups that fight illegal, loophole-based overpricing by pharmaceutical companies
> Massachusetts
> Rhode Island                     RECENT SUCCESS
                                   > Lidoderm direct purchaser litigation settlement ($166 million)
COURT ADMISSIONS
                                   > Solodyn direct purchaser litigation settlement ($72.5 million)
> First Circuit Court of Appeals
> Second Circuit Court of
                                   > Celebrex direct purchaser litigation settlement ($94 million)
  Appeals                          > Aggrenox direct purchaser litigation settlement ($146 million)
> Supreme Court of the United      > Asacol direct purchaser litigation settlement ($15 million)
  States                           > Neurontin class action marketing settlement ($325 million)
                                   > NECC meningitis outbreak settlement ($200 million)
EDUCATION
> Boston University School of      > Profraf direct purhcaser litigation settlement ($98 million)
  Law, J.D., cum laude, 1983       > Flonase direct purchaser litigation settlement ($150 million)
> Clark University, B.A., summa    > Wellbutrin XL direct purchaser litigation ($37.5 million)
  cum laude, Phi Beta Kappa,
                                   > First Databank litigation (4% price reduction of most retail drugs)
  1980
                                   > McKesson litigation ($350 million)
                                   > Zyprexa litigation on behalf of the State of Connecticut ($25 million)
                                   > Vioxx third party payor litigation ($80 million)
                                   > Paxil direct purchaser litigation ($150 million)
                                   > Co-lead trial counsel in the Neurontin MDL ($142 million RICO jury verdict)

                                   RECOGNITION
                                   > Massachusetts Ten Leading Litigators, The National Law Journal
                                   > Massachusetts Super Lawyer 2008-2019

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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   65 of 175 Page ID
                                                              GENS BERMAN SOBOL SHAPIRO LLP
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                     PARTNER, EXECUTIVE COMMITTEE MEMBER

                     Thomas M. Sobol
                     EXPERIENCE
                     > Seventeen years in large Boston firm handling large complex civil litigation
                     > Special Assistant Attorney General for the Commonwealth of Massachusetts and the states of New
                       Hampshire and Rhode Island
                     > Private counsel for Massachusetts and New Hampshire in ground breaking litigation against tobacco
                       industry (Significant injunctive relief and recovery of more than $10 billion)
                     > Judicial clerk for Chief Justice Allan M. Hale, Massachusetts Appeals Court, 1983-1984
                     > Board Chairman, New England Shelter for Homeless Veterans, 1995-2002


                     NOTABLE CASES
                     > $166 Million Recovery in Lidoderm Antitrust Action
                      In September 2018, the Honorable William Orrick of the Northern District of California granted final
                      approval to a $166 million class settlement for direct purchasers of brand and generic Lidoderm.
                      HBSS served as co-lead class counsel challenging a reverse payment agreement between Endo
                      Pharmaceuticals and Actavis that delayed generic competition for Lidoderm for more than one year.
                      In re Lidoderm Antitrust Litigation, N.D. Ca., MDL No. 2521
                     > $72.5 Million Recovery in Solodyn Antitrust Action
                      In July 2018, the Honorable Denise J. Casper of the District of Massachusetts granted final approval to
                      a $72.5 million class settlement for direct purchasers of brand and generic Solodyn. HBSS was co-lead
                      class counsel in this case alleging Medicis entered into a series of reverse payment deals to delay entry
                      of generic Solodyn and used the period of delay to effectuate a product hop, all resulting in overcharges
                      by direct purchasers. The case settled three days before trial.
                      In re Solodyn Antitrust Litigation, D. Mass., MDL No. 2503
                     > $94 Million Recovery in Celebrex Antitrust Litigation
                      In April 2018, the Honorable Arenda Wright Allen of the Eastern District of Virginia granted final
                      approval to a $94 million class settlement for direct purchasers of brand and generic Celebrex. HBSS
                      was sole lead counsel in this case that alleged Pfizer obtained reissuance of a patent that provided
                      an additional eighteen months of patent protection for Celebrex by making misrepresentations and
                      omissions to the Patent and Trademark Office; Pfizer then asserted that bogus patent to delay generics
                      from coming to market, in violation of federal antitrust law. The case settled mere weeks before trial.
                      American Sales Co. LLC v. Pfizer, Inc., E.D. Va. (Norfolk Division) 14-cv-00361
                     > $146 Million Recovery in Aggrenox Antitrust Litigation
                      In December 2017, the Honorable Stefan Underhill of the District of Connecticut granted final approval
                      to a $146 million class settlement for direct purchasers of brand and generic Aggrenox. HBSS served
                      on the three-member Executive Committee on behalf of the direct purchaser class in this case
                      alleging that brand manufacturer entered into an unlawful reverse-payment agreement with generic
                      manufacturer Teva in order to delay market availability of generic formulations of Aggrenox.
                      In re Aggrenox Antitrust Litigation, D. Conn., MDL No. 2516



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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   66 of 175 Page ID
                                                              GENS BERMAN SOBOL SHAPIRO LLP
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                     PARTNER, EXECUTIVE COMMITTEE MEMBER

                     Thomas M. Sobol
                     > $15 Million Settlement of Antitrust Action Involving Asacol
                      In December 2017, the Honorable Denise Casper of the District of Massachusetts granted final approval
                      to a $15 million settlement on behalf of direct purchasers of Asacol. HBSS served as one member of
                      an Executive Committee in this product hopping case against brand manufacturer Allergan plc and its
                      predecessor Warner Chilcott alleging Warner Chilcott made minor, immaterial changes to its Asacol
                      formulation, e.g., changing the dosage amount from 400mg to 800mg, and later changing the dosage
                      form from tablet to capsule, for the sole purpose of preventing generic manufacturers from obtaining
                      FDA approval for a generic product that could be automatically substituted for Asacol.
                      In re Asacol Antitrust Litigation, D. Mass. 15-cv-12730
                     > $189 Million Bankruptcy Resolution for contaminated MPA made by New England Compounding
                       Company
                      In May 2015, the Honorable Henry J. Boroff of the United States Bankruptcy Court for the District of
                      Massachusetts confirmed a Chapter 11 plan for NECC that included tort settlements totaling more than
                      $189 million in contributions from NECC’s owners, affiliate companies, vendors, and their insurers, as
                      well as several independent clinics, hospitals, doctor’s offices, and their respective insurers for having
                      administered the contaminated injections compounded by NECC. HBSS served as court-appointed lead
                      counsel in the MDL.
                      In re New England Compounding Pharmacy, Inc., D. Mass., MDL No. 2419.; In re New England Compounding
                      Pharmacy, Inc. (Chapter 11), Bankr. D. Mass., 12-br-19882-HJB
                     > $350 Million for Consumers and Third Party Payers in RICO Action Against McKesson
                      In August 2009, the Honorable Patti B. Saris of the District of Massachusetts approved a $350 million
                      nationwide settlement with McKesson Corporation on behalf of consumers and health plans for
                      McKesson’s role in misreporting the average wholesale price of prescription drugs. HBSS served as
                      lead class counsel.
                      New England Carpenters Health Benefits Fund et al v. First DataBank, Inc. and McKesson Corp., D. Mass., Civil
                      Action No. 05-cv-11148-PBS
                     > $142 Million Civil RICO Jury Verdict in Massachusetts Over Neurontin
                      On Mar. 25, 2010, following a four-and-a-half week trial and two days of deliberations, a jury in the U.S.
                      District Court for Massachusetts returned a $142 million RICO verdict against Pfizer, Warner Lambert
                      and Parke Davis in a suit related to Pfizer’s fraudulent and unlawful promotion of the drug Neurontin.
                      The jury also found, in an advisory capacity, that defendants violated the California Unfair Competition
                      Law. HBSS served as co-lead trial counsel for plaintiffs Kaiser Foundation Health Plans and Kaiser
                      Foundation Hospitals. HBSS attorneys played a pivotal role in preparing the case for trial. Thomas
                      Sobol, managing partner of the HBSS Boston office, examined seven economic and scientific experts
                      and presented the evidence of Defendants’ decade-long campaign of fraudulent and deceptive actions
                      in his closing argument that resulted in the RICO verdict. Post-trial briefing is underway and a final
                      judgment has not yet been entered.
                      Kaiser Foundation Health Plan, et al v. Pfizer, Inc., et al, D.Mass., Civil Action No. 04-cv-10739 (PBS).
                     > $150 Million Resolution on Behalf of Direct Purchasers of Paxil
                      HBSS announced a $150 million resolution of claims in 2004 in litigation on behalf of direct purchasers
                      of the “blockbuster” selective serotonin reuptake inhibitor Paxil, manufactured by GlaxoSmithKline
                      Corporation. The suit alleged that GSK engaged in sham litigation with respect to certain patents, all
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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   67 of 175 Page ID
                                                              GENS BERMAN SOBOL SHAPIRO LLP
                                     #:3586




                     PARTNER, EXECUTIVE COMMITTEE MEMBER

                     Thomas M. Sobol
                      in an effort to delay competition from the entry of a generic form of the drug. HBSS served as court-
                      appointed Co-Lead Counsel.
                      In re Paxil Direct Purchaser Litigation, E.D.Pa., Civil Action No. 03-4578.
                     > The Major First Databank Price Rollback
                      On September 4, 2009, the First Circuit Court of Appeals affirmed a settlement between plaintiff health
                      benefit plans and consumers in a class action against defendants First DataBank, Inc. (“FDB”) and
                      Medi-Span, two leading drug pricing publishers, that resulted in a rollback of benchmark prices of some
                      of the most common prescription medications and is saving consumers and other purchasers hundreds
                      of millions of dollars. The settlement stems from a 2005 class action lawsuit brought on behalf of
                      health benefit plans and consumers against FDB and McKesson Corporation, a large pharmaceutical
                      wholesaler. Plaintiffs claimed that beginning in 2001, FDB and McKesson secretly agreed to raise the
                      markup between the Wholesale Acquisition Cost (“WAC”) and the Average Wholesale Price (“AWP”)
                      from 20 to 25 percent for more than 400 drugs, resulting in higher profits for retail pharmacies at the
                      expense of consumers and payers. HBSS served as court appointed lead class counsel.
                      On June 6, 2007, the Honorable Patti B. Saris preliminarily approved a settlement between the parties
                      whereby FDB agreed to roll back pricing by five basis points, from 1.25 to 1.20, on the drugs included in
                      the lawsuit as well as hundreds of other drugs, which should create cost-savings on a much broader
                      range of prescription medications. Associations representing pharmacies and pharmacy benefit
                      managers fought the proposed rollback before federal trial and appellate courts, claiming either that
                      small pharmacies would be put out of business through implementation of the rollback or that the
                      savings to health plans and consumers would not be enough to justify the settlement. The courts
                      rejected these claims and the First Circuit Court of Appeals affirmed the settlement.


                      New England Carpenters Health Benefits Fund et al v. First DataBank, Inc. and McKesson Corp., D.Mass., Civil
                      Action No. 05-cv-11148-PBS; District Council 37 Health and Security Plan et al v. Medi-Span, D.Mass.,
                      Civil Action No. 07-cv-10988-PBS.
                     > $25 Million for the State of Connecticut for Zyprexa Fraud
                      On Oct. 5, 2009, Judge Jack B. Weinstein, U.S. District Court Judge in the Eastern District of New
                      York, entered an Order for Entry of Final Judgment in State of Connecticut v. Eli Lilly and Co., approving
                      the $25 million settlement reached by the parties to conclude the state’s Zyprexa litigation. HBSS
                      served as outside counsel to Attorney General Richard Blumenthal in the litigation that alleged Lilly
                      engaged in unlawful off-label promotion of the atypical antipsychotic Zyprexa and made significant
                      misrepresentations about Zyprexa’s safety and efficacy, resulting in millions of dollars in excess
                      pharmaceutical costs borne by the state and its taxpayers.
                      State of Connecticut v. Eli Lilly & Co., E.D.N.Y., Civil Action No. 08-cv-955-JBW.
                     > $150 Million Settlement for Consumers and TPPs for Purchases of Lupron
                      In late 2004, HBSS announced a proposed resolution on behalf of consumers and third-party payors
                      of Lupron in the amount of $150 million. The litigation alleged widespread fraudulent marketing and
                      sales practices against TAP Pharmaceuticals, a joint venture between Abbott Laboratories and Takeda
                      Pharmaceuticals, Inc., and followed TAP’s agreement to pay $875 million in combined criminal and civil
                      penalties regarding marketing and sales practices for the prostate cancer drug Lupron. HBSS served as
                      court-appointed Co-Lead and Liaison Counsel.
                      In re Lupron Marketing and Sales Practices Litigation, D.Mass., MDL No. 1430.
www.hbsslaw.com                                                                                                                  52
  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   68 of 175 Page ID
                                                               GENS BERMAN SOBOL SHAPIRO LLP
                                      #:3587




                               PARTNER, EXECUTIVE COMMITTEE MEMBER

                               Anthony D. Shapiro

                               Mr. Shapiro has handled hundreds of personal injury matters securing
                               results in excess of $1 million for his clients numerous times.



CONTACT                        CURRENT ROLE
1301 Second Avenue
                               > Partner & Executive Committee Member, Hagens Berman Sobol Shapiro LLP
Suite 2000
Seattle, WA 98101              > Leads Personal Injury Group including wrongful death, brain injury and catastrophic personal injury
                                 matters resulting from construction site, workplace, automobile accidents, product liability and nursing
(206) 268-9352 office            home negligence
(206) 623-0594 fax
tony@hbsslaw.com               > Prominent role in many of the firm’s notable antitrust class actions

                               RECENT SUCCESS
YEARS OF EXPERIENCE
> 37                           > Lead counsel in In re DRAM Antitrust Litigation (more than $400 million)
                               > Plaintiffs’ executive committee in a number of prominent antitrust class actions including In re LCD
PRACTICE AREAS                   Antitrust Litigation ($500 million), and Polyether Polyols Antitrust Litigation ($1.2 billion verdict after
> Antitrust Litigation           trebling)
> Personal Injury Litigation
                               RECOGNITION
BAR ADMISSIONS                 > Earned AV rating by Martindale-Hubbell, the highest rating a lawyer can obtain, indicating a very high to
> Washington State Bar           preeminent legal ability and exceptional ethical standards as established by confidential opinions from
                                 members of the Bar
EDUCATION
                               > Washington Super Lawyer, 2003-06, 2008-19
> Georgetown University Law
  Center, J.D., 1982           EXPERIENCE
> Colgate University, B.A.,
                               > King County, Washington Prosecuting Attorney’s Office, where he represented the state in more than
  History, 1979
                                 50 serious felony jury trials, including some of the state’s most high-profile cases
                               > Founding Partner, Rohan Goldfarb & Shapiro
                               > Schweppe Krug & Tausend

                               LEGAL ACTIVITIES
                               > Instructor, National Institute of Trial Advocacy
                               > Adjunct Professor, University of Washington Law School

                               NOTABLE CASES
                               > Mantria Class Action
                               > Air Cargo Antitrust Litigation
                               > Baby Food Antitrust Litigation
                               > Brand Name Prescription Drug Antitrust Litigation
                               > Bromine Antitrust Litigation
                               > Carbon Dioxide Antitrust Litigation
                               > Carpet Antitrust Litigation




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   69 of 175 Page ID
                                                              GENS BERMAN SOBOL SHAPIRO LLP
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                     PARTNER, EXECUTIVE COMMITTEE MEMBER

                     Anthony D. Shapiro
                     > Commercial Tissue Products Antitrust Litigation
                     > Compressors Antitrust Litigation
                     > Concrete Antitrust Litigation
                     > Containerboard Antitrust Litigation
                     > CRT Antitrust Litigation
                     > DRAM Antitrust Litigation
                     > Exxon Valdez Oil Spill Litigation
                     > Fasteners Antitrust Litigation
                     > Flat Glass Antitrust Litigation
                     > Forced Place Insurance – Wind Antitrust Litigation
                     > High Fructose Corn Syrup Antitrust Litigation
                     > Infant Formula Antitrust Litigation
                     > Lease Oil Antitrust Litigation
                     > Linerboard Antitrust Litigation
                     > LCD Antitrust Litigation
                     > Magazine Paper Antitrust Litigation
                     > Medical X-Ray Film Antitrust Litigation
                     > OSB Antitrust Litigation
                     > Polyurethane Antitrust Litigation
                     > Scouring Pads Antitrust Litigation
                     > SRAM Antitrust Litigation
                     > Steel Antitrust Litigation
                     > Toilet Nut Product Defect Litigation
                     > Wire Harness Antitrust Litigation




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  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   70 of 175 Page ID
                                                               GENS BERMAN SOBOL SHAPIRO LLP
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                                    PARTNER, EXECUTIVE COMMITTEE MEMBER

                                    Robert B. Carey
                                    Rob added to HB’s office a built-in mock courtroom, complete with jury
                                    box, audio-visual equipment to record witnesses and lawyers, and separate
                                    deliberation rooms for two juries. Download photo »


CONTACT                             Mr. Carey handles various types of injury and consumer claims. Mr. Carey was lead counsel on a jury trial
11 West Jefferson St.               that produced the largest medical-malpractice verdict in 2018, secured class certification in class actions
Suite 1000                          on behalf of consumers and workers where damages are almost $2 billion, and investigated the dialysis
Phoenix, AZ 85003
                                    industry’s role in deaths caused by central venous catheter infections and misuse of dialysis solutions.
(602) 840-5900 office               CURRENT ROLE
(602) 840-3012 fax
rob@hbsslaw.com                     > Partner & Executive Committee Member, Hagens Berman Sobol Shapiro LLP
                                    > Leads Hagens Berman’s Phoenix office
YEARS OF EXPERIENCE
> 32                                > Practice focuses on class-action lawsuits, including auto defect, insurance, right of publicity and fraud
                                      cases. Mr. Carey’s work also extends to bad-faith insurance, personal injury and medical malpractice,
PRACTICE AREAS                        with several trials involving verdicts in the hundreds of millions.
> Personal Injury Litigation
                                     - Frequently asked to handle jury trials for high-value cases
> Insurance Bad Faith
> Breach of Contract Claims         RECENT SUCCESS

BAR ADMISSIONS                      > In June 2018, a Denver jury awarded a monumental $383.5 million jury verdict against GranuFlo dialysis
> Arizona                             provider, DaVita Inc. culminating lawsuits brought by families of three patients who suffered cardiac
> Colorado                            arrests and died after receiving dialysis treatments at DaVita clinics. Each of the three parties was
                                      awarded $125 million in punitive damages from the jury, with compensatory damages ranging from $1.5
COURT ADMISSIONS                      million to $5 million.
> U.S. Supreme Court
                                    > Over the summer of 2012, Rob was lead counsel in Robin Antonick’s case against Electronic Arts,
> United States Court of
  Appeals for the Federal Circuit     where a jury heard evidence that Electronic Arts failed to pay Antonick for over 20 years for his work in
> U.S. Court of Appeals,              coding and developing the legendary Madden NFL Football video game. This trial, held in the Northern
  Fifth Circuit                       District of California, resulted in two verdicts for Antonick and was dubbed a “Top Trial Verdict of 2013”
> U.S. Court of Appeals,              by The Daily Journal, a leading legal publication.
  Seventh Circuit
                                    > Prevailed at the Arizona Court of Appeals for the second time, keeping intact class certification for tens
> U.S. Court of Appeals,
                                      of thousands of truck drivers suing to recover underpayments caused by misuse of Rand McNally’s
  Ninth Circuit
> U.S. Court of Appeals,
                                      HHG software by Swift Transportation.
  Tenth Circuit                     > Helped originate the Toyota Sudden Unintended Acceleration case, filing the initial Hagens Berman
> Various federal district courts     complaints for a case that eventually settled for $1.6 billion
                                    > Led Hagens Berman’s efforts on the $97 million settlement with Hyundai and Kia corporations over
EDUCATION                             misrepresentations about MPG ratings
> University of Denver, M.B.A.,     > Helped secure a first-ever ($60 million) settlement for collegiate student-athletes (Keller, consolidated
  J.D., 1986                          with O’Bannon) from Electronic Arts (EA) and the NCAA for the misappropriation of the student-
> Arizona State University, B.S.,
                                      athletes’ likenesses and images for the EA college football video game series. This groundbreaking suit
  1983
                                      went up to the U.S. Supreme Court before a settlement was reached, providing student-athletes—even
> Harvard University, John
  F. Kennedy School of
  Government, State & Local
  Government Program, 1992
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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   71 of 175 Page ID
                                                              GENS BERMAN SOBOL SHAPIRO LLP
                                     #:3590




                     PARTNER, EXECUTIVE COMMITTEE MEMBER

                     Robert B. Carey
                      current ones—with cash recoveries for the use of their likenesses without permission.
                     > Represented Donnovan Hill against Pop Warner after he was paralyzed at 13. With Rachel Freeman, Rob
                       secured a settlement that “forever changed youth football” (OC Weekly) and was “unprecedented” and
                       owed a debt of gratitude by those who care about the safety of kids playing football (Washington Post).
                       Donnovan died tragically during a 2016 surgery.
                     > Rob secured a record verdict for a mother suing her deceased son’s estate for negligence in starting a
                       home fire. He then took an assignment of the estate’s claim and pursued a bad faith claim against the
                       insurer, resulting in lifetime financial security for the badly burned mother.
                     > After successfully reforming an insurance policy to cover a client – a student-athlete injured in a roll-
                       over accident that caused incomplete tetraplegia and traumatic brain injury – Rob went to the jury,
                       which awarded damages for all harms and losses requested and for insurance bad faith, with a verdict
                       exceeding over 15 times policy limits.
                     > Rob sued the leading auto carrier for refusal to fully cover a pedestrian struck by the carrier’s driver.
                       The verdict was valued over seven figures, and included a finding of willful and wanton conduct, trebling
                       the damages.
                     > After Rob cross-examined the CEO and CFO of a pharmacy benefits company, the jury entered a verdict
                       for his client in the liability phase of a $75-million dispute.
                     > During his representation of a driver paralyzed by a car’s roof collapse, the insurance company ignored
                       that the agent did not understand or offer required high-end coverages. The jury returned a verdict with
                       a value over seven figures, including a finding for treble damages.
                     > Rob represented passengers of drunk driver, and persuaded the jury to award future earning capacity,
                       essential services, medical bills and to find willful and wanton conduct against the insurer (treble
                       damages). After a successful trip to the state supreme court, the verdict was maintained and had a
                       value in excess of 15 times the policy limits.
                     > While serving as Arizona Chief Deputy Attorney General:
                       - Helped secure a $4 billion divestiture and a landmark $165 million antitrust settlement


                       RECOGNITION
                     > Selected as a Lawdragon 500 Leading Plaintiff Consumers Lawyers
                     > Recognized by the judges of the Superior Court of Arizona in Maricopa County for outstanding
                       contributions to the justice system
                     > U.S. Department of Justice, recognized for victims’ rights efforts
                     > Listed since 2008 as a Top 100 Trial Lawyer by Arizona’s Finest Lawyers and National Trial Lawyers
                     > Member of Hagens Berman’s Toyota team selected as a Finalist for Public Justice’s 2014 Trial Lawyer
                       of the Year

                     EXPERIENCE
                     > Adjunct Professor, Sandra Day O’Connor College of Law, teaching class actions. Has taught law and
                       policy courses at other universities.
                     > Judge Pro Tempore, Maricopa County Superior Court, presiding over contract and tort jury trials




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   72 of 175 Page ID
                                                              GENS BERMAN SOBOL SHAPIRO LLP
                                     #:3591




                     PARTNER, EXECUTIVE COMMITTEE MEMBER

                     Robert B. Carey
                     > In the 90s, he served as trial counsel on claims by counties for damages stemming from tobacco-
                       related illnesses (and acted as special counsel for Hagens Berman in seeking to recover damages in the
                       landmark tobacco litigation), and since then has led dozens of consumer and insurance class actions in
                       various states.
                     > While serving as Arizona Chief Deputy Attorney General Mr. Carey helped secure a $4 billion divestiture
                       and a landmark $165 million antitrust settlement. He also was a principal drafter of the first major
                       overhaul of Arizona’s criminal code and authored the section of the federal Prisoner Litigation Reform
                       Act of 1995 for Senators Dole and Kyl that virtually eliminated frivolous prisoner lawsuits. Mr. Carey
                       oversaw all major legal, policy, legislative and political issues for the Arizona attorney general’s office.
                       He developed and spearheaded passage of Arizona’s law requiring the DNA testing of all sex offenders
                       and the law requiring that criminals pay the cost of victims’ rights.
                     > Campaign staffer, intern, and staff member for U.S. Senator John McCain, during and after Senator
                       McCain’s first run for public office

                     LEGAL ACTIVITIES
                     > Member and Former Chairman, Arizona State Bar Class Action and Derivative Suits Committee

                     PUBLICATIONS
                     > Co-author of “7 Punitive Damages Strategies,” Trial Magazine, April 2019
                     > Co-author of the Arizona chapter of the ABA’s “A Practitioner’s Guide to Class Actions”
                     > Co-author of the Arizona and Colorado chapters of the ABA’s “A Practitioner’s Guide to Class Actions”
                       (2d ed.)

                     NOTABLE CASES
                     > Propane Exchange Tank Litigation
                     > Hyundai/Kia MPG Litigation
                     > Swift Truckers Litigation
                     > Toyota Unintended Acceleration Litigation
                     > NCAA Student-Athlete Name and Likeness Licensing Litigation
                     > Hyundai Subframe Defect Litigation
                     > Hyundai Occupant Classification System / Airbag Litigation
                     > Hyundai Horsepower Litigation
                     > Arizona v. McKesson False Claims and Consumer Protection Litigation (representing State of Arizona)
                     > Apple Refurbished iPhone/iPad Litigation
                     > Jim Brown v. Electronic Arts
                     > LifeLock Sales and Marketing Litigation
                     > Rexall Sundown Cellasene Litigation




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  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   73 of 175 Page ID
                                                               GENS BERMAN SOBOL SHAPIRO LLP
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                                     PARTNER

                                     Leonard W. Aragon

                                     Before attending college, Mr. Aragon fulfilled his dream
                                     as a scout for the 2/68 Armored Tank Battalion.



CONTACT                              CURRENT ROLE
11 West Jefferson St.
Suite 1000                           > Partner, Hagens Berman Sobol Shapiro LLP
Phoenix, AZ 85003                    > Practice focuses on nationwide class actions and other complex litigation

(602) 840-5900 office                > Currently counsel for plaintiffs in the highly publicized cases Keller v. Electronic Arts and In re NCAA
(602) 840-3012 fax                     Student-Athlete Name and Likeness Licensing Litigation which alleges that video game manufacturer
leonard@hbsslaw.com                    Electronic Arts, the National Collegiate Athletic Association, and the Collegiate Licensing Company used
                                       the names, images and likenesses of student-athletes in violation of state right of publicity laws and the
YEARS OF EXPERIENCE
                                       NCAA’s contractual agreements with the student-athletes. The plaintiffs reached a settlement with EA
> 18
                                       and the CLC in May for $40 million and reached a settlement in June with the NCAA for $20 million.
                                       The parties are in the process of seeking approval from the Court for the two settlements.
PRACTICE AREAS
> Commercial Litigation              RECENT SUCCESS
> Mass Tort
                                     > Multimillion-dollar jury verdict believed to be the largest in Columbiana County, Ohio history
> Appellate Advocacy
> Personal Injury                    > Multimillion-dollar class-action settlement on behalf of a nationwide class of student-athletes whose
                                       images were used on a website affiliated with CBS Interactive without their permission or compensation
COURT ADMISSIONS                     > Obtained two jury verdicts in favor of the original developer of the Madden Football video game
> U.S. District Court, District of     franchise in phased trial over unpaid royalties
  Arizona
> U.S. District Court, District of   RECOGNITION
  Colorado
                                     > Super Lawyers, Rising Star: Class Action/Mass Tort
EDUCATION                            LEGAL ACTIVITIES
> Stanford Law School, J.D.,
                                     > Adjunct Professor, Sandra Day O’Connor College of Law, Arizona State University
  2001
> Arizona State University, B.A.,    > State Bar of Arizona Bar Leadership Institute Class I
  History and Political Science,     > Pro bono work in insurance, immigration, family and contract law
  summa cum laude, 1998
                                     NOTABLE CASES
INDUSTRY EXPERIENCE
                                     > In re NCAA Student-Athlete Name and Likeness Licensing Litigation
> Consumer Fraud
> Software                           > Keller v. Electronic Arts Inc.
> Sports Law                         > Antonick v. Electronic Arts Inc.
> Health Care                        > In re Swift Transportation Co., Inc.
> Pharmaceuticals
                                     > Hunter v. Hyundai Motor America
> Election Law
> Gambling                           > Jim Brown v. NCAA; Liebich v. Maricopa County Community College District
> Administrative Procedures Act      > Liebich v. Maricopa County Community College District

                                     PERSONAL INSIGHT
                                     Before entering the practice of law, Mr. Aragon was a scout for the 2/68 Armored Tank Battalion,
                                     communications director for a successful congressional campaign, and waited on season tickets holders
                                     at America West Arena so that he could secretly watch the Phoenix Suns.
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  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   74 of 175 Page ID
                                                               GENS BERMAN SOBOL SHAPIRO LLP
                                      #:3593




                                      PARTNER

                                      Lauren Guth Barnes
                                      Ms. Barnes was honored with the American Association for Justice’s Marie
                                      Lambert Award in 2018, given to a female attorney in recognition of her
                                      exemplary leadership to the profession, to her community, to AAJ and to the
                                      Women Trial Lawyers Caucus.

CONTACT                               CURRENT ROLE
55 Cambridge Parkway
Suite 301                             > Partner, Hagens Berman Sobol Shapiro LLP
Cambridge, MA 02142                   > Practice focuses on antitrust, consumer protection and RICO litigation against drug and medical device
                                        manufacturers in complex class actions and personal injury cases for consumers, large and small health
(617) 482-3700 office
                                        plans, direct purchasers and state governments
(617) 482-3003 fax
lauren@hbsslaw.com                    > Co-lead class counsel for direct purchasers in In re Glumetza Antitrust Litigation (N.D. CA.)

YEARS OF EXPERIENCE                   > Co-lead class counsel for direct purchasers in In re Intuniv Antitrust Litigation (D. Mass.)
> 15
                                      > Co-lead class counsel for end payors in In re Humira (Adalimumab) Antitrust Litigation (N.D. Ill.)

PRACTICE AREAS
> Antitrust Litigation                EXPERIENCE
> Class Actions                       > As co-lead class counsel, helped secure $72.5 million class settlement for direct purchaser class three
> Consumer Rights
                                        days before trial in MDL 2503: In re Solodyn Anitrust Litigation
> Mass Torts
> Medical Devices                     > Helped reach a $73 million class settlement for direct purchasers in MDL No. 2343: In re. Skelaxin
> Pharmaceuticals/Health Care           Antitrust Litigation
  Fraud
> RICO                                > Represented the state of Connecticut and helped secure a $25M settlement in its’ action against Eli Lilly
                                        over unlawful promotion of and misrepresentations about Zyprexa
BAR ADMISSIONS
                                      > Represented health benefit providers in the firm’s Ketek and copay subsidies class litigation, and
> Massachusetts
                                        individuals harmed by pharmaceuticals such as Yaz, Actos and Granuflo and medical devices including
COURT ADMISSIONS
                                        pelvic mesh
> U.S. District Court, District of    > Served as pro bono counsel in a successful constitutional challenge to the Commonwealth of
  Massachusetts                         Massachusetts’ exclusion of legal immigrants from the state’s universal healthcare program
> U.S. Court of Appeals, Second
  Circuit, Eleventh Circuit           > Served as liaison counsel for In re Fresenius Granuflo/Naturalyte Dialysate Products Liability Litigation
> Supreme Court of the United
                                      > Active in the fights against forced arbitration federal preemption of consumer rights, working to ensure
  States
                                        the public maintains access to the civil justice system and the ability to seek remedies when companies
EDUCATION                               violate the law
> Boston College Law School,
                                      > Co-authored an amicus brief to the Supreme Court in Pliva v. Mensing on behalf of practitioners and
  J.D., cum laude, Articles Editor,
                                        professors who teach and write on various aspects of pharmaceutical regulation and the delivery of
  Boston College Law Review,
                                        healthcare
  2005
> Williams College, B.A.,             > Worked at Conflict Management Group where she worked with members of the United Nations High
  International Relations, cum          Commissioner for Refugees on a pilot project in Bosnia-Herzegovina designed to ease tensions and
  laude, 1998                           encourage reconciliation in post-conflict societies, and contributed to Imagine Coexistence, a book




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   75 of 175 Page ID
                                                              GENS BERMAN SOBOL SHAPIRO LLP
                                     #:3594




                     PARTNER

                     Lauren Guth Barnes
                      developed out of the collaboration
                     > Serves on the Board of On The Rise, a Cambridge, MA daytime shelter for homeless women and
                       women in crisis

                     LEGAL ACTIVITIES

                     > American Association for Justice (AAJ)
                        - Executive Committee, Member (2014-2015, 2019-present)
                        - Board of Governors, Member (2012-present)
                        - Law Schools Committee, Co-Chair (2010-present)
                        - Committee on the Judiciary, Chair (2018-present)
                        - Antitrust Litigation Group, Former Chair (2016-2018)
                        - Women Trial Lawyers Caucus, Former Chair (2012-2013)
                        - Class Action Litigation Group, Former Co-Chair (2011-2012)
                        - New Lawyers Division, Board of Governors (2009-2014)
                        - Committees (various), Member
                        - AAJ Trial Lawyers Care Task Force, Member (2012-present)
                     > Public Justice
                        - Board of Directors, Member (2018-present)
                        - Class Action Preservation Project, Vice Chair (2019-present)
                     > Massachusetts Academy of Trial Attorneys
                        - Executive Committee, Member (2012-2014; 2017-present)
                        - Board of Governors, Member (2011-present)
                     > Institute for Complex Litigation and Mass Claims at Emory Law, Emerging Leaders Board of Advisors
                       (2015-2017)
                     > Boston Bar Association, Class Action Committee, Co-Chair (2014-2018)


                     RECOGNITION
                     > Massachusetts Super Lawyer (2018, 2019)
                     > AAJ Marie Lambert Award (2018)
                     > AAJ Distinguished Service Award (2015, 2017, 2018)
                     > AAJ Women’s Caucus Excellence in Leadership Award (2017, 2019)
                     > AAJ Above and Beyond Award (2016)
                     > Institute for Complex Litigation and Mass Claims at Emory Law, Emerging Leaders Board of Advisors –
                       inaugural class (2015-2017)
                     > National Law Journal Boston Rising Star Award (2014)
                     > Massachusetts Academy of Trial Attorneys President’s Award (2014)
                     > Massachusetts Bar Association Up & Coming Lawyer Award (2013)
                     > Massachusetts Rising Star (2014, 2015)
                     > AAJ New Lawyers Division Excellence Award (2010, 2011, 2013, 2014)




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   76 of 175 Page ID
                                                              GENS BERMAN SOBOL SHAPIRO LLP
                                     #:3595




                     PARTNER

                     Lauren Guth Barnes
                     > AAJ New Lawyers Division Above and Beyond Award (2012)

                     > AAJ Wiedemann & Wysocki Award (2012, 2013)

                     NOTABLE CASES
                     > $72.5 Million Recovery in Solodyn Antitrust Action
                      In July 2018, the Honorable Denise J. Casper of the District of Massachusetts granted final approval to
                      a $72.5 million class settlement for direct purchasers of brand and generic Solodyn. HBSS was co-lead
                      class counsel in this case alleging Medicis entered into a series of reverse payment deals to delay entry
                      of generic Solodyn and used the period of delay to effectuate a product hop, all resulting in overcharges
                      by direct purchasers. The case settled three days before trial.
                      In re Solodyn Antitrust Litigation, D. Mass., MDL No. 2503
                     > $73 Million Recovery for Direct Purchasers of Skelaxin
                       On Sept. 24, 2014, Judge Curtis Collier of the Eastern District of Tennessee approved a $73 million
                       settlement for direct purchasers of Skelaxin in litigation alleging Skelaxin’s manufacturer colluded with
                       would-be generic competitors, fraudulently delaying generic competition and leading to higher prices.
                       Metaxalone was sold under the brand name Skelaxin since 1962, but the original patent expired in
                       1979. Manufacturers applied to market generic metaxalone in 2002, and generic competitors remained
                       foreclosed from marketing generic metaxalone until 2010. Hagens Berman served as lead counsel for
                       direct purchasers.
                       In re Skelaxin (Metaxalone) Antitrust Litigation, E.D.TN., Civil Action No. 1:12-md-2343.
                     > Health care coverage for 40,000 legal immigrants in Massachusetts
                       On Jan. 5, 2012, the Massachusetts Supreme Judicial Court ruled unanimously that a state law barring
                       40,000 low-income legal immigrants from the state’s universal health care program unconstitutionally
                       violates those immigrants’ rights to equal protection under the law and must be struck down. Hagens
                       Berman served as pro bono counsel.
                       Finch v. Commonwealth Health Insurance Connector Authority, Mass., Civil Action No. SJC-11025.
                     > $25 million for the state of Connecticut for Zyprexa fraud
                       On Oct. 5, 2009, U.S. District Court Judge Jack B. Weinstein approved a $25 million settlement
                       reached by the parties to conclude the state’s Zyprexa litigation that alleged Lilly engaged in unlawful
                       off-label promotion and misrepresented Zyprexa’s safety and efficacy, resulting in millions of dollars in
                       excess pharmaceutical costs. Hagens Berman served as outside counsel to Attorney General Richard
                       Blumenthal.
                       State of Connecticut v. Eli Lilly & Co., E.D.N.Y., Civil Action No. 08-cv-955-JBW.

                     PUBLICATIONS
                     > “How Mandatory Arbitration Agreements and Class Action Waivers Undermine Consumer Rights and
                       Why We Need Congress to Act,” Harvard Law and Policy Review, August 2015

                     PERSONAL INSIGHT
                     Unlike many of her colleagues at HBSS, Lauren does not run marathons – unless chasing after her three
                     children counts. Lauren did wrestle in college but refused to don the wrestling singlet. Whenever she can,
                     Lauren rock climbs with her in-laws, breathes deeply at yoga, and hosts dinner parties to, despite usual
                     advice, try totally new recipes. She also keeps the pizza delivery guy on speed dial as back-up for such
                     occasions.

www.hbsslaw.com                                                                                                                61
  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   77 of 175 Page ID
                                                               GENS BERMAN SOBOL SHAPIRO LLP
                                      #:3596




                                   PARTNER

                                   Ian M. Bauer
                                   Mr. Bauer has been at the forefront of child and social welfare policymaking and
                                   litigation in Washington State over the past decade, and has extensive experience in
                                   litigation involving abuse, neglect and exploitation of children and vulnerable adults.


CONTACT                            CURRENT ROLE
1301 Second Avenue
                                   > Partner, Hagens Berman Sobol Shapiro LLP
Suite 2000
Seattle, WA 98101                  > Practice focuses on personal injury and civil rights cases

(206) 268-9377 office
                                   RECENT SUCCESS
(206) 623-0594 fax                 Mr. Bauer has litigated numerous multimillion-dollar cases involving children and vulnerable adults who
ianb@hbsslaw.com                   have suffered profound abuse, neglect or exploitation. Recent recoveries include:
                                   > Settlement on behalf of five children abused and neglected by their biological parents ($9.75 million
YEARS OF EXPERIENCE
> 14                               > Settlement on behalf of a developmentally-disabled man who was subjected to extensive neglect and
                                     financial exploitation ($8.0 million)
PRACTICE AREAS
                                   > Settlement on behalf of a developmentally-disabled woman who was abused, neglected and financially
> Personal Injury Litigation         exploited by her state-paid, in-home caregiver ($5.52 million)
> Civil Rights                     > Settlement on behalf of a young child who was abused and neglected by his biological parents ($5.5
                                     million)
BAR ADMISSIONS                     > Settlement on behalf of a young man who was abused and neglected by a non-relative caregiver ($4.0
> Washington                         million)
                                   > Settlement on behalf of a young child who was abused and neglected by her biological mother ($4.0
COURT ADMISSIONS
                                     million)
> U.S. District Court, Western
  District of Washington           > Settlement on behalf of a young woman who was abused and neglected by a non-relative caregiver
> U.S. District Court, Eastern       ($3.0 million)
  District of Washington           > Settlement on behalf of an infant abused in day care setting ($2.84 million)
> United State Bankruptcy Court    > Settlement on behalf of a developmentally-disabled woman abused and neglected by her state-paid,
  for the Western District of        in-home caregiver ($2.5 million)
  Washington
                                   > Settlement on behalf of a developmentally-disabled woman who was sexually and financially exploited
> Ninth Circuit Court of Appeals
                                     by her state-paid, in-home caregiver ($2.4 million)
EDUCATION                          > Settlement on behalf of a young woman sexually abused by her biological father ($2.0 million)
> Connecticut College, B.A.,       > Settlement on behalf of a vulnerable woman sexually assaulted in a hospital emergency room ($1.2
  1999                               million)
> Seattle University School of
  Law, J.D., magna cum laude,      RECOGNITION
  2004                             > Mr. Bauer has received an AV rating from Martindale-Hubbell, the highest peer-reviewed national rating
                                     a lawyer can obtain, reflecting a preeminent legal ability and exceptional ethical standards.
                                   > Rising Star, Washington Law & Politics Magazine (2009, 2016, 2017)

                                   EXPERIENCE
                                   Prior to joining Hagens Berman, Mr. Bauer’s served as an Assistant Attorney General with the Washington
                                   State Attorney General’s Office. In this role, Mr. Bauer coordinated the defense of civil rights and tort
                                   litigation against DSHS, WSDOT, WSP and other state agencies, and supervised two teams of highly-



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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   78 of 175 Page ID
                                                              GENS BERMAN SOBOL SHAPIRO LLP
                                     #:3597




                     PARTNER

                     Ian M. Bauer
                     experienced attorneys and professional staff. Mr. Bauer also carried a significant caseload of high-profile
                     tort and civil rights cases, as well as cases involving the operation and funding of Washington’s foster
                     care, mental health and public assistance systems. Mr. Bauer also advised executive-level agency staff
                     and state risk managers on a wide variety of complex legal issues, including tactical litigation decisions,
                     the implications of legislative, judicial, political and policy decisions, and emergent situations involving the
                     risk of significant exposure.

                     LEGAL ACTIVITIES
                     > Member, Washington Association for Justice
                     > Member, American Association for Justice

                     PERSONAL INSIGHT
                     Mr. Bauer is a former collegiate soccer player who continues to follow the game religiously.




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  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   79 of 175 Page ID
                                                               GENS BERMAN SOBOL SHAPIRO LLP
                                      #:3598




                                     PARTNER

                                     Elaine T. Byszewski
                                     Litigated Milk Antitrust from complaint filing to recent settlement of $52 million




CONTACT                              CURRENT ROLE
301 North Lake Ave.
Suite 920                            > Partner, Hagens Berman Sobol Shapiro LLP
Pasadena, CA 91101                   > Ms. Byszewski has litigated a number of complex class actions on behalf of consumers, employees
                                       and whistleblowers resulting in multimillion-dollar settlements, including cases against Toyota, Ford,
(213) 330-7149 office                  AstraZeneca Pharmaceuticals, Berkeley Premium Nutraceuticals, Solvay Pharmaceuticals, Costco, Apple
(213) 330-7152 fax
                                       and KB Homes.
elaine@hbsslaw.com
                                     > Currently, Ms. Byszewski is involved in:
YEARS OF EXPERIENCE                    - Multi-state antitrust action against major dairy cooperatives for colluding in the premature slaughter of
> 17                                     a half a million cows to drive up the price of milk
                                       - Deceptive advertising case against Mars, Nestle, and Hershey involving their undisclosed use of child
PRACTICE AREAS                           and slave labor in Ivory Coast chocolate supply chains
> Consumer Protection                  - Deceptive advertising case against the makers of Chicken of the Sea, Fancy Feast, Iams, and Meow
> Qui Tam                                Mix involving their undisclosed use of slave labor in Thai seafood supply chains
> Antitrust Litigation                 - Hagens Berman’s representation of the City of Los Angeles and other municipalities in litigation
> Appellate                              against major banks for discriminating against minority borrowers

BAR ADMISSIONS                       RECENT SUCCESS
> State Bar of California
                                     > Litigated Milk Antitrust from complaint filing to settlement of $52 million and received the American
                                       Antitrust Institute’s 2018 award for Outstanding Antitrust Litigation Achievement in Private Law
COURT ADMISSIONS
> U.S. District Court for the          Practice
  Central District of California     > Member of litigation team that settled Toyota Unintended Acceleration Litigation for $1.6 billion and was a
> U.S. District Court for the
                                       finalist for Public Justice’s 2014 Trial Lawyer of the Year award
  Northern District of California
> U.S. District Court for the        NOTABLE CASES
  Southern District of California
> U.S. Court of Appeals for the      > Dairy Cooperatives Antitrust Litigation
  Ninth Circuit                      > SeaWorld Consumer Lawsuit
> U.S. District Court for the        > Chocolate Child Labor Cases
  Eastern District of California     > Seafood Slave Labor Cases
                                     > Toyota Unintended Acceleration
EDUCATION
                                     > Ford Spark Plugs
> Harvard Law School, J.D.,
  cum laude, 2002
                                     > SunRun, Inc. Advertising Litigation
> University of Southern             > AstraZeneca Pharmaceuticals (Nexium) Litigation
  California, B.S., Public Policy,   > Merck (Vioxx) Litigation
  summa cum laude, 1999              > Berkeley Nutraceuticals (Enzyte) Litigation
                                     > Solvay Pharmaceuticals (Estratest) Litigation
                                     > Apple iPod Litigation
                                     > Costco Wage and Hour Litigation



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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   80 of 175 Page ID
                                                              GENS BERMAN SOBOL SHAPIRO LLP
                                     #:3599




                     PARTNER

                     Elaine T. Byszewski
                     EXPERIENCE
                     > Prior to joining Hagens Berman, Ms. Byszewski focused her practice on labor and employment
                     litigation and counseling. During law school she worked in the trial division of the office of the
                     Attorney General of Massachusetts.


                     PUBLICATIONS
                     > “Valuing Companion Animals in Wrongful Death Cases: A Survey of Current Court and Legislative Action
                       and A Suggestion for Valuing Loss of Companionship,” Animal Law Review, 2003, Winner of the Animal
                       Law Review’s 5th Annual Student Writing Competition
                     > “What’s in the Wine? A History of FDA’s Role,” Food and Drug Law Journal, 2002

                     > “ERISA and RICO: New Tools for HMO Litigators,” Journal of Law, Medicine & Ethics, 2000

                     PERSONAL INSIGHT
                     Ms. Byszewski’s proudest moment was teaching her older son to swim. Tennis is next on the agenda. Her
                     biggest challenge is keeping her two-year-old out of trouble.




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  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   81 of 175 Page ID
                                                               GENS BERMAN SOBOL SHAPIRO LLP
                                      #:3600




                                  PARTNER

                                  Catherine Y.N. Gannon

                                  Super Lawyers magazine has recognized Ms. Gannon as a “Rising Star” in
                                  Washington state from 2016 to 2020.



CONTACT                           CURRENT ROLE
1301 Second Avenue
                                  > Partner, Hagens Berman Sobol Shapiro LLP
Suite 2000
Seattle, WA 98101                 > Practice focuses on securities and antitrust matters, as well as nationwide consumer protection cases
                                    involving large corporations
(206) 268-9319 office             > Extensive experience working with expert witnesses, often in economic and other highly technical areas
(206) 623-0594 fax
catherineg@hbsslaw.com            NOTABLE CASES
                                  > Volkswagen/Audi/Porsche Diesel Emissions Scandal
YEARS OF EXPERIENCE               > Aequitas Capital Management Securities Litigation
> 11                              > Insulin Overpricing
                                  > In re MyFord Touch Consumer Litigation
PRACTICE AREAS                    > NCAA Grant-In-Aid Cap Antitrust Litigation
> Securities and Antitrust        > Ford Shelby GT350 Mustang Overheating
> Consumer Protection
                                  EXPERIENCE
BAR ADMISSIONS                    > Weil, Gotshal and Manges LLP, New York, New York, Securities Litigation and Corporate Governance
> Washington                        Group
> New York                        > McCarthy Tétrault LLP, Toronto, Canada, Complex Commercial Litigation Group
> Ontario (Canada)
                                  > Department of Finance, Government of Canada, International Trade and Finance group with an
                                    emphasis on economic and trade negotiations at the G-20, IMF and the Paris Club
EDUCATION
> York University, Osgoode Hall   LEGAL ACTIVITIES
  Law School, Senior Editor,      > iVice President, Board of Directors, Eastside Legal Assistance Program (ELAP)
  Osgoode Hall Law Journal
                                  > Ms. Gannon maintains a broad pro bono practice with an emphasis on healthcare and disability rights.
  J.D., 2008
                                    She has successfully served as lead counsel seeking access to specialized education programs for
> Carleton University, Bachelor
                                    autistic students in the New York City public school district and has repeatedly advocated for prisoners
  of Public Affairs and Policy
                                    with mental health needs. Ms. Gannon has also served as a volunteer attorney for both Legal Voice and
  Management, summa cum
                                    Disability Rights Washington.
  laude, 2005
                                  > Volunteer, Disability Rights Washington
                                  > Broad pro bono practice with an emphasis on healthcare and disability rights. Successfully served as
                                    lead counsel seeking access to specialized education programs for autistic students in the New York
                                    City public school district and has repeatedly advocated for prisoners with mental health needs.

                                  RECOGNITION
                                  > Rising Star, Washington Super Lawyers, 2016-2020

                                  PUBLICATIONS
                                  > Co-author of the American Bar Association’s “A Practitioner’s Guide to Class Actions – Vermont
                                    Chapter” (2017)
                                  > “Designing a New Playbook for the New Paradigm: Global Securities Litigation and Regulation,” (2011)
                                    Harvard Law School Forum on Corporate Governance and Financial Regulation
                                  > “Legal Vulnerability of Bioethicists in Canada: Is a New Era Upon Us?” (2010) 30 Health Law in Canada
                                    132
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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   82 of 175 Page ID
                                                              GENS BERMAN SOBOL SHAPIRO LLP
                                     #:3601




                     PARTNER

                     Catherine Y.N. Gannon




                     > “The Threat of the Oppression Remedy to Reorganizing Insolvent Corporations,” (2009) Annual Review
                       of Insolvency Law 429 (with Stephanie Ben-Ishai)

                     PERSONAL INSIGHT
                     Ms. Gannon previously worked at leading law firms in both New York City and Toronto prior to joining
                     Hagens Berman in Seattle. Outside of work, Ms. Gannon serves on the board of directors for the Eastside
                     Legal Assistance Program, which provides pro bono civil legal services in the greater Seattle area. She
                     has also volunteered with organizations such as Legal Voice, Disability Rights Washington, Advocates for
                     Children of New York and The Innocence Project. A seasoned backpacker, Ms. Gannon once spent six
                     months traveling to more than a dozen countries across five continents. She is fluent in French and can
                     still pack a suitcase in less than 5 minutes.




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  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   83 of 175 Page ID
                                                               GENS BERMAN SOBOL SHAPIRO LLP
                                      #:3602




                                     PARTNER

                                     Kristen A. Johnson
                                     Public Justice nominated Ms. Johnson and the rest of the Neurontin trial team
                                     for Trial Lawyer of the Year for securing a $142 million verdict against Pfizer
                                     for suppressing and manipulating results of scientific studies.


CONTACT                              CURRENT ROLE
55 Cambridge Parkway
Suite 301                            > Partner, Hagens Berman Sobol Shapiro LLP
Cambridge, MA 02142                  > Court-appointed lead counsel for the proposed class of direct purchasers in multidistrict litigation
                                       alleging that brand company Merck and generic company Glenmark struck an anticompetitive pay-
(617) 475-1961 office                  for-delay agreement to resolve patent-infringement litigation over the drug Zetia. In re Zetia Antitrust
(617) 482-3003 fax                     Litigation, 2:18-md-2836, E.D. Va., ECF No. 105.
kristenjp@hbsslaw.com
                                     > Member of the HBSS team litigating antitrust claims on behalf of a proposed class of direct purchasers
YEARS OF EXPERIENCE                    of brand and generic Glumetza. In re Glumetza Antitrust Litigation, 3:19-cv-05822, N.D. Cal.
> 12                                 > Working with experts in In re: Ranbaxy Generic Drug Application Antitrust Litigation, 1:19-md-02878, D.
                                       Mass.
PRACTICE AREAS
                                     > Instrumental in new case investigation work directed to combating waste, fraud, and pricing abuse in
> Class Actions
                                       the pharmaceutical industry.
> Consumer Rights
> RICO                               RECENT SUCCESS
> Antitrust
                                     > The First Circuit reversed a district court’s dismissal of antitrust litigation premised on wrongfully listing
                                       patents covering insulin injector pens in FDA’s Orange Book. In re Lantus Direct Purchaser Antitrust
BAR ADMISSIONS
                                       Litigation, 18-cv-2086, 1st Cir., Feb. 13, 2020.
> Massachusetts
                                     > Directed HBSS’s litigation efforts, as co-lead counsel for the certified class of direct purchasers, and ran
COURT ADMISSIONS                       the patent team through the run up to trial in In re Loestrin 24 Fe Antitrust Litigation. The parties have
> U.S. District Court, District of     reached a proposed $120 million settlement shortly before trial. In re Loestrin 24 Fe Antitrust Litigation,
  Massachusetts                        1:13-md-02472, D.R.I., ECF Nos. 10, 1050.
> First Circuit Court of Appeals
                                     > Court-appointed Interim lead/liaison class counsel for the proposed direct purchaser class in
                                       multidistrict litigation alleging that Allergan engaged in an anticompetitive scheme to delay generic
EDUCATION
                                       versions of Restasis from coming to market. The parties have reached a proposed $51.25 million
> Boston College Law School,
                                       settlement on behalf of the proposed settlement class of direct purchasers of the drug Restasis, In re
  J.D.
                                       Restasis Antitrust Litigation, 18-md-2819, E.D.N.Y., ECF No. 50.
> Dartmouth College, cum laude,
  B.A.                               LEGAL ACTIVITIES
                                     > Public Justice, Class Action Preservation Committee
                                     > American Association for Justice

                                     RECOGNITION
                                     > In 2014 and 2015, the National Law Journal honored Ms. Johnson as one of Boston’s Rising Stars, one
                                       of 40 outstanding lawyers under 40.




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   84 of 175 Page ID
                                                              GENS BERMAN SOBOL SHAPIRO LLP
                                     #:3603




                     PARTNER

                     Kristen A. Johnson
                     > In 2011, Public Justice nominated Ms. Johnson and the rest of the Neurontin trial team for Trial
                       Lawyer of the Year for their work in securing a $142 million verdict against Pfizer for suppressing and
                       manipulating the results of scientific studies that showed Neurontin did not work to treat the off-label
                       indications Pfizer was heavily promoting.

                     NOTABLE CASES
                     > $94 million settlement for the certified class of direct purchasers in In re Celebrex (Celecoxib) Antitrust
                       Litigation, 2:13-cv-361, E.D. Va., ECF Nos. 64, 455 (court-appointed co-lead counsel).
                     > $98 million settlement for the direct purchaser class in In re Prograf Antitrust Litigation, D. Mass., MDL
                       No. 2242 (team member).
                     > Personally appointed alternate lead counsel in the In re New England Compounding Pharmacy Litigation
                       Multidistrict Litigation, 12-md-2419, D. Mass. During the nascent stages of the MDL, the court appointed
                       Ms. Johnson liaison counsel to speak for the hundreds of victims who contracted fungal meningitis or
                       suffered other serious health problems as a result of receiving contaminated products made and sold by
                       NECC. This case resulted in a $189+ million settlement on behalf of tort victims.
                     > Member of the trial team that achieved a $142 million civil RICO verdict against Pfizer for suppressing
                       and manipulating results of scientific studies concerning the drug Neurontin. Post-trial, the third-party
                       payer class settled with Pfizer for an additional $325 million. In re Neurontin Marketing, Sales Practices,
                       and Products Liability Litigation, D. Mass., MDL No. 1629.
                     > $150 million settlement for the direct purchaser class in In re Flonase Antitrust Litigation, E.D. Pa., 08-
                       cv-3149 (team member).


                     PERSONAL INSIGHT

                     Ms. Johnson grew up in a family law practice (they literally turned a closet into a playroom) in Canfield,
                     Ohio. Her grandfather, uncle, father, brother and sister are all lawyers, all practice together, and her
                     mother runs the law office. Ms. Johnson’s career choice was perhaps inevitable, though her departure for
                     Boston makes her a bit of a black sheep.




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  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   85 of 175 Page ID
                                                               GENS BERMAN SOBOL SHAPIRO LLP
                                      #:3604




                                    PARTNER

                                    Reed R. Kathrein

                                    Mr. Kathrein represents institutional, government and individual
                                    investors in securities fraud, and corporate governance cases.



CONTACT                             CURRENT ROLE
715 Hearst Ave.
Suite 202                           > Partner, Hagens Berman Sobol Shapiro LLP
Berkeley, CA 94710                  > Regular public speaker on securities, class action and consumer law issues

(510) 725-3000 office               RECOGNITION
(510) 725-3001 fax
reed@hbsslaw.com
                                    > Super Lawyer, Super Lawyers Magazine, 2007 - 2019

                                    EXPERIENCE
YEARS OF EXPERIENCE
> 43                                > Litigated over 100 securities fraud class actions
                                    > Worked behind the scenes in shaping the Private Securities Litigation Reform Act, the Securities
PRACTICE AREAS
                                      Litigation Uniform Standards Act and the Sarbanes-Oxley Act
> Securities Litigation
                                    > Lawyer Representative, Ninth Circuit Court of Appeals
BAR ADMISSIONS
> State of California               > Lawyer Representative, U.S. District Court for the Northern District of California, 2008-2011
> State of Illinois                 > Chaired the Magistrate Judge Merit Selection Panel, U.S. District Court, Northern District of California,
> State of Florida                    2006-2008

COURT ADMISSIONS                    > Co-chaired the Securities Rules Advisory Committee, U.S. District Court, Northern District of California,
> Supreme Court of California         2004-2006
> Supreme Court of Florida
> Supreme Court of Illinois         LEGAL ACTIVITIES
> U.S. District Court for the       > Member, National Association of Public Pension Attorneys (NAPPA)
  Northern District of California
> U.S. District Court for the
                                    > Member and Speaker, National Conference on Public Employee Retirement Systems (NCPERS)
  Northern District of Illinois     > Member, Council of Institutional Investors (CII)
> U.S. District Court of Colorado
                                    > Member, State Association of County Retirement Systems (SACRS)
> U.S. Court of Appeals, Ninth
  Circuit                           > Member, National Council on Teacher Retirement (NCTR)
                                    > Member, California Association of Public Retirement Systems (CALAPRS)
EDUCATION
                                    > Member, Michigan Association of Public Employee Retirement Systems (MAPERS)
> University of Miami, J.D., 1977
> University of Miami, B.A., 1974   > Member, Illinois Public Pension Fund (IPPFA)
                                    > Member, Standing Committee on Professional Conduct, U.S. District Court, Northern District of
                                      California (Term expires 2017)
                                    > Expedited Trial Rules Committee, U.S. District Court, Northern District of California, 2010-2012
                                    > Lawyer Representative to the Ninth Circuit Court of Appeals, U.S. District Court, Northern District of
                                      California, 2008-2011
                                    > Chair/ Member, Magistrate Judge Merit Selection Panel, U.S. District Court, Northern District of
                                      California, 2006-2008


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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   86 of 175 Page ID
                                                              GENS BERMAN SOBOL SHAPIRO LLP
                                     #:3605




                     PARTNER

                     Reed R. Kathrein
                     PUBLICATIONS
                     > “A Look at Recent Demographics and Other Statistics in Securities Fraud Class Actions,” The NAPPA
                       Report, October 2016
                     > “Post-Morrison: The Global Journey Towards Asset Recovery,” Reed R. Kathrein, Peter E. Borkon, Nick
                       S. Singer, contributing members, NAPPA Morrison Working Group, June 2016
                     > “Interview with Bernie Madoff,” Hagens Berman, HBSS Securities News, Fall 2015
                     > “Is Your Fund Prepared for Halliburton?,” March 2014
                     > “O Securities Fraud, Where Art Thou?, Enter Robocop,” Hagens Berman, HBSS Securities News,
                       November 2013
                     > “Professor Coffee to SEC: Hire Plaintiffs Bar!,” Hagens Berman, HBSS Securities News, May 2013
                     > “Living in a Post-Morrison World: How to Protect Your Assets Against Securities Fraud,” Reed R.
                       Kathrein, Peter E. Borkon, contributing members, NAPPA Morrison Working Group, 2012
                     > “SEC Action Necessary, But Not Sufficient to Protect Investors,” Hagens Berman, HBSS Securities
                       News, November 2012
                     > “Are You Watching Your Private Equity Valuations?” Hagens Berman, HBSS Securities News, May 2012
                     > “What Do Trustees Need to Know When Investing In Foreign Equities?,” Hagens Berman, HBSS
                       Securities News, November 2011

                     PRESENTATIONS
                     > “Incoming! How the New Administration’s Approach to Securities Laws and Regulations Affect Investors
                       and Markets,” MAPERS, Spring Conference, May 2017
                     > “Occupy Wall Street through Reform of the Securities Law,” NCPERS, Legislative Conference, February
                       2012
                     > “Legal Issues Facing Public Pensions,” Opal, Public Funds Summit, January 2012
                     > “Protection vs. Interference – What the New Federal Regulations Mean to Institutional Investors,”
                       NCPERS, Annual Conference, May 2011“The Immediate Need for Congress to Act on Investor Friendly
                       Legislation,” NCPERS, Annual Conference, May 2010
                     > “Investor Friendly Legislation in Congress,” NCPERS, Legislative Conference, February 2010

                     NOTABLE CASES
                     > Litigated over 100 securities fraud class actions including cases against 3Com, Adaptive Broadband,
                       Abbott Laboratories, Bank of America, Capital Consultants, CBT, Ceridian, Commtouch, Covad, CVXT,
                       ESS, Harmonics, Intel, Leasing Solutions, Nash Finch, Northpoint, Oppenheimer, Oracle, Pemstar, Retek,
                       Schwab Yield Plus Fund, Secure Computing, Sun Microsystems, Tremont (Bernard Madoff), Titan,
                       Verifone, Whitehall, and Xoma
                     > Litigated many consumer, employment and privacy law cases including AT&T Wiretapping Litigation,
                       Costco Employment, Solvay Consumer, Google/Yahoo Internet Gambling, Vonage Spam, Apple Nano




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   87 of 175 Page ID
                                                              GENS BERMAN SOBOL SHAPIRO LLP
                                     #:3606




                     PARTNER

                     Reed R. Kathrein
                      Consumer, Ebay Consumer, LA Cellular Consumer, AOL Consumer, Tenet Consumer and Napster
                      Consumer

                     PERSONAL INSIGHT
                     Reed is a recovering rock-and-roll drummer and banjo ukulele player. His rock band, the Stowaways, was
                     voted 4th best in the State of Illinois out of 300 bands in the Jaycees Battle of the Bands. Reed’s mother
                     made his band costume of blue jean bell bottoms, sailor shirts and hats. The next year everyone wore
                     blue jean bell bottoms to Woodstock. His prized possession is a 30lb Jeff Ocheltree snare drum made
                     by Led Zeppelin John Bonham’s drum technician. The rest of his kit is patterned after Dave Matthews
                     Band’s drummer, Carter Beauford. In his spare time, Reed works on playing Stairway to Heaven (drums)
                     in his garage or Somewhere Over the Rainbow (banjo ukulele) in the High Sierra mountains.




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   Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   88 of 175 Page ID
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                                       #:3607




                                   PARTNER

                                   Daniel J. Kurowski

                                   2020 “Rising Star” in Illinois, Super Lawyers



CONTACT                            CURRENT ROLE
455 N. Cityfront Plaza Drive
                                   > Associate, Hagens Berman Sobol Shapiro LLP
Suite 2410
Chicago, IL 60611                  > Daniel J. Kurowski is a partner at Hagens Berman Sobol Shapiro LLP. Since 2006, Mr. Kurowski has
                                     focused his practice on protecting the interests of individuals and small companies prejudiced by large
(708) 628-4963 office                corporations and organizations, often in consolidated multi-district litigation proceedings. Based in
(708) 628-4950 fax                   Chicago, with cases located throughout the country, his current work with the firm covers a diverse
dank@hbsslaw.com                     variety of complex cases including:
                                     - Representing student-athletes in individual personal injury and class-action litigation pertaining to
YEARS OF EXPERIENCE
> 15                                   concussions/traumatic brain injuries suffered during sporting activities, including in In Re National
                                       Collegiate Athletic Association Student-Athlete Concussion Injury Litigation (N.D. Ill.), Mayall v. USA Water
                                       Polo, Inc. (C.D. Cal.) and In Re NFL Players’ Concussion Injury Litig. (E.D. Pa.).
PRACTICE AREAS
> Consumer Rights Litigation         - Representing consumers of electricity in action alleging claims against nearly two dozen defendants
> Sports Litigation                    for perpetuating an extensive fuel oil fraud, resulting in users of electricity in Puerto Rico being
> Antitrust Litigation                 overcharged by more than $1 billion dollars for electricity since 2002.
> Pharmaceutical Fraud
                                     - Representing purchasers with antitrust, consumer fraud and/or unjust enrichment claims against
                                       sellers and manufacturers of retail products.
CLERKSHIPS
> Hon. Paul E. Plunkett,           RECENT SUCCESS
  Northern District of Illinois
                                   > In re Pre-Filled Propane Sales & Marketing Practices Litigation (W.D. Mo.) ($35 million in settlements
> Hon. Maria Valdez, Northern
                                     involving multiple defendants)
  District of Illinois
                                   > In re Bayer Combination Aspirin Sales & Marketing Practices Litigation (E.D.N.Y.) ($15 million settlement)
BAR ADMISSIONS
                                   > In re Aurora Dairy Organic Milk Marketing & Sales Practices Litigation (E.D. Mo.) ($7.5 million settlement)
> Illinois                         > Silk v. Bowling Green State University (Ohio Court of Claims) ($712,500 individual settlement for student-
                                     athlete injured as a result of alleged failures to properly manage athlete’s concussions)
COURT ADMISSIONS                   > In re NFL Players’ Concussion Injury Litigation (E.D. Pa.) (over $3.3 million in approved claims for former
> U.S. Court of Appeals, Seventh     NFL players)
  Circuit
> U.S. Court of Appeals, Second    RECOGNITION
  Circuit                          > Illinois Rising Star, Super Lawyers Magazine, 2015 - 2020
> U.S. District Court, Northern
  District of Illinois             EXPERIENCE
> U.S. District Court, Central     > Federal judicial law clerk, Hon. Paul E. Plunkett and Hon. Maria Valdez
  District of Illinois             > Intern, U.S. Department of Housing and Urban Development’s Office of Fair Housing and Equal
> U.S. District Court, Southern      Opportunity, the U.S. Attorney’s Office for the Northern District of Illinois and with Hon. Ronald A.
  District of Illinois               Guzman and his staff
                                   > During law school, Mr. Kurowski received multiple academic scholarships, served as a staff member and
EDUCATION
                                     Lead Articles Editor for The John Marshall Law Review, and received an award for an appellate brief
> John Marshall Law School,
                                     submitted in a national moot court competition
  J.D., cum laude, 2005
> Loyola University Chicago,
  B.B.A., with Honors, 2002

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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   89 of 175 Page ID
                                                              GENS BERMAN SOBOL SHAPIRO LLP
                                     #:3608




                     PARTNER

                     Daniel J. Kurowski
                     LEGAL ACTIVITIES
                     > Seventh Circuit Council on eDiscovery and Digital Information
                     > Member of American Association for Justice, Illinois State Bar Association, Chicago Bar Association
                     > Investigator, Chicago Bar Association, Judicial Evaluation Committee

                     NOTABLE CASES
                     > Aurora Dairy Corporation Organic Milk Marketing & Sales Practices Litigation (E.D. Mo.)
                     > Bayer Corp. Combination Aspirin Product Marketing & Sales Practices Litigation (E.D.N.Y.)
                     > Bisphenol-A (BPA) Polycarbonate Plastic Products Liability Litigation (W.D. Mo.)
                     > Pre-Filled Propane Tank Marketing & Sales Practices Litigation (W.D. Mo.)
                     > RC2 Corp. Toy Lead Paint Products Liability Litigation (N.D. Ill.)

                     PERSONAL INSIGHT
                     Dan enjoys staying active by competing in cyclocross races and equally intense races chasing after his
                     two children. Dan is also a board member for the DuPage Cycling Foundation, a 501(c)(3) non-profit
                     corporation that raises fund for community non-profits through the hosting and promotion of cycling
                     events.




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  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   90 of 175 Page ID
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                                      #:3609




                                PARTNER

                                Thomas E. Loeser
                                Mr. Loeser obtained judgments in cases that have returned billions of
                                dollars to millions of consumers and more than $100 million to the
                                government.


CONTACT                         CURRENT ROLE
1301 Second Avenue
Suite 2000                      > Partner, Hagens Berman Sobol Shapiro LLP
Seattle, WA 98101               > Practice focuses on class actions, False Claims Act and other whistleblower cases, consumer protection
                                  and data breach/identity-theft/privacy cases
(206) 268-9337 office
(206) 623-0594 fax              > Successfully litigated class-action lawsuits against mortgage lenders, appraisal management companies,
toml@hbsslaw.com                  automotive manufacturers, national banks, home builders, hospitals, title insurers, technology companies
                                  and data processors
YEARS OF EXPERIENCE
> 20                            > Currently prosecuting consumer protection class-action cases against banks, automobile manufacturers,
                                  lenders, loan servicing companies, technology companies, national retailers, payment processors and
PRACTICE AREAS                    False Claims Act whistleblower suits now under seal
> Consumer Rights
                                > Obtained judgments in cases that have returned billions of dollars to millions of consumers and more
> False Claims Act/Qui Tam
                                  than $100 million to the government
> Government Fraud
> Corporate Fraud               RECOGNITION
> Data Breach/Identity Theft
                                > The National Trial Lawyers: Top 100, 2019 -2020
  and Privacy
                                > Washington Super Lawyers, 2016 - 2020
INDUSTRY EXPERIENCE             > Washington Top Lawyers, 2016 - 2020
> Automotive                    > Martindale-Hubbell® AV Preeminent rating, 2015 - 2020
> Consumer Fraud
                                > Lawdragon 500 Leading Lawyers in America - 2019
> Cyber and Intellectual
  Property Crimes               EXPERIENCE
> Racketeering
> False Claims                  > Experience trying cases in federal and state courts in San Francisco, Los Angeles and Seattle
> Government Fraud
                                > Served as lead or co-lead counsel in 12 federal jury trials and has presented more than a dozen cases
> Technology
                                  to the Ninth Circuit Court of Appeals
> Software
> Recreation                    > As a federal prosecutor in Los Angeles, Mr. Loeser was a member of the Cyber and Intellectual
> Athletic Apparel                Property Crimes Section and regularly appeared in the Central District trial courts and the Ninth Circuit
                                  Court of Appeals
BAR ADMISSIONS
> California                    > Assistant U.S. Attorney, U.S. Department of Justice
> Illinois
                                > Wilson Sonsini Goodrich & Rosati
> District of Columbia
                                NOTABLE CASES
COURT ADMISSIONS
                                > Volkswagen Emissions Defect Litigation
> District of Columbia
> U.S. District Court for the   > Shea Homes Construction Defect Litigation
  District of Columbia          > Meracord/Noteworld Debt Settlement Litigation




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  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   91 of 175 Page ID
                                                               GENS BERMAN SOBOL SHAPIRO LLP
                                      #:3610




                                    PARTNER

                                    Thomas E. Loeser
> U.S. District Court for the       > Defective RV Refrigerators Litigation
  Eastern District of California    > New Jersey Medicare Outlier Litigation
> U.S. District Court for the
                                    > Center for Diagnostic Imaging Qui Tam Litigation
  Northern District of California
> U.S. District Court for the       > Countrywide FHA Fraud Qui Tam Litigation
  Southern District of California   > Chicago Title Insurance Co. Litigation
> U.S. District Court for the       > KB Homes Captive Escrow Litigation
  Central District of California
                                    > Aurora Loan Modification Litigation
> Supreme Court of California
> U.S. District Court for the
                                    > Wells Fargo HAMP Modification Litigation
  Eastern District of Michigan      > JPMorgan Chase Force-Placed Flood Insurance Litigation
> U.S. District Court for           > Wells Fargo Force-Placed Insurance Litigation
  the Western District of           > Target Data Breach Litigation
  Washington
                                    > Cornerstone Advisors Derivative Litigation
> Supreme Court of Washington
> Ninth Circuit Court of Appeals    > Honda Civic Hybrid Litigation
                                    > Hyundai MPG Litigation
EDUCATION
> Duke University School of         LANGUAGES
  Law, J.D., magna cum Laude,       > French
  Order of the Coif, Articles       > Italian
  Editor Law and Contemporary
  Problems, 1999
> University of Washington,
  M.B.A., cum laude, Beta
  Gamma Sigma, 1994
> Middlebury College, B.A.,
  Physics with Minor in Italian,
  1988




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  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   92 of 175 Page ID
                                                               GENS BERMAN SOBOL SHAPIRO LLP
                                      #:3611




                                     PARTNER

                                     Robert F. Lopez
                                     Mr. Lopez continues practice on qui tam matters at the firm, representing
                                     whistleblowers in cases involving violations of federal and state laws that
                                     prohibit the making of false claims for government payments.


CONTACT                              CURRENT ROLE
1301 Second Avenue
Suite 2000                           > Partner, Hagens Berman Sobol Shapiro LLP
Seattle, WA 98101                    > Offers a broad range of legal experience in the fields of:

(206) 268-9304 office                  - Complex commercial litigation                   - Privacy litigation
(206) 623-0594 fax                     - Health care and pharmaceuticals litigation      - Securities litigation
robl@hbsslaw.com                       - Product defect litigation                       - Antitrust litigation
                                       - False Claims Act litigation                     - Creditor-debtor litigation
PRACTICE AREAS
> Complex Commercial                   - Intellectual property litigation
  Litigation
                                     > Member of firm’s In re Carrier IQ, Inc. Consumer Privacy Litigation team
> Health Care &
  Pharmaceuticals Litigation         > Member of the firm’s team representing the plaintiffs and proposed class in Free Range Content Inc.
> Intellectual Property Litigation     v. Google Inc., an class-action case based on allegations that Google unlawfully denies payments to
> Privacy Litigation                   thousands of website owners and operators who place ads on their sites sold through Google AdWords
> Antitrust Litigation
> Securities Litigation              > Continues practice on qui tam matters at the firm, representing whistleblowers in cases involving
> Qui Tam Litigation                   violations of federal and state laws that prohibit the making of false claims for government payments

                                     EXPERIENCE
BAR ADMISSIONS
> Washington                         > Experienced in prosecuting and defending appeals in the federal and state courts of appeal; representing
                                       institutions and consumers in nationwide class-action lawsuits, including in the federal multidistrict
COURT ADMISSIONS
                                       litigation setting; advising clients in non-litigation settings with respect to trademark, trade-name,
> Western District of
                                       copyright and Internet-communications law
  Washington
> Eastern District of Washington     > Member of firm’s team representing one of the relators in the 2012 settlement with Amgen Inc., in
> U.S. Court of Appeals for the        which the company agreed to pay $612 million to the U.S. and various state governments in order to
  Ninth Circuit                        resolve claims that it caused false claims to be submitted to Medicare, Medicaid and other government
                                       insurance programs
EDUCATION
> Gonzaga University, B.A.,          > Member of the firm’s team that prosecuted In re Charles Schwab Corp. Securities Litigation
  English Literature; Arnold
                                     > Experienced in class-action litigation against DaimlerChrysler Corporation relating to product defects in
  Scholar
> University of Washington
                                       its Neon automobiles, nationwide class-action cases against Trex Company, Inc. and Fiber Composites,
  School of Law, J.D.                  Inc.
                                     > Founding Member and Partner, Socius Law Group PLLC
                                     > Partner, Betts, Patterson & Mines, P.S.




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   93 of 175 Page ID
                                                              GENS BERMAN SOBOL SHAPIRO LLP
                                     #:3612




                     PARTNER

                     Robert F. Lopez
                     NOTABLE CASES
                     > In re Pharmaceutical Industry Average Wholesale Price Litigation
                     > Amgen Inc. Qui Tam Litigation
                     > In re Metropolitan Securities Litigation
                     > In re Charles Schwab Corp. Securities Litigation
                     > In re Carrier IQ, Inc. Consumer Privacy Litigation




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  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   94 of 175 Page ID
                                                               GENS BERMAN SOBOL SHAPIRO LLP
                                      #:3613




                                    PARTNER

                                    Barbara Mahoney

                                    Ms. Mahoney received her doctorate in philosophy from the Universität
                                    Freiburg (Germany), where she graduated magna cum laude.



CONTACT                             CURRENT ROLE
1301 Second Avenue
Suite 2000                          > Partner, Hagens Berman Sobol Shapiro LLP
Seattle, WA 98101                   > Focuses primarily on national class actions and pharmaceutical litigation

(206) 268-9308 office               > Currently part of the firm’s legal team representing 2014-16 BMW i3 REx owners in a class action regarding
(206) 623-0594 fax                    a defect in the range extender that causes the cars to suddenly reduce speed and power without warning
barbaram@hbsslaw.com                  when transitioning from pure battery mode to the range extender.
                                    > Represents consumers in a nationwide class action against Dometic Corporation seeking compensation
YEARS OF EXPERIENCE
                                      for RV and boat owners who experienced extensive loss of property due to fires and explosions caused by
> 18
                                      defective refrigerators sold by Dometic.

PRACTICE AREAS                      > Extensively involved in several suits against McKesson relating to allegations the company engaged in a
> Civil RICO                          scheme that raised prices of 400+ brand-name prescription drugs. Resulted in two national class-action
> Consumer Rights                     settlements for $350 million and $82 million. In related litigation, Ms. Mahoney represented Virginia,
> Environmental Litigation            Connecticut, Arizona, Oregon, Utah and Montana in individual cases against McKesson.
> Intellectual Property
                                    > Extensively involved in In re: Generic Pharmaceuticals Pricing Antitrust Litigation on behalf of putative class of
> State False Claims
                                      direct purchasers in MDL alleging generic drug manufacturers engaged in price fixing.
INDUSTRY EXPERIENCE                 > Represents Kentucky homeowners in a putative class action against Louisville Gas & Electricity to recover
> Pharmaceutical Industry             the cost of removing coal ash and dust from their homes.
> Class Action Litigation
                                    > Previously, she was involved in pioneering litigation against oil and energy companies for the village and tribe
BAR ADMISSIONS                        of Kivalina to recover the cost of extensive damage to the village caused by global warming.
> Washington
                                    RECOGNITION
COURT ADMISSIONS                    > Rising Star, Washington Law & Politics, 2005
> U.S. District Court, Western
  District of Washington            EXPERIENCE
> U.S. District Court, Eastern
  District of Washington            > Worked in several areas of commercial litigation, including unlawful competition, antitrust, securities,
> Ninth Circuit Court of Appeals      trademark, CERCLA, RICO, FLSA as well as federal aviation and maritime law
                                    > Associate, Calfo Harrigan Leyh & Eakes LLP (formerly Danielson Harrigan Leyh & Tollefson)
EDUCATION
> University of Washington, J.D.,   > Law Clerk, Justice Sanders, Washington Supreme Court
  2001                              > Law Clerk, Judge Saundra Brown Armstrong, U.S. District Court, N.D. California
> Universität Freiburg, PhD,
  philosophy, magna cum laude,      LEGAL ACTIVITIES
  1993
                                    > Downtown Neighborhood Legal Clinic
                                    > Q Law




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   95 of 175 Page ID
                                                              GENS BERMAN SOBOL SHAPIRO LLP
                                     #:3614




                     PARTNER

                     Barbara Mahoney
                     > Cooperating Attorney with American Civil Liberties Union of Washington

                     NOTABLE CASES
                     > New England Carpenters v. First DataBank ($350 million class-action settlement)
                     > Douglas County v. McKesson ($82 million class-action settlement)
                     LANGUAGES
                     > Fluent in German
                     > Reads Swedish and French

                     PERSONAL INSIGHT
                     Ms. Mahoney lives in West Seattle with her partner and is very active in local athletic organizations.
                     She is a former board member of Rain City Soccer, where she also organized a summer-long
                     program on basic skills. She is also active in Seattle Frontrunners, a masters track club. She enjoys reading,
                     running, soccer and studying foreign languages.




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  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   96 of 175 Page ID
                                                               GENS BERMAN SOBOL SHAPIRO LLP
                                      #:3615




                                     PARTNER

                                     Sean R. Matt
                                     Leads the firm’s innovation in organizing and prosecuting individual class cases
                                     across many states involving the same defendants and similar factual and legal
                                     issues, an approach that continues to be a key factor in the firm’s success


CONTACT                              CURRENT ROLE
1301 Second Avenue
Suite 2000                           > Partner, Hagens Berman Sobol Shapiro LLP, since its founding in 1993
Seattle, WA 98101                    > Practice focuses on multi-state and nationwide class actions and complex commercial litigation
                                       encompassing securities and finance, consumer, antitrust, insurance and products
(206) 268-9327 office
(206) 623-0594 fax                   > Diverse experience in most of the firm’s practice areas, involving appearances in state and federal
sean@hbsslaw.com                       courts across the country at both the trial and appellate levels

YEARS OF EXPERIENCE                  > Key member of the firm’s securities litigation team, most recently co-leading the prosecution and
> 27                                   settlement of the In re Charles Schwab Securities Litigation, the In re Oppenheimer Champion Income Fund
                                       Securities Class Actions and the Oppenheimer Core Bond Fund Class Action Litigation
PRACTICE AREAS                       > Key member of the firm’s pharmaceutical litigation team that confronts unfair and deceptive pricing and
> Securities Litigation
                                       marketing practices in the drug and dietary supplement industries including Average Wholesale Price
> Consumer Rights
                                       Litigation, the First Databank/McKesson Pricing Fraud Litigation and the Enzyte Litigation
> Antitrust Litigation
> Insurance                          > Key member of the firm’s automobile defect litigation team
> Products Liability
                                     RECOGNITION
INDUSTRY EXPERIENCE
                                     > In 2014, Public Justice nominated Mr. Matt and the In re Toyota Motor Corp. Sudden, Unintended
> Complex Financial Instruments
                                       Acceleration team for the Trial Lawyer of the Year Award for their work in securing a $1.6 billion
> Investments
> Pharmaceuticals                      settlement for car owners.
> Automotive
                                     PUBLICATIONS

COURT ADMISSIONS                     > Providing a Model Responsive to the Needs of Small Businesses at Formation: A Focus on Ex Ante
> Supreme Court of Washington          Flexibility and Predictability, 71 Oregon Law Review 631, 1992
> U.S. District Court, Western
  District of Washington             NOTABLE CASES
> U.S. District Court, District of
                                     > In re Charles Schwab Securities Litigation ($235 million settlement)
  Colorado
> Ninth Circuit U.S. Court of        > In re Oppenheimer Champion Income Fund Securities Fraud Class Actions ($52.5 million proposed
  Appeals                              settlement)

EDUCATION                            > Oppenheimer Core Bond Fund Class Action Litigation ($47.5 million settlement)
> Indiana University, B.S.,          > Morrison Knudsen and Costco Wholesale Corp. Securities Litigation
  Finance, Highest Distinction,
  1988                               > In re Pharmaceutical Industry Average Wholesale Price Litigation ($338 million settlement)
> University of Oregon School
                                     > In re Toyota Motor Corp. Unintended Acceleration Marketing, Sales Practices, and Products Liability Litigation
  of Law, J.D., Order of the Coif
  (top 10%), Associate Editor of     > In re Checking Account Overdraft cases pending against many of the country’s largest banks
  the Law Review, 1992




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   97 of 175 Page ID
                                                              GENS BERMAN SOBOL SHAPIRO LLP
                                     #:3616




                     PARTNER

                     Sean R. Matt
                     > Washington State Ferry Litigation, which resulted in one of the most favorable settlements in class
                       litigation in the history of the state of Washington
                     > Microsoft Consumer Antitrust cases
                     > State Attorneys General Tobacco Litigation, assisted with client liaison responsibilities, working closely
                       with assistant attorneys general in Oregon, Ohio, Arizona, Alaska and New York, as well as assisting in
                       all litigation matters

                     PERSONAL INSIGHT
                     Sean, whose four-man team won cycling’s prestigious Race Across America with a time of six days and
                     three hours, still occasionally rides a bike.




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  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   98 of 175 Page ID
                                                               GENS BERMAN SOBOL SHAPIRO LLP
                                      #:3617




                                   PARTNER

                                   Martin D. McLean

                                   Mr. McLean is a true trial attorney having tried 30 cases
                                   to verdict in various state and federal courts.



CONTACT                            CURRENT ROLE
1301 Second Avenue
                                   > Associate, Hagens Berman Sobol Shapiro LLP
Suite 2000
Seattle, WA 98101                  > Represents individuals who have suffered catastrophic personal injury or loss
                                   > Clientele includes a wide range of individuals, including children who have suffered harm while in state
(206) 268-9359 office                care, elderly adults who have experienced abuse or neglect in nursing homes and individuals harmed by
(206) 623-0594 fax
                                     medical negligence.
martym@hbsslaw.com
                                   > Mr. McLean has been at the forefront of litigation involving the Washington Public Records Act.
YEARS OF EXPERIENCE
                                   RECENT SUCCESS
> 16
                                   > During his tenure with Hagens Berman’s personal injury team, Mr. McLean has contributed to numerous
PRACTICE AREAS
                                     lawsuits resulting in multimillion-dollar recoveries on behalf of the firm’s clients.
> Personal Injury
                                   EXPERIENCE
> Civil Rights
> Insurance Bad Faith              > Mr. McLean is a seasoned trial attorney, with extensive experience in all phases of litigation.
> Public Records Act
                                   NOTABLE CASES
BAR ADMISSIONS                     > Marx v. DSHS, $3 million judgment on behalf of developmentally-disabled patient sexually abused at
> U.S. District Court for            state-run hospital
  the Western District of          > Tamas v. State of Washington, $525,000 judgment on behalf of three children seeking publicrecords
  Washington                         from state agency
> U.S. District Court for the
  Eastern District of Washington   > Wright v. DSHS, $2,850,000 judgment against the state of Washington for negligent child abuse
> Ninth Circuit Court of Appeals     investigation
> Supreme Court of Washington      > Rudolph v. DSHS, $900,000 judgement on behalf of family of a vulnerable adult severely neglected in
                                    state-licensed adult family home
EDUCATION
> Seattle University School of     PERSONAL INSIGHT
  Law, J.D., cum laude, 2002       Mr. McLean spent a year living in Italy studying art, history, Italian and wine-drinking. When not practicing
                                   law, Mr. McLean enjoys his new favorite hobby: raising his young son with his wife.




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  Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 H APage   99 of 175 Page ID
                                                               GENS BERMAN SOBOL SHAPIRO LLP
                                      #:3618




                                    PARTNER

                                    David P. Moody

                                    Mr. Moody has successfully secured many multimillion-dollar recoveries on
                                    behalf of vulnerable citizens who have been abused, neglected or exploited.



CONTACT                             CURRENT ROLE
1301 Second Avenue
Suite 2000                          > Partner, Hagens Berman Sobol Shapiro LLP
Seattle, WA 98101                   > A trial attorney with a passion for representing children, the disabled, elderly and incapacitated citizens

(206) 268-9323 office               NOTABLE CASES
(206) 623-0594 fax
                                    > Mr. Moody has secured many multimillion-dollar recoveries on behalf of vulnerable citizens who have
davidm@hbsslaw.com
                                      been abused, neglected or exploited, including:
YEARS OF EXPERIENCE                   - Largest jury verdict ever upheld against the State of Washington, DSHS ($17.8 million)
> 26
                                      - Largest single-plaintiff settlement against the State of Washington, DSHS ($8.8 million)
PRACTICE AREAS                        - Largest recovery on behalf of three foster children ($7.3 million)
> Personal Injury Litigation
> Civil Rights                        - Largest single-plaintiff settlement on behalf of a child in Snohomish County, Washington ($5 million)
                                      - Largest judgment on behalf of an incapacitated child in Spokane County, Washington ($4 million)
INDUSTRY EXPERIENCE
> Children, Elderly and               - Judgment for a disabled woman in Santa Clara County, California ($4 million)
  Incapacitated Citizens who are
  Victims of Neglect or Abuse         - Largest judgment ever obtained against Eastern State Hospital ($3 million)
                                      - Largest judgment ever obtained against the State of Washington, Child Study and Treatment Center
BAR ADMISSIONS                          ($3 million)
> Washington
                                      - Judgment for a boy neglected and abused in Snohomish County, Washington ($2.85 million)
COURT ADMISSIONS                      - Judgment for a girl neglected and abused in Pierce County, Washington ($2.85 million)
> U.S. Supreme Court
> U.S. Court of Appeals, Ninth        - Settlement on behalf of brain-injured infant abused in day care setting ($2.84 million)
  Circuit                             - Largest single-plaintiff jury verdict on behalf of an incapacitated adult in Kitsap County, Washington
                                        ($2.6 million)
EDUCATION
> George Washington University        - Judgment in the amount of $2.5 million for a client abused at Eastern State Hospital
  School of Law, J.D., 1993
> University of Washington, B.A.,     - Largest single-plaintiff settlement on behalf of a developmentally disabled male in eastern Washington
  1990                                  ($2.25 million)
                                      - Several additional settlements in excess of $1 million

                                    PERSONAL INSIGHT
                                    David is proud to be a native Washingtonian and enjoys strong ties to the eastern side of the state.
                                    David’s grandfather Jack Edward Moody was born and raised in Dayton, Washington, and David’s great-
                                    grandfather Edward Maple Moody was the Sheriff of Columbia County, Washington. David’s maternal
                                    grandmother, Eva Armstrong, was one of the first female graduates of Whitman College in Walla Walla,
                                    Washington.


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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  100 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3619




                                    PARTNER

                                    David S. Nalven
                                    Extensive experience in prosecution of antitrust, fraudulent marketing and unfair
                                    pricing claims against manufacturers of pharmaceutical products and medical
                                    devices, representing prescription drug wholesalers and retailers, health insurers and
                                    consumers.


CONTACT                             CURRENT ROLE
55 Cambridge Parkway
Suite 301                           > Partner, Hagens Berman Sobol Shapiro LLP
Cambridge, MA 02142                 > Practice focuses on prosecution of federal and multi-state class actions involving the pharmaceutical
                                      and medical device industries
(617) 482-3700 office
(617) 482-3003 fax                  > Served in leadership roles in nationwide antitrust class actions against the manufacturers of Ovcon 35,
davidn@hbsslaw.com                    OxyContin, Tricor, Wellbutrin XL, Toprol XL, Norvir, Doryx, Prograf, Nexium and others

YEARS OF EXPERIENCE                 > Prosecuted fraudulent marketing class actions against the manufacturers of Serostim, Nexium,
> 34                                  Actimmune and Zyprexa, as well as substantial matters against medical device manufacturers DePuy
                                      Spine, Inc. and Becton Dickinson
PRACTICE AREAS                      > Worked extensively on the nationwide Average Wholesale Price Litigation and in the representation of
> Pharmaceuticals and Medical
                                      the state of Connecticut in multiple prescription drug pricing matters
  Devices
> Antitrust Litigation              EXPERIENCE
> Consumer Rights
> Securities Litigation
                                    > Chief of Business and Labor Protection Bureau, Massachusetts Attorney General’s Office,
                                      Commonwealth of Massachusetts, 1999-2004
BAR ADMISSIONS                      > Partner, Prince, Lobel & Tye, LLP, Boston, MA, 1991-1999
> Massachusetts
> New York                          > Private practice repr esenting plaintiffs and defendants in civil and criminal business litigation, New York
                                      and Massachusetts, 1986-1991
CLERKSHIPS
                                    > Clerk to John R. Gibson, U.S. Court of Appeals for the Eighth Circuit, 1985-1986
> John R. Gibson, U.S. Court of
  Appeals for the Eighth Circuit,   NOTABLE CASES
  1985-1986                         > Average Wholesale Price Litigation
                                    > Tricor Antitrust Litigation
EDUCATION
> New York University School        > DePuy Spine Artificial Disc Litigation
  of Law, J.D., 1985; Senior        > Prograf Antitrust Litigation
  Research Editor, Annual           > Lidoderm Antitrust Litigation
  Survey of American Law;
  Recipient, Philip Cohen award     PERSONAL INSIGHT
  for greatest contribution by      > David is an avid short-distance cyclist (home to work) and lover of city life.
  an editor to Annual Survey of
  American Law
> University of Pennsylvania,
  B.A., English, magna cum
  laude, 1980




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  101 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3620




                                    PARTNER

                                    Christopher A. O’Hara

                                    Plays key role in working with notice and claims administrators
                                    on all the firm’s class settlements and class notice programs



CONTACT                             CURRENT ROLE
1301 Second Avenue
Suite 2000                          > Partner, Hagens Berman Sobol Shapiro LLP
Seattle, WA 98101                   > Practice focuses on antitrust, consumer, tax and securities class actions

(206) 268-9351 office               > Serves as plaintiffs’ counsel in Hotel Occupancy Tax litigation against major online travel companies in
(206) 623-0594 fax                    various jurisdictions across the country
chriso@hbsslaw.com
                                    > Active member of firm’s Microsoft defense team negotiating claims administration policy and processing
YEARS OF EXPERIENCE                   rules in twenty consumer and antitrust class-action state settlements around the country
> 32
                                    > Key role in working with claims administrators on all class settlements and class notice programs

PRACTICE AREAS                      RECENT SUCCESS
> Antitrust Litigation
                                    > Worked on related litigation against Expedia on behalf of a nationwide class of consumers who
> Consumer Rights
> Tax Law
                                      purchased hotel reservations and paid excessive “taxes and fees” charges. That case resulted in
> Securities Litigation               summary judgment in plaintiffs’ favor and an eventual settlement for cash and credits totaling $134
> Pharmaceutical Fraud                million. Mr. O’Hara also played a leading role for the firm on the $235 million settlement of In re
                                      Charles Schwab Securities Litigation and the $1.6 billion settlement of In re Toyota Motor Corp. Unintended
BAR ADMISSIONS                        Acceleration Marketing, Sales Practices and Products Liability Litigation.
> Washington                        > Mr. O’Hara deposed more than a dozen of Big Tobacco’s expert witnesses, research scientists and
> Arizona
                                      marketing executives for the tobacco litigation, focusing predominantly on the state of Arizona case.
                                      Coordinated Arizona’s national and local expert witnesses, while contributing to all aspects of discovery
COURT ADMISSIONS
                                      and motion practice. Mr. O’Hara played a leading role in the firm’s successful defense of the state of
> U.S. Court of Appeals, Ninth
  Circuit                             Arizona against claims brought by several Arizona counties in the aftermath of the state’s tobacco
                                      litigation.
EDUCATION                           RECOGNITION
> University of Washington,
                                    > Rising Star, Washington Law and Politics, 2003
  B.A., Political Science, French
  Language and Literature, 1987     EXPERIENCE
> Seattle University School of      > Crowell & Moring, Paralegal, 1988-1990
  Law, J.D., cum laude, 1993
                                    > Cozen & O’Connor, Associate, 1993-1997
                                    NOTABLE CASES
                                    > Tobacco Litigation ($206 billion multi-state settlement)
                                    > Expedia Litigation ($134 million settlement)
                                    > Charles Schwab Yieldplus Funds Litigation ($235 million settlement)
                                    > Toyota Unintended Acceleration Litigation ($1.6 billion settlement)
                                    > Microsoft Antitrust Litigation
                                    LANGUAGES
                                    > French

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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  102 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3621




                                    PARTNER

                                    Matthew F. Pawa
                                    Mr. Pawa represented the state of New Hampshire against the nation’s
                                    largest oil companies, which resulted in a $236 million verdict against
                                    Exxon Mobil Corporation – the largest verdict in New Hampshire history.


CONTACT                             CURRENT ROLE
1280 Centre Street
Suite 230                           > Partner, Hagens Berman Sobol Shapiro LLP
Newton Centre, MA 02459             > Co-Chair of the firm’s environmental practice
(617) 641-9550 office
                                    RECOGNITION
(617) 641-9551 fax
mattp@hbsslaw.com                   > 2013 Massachusetts Lawyer of the Year, in recognition of New Hampshire MTBE case
YEARS OF EXPERIENCE                 > 2011 American Lung Association Healthy Air Ambassador Award
> 26                                > 2009 Certificate of Recognition for Best Papers, American Bar Association Section of Environment,
PRACTICE AREAS                        Energy and Resources, 38th Annual Conference on Environmental Law
> Environmental
                                    > 1993 Scribes Notes and Comments Award - national award for clarity, force and style in law review
BAR ADMISSIONS
                                      note or comment. Selected from among submissions by law reviews nationwide.
> Massachusetts
                                    > 1993 University of Pennsylvania’s Fred G. Leebron Prize for excellence in constitutional law writing.
> Vermont
> Pennsylvania
                                    EXPERIENCE
> District of Columbia
COURT ADMISSIONS                    > Prior to joining Hagens Berman, Mr. Pawa was the president of Pawa Law Group P.C. where he was
> Supreme Court of the United         the founder and leader of the litigation firm specializing in major environmental cases. He handled jury
  States                              trials, bench trials and argued appeals in state and federal courts in Massachusetts and across the
> First, Second, Third, Fourth,       nation, and collaborated with state attorneys general and non-profit clients on a major global warming
  Fifth, Ninth and D.C. Circuit       case that went to the U.S. Supreme Court. Mr. Pawa forged the small law firm into a nationally known
  Courts of Appeals                   entity with a reputation for successfully litigating against some of the country’s largest corporations.
> U.S. District Courts for the
                                    > Attorney, Cohen, Milstein, Hausfeld & Toll PLLC., – Mr. Pawa litigated class action and individual
  District of Washington D.C.,
                                      antitrust, environmental and consumer cases.
  District of Massachusetts,
  Eastern                           > Attorney, Crowell & Moring LLP.– Litigated insurance coverage actions and drafted Supreme Court
> District of Pennsylvania,           amicus brief on behalf of American Bar Association.
  Southern District of New York     > Deputy State’s Attorney, Chittenden County State’s Attorney Office. Prosecuted felony and misdemeanor
  and the District of Vermont         cases; successfully defended emergency appeal to Vermont Supreme Court on novel issue.
CLERKSHIPS
> Honorable Norma L.                LEGAL ACTIVITIES
  Shapiro, Eastern District of
                                    > Board of Trustees, Center for International Environmental Law
  Pennsylvania, 1994-95
                                    > American Bar Association
EDUCATION
> University of Pennsylvania
                                    > Massachusetts Bar Association
  Law School, J.D., cum laude,      > American Association for Justice
  1993 (associate editor, Law       > Massachusetts Academy of Trial Attorneys
  Review)                           > Boston Bar Association
> Cornell University, B.S. with
                                    > Adjunct Professor of Law, Boston College Law School, Climate Change Law and Policy Seminar (2007)
  distinction, Natural Resources,
  1987




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  103 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3622




                     PARTNER

                     Matthew F. Pawa
                     PRESENTATIONS
                     > Keynote speaker, Boston College Law School’s first annual Green Week (2010)
                     > Keynote speaker, Public Interest Environmental Law Conference at the University of Oregon Law School
                       (2009)

                     PUBLICATIONS
                     > “This Town Ain’t Big Enough for the Two of Us: Interstate Pollution and Federalism under Milwaukee
                       I and Milwaukee II,” American Bar Association Section of Environment, Energy and Resources, 38th
                       Annual Conference on Environmental Law, Keystone, Colorado (March 2009) (presented paper)
                     > “Saving Detroit - From Itself,” Boston Globe Op Ed (Sunday lead opinion piece) (Nov. 17, 2008)
                     > “Global Warming Litigation Heats Up,” Trial Magazine (April, 2008 cover story)
                     > “Global Warming: The Ultimate Public Nuisance,” in Creative Common Law Strategies for Protecting the
                       Environment (Clifford Rechtschaffen et al., eds., Environmental Law Institute 2007)
                     > “Behind the Curve: The National Media’s Reporting on Global Warming,” 33 B.C. ENVTL. AFF. L. REV.
                       485 (2006) (with co-author Benjamin A. Krass)
                     > “Global Warming as a Public Nuisance: Connecticut v. American Electric Power,” 41 FORDHAM ENVTL.
                       L. REV. 407 (2005) (with co-author Benjamin A. Krass)
                     > “When the Supreme Court Restricts Constitutional Rights, Can Congress Save Us?,” 141 U. PA. L. REV.
                       1029 (1993)

                     NOTABLE CASES
                     > State of New Hampshire v. Exxon Mobil Corp., 126 A.3d 266 (N.H. 2015) Upholding $236 million jury
                       verdict following three-month trial against petroleum company for polluting state’s groundwater.
                     > Connecticut v. American Electric Power Co., 582 F.3d 309 (2d Cir. 2009) Reinstating global warming tort
                       case filed by states and land trusts, rev’d on other grounds, 131 S. Ct. 2527 (2011)
                     > State v. Hess Corp., 161 N.H. 426 (2011) Holding that, under parens patriae doctrine, a state suing a
                       polluter for groundwater contamination may recover as damages the cost of treating private well
                       contamination.
                     > Alliance to Protect Nantucket Sound, Inc. v. Energy Facilities Siting Bd., 457 Mass. 663 (Mass. 2010)
                       Upholding state environmental permits for Cape Wind.
                     > New Hampshire v. N. Atlantic Refining, Ltd., 999 A.2d 396 (N.H. 2010) Upholding personal jurisdiction over
                       oil company in MTBE litigation.
                     > New Hampshire v. Hess Corp., 982 A.2d 388(N.H. 2009) Affirming proper service of process on two oil
                       company defendants in MTBE litigation.
                     > In re Inquest Proceedings, 676 A.2d 790 (Vt. 1996) Rejecting claim of parent-child privilege and
                       compelling parental testimony in rape case.

                     PERSONAL INSIGHT
                     Matt is a triathlete and also enjoys sailing, hiking, camping and river rafting.




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  104 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3623




                                    PARTNER

                                    Shana E. Scarlett

                                    Northern California Super Lawyer, 2013 - 2019



CONTACT                             CURRENT ROLE
715 Hearst Ave.
                                    > Partner, Hagens Berman Sobol Shapiro LLP
Suite 202
Berkeley, CA 94710                  > Practice is devoted entirely to representing plaintiffs in complex litigation, and primarily in the areas of
                                      antitrust and unfair competition
(510) 725-3000 office               > One of the team of litigators representing indirect purchaser plaintiffs in the In re Optical Disk Drive
(510) 725-3001 fax                    Antitrust Litigation, alleging a price-fixing conspiracy to stabilize the prices of optical disk drives
shanas@hbsslaw.com                    throughout the United States, in violation of federal and state antitrust laws
                                    > One of the team of co-lead counsel representing indirect purchaser plaintiffs in the In re Lithium Ion
YEARS OF EXPERIENCE
                                      Batteries Antitrust Litigation
> 18
                                    > Represents a class of consumers in the In re Electronic Books Antitrust Litigation, pending in the Southern
                                      District of New York, where attorneys from Hagens Berman Sobol Shapiro have worked closely with
PRACTICE AREAS
                                      numerous State Attorneys General in representing the rights of consumers
> Antitrust Litigation
> Consumer Protection               RECOGNITION
> Securities Litigation             > Lawdragon Leading Plaintiff Lawyer, 2020
                                    > Northern California Super Lawyer, 2013 - 2019
INDUSTRY EXPERIENCE                 > Rising Star Award for Northern California, Super Lawyers, 2009 - 2011
> Technology Companies              EXPERIENCE
> Internet Companies
                                    > Extensive experience representing shareholders in securities matters throughout the country
> Agricultural Companies
                                    > Represented investors against defendants in a variety of industries, such as pharmaceutical
                                      manufacturers, (In re Impax Sec. Litig., In re CV Therapeutics, Inc. Sec. Litig., In re Alkermes Sec. Litig.), Internet
BAR ADMISSIONS                        companies (including In re Verisign, Inc. and In re Northpoint Communications Group, Inc. Sec. Litig.) and
> California                          other manufactured products (Ryan v. Flowserve Corp.)
                                    LEGAL ACTIVITIES
COURT ADMISSIONS
> U.S. District Courts for the
                                    > Panelist, Procedural Steps and Pitfalls in Antitrust Class Actions, American Bar Association (May 2018)
  Northern, Southern, Eastern       > Panelist, Class Actions – Cutting Edge Developments in Claim Administration, Northern District of
                                      California Judicial Conference (April 2018)
  and Central Districts of
  California
                                    > Panelist, Antitrust for HR: No-Poach and Wage Fixing Agreements, Bar Association of San Francisco
                                      (Jan. 2018)
> U.S. Court of Appeals,
                                    > Panelist, Class Certification – Making Sense of Class Certification Doctrine, Economics and
  Second Circuit
                                      Econometrics, American Antitrust Institute (Nov. 2017)
> U.S. Court of Appeals, Ninth
                                    > Panelist, Increased Class Participation in the Digital Age, Class Action Money & Ethics Conference (May
  Circuit
                                      2017)
> U.S. Court of Appeals,
                                    > Member of the Women Antitrust Plaintiffs’ Attorneys
  Federal Circuit
                                    NOTABLE CASES
EDUCATION
                                    > In re Optical Disk Drive Antitrust Litigation, MDL No. 2143
> Stanford Law School, J.D.         > In re Electronic Books Antitrust Litigation, MDL No. 2293
> University of British Columbia,   > Pecover v. Electronic Arts, Inc., MDL No. 2420
  B.A.
                                    PERSONAL INSIGHT
                                     Shana is Canadian and the daughter of the noted Canadian jurist, the Hon. Edward D. Scarlett. When not in the
                                     Berkeley office of Hagens Berman, Shana usually can be found in Canada with her four sisters, nine nieces and
www.hbsslaw.com                      nephews.                                                                                                    89
 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  105 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3624




                                   PARTNER

                                   Craig R. Spiegel
                                   After helping obtain recent substantial settlements in cases against drug
                                   companies for deceptive marketing, Mr. Spiegel now helps in the firm’s litigation
                                   efforts against auto manufacturers and others for illegal emissions of pollutants.


CONTACT                            CURRENT ROLE
1301 Second Avenue
Suite 2000                         > Partner, Hagens Berman Sobol Shapiro LLP
Seattle, WA 98101
                                   > Practice primarily focuses on class actions concerning unfair pricing of pharmaceutical drugs. Recent
(206) 623-7292 office                cases include actions against AstraZeneca and Merck.
(206) 268-9328 direct
                                   NOTABLE CASES
(206) 623-0594 fax
craigs@hbsslaw.com
                                   > Involved in the firm’s antitrust class-action lawsuit against the NCAA accusing the sports-governing
                                     body of engaging in anti-competitive practices in regards to its scholarships or Grants in Aid (GIAs)
YEARS OF EXPERIENCE
> 40                                 program. In March of 2017, U.S. District Judge Claudia Wilken approved a sweeping $209 million
                                     settlement for student-athletes, and in March of 2019, a trial on the injunctive aspect of the case
                                     resulted in a change of NCAA rules limiting the financial treatment of athletes.
PRACTICE AREAS
> Consumer Rights
                                   > Helped obtain a substantial settlement for the state of New York and New York City in their litigation
                                     against Merck for losses suffered from deceptive marketing of the prescription drug Vioxx
BAR ADMISSIONS
> California State Bar             > Instrumental in obtaining a settlement for a class of Massachusetts consumers and third-party payors in
  Association                        their litigation against AstraZeneca, in which the class claimed that AstraZeneca deceptively marketed
> Illinois State Bar Association     the prescription drug Nexium as superior to Prilosec
> Washington State Bar
  Association                      > Deeply involved in the firm’s lawsuits on behalf of thalidomide victims, who suffered severe personal
                                     injuries when their mothers ingested thalidomide during their pregnancies in the late 1950s and early
EDUCATION
                                     1960s, without knowing that thalidomide had not been approved by the FDA
> Harvard Law School, J.D.,
  cum laude, 1979
> St. Olaf College, B.A., summa    RECOGNITION
  cum laude, 1975                  > Honoree for Outstanding Antitrust Litigation Achievement in Private Law Practice, American Antitrust
                                     Institute, 2019




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  106 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3625




                                  PARTNER

                                  Ronnie Seidel Spiegel

                                  Ms. Spiegel has played a key role in litigating some of the largest antitrust cases
                                  in history, working on all aspects of these cases from filing through trial.



CONTACT                           CURRENT ROLE
1301 Second Avenue
Suite 2000                        > Partner, Hagens Berman Sobol Shapiro LLP
Seattle, WA 98101                 > Extensive organizational, discovery, briefing and trial team experience in large antitrust price-fixing
                                    cases
(206) 623-7292 office             > Specializes in managing large-scale e-discovery
(206) 268-9343 direct             > Deep experience with foreign discovery, translation issues, and translation objection process
(206) 623-0594 fax                > Manager and coordinator of all-party, joint discovery effort in largest US antitrust case
ronnie@hbsslaw.com
                                  PRIOR EXPERIENCE
YEARS OF EXPERIENCE
                                  > Lead Antitrust Attorney and Manager of firm’s North Carolina office, Spector Roseman Kodroff & Willis,
> 21
                                    Philadelphia, PA, Attorney, 1994-2000
                                  > Business Law Instructor, Central Piedmont Community College, Charlotte, NC, 2000-2001
PRACTICE AREAS
> Antitrust Litigation            RECOGNITION
> Securities Litigation           > The National Trial Lawyers: Top 100
                                  > Lawdragon 500 Leading Plaintiff Financial Lawyers – 2019 - 2020
BAR ADMISSIONS
> Washington                      NOTABLE CASES
> Pennsylvania                    > In re Polyether Polyols Antitrust Litigation (Urethanes)
                                  > In re Automotive Parts Antitrust Litigation
COURT ADMISSIONS                  > In re Cathode Ray Tube (CRT) Antitrust Litigation
> U.S. District Court, Eastern    > In re TFT-LCD (Flat Panel) Antitrust Litigation
  District of Pennsylvania        > In re Containerboard Antitrust Litigation
> U.S. District Court, Western
                                  > In re DRAM Antitrust Litigation
  District of Washington
                                  > In re SRAM Antitrust Litigation
> U.S. District Court, Eastern
  District of Michigan            > In re Brand Name Prescription Drugs Antitrust Litigation
                                  > In re NASDAQ Market-Makers Antitrust Litigation
EDUCATION                         > In re Vitamins Antitrust Litigation
> Temple University Beasley       > In re High Fructose Corn Syrup Antitrust Litigation
  School of Law, J.D., Temple     > In re Commercial Tissue Paper Antitrust Litigation
  Law Review (Editorial Board),   > In re Flat Glass Antitrust Litigation
  1994
                                  > In re Linerboard Antitrust Litigation
> Boston University, B.A.,
  International Relations, 1990
                                  > In re Air Cargo Antitrust Litigation
                                  > In re Fasteners Antitrust Litigation
                                  > In re Korean Air Antitrust Litigation
                                  > In re OSB Antitrust Litigation


                                  RECOGNITION
                                  > Drafting Team, “Commentary on Rule 45 Subpoenas to Non-Parties, Second Edition,” The Sedona
                                    Conference Working Group Series, January 2020.

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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  107 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3626




                     PARTNER

                     Ronnie Seidel Spiegel
                     LEGAL ACTIVITIES
                     > Member of the American Bar Association’s Antitrust Section
                     > Member of the Sedona Conference Working Group 1 Series, Brainstorming Group and Drarting Team on
                       Rule 45 Commentary.
                     > Mother Attorneys Mentoring Association of Seattle (former Board Member)

                     PERSONAL INSIGHT
                     When not working, Ms. Spiegel enjoys being a soccer mom cooking for family and friends, and exploring
                     her adopted home state of Washington.




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  108 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3627




                                    PARTNER

                                    Shayne C. Stevenson
                                    Since fighting against sweatshops and the exploitation of undocumented workers with the
                                    workers’ rights organization he founded at Yale, Shayne has focused his legal career on
                                    prosecuting cases against individuals and businesses who victimize others by violence,
                                    deception and fraud.


CONTACT                             CURRENT ROLE
1301 Second Avenue
Suite 2000                          > Partner, Hagens Berman Sobol Shapiro
Seattle, WA 98101                   > Leads the firm’s whistleblower practice and litigates select class-action cases

(206) 623-7292 office               > Litigates and argues both False Claims Act and class-action cases in federal district courts and on
(206) 268-9340 direct                 appeal at the courts of appeal nationwide
(206) 623-0594 fax
shaynes@hbsslaw.com                 > Experienced in successfully handling whistleblower cases against some of the world’s largest financial
                                      companies, medical device and pharmaceutical companies, hospitals, mortgage companies and others
YEARS OF EXPERIENCE
                                    > Represents dozens of whistleblowers under the Dodd-Frank whistleblower programs of the Securities
> 19
                                      and Exchange Commission (SEC) and the Commodity Futures Trading Commission (CFTC), including
                                      two of the most prominent whistleblowers under these programs, with cases in regional enforcement
PRACTICE AREAS
                                      offices across the country
> Whistleblower Law (False
  Claims Act, SEC, IRS, CFTC)       > Currently represents several qui tam relators under the federal and various state False Claims Act
> Appellate Litigation                laws, in both declined and intervened cases and many still under investigation. His False Claims Act
> Civil & Human Rights                practice includes, among other areas of focus, Medicare and Medicaid health care fraud, financial fraud,
  Litigation                          mortgage fraud, defense industry and other procurement fraud, education fraud, and grant-funding
                                      fraud.
BAR ADMISSIONS
> Washington                        > Litigates class-action cases on behalf of veterans, consumers, workers and investors
                                    > Litigates select human rights and other public interest matters, including previous litigation against the
CLERKSHIPS:
                                      Rio Tinto mining conglomerate that reached the Supreme Court in 2013 for war crimes on the island of
> Honorable Betty B. Fletcher,
                                      Bougainville, in Papua New Guinea, and a current pending suit against SeaWorld
  Ninth Circuit Court of Appeals,
  2001-02                           > Previously a felony prosecutor who successfully tried several multi-week jury trials and argued several
> Honorable Charles S. Haight,        cases in trial and appellate courts
  Jr., Southern District of New
  York, 2000-01                     RECENT SUCCESS

EDUCATION                           > Mr. Stevenson represents Dodd-Frank SEC whistleblower Haim Bodek in the recent SEC action against
> Yale Law School, J.D., 2000         the New York Stock Exchange and affiliated exchanges for, among other things, their unlawful and
> Gonzaga University, B.A.,           undisclosed use of order types. In the Matter of New York Stock Exchange LLC, et al. (SEC order) (2018)
  Philosophy and Political
                                    > Mr. Stevenson helped represent a class of over 126,000 military servicemembers challenging Bank of
  Science, Truman Scholar,
                                      America’s alleged violations of the Servicemember Civil Relief Act, which requires financial institutions
  summa cum laude (first-in-
  class), 1996                        to limit the interest charged on loans to active duty servicemembers. In February of 2018, the Court
                                      granted final approval of a nationwide class settlement of nearly $42 million for these military families.
                                      Childress v. Bank of America Corp., et al., 15-cv-00231 (E.D.N.C.) (2018).




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  109 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3628




                     PARTNER

                     Shayne C. Stevenson
                     > Mr. Stevenson represented the highly publicized anonymous Dodd-Frank CFTC whistleblower who
                       single-handedly brought to authorities, through his proprietary analysis of market and trading data, the
                       international market manipulator later identified as Navinder Sarao, whose market manipulation through
                       spoofing contributed to the “Flash Crash.” Mr. Sarao was extradited and pled guilty in November of 2016.
                       CFTC v. Nav Sarao Futures Ltd. 15-cv-3398 (N.D. Ill.) (civil); U.S. v. Sarao 15-cr-75 (N.D. Ill.) (criminal)
                     > Mr. Stevenson also represented another high-profile Dodd-Frank SEC whistleblower, the algorithmic
                       trader and market structure expert Haim Bodek, rewarded in 2017 for his single-handed identification
                       of securities law violations by a major U.S. financial exchange. Mr. Bodek was twice featured on the
                       front page of the Wall Street Journal for his efforts, which led to the largest SEC fine in history against a
                       financial exchange. In the Matter of EDGA Exchange, Inc., et al. (SEC Order)
                     > Mr. Stevenson handled both False Claims Act whistleblower cases against Bank of America that
                       culminated in the historic $1 billion settlement between the Department of Justice and Bank of America
                       addressing mortgage fraud and whistleblower awards to both clients in unrelated litigation. First,
                       whistleblower client Mr. Kyle Lagow (in U.S. ex rel. Lagow v. Countrywide Financial Corp.) (E.D.N.Y.)
                       sparked a Department of Justice investigation of Countrywide and Bank of America’s fraudulent
                       mortgage origination and appraisal practices. Second, whistleblower client Mr. Gregory Mackler (in U.S.
                       ex rel. Mackler v. Bank of America) (E.D.N.Y.) helped the Department of Treasury recover several million
                       dollars from Bank of America for allegedly violating its agreement with the Department to properly
                       administer the Home Affordable Mortgage Program (HAMP) for struggling homeowners.

                     EXPERIENCE
                     > King County Prosecuting Attorney’s Office, Felony Prosecutor
                     > Law Clerk, Honorable Betty B. Fletcher, Ninth Circuit Court of Appeals, 2001-02
                     > Law Clerk, Honorable Charles S. Haight, Jr., Southern District of New York, 2000-01
                     > U.S. Attorney’s Office, District of Connecticut, Intern

                     PUBLICATIONS
                     > Author, “The Honorable Betty B. Fletcher: A Tribute to a Legal Trailblazer,” Federal Bar Association,
                       November 2012

                     PRESENTATIONS
                     > Speaker: “Whistleblowers & Financial Fraud,” National Whistleblower Conference. San Francisco, CA.
                       Jan. 22-23, 2018
                     > Speaker: “Financial Fraud,” National Qui Tam Conference. Los Angeles, CA. Nov. 3-4, 2016
                     > Speaker: “Representing Dodd-Frank Whistleblowers,” Taxpayers Against Fraud Education Fund, Annual
                       Conference. Washington, D.C. Nov. 16, 2015.
                     > Speaker: “Secrets from the Plaintiff’s Bar,” Hospital and Health Care Law Conference. Seattle, WA. Apr. 24, 2015.
                     > Speaker: “False Claims in the Financial Sector,” False Claims and Qui Tam Enforcement Conference.
                       New York, New York. Jan. 21-22, 2015.
                     > Lecture: “Access to Civil Remedy,” Business, Social Responsibility, & Human Rights, University of
                       Washington School of Law. Seattle, Washington. Nov. 4, 2014.
                     > Speaker: “Enforcement of Financial Fraud,” False Claims Act: National Qui Tam Conference. San
                       Francisco, California. Oct. 27-28, 2014.


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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  110 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3629




                     PARTNER

                     Shayne C. Stevenson
                     > Lecture: “Human Rights Law After Kiobel,” University of Washington School of Law. Seattle, Washington.
                       Nov. 12, 2013.
                     > Speaker: “Financial Fraud Enforcement,” False Claims Act: All Points of View, National Conference. San
                       Francisco, California. Apr. 18-19, 2013.
                     > Lecture: “Strategy after Kiobel and Bauman,” International Human Rights Seminar, University of
                       Washington School of Law. Seattle, Washington. Apr. 17, 2013.
                     > Lecture: “Alien Tort Statute and Human Rights Litigation,” University of Washington School of Law.
                       Seattle, Washington. Nov. 13, 2012.
                     > Speaker: “Protecting Whistleblowers, Protecting the Public,” Whistleblowing: Law, Compliance, and
                       the Public Interest. Government Accountability Project. Seattle University School of Law. Seattle,
                       Washington. Mar. 23, 2012.

                     MEDIA INTERVIEWS
                     > “CFTC Calls for Whistleblower Tips as Enforcement Evolves,” Law360, Sept. 19, 2019 view »
                     > “Pharma Co. Inks $17.5m Deal to End FCA Kickback Suit,” Law360, Apr. 30, 2019 view »
                     > “Attorneys Reflect on Escobar’s FCA Impact 2 Years Later,” Law360, June 15, 2018 view »
                     > “SeaWorld Visitors Ask 9th Cir. to Flip Whale Abuse Suit,” Law360, Mar. 12, 2018. view »
                     > “Dodd-Frank Whistleblowers Help Clean Up Our Markets,” (Guest Column) ValueWalk, Feb. 6, 2018. view »
                     > “Attorneys React to DOJ’s New Memo on FCA Dismissals,” Law360, Jan. 26, 2018. view »
                     > “Limiting Whistleblower Rewards Weakens Program,” Bloomberg Law, Nov. 2, 2017.
                     Read more of Mr. Stevenson’s media interviews »

                     NOTABLE CASES
                     > In the Matter of Cargill, Inc. (CFTC Order) (represented CFTC whistleblower in action against the largest private
                       company in the United States)
                     > Childress v. Bank of America Corp., et al., Eastern District of North Carolina (represented class of over 125,000
                       military servicemembers and secured nearly $42 million settlement for violations of the SCRA) (2018)
                     > In the Matter of New York Stock Exchange, et al. (SEC Order) (represents SEC whistleblower in action tying
                       record fine against financial exchange) (2018)
                     > United States v. Sarao & CFTC v. Nav Sarao Futures Ltd., Northern District of Illinois; (represented anonymous
                       CFTC whistleblower in market manipulation prosecution)
                     > In the Matter of EDGA Exchange, Inc., et al. (SEC Order) (represented SEC whistleblower in action
                       culminating in largest fine against a U.S. exchange in history)
                     > U.S. ex rel. Lagow v. Bank of America, Eastern District of New York (False Claims Act – FHA fraud)
                     > U.S. ex rel. Mackler v. Bank of America, Eastern District of New York (False Claims Act – HAMP fraud)
                     > U.S. ex rel. Nowak v. Medtronic, Inc., District of Massachusetts (False Claims Act – off-label marketing of
                       medical devices)
                     > U.S. ex rel. Kite v. Besler Consulting, et al., District of New Jersey (False Claims Act – Medicare “outlier”
                       fraud)
                     > U.S. ex rel. Polansky v. Pfizer, Inc., Eastern District of New York (False Claims Act – off-label marketing of
                       Lipitor)
                     > Sarei v. Rio Tinto, Central District of California (Alien Tort Statute – international human rights litigation)
                     > Tittle v. United States Postal Service, Western District of Washington (Privacy Act – employee class action)
                     > Hutchinson v. British Airways PLC, Eastern District of New York (Montreal Convention – consumer class
www.hbsslaw.com        action)                                                                                               95
 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  111 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3630




                                   PARTNER

                                   Andrew M. Volk

                                   Worked extensively on consumer claims against Expedia resulting
                                   in the largest summary judgment award in Washington state history



CONTACT                            CURRENT ROLE
1301 Second Avenue
Suite 2000                         > Partner, Hagens Berman Sobol Shapiro LLP
Seattle, WA 98101                  > Practice focuses on consumer litigation, including automobile defect litigation against General Motors
                                     and Kia
(206) 268-9371 office
(206) 623-0594 fax                 > Worked on hotel tax collection cases against the major online travel companies (OTC). The firm achieved
andrew@hbsslaw.com                   settlements on behalf of Brevard County, Florida, the village of Rosemont, Illinois and the city of Denver,
                                     Colorado.
YEARS OF EXPERIENCE
> 28                               > Extensively involved in ERISA cases for breach of fiduciary duties, including settlements of claims on
                                     behalf of employees of Enron, Washington Mutual Bank, General Motors, the Montana Power Company
PRACTICE AREAS                       and Sterling Savings Bank
> Patent Litigation
                                   RECENT SUCCESS
> Intellectual Property
> ERISA Litigation                 > Worked on litigation against Expedia on behalf of a nationwide class of consumers who purchased hotel
> Hotel Tax Litigation               reservations and paid excessive “taxes and fees” charges. That case resulted in summary judgment in
                                     plaintiffs’ favor and an eventual settlement for cash and credits totaling $134 million.
BAR ADMISSIONS
> New York                         EXPERIENCE
> Oregon
                                   > Mr. Volk was extensively involved in the tobacco litigation in the late 1990s.
> Washington
                                   > Legal Writing and Research, University of Oregon School of Law, Instructor
EDUCATION
> Cornell Law School, J.D.,        > Attorney, Legal Aid Society, New York City
  cum laude, Articles Editor for
                                   NOTABLE CASES
  Cornell International Law
  Review, 1991                     > Expedia Litigation ($134 million settlement)
> Columbia University, B.A.,
  English, 1986                    > Tobacco Litigation on behalf of States (resolved in $206 billion settlement)
                                   > Enron ERISA Litigation ($265 million settlement)
                                   > Washington Mutual Bank ERISA Litigation ($49 million settlement)
                                   > General Motors ERISA Litigation ($37.5 million settlement)




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  112 of 175 Page ID
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                                     #:3631




                                    PARTNER

                                    Garth Wojtanowicz

                                    Named a “Rising Star” by Super Lawyers Magazine in 2006, 2007, 2010



CONTACT                             CURRENT ROLE
1301 Second Avenue
                                    > Partner, Hagens Berman Sobol Shapiro LLP
Suite 2000
Seattle, WA 98101                   > Practice focuses on consumer protection cases
                                    > Currently working on cases against Fresenius Medical Care, N.A. and DaVita, Inc., the first and second
(206) 268-9326 office                 largest dialysis companies in the United States, relating to those companies’ use of GranuFlo.>
(206) 623-0594 fax
                                      Also working on a nationwide class action against medical waste disposal company Stericycle, Inc.,
garthw@hbsslaw.com
                                      challenging that company’s pricing practices which resulted in hundreds of millions of dollars in over-
                                      charges to doctors’ offices, dentist offices, hospitals and similar businesses
YEARS OF EXPERIENCE
> 19                                RECOGNITION
                                    > “Rising Star” by Super Lawyers Magazine in 2006, 2007 and 2010
PRACTICE AREAS
> Consumer Protection               EXPERIENCE
> Securities Litigation             > Member, Cornerstone Law Group, PLLC
> Unfair Competition
                                    > Associate, Danielson Harrigan Leyh & Tollefson, LLP
                                    > Assistant City Attorney, Seattle City Attorney’s Office, Civil Division
BAR ADMISSIONS
> Washington                        NOTABLE CASES
> California
                                    > Toyota Sudden, Unintended Acceleration (SUA) class-action lawsuit on behalf of Toyota owners and
EDUCATION                             lessees, which resulted in an historic settlement recovery valued at $1.6 billion
> University of Washington
                                    PERSONAL INSIGHT
  School of Law, J.D., 2000
> University of Washington, B.A.,
                                    Mr. Wojtanowicz volunteers his time as a non-profit director for Girls Giving Back and the Blossoming Hill
  English, 1997                     Montessori School and has worked as a volunteer attorney for the Northwest Immigrant Rights Project.




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  113 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3632




                                   PARTNER

                                   Jason A. Zweig
                                   Mr. Zweig was a key member in the High Fructose Corn Syrup Antitrust
                                   Litigation which resulted in a $531 million recovery—one of the largest
                                   antitrust and securities class actions in history.


CONTACT                            CURRENT ROLE
455 North Cityfront Plaza Drive
Suite 2410                         > Partner, Hagens Berman Sobol Shapiro LLP
Chicago, IL 60611                  > Works at the firm’s Chicago and New York offices

(708) 628-4949 office              > Possess broad-based experience in antitrust, consumer, products liability and securities, primarily
(708) 628-4950 fax                   in the context of class actions Has practiced in federal district and appellate courts throughout the
jasonz@hbsslaw.com                   country, and has extensive experience in multi-district litigation

YEARS OF EXPERIENCE                > Experience representing large entities in opt-out litigation, as well as plaintiffs in class-action litigation
> 21
                                   > After receiving his legal education in New York City and spending the first 17 years of his career there,
                                     Mr. Zweig became primarily resident in the firm’s Chicago office in 2015.
PRACTICE AREAS
> Complex Litigation               > Mr. Zweig is well known for his pragmatism, as well as his collegiality and professionalism, a
> Securities Litigation              reputation he is proud of and which he strives to maintain at all times.
> Antitrust Litigation
> Consumer Protection              RECENT SUCCES

BAR ADMISSIONS
                                   > Key member for direct purchaser class plaintiffs in High Fructose Corn Syrup Antitrust Litigation, MDL
> U.S. Department of Veterans        No. 1087 (C.D. Ill.) which resulted in a $531 million recovery
  Affairs                          > Key member for direct-purchaser class plaintiffs in In re Hydrogen Peroxide Antitrust Litigation in
> New York
                                     which more than $97 million was recovered
> U.S. District Courts for the
  Northern, Southern and           > Key member for direct-purchaser class plaintiffs in In re Air Cargo Shipping Antitrust Litigation 06-
  Eastern Districts of New York      MD-1775 (E.D.N.Y.) in which over $1 billion was recovered
> U.S. District Court for the
  Eastern District of Michigan     > Represented the City of Newark, New Jersey in Federal price-fixing antitrust litigation involving
> U.S. District Court for the        wastewater treatment chemical liquid aluminum sulfate
  Eastern District of Wisconsin
                                   > Led the firm’s representation of merchants who opted out of the class in In re Payment Card
> U.S. Court of Appeals
                                     Interchange Fee and Merchant Discount Litigation, MDL No. 1720 (E.D.N.Y.), including FedEx,
  - Second Circuit
  - Third Circuit                    American Airlines, Southwest Airlines, Alaska Airlines, JetBlue, British Airways, Hawaiian Airlines,
                                     Virgin America, The Minnesota Twins, DSW, Bloomin’ Brands and Outrigger Hotels
EDUCATION
                                   > Appointed co-lead counsel in New Jersey Tax Sales Certificates Antitrust Litigation, 12-CV-1893
> Columbia Law School, J.D.,
                                     (D.N.J.) an antitrust class action in which more than $9.6 million was recovered, as well as discounts
  Executive Editor for Columbia
                                     provided to class members to redeem tax liens
  Journal of Environmental Law,
  1998                             > Represented direct-purchaser plaintiffs in In re Polyether Polyols Antitrust Litigation, MDL No. 1616 (D.
> Indiana University, B.S., 1995     Kan) in which nearly $1 billion was recovered
                                   > Represented direct purchaser class plaintiffs In re NBR Antitrust Litigation, MDL No. 1684 (E.D. Pa.) in
                                     which $34.3 million was recovered
                                   > Represented indirect-purchaser plaintiffs in In re Parking Heaters Antitrust Litigation, 15-MC-940
                                     (E.D.N.Y.) in which nearly $10 million was recovered
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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  114 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3633




                     PARTNER

                     Jason A. Zweig
                     > Represented direct purchaser class plaintiffs in In re Online DVD-Rental Antitrust Litigation, (N.D. Cal.)
                     > Represented direct purchaser class plaintiffs in In re Ethylene Propylene Diene Monomer Antitrust
                       Litigation, MDL No. 1542 (D. Conn.) in which nearly $100 million was recovered for the class
                     > Key member in In re Linens Antitrust Litigation, 03-7823 (S.D.N.Y.) in which over $10 million was
                       recovered for restaurants throughout the New York City area, as well as valuable coupons to class
                       members. This is the only known case in which 100% coupons of all coupons were redeemed.
                     > Represented direct-purchaser class plaintiffs in In re TFT-LCD Antitrust Litigation, MDL No. 1827 (N.D.
                       Cal.) in which nearly $500 million was recovered
                     > Represented direct-purchaser plaintiffs in In re Plastics Additives Antitrust Litigation, 03-1898 (E.D.
                       Pa.) in which $46.8 million was recovered
                     > Representing former employees in antitrust class-action involving stock lending pending in United
                       States District for the Southern District of New York
                     > Represented class plaintiffs in Merrill Lynch & Co., Inc. Research Reports Securities Litigation, 02-MD-
                       1484 (S.D.N.Y.) in which over $125 million was recovered
                     > Represented aggrieved investors in Bernard Madoff’s Ponzi scheme in class action against JP Morgan
                       in which $218 million was recovered
                     > Represented class of investors in Merrill Lynch & Co., Inc. Securities, Derivative and ERISA Litigation,
                       07-9633 (S.D.N.Y.) in which $475 million was recovered
                     > Represented class of investors in Salomon Analyst Metromedia Litigation, 02-CV-7296 (S.D.N.Y.) in
                       which $35 million was recovered
                     > Co-led the firm’s representation of payphone owners who sued a large national telecommunications
                       carrier over unpaid dial-around compensation

                     EXPERIENCE
                     > Partner, Kaplan Fox & Kilsheimer LLP in New York, 2003-2010
                     > Associate, Proskauer Rose LLP in New York where he practiced in all areas of civil and criminal
                       litigation
                     > Judicial intern to the Honorable Jed S. Rakoff, U.S. District Court Judge for the Southern District of
                       New York

                     RECOGNITION
                     > The Chicago Bar Association, Chair of the Class Action Committee
                     > Federal Bar Association
                     > The American Bar Association Sections of Litigation, Antitrust Law and International Law
                     > The New York State Bar Association
                     > The American Association for Justice and its Class Action Litigation Group
                     > The Indiana University Student Foundation Board of Associates
                     > Board of Trustees Am Shalom, Glencoe, Illinois

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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  115 of 175 Page ID
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                                     #:3634




                     PARTNER

                     Jason A. Zweig
                     > Advisory Board of the Cartel and Criminal Practice Committee of the ABA Section of Antitrust Law
                     > Mr. Zweig was also previously involved in the following:
                     > Member of the Jewish Board of Family and Children’s Services, Children & Adolescents in Residence
                       Divisional Board (2013-2015)
                     > Co-Chair of the Young Lawyer’s Division of the UJA Federation-New York
                     > Poverty Task Force of the UJA Federation-New York
                     > The Chicago Bar Association, Vice-Chair of the Class Action Committee
                     > Chicago Bar Association Judicial Nominations Committee
                     > Committee to Support the Antitrust Laws

                     LEGAL ACTIVITIES
                     > The Chicago Bar Association, Vice-Chair of the Class Action Committee
                     > Federal Bar Association
                     > The American Bar Association Sections of Litigation, Antitrust Law and International Law
                     > Advisory Board of the Cartel and Criminal Practice Committee of the ABA Section of Antitrust Law
                     > The New York State Bar Association
                     > The Indiana University Student Foundation Board of Associates
                     > Former member of the Jewish Board of Family and Children’s Services, Children & Adolescents in
                       Residence Divisional Board
                     > Former Co-Chair of the Young Lawyer’s Division of the UJA Federation-New York

                     PUBLIC SERVICE
                     > Mr. Zweig believes strongly in philanthropy and giving back to the communities in which he lives and
                       works, and volunteers his time to public-interest and legal organizations.

                     RECOGNITION
                     > Rising Star, New York Super Lawyers Magazine, 2011 & 2013

                     NOTABLE CASES
                     > Currently appointed co-lead counsel in In re LIBOR-Based Financial Instruments Antitrust Litig., 11-
                       MD-2262 (S.D.N.Y.), representing a class of derivative instrument purchasers who purchased from
                       certain non-defendant financial institutions. Nearly $22 million has been recovered to date.
                     > Lead firm’s efforts in In re Interest Rate Swaps Antitrust Litigation, 16-MD-2704 (S.D.N.Y.)
                       representing class of investors who purchased interest rate swaps directly from defendants
                     > Representing New Jersey municipalities in nationwide class-action litigation against artificial turf
                       manufacturer for sales of defective artificial turf



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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  116 of 175 Page ID
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                                     #:3635




                     PARTNER

                     Jason A. Zweig
                     > Key member of firm team involved in In re Zantac (Ranitidine) Products Liability Litigation, MDL
                       No. 2924 (S.D.FL.) in which it is alleged that the popular heartburn drug, Zantac, which has been
                       withdrawn from the market, metabolizes into a highly carcinogenic compound. The firm currently
                       represents aggrieved purchasers in a class action, as well as thousands of individuals who either
                       developed cancer from their Zantac usage, or are at risk of developing cancer.
                     > Currently appointed co-lead counsel in class-action against United of Omaha life insurance company
                       for failing to provide notice required under California state law. Class-wide judgement of nearly $3
                       million obtained.
                     > Currently representing pro bono a former Navy serviceman in an appeal of his discharge status

                     PRESENTATIONS
                     > American Bar Association, Class Action Institute, October 2017, Washington, D.C., Considerations
                       regarding whether to opt-out of a class-action.
                     > Chair of the Harris Martin Herbal Supplements Conference, May 2015, Minneapolis, Minnesota
                     > “Class Actions in the Wake of AT&T v. Concepcion,” Presentation to the New Jersey Association for
                       Justice November 2011
                     > “Class Action Settlements and Attorneys’ Fees,” Presentation to the Cleveland Metropolitan Bar
                       Association, October 2008

                     PERSONAL INSIGHT
                     Outside of the office, Mr. Zweig engages in a daily practice of transcendental meditation to stay sharp
                     and focused. Mr. Zweig also believes United States Veterans are underserved and underappreciated,
                     and volunteers his time to assist U.S. veterans before the Department of Veterans Affairs or in other
                     capacities.




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  117 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3636




                                    SENIOR COUNSEL

                                    Lucas E. Gilmore

                                    Dedicated plaintiff attorney with more than a decade of experience prosecuting
                                    securities fraud, shareholder derivative, antitrust, and consumer class actions.



CONTACT                             CURRENT ROLE
715 Hearst Ave.
                                    > Associate, Hagens Berman Sobol Shapiro LLP
Suite 202
Berkeley, CA 94710                  EXPERIENCE

(510) 725-3000 office               > Bernstein Litowitz Berger & Grossmann LLP, Senior Counsel
(510) 725-3001 fax                  > Steyer, Lowenthal, Boodrookas, Alvarez & Smith LLP, Associate
lucasg@hbsslaw.com
                                    PUBLICATIONS
YEARS OF EXPERIENCE
                                    > Co-Author, “The Fraud-on-the-Market Presumption Is Alive and Well,” Association of Business Trial
>9
                                      Lawyer, San Diego, ABTL Report, Fall 2014

PRACTICE AREAS                      > Co-Author, “Who Can You Trust? The Failure of RMBS Trustees to Protect Investors,” Bernstein Litowitz
> Securities                          Berger & Grossmann LLP, The Advocate for Institutional Investors, Summer 2014

                                    PRESENTATIONS
BAR ADMISSIONS
> California                        > Moderator, “Corporate Heroism - The Whistleblower,” Bernstein Litowitz Berger & Grossmann LLP,
                                      Real-Time Speaker Series, November 17, 2016
COURT ADMISSIONS
> U.S. District Court for the
                                    > Moderator, “Corporate Disclosure of Climate Change and Sustainability Risks and Practices,” Bernstein
  Northern District of California
                                      Litowitz Berger & Grossmann LLP, Real-Time Speaker Series, March 17, 2016
> U.S. District Court for the
  Northern District of California
  (Bankruptcy Court)
> U.S. District Court for the
  Central District of California
> U.S. District Court for the
  Southern District of California
> U.S. Court of Appeals, Ninth
  Circuit
> U.S. Court of Appeals, Second
  Circuit

EDUCATION
> University of California
  Hastings College of the Law,
  JD, 2007
> Vanderbilt University, BA, cum
  laude, 2002




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  118 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3637




                                      SENIOR COUNSEL

                                      Kevin K. Green
                                      Mr. Green is a career appellate lawyer. He has argued in multiple federal circuits, 10
                                      different states and seven state supreme courts. He also works on critical motions and
                                      issues likely to go on appeal.



CONTACT                               CURRENT ROLE
533 F Street
                                      > Senior Counsel, Hagens Berman Sobol Shapiro LLP
Suite 207
San Diego, CA 92101                   > Concentrates on appeals as well as consumer rights, securities and employment litigation
                                      > Certified Appellate Specialist, State Bar of California Board of Legal Specialization (since 2006)
(619) 929-3340 office
keving@hbsslaw.com                    LEGAL ACTIVITIES
                                      > Appellate Advisory Committee, Judicial Council of California (since 2013)
YEARS OF EXPERIENCE
> 24                                  > Co-Chair, CAOC Amicus Curiae Committee (since 2011)
                                      > California Lawyers Association, Committee on Appellate Courts (since 2019)
PRACTICE AREAS
> Appellate                           > Magistrate Judge Merit Selection Panel, Southern District of California (2013-17)
> Consumer Rights                     > Working Group, Access to Appellate Justice Program, San Diego County Bar Association (launched
> Securities
                                        2019)
> Investor Fraud
> Employment Litigation               > Working Group, San Diego Appellate Inn of Court (launched 2016)

BAR ADMISSIONS
                                      > Working Group, Civil Appellate Self-Help Workshop (launched 2014)
> California                          > California Lawyers Association, Committee on Administration of Justice (2016-19) (during State Bar
COURT ADMISSIONS
                                        transition)
> U.S. Supreme Court                  > Chair, Appellate Court Committee, San Diego County Bar Association (2010)
> U.S. Courts of Appeals for          > State Bar of California, Committee on Appellate Courts (2006-09)
  the Second, Third, Seventh,
  Eighth, Ninth, Tenth and            RECOGNITION
  District of Columbia Circuits
                                      > Top 100 California Appellate Lawyers, American Society of Legal Advocates (since 2015)
> U.S. District Courts for the
  Northern, Central, Eastern and      > Super Lawyer (since 2008)
  Southern Districts of California    > Legal Aid Society of San Diego, Outstanding Service Award (2015)
CLERKSHIPS                            > Consumer Attorneys of California, Presidential Award of Merit (2013 & 2016)
> Supreme Court of Indiana
  (Hon. Theodore R. Boehm,            NOTABLE DECISIONS
  Associate Justice)                  > Mayall v. USA Water Polo, 909 F.3d 1055 (9th Cir. 2018) (viable claims alleged concerning duty to
> U.S. District Court for the           implement concussion and return-to-play protocols)
  Southern District of California
  (Hon. Barry T. Moskowitz,
                                      > Hernandez v. Restoration Hardware, 4 Cal. 5th 260 (2018) (agreeing with CAOC as amicus curiae that
  Chief Judge 2012-19)                  unnamed class members must intervene for standing to appeal)

EDUCATION
                                      > Friedman v. AARP, Inc., 855 F.3d 1047 (9th Cir. 2017) (UCL claim stated that AARP unlawfully transacted
> Notre Dame Law School, J.D., 1995     insurance without license)
> University of California,
  Berkeley, B.A., with honors
  and distinction, 1989




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  119 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3638




                     SENIOR COUNSEL

                     Kevin K. Green
                     > George v. Urban Settlement Serv., 833 F.3d 1242 (10th Cir. 2016) (reinstating RICO class complaint
                       against Bank of America)
                     > Duran v. U.S. Bank, 59 Cal. 4th 1 (2014) (CAOC amicus curiae addressing representative evidence in
                       class actions)
                     > Wong v. Accretive Health, 773 F.3d 859 (7th Cir. 2014) (upholding $14 million securities settlement)
                     > Harris v. Superior Court, 207 Cal. App. 4th 1225 (2012) ($65 million resolution for employee class after
                       reversal)
                     > Lynch v. Rawls, 429 F. App’x 641 (9th Cir. 2011) ($15 million derivative settlement after first Ninth Circuit
                       reversal on presuit demand requirement)
                     > Kwikset Corp. v. Superior Court, 51 Cal. 4th 310 (2011) (rejecting stringent interpretation of UCL standing
                       prerequisites)
                     > Luther v. Countrywide Fin. Corp., 195 Cal. App. 4th 789 (2011) (Securities Act class actions permitted in
                       state court, leading to $500 million settlement)
                     > In re F5 Networks, Inc. Derivative Litig., 207 P.3d 433 (Wash. 2009) (Washington follows demand futility
                       standard, not universal demand rule)
                     > Troyk v. Farmers Group, 171 Cal. App. 4th 1305 (2009) (auto insurance policy violated disclosure statute;
                       settled on appeal for $100 million monetary relief)
                     > Smith v. Am. Family Mut. Ins. Co., 289 S.W.3d 675 (Mo. Ct. App. 2009) (reinstating $17 million jury verdict
                       for plaintiff class)
                     > Alaska Elec. Pension Fund v. Brown, 941 A.2d 1011 (Del. 2007) (en banc) (intervening shareholders who
                       show corporate benefit may seek attorney fees)
                     > Ritt v. Billy Blanks Enters., 870 N.E.2d 212 (Ohio Ct. App. 2007) (reversing on class certification, leading
                       to $40 million settlement)
                     > McKell v. Washington Mutual, 142 Cal. App. 4th 1457 (2006) (reversing and holding federal lending
                       regulations did not foreclose UCL claims)
                     > Lebrilla v. Farmers Group, 119 Cal. App. 4th 1070 (2004) (reversing and ordering certification of California
                       class; settled at trial for substantial class-wide relief)
                     > Lavie v. Procter & Gamble Co., 105 Cal. App. 4th 496 (2003) (seminal precedent on California’s
                       reasonable consumer standard)

                     PUBLICATIONS
                     > Amicus Curiae Update, Forum (regular column for CAOC’s periodical) (since 2012)
                     > Distinguishing Mayor McCheese from Hexadecimal Assembly Code for Madden Football: The Need to Correct
                       the 9th Circuit’s ‘Nutty’ Rule barring Expert Testimony in Software Copyright Cases (Oct. 2017) (with David
                       Nimmer and Peter S. Menell) (available at SSRN)
                     > Forfeiture at the Pleading Stage: Ask Permission First, Don’t Apologize Later, California Litigation (Vol. 28, No.
                       1, 2015) (with Rupa G. Singh) (Journal of State Bar Litigation Section)
                     > Closing the Appellate Justice Gap, Los Angeles Daily Journal (Feb. 10, 2015)
                     > Appellate Review in California Class Actions, California Litigation (Vol. 24, No. 2, 2011) (Journal of State
                       Bar Litigation Section)
                     > A Tool for Mischief: Preemptive Defense Motions Under BCBG Overtime Cases to Reject Class Certification,
                       Forum (Vol. 39, No. 1, Jan./Feb. 2009) (with Kimberly A. Kralowec)



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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  120 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3639




                     SENIOR COUNSEL

                     Kevin K. Green
                     > The Unfair Competition Law After Proposition 64: The California Supreme Court Speaks, Competition (Vol. 15,
                       No. 2, Fall/Winter 2006) (Journal of State Bar Antitrust & Unfair Competition Law Section)

                     PRESENTATIONS
                     > Bridgeport Consumer Class Action Litigation Conference (Appellate Review of Issues in Class Actions,
                       Jan. 2020)
                     > CAOC Webinar (Evidence at Class Certification: The Evolving Appellate Landscape, June 2019)
                     > San Diego County Bar Association (New Mandatory Disclosures Before Mediation, Jan. 2019)
                     > Bridgeport Class Action Conference (Expert Evidence at Class Certification, Jan. 2019)
                     > California Lawyers Association Webinar (New Mandatory Disclosures Before Mediation, Dec. 2018)
                     > Bridgeport Class Action Conference (Consumer Protection Cases Predicated on Omissions, Jan. 2018)
                     > State Bar Webinar (Material Omission Claims Under California’s UCL, FAL and CLRA, Sept. 2017)
                     > Bridgeport Consumer Litigation Conference (Material Omissions, Jan. 2017)
                     > CAOC Webinar (Ninth Circuit Practice: Everything but the Brief, Nov. 2016)
                     > Bridgeport Class Action Litigation Conference (Objectors, Sept. 2016)
                     > CAOC Annual Convention (Class Action Update, Nov. 2014)
                     > San Diego County Bar Association (Moderator, Pleasing the Court: Making Your Oral Argument Count,
                       Oct. 2014)
                     > State Bar of California Annual Meeting (Forfeiture: A Four-Letter Word in the Court of Appeal, Sept.
                       2014)
                     > Consumer Attorneys of San Diego, Class Action Symposium (Appellate Perspective on Class Actions,
                       May 2014)
                     > State Bar of California Golden State Institute (California Supreme Court Panel, Oct. 2012)
                     > State Bar of California Annual Meeting (Moderator, Preparing an Appellate Record, Sept. 2009)
                     > CAOC Annual Convention (Employment Litigation Panel, Nov. 2008)

                     PERSONAL INSIGHT
                     Concerned a legal career meant taking life too seriously, Kevin spent several years after college blending
                     work and travel. He taught English in Switzerland, toiled as a luggage porter in Australia and scaled a live
                     volcano in Guatemala. He ran with the bulls at Pamplona before easing into a monastic life of appellate
                     practice.




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  121 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3640




                              SENIOR COUNSEL

                              Anne F. Johnson
                              Ms. Johnson specializes in high-stakes, complex litigation challenging Big Pharma’s
                              schemes to block consumer access to less expensive generic drugs, as well as mass
                              actions fighting corporate indifference and greed.



CONTACT                       CURRENT ROLE
1301 Second Avenue
                              > Senior Counsel, Hagens Berman Sobol Shapiro LLP
Suite 2000
Seattle, WA 98101             RECENT SUCCESS
                              > Ms. Johnson was instrumental in achieving a $200+ million aggregate settlement for her clients in
(206) 623-7292 office
                                General Motors LLC Ignition Switch Litigation.
(206) 623-0594 fax
annej@hbsslaw.com             EXPERIENCE
                              > Prior to joining Hagens Berman, Ms. Johnson was a partner at a Texas litigation firm and an associate
YEARS OF EXPERIENCE
                                at two New York City plaintiffs’ class-action firms.
> 17
                              > Led the discovery, briefing and trial preparation teams on behalf of court-appointed co-lead counsel for
                                the wrongful death and personal injury plaintiffs in General Motors LLC Ignition Switch Litigation, one of the
PRACTICE AREAS
                                largest product liability litigations in U.S. history.
> Personal Injury
> Antitrust                   > Member of the trial team in the first pay-for-delay pharmaceutical antitrust case to go to trial after the
> Consumer Protection           U.S. Supreme Court’s watershed decision in FTC v. Actavis.
                              > Developed and filed multiple pharmaceutical antitrust cases challenging drug companies’ schemes to
INDUSTRY EXPERIENCE             prevent less expensive generic versions of brand name drugs from entering the market, including by
> Pharmaceuticals               using sham litigation, sham citizen petitions, pay-for-delay settlements and “product hopping.”
> Automotive
                              ACTIVITIES
BAR ADMISSIONS                > Fundraising volunteer for Annie’s List, which helps to elect progressive women to office in Texas
> New York                    > Organized the American Constitution Society’s Constitution in the Classroom program for New York City
> Texas                         schools

COURT ADMISSIONS              RECOGNITION
> U.S. District Courts for    > Brooklyn Law Review
  the Southern and Eastern
                              NOTABLE CASES
  Districts of New York
                              > General Motors LLC Ignition Switch Litigation
EDUCATION                     > Solodyn Antitrust Litigation
> Brooklyn Law School, cum    > Suboxone Antitrust Litigation
  laude
                              > Nexium Antitrust Litigation
> James Madison University,
  magna cum laude             > Provigil Antitrust Litigation
                              > Tricor Antitrust Litigation

                              PERSONAL INSIGHT
                              When she’s not working, Anne is on her porch listening to records – rhythm and blues, country or rock ‘n’
                              roll – with her family and dogs.




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  122 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3641




                                     OF COUNSEL

                                     Gregory T. Arnold

                                     Greg devotes his practice to pursuing remedies for those injured by antitrust
                                     violations, particularly within the pharmaceutical industry.



CONTACT                              CURRENT ROLE
55 Cambridge Parkway
Suite 301                            > Of Counsel, Hagens Berman Sobol Shapiro LLP
Cambridge, MA 02142                  > Practice focuses on prosecution of large-scale, nationwide class actions, primarily against the
                                       pharmaceutical industry
(617) 475-1954 office
(617) 482-3003 fax                   > Works on behalf of large health care providers, seeking recoveries from tortfeasors associated with
grega@hbsslaw.com                      payments the providers make as a result of the harm they have caused

YEARS OF EXPERIENCE                  > Directs Hagens Berman’s work on numerous pending direct purchaser class-action cases, including
> 23                                   In re Ranbaxy Generic Drug Application Antitrust Litigation, In re Actos Direct Purchaser Antitrust
                                       Litigation, In re Lipitor Antitrust Litigation, and In re Effexor XR Antitrust Litigation, as well as multiple
PRACTICE AREAS                         actions brought on behalf of end payors, including Louisiana Health Service & Indemnity Comp., et al. v.
> Antitrust Litigation                 Janssen Biotech, Inc., et al., and Staley, et al. v. Gilead Sciences, Inc. et al.,
> Personal Injury Litigation
                                     RECENT SUCCESS
BAR ADMISSIONS                       > Part of a team that secured substantial recoveries on behalf of a class of direct purchasers in
> Massachusetts                        connection with wrongfully delayed entry of generic versions of various pharmaceutical drugs
> U.S. District Court, District of
  Massachusetts                      > Defeated motion to dismiss in case alleging misconduct on the part of a large Indian generic
> Court of Appeals, 2nd Circuit        pharmaceutical manufacturer which caused delays in generic competition on multiple drugs with
                                       billions of dollars of annual sales
EDUCATION
> Fairfield University, B.S.,        EXPERIENCE
  Marketing, 1991                    > Income Partner, Litigation Department for a large Boston-based law firm
> Villanova University School
  of Law, J.D., 1996 (served on      NOTABLE CASES
  Law Review)
                                     > Bankruptcy-related litigation
                                       - Lead efforts on behalf of three law firms protecting the interests of more than 25,000 claimants
                                         suffering from asbestos-related diseases to block a proposed plan of reorganization. During more
                                         than five years of litigation, Mr. Arnold succeeded in forcing numerous changes to the proposed
                                         plan, including the voting methodology, amount of contribution and distributions. He pursued several
                                         interlocutory appeals throughout the case and oversaw and managed all aspects of this complex
                                         litigation, culminating in a successful 20-day bench trial conducted in the bankruptcy court for the
                                         Southern District of New York, after which the court rejected the proposed bankruptcy plan, thereby
                                         securing a substantial benefit for the clients.
                                       - One of a team of lawyers representing the interests of the Ad Hoc Committee of Trade Creditors in the
                                         In re WorldCom matter, resulting in increasing our clients’ recoveries by nearly 50 percent.




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  123 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3642




                     OF COUNSEL

                     Gregory Arnold
                     > Mass Torts/Class Actions
                      - Played pivotal role in representing the Commonwealth of Massachusetts in landmark litigation against
                        the Tobacco Industry, including establishing personal jurisdiction in Massachusetts over the United
                        Kingdom-based parent company to Brown & Williamson. This work product, as well as the resulting
                        court decision, was relied upon by Attorneys General throughout the country in their cases against the
                        tobacco Industry.
                      - Following the Commonwealth of Massachusetts’ action, lead efforts in pursuing a nationwide class
                        action on behalf of all persons injured as a result of the tobacco industry’s misconduct.
                      - Successfully defended a class-action case brought against a major credit card issuer, obtaining a
                        denial of class certification and dismissal of individual’s claims.
                     > Complex Financial Litigation
                      - Successfully represented a group of more than 65 investors in offshore hedge funds, pursuing
                        recoveries for more than $600 million of invested capital lost due to fraudulent practices of hedge
                        fund manager.
                     > General Commercial Litigation
                      - Represented former attorney whose malpractice insurer had refused defense and indemnity after
                        an office worker embezzled millions of dollars in client funds. Following a five-week Superior Court
                        trial, secured a verdict in favor of the client, holding the insurance company responsible for more than
                        $2 million in liability to the insured’s former client. Successfully defended insurer’s appeal of the trial
                        court decision in the Appeals Court. Subsequently brought a case against the insurance company
                        under Chapter 93a, resulting in a multimillion-dollar recovery for the client.
                      - Obtained a substantial recovery for a client whose intellectual property was wrongfully assigned to
                        a third party. Achieved a pre-trial settlement with the assigning party while pursuing a bench trial in
                        Middlesex Superior Court against the party using the software.
                      - Served as “first chair” in a complex, multi-week bench trial in federal court over breach of
                        multimillion-dollar commercial contract concerning sale of radiology equipment, including prevailing on
                        counterclaim seeking to impose multimillion-dollar liability.
                     > Patent Litigation
                      - Represented national and international clients on a full range of patent litigation issues, including trials.
                      - Successful litigator before the United States International Trade Commission, including obtaining
                        favorable outcome for a client protecting their intellectual property rights against an infringer based in
                        Sweden.
                     > Labor and Employment Litigation
                      - Defended client interests in a variety of matters, including those involving non-competition
                        agreements, wrongful terminations, and harassment claims.
                      - Successfully represented companies enforcing non-compete agreements against former employees,
                        as well as new employers/former employees in avoiding the terms of non-compete agreements.




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  124 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3643




                     OF COUNSEL

                     Gregory Arnold
                      - Handled trials before administrative bodies, including the U.S. Department of Labor, including
                        defending a client against claims made under the Surface Transportation Assistance Act following the
                        termination of an employee/truck driver.
                     > Other Litigation
                      - Represented client in an eminent domain trial, resulting in a jury award more than 10 times the
                        Commonwealth’s pro tanto offer.

                     PERSONAL INSIGHT
                     Greg is married with three children and lives in Mansfield, Mass. He played varsity ice hockey in college.




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  125 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3644




                                 OF COUNSEL

                                 Karl Barth
                                 Key member on firm’s securities fraud cases against companies such as
                                 Boeing, Einstein Noah Bagel Corp., Pepsi Puerto Rico Bottling Co., PriceCostco,
                                 Templeton Vietnam Opportunities Fund and Wall Data.


CONTACT                          CURRENT ROLE
1301 Second Avenue
Suite 2000                       > Of Counsel, Hagens Berman Sobol Shapiro LLP
Seattle, WA 98101                > Previously with the firm from 1994 through 2004 before he rejoined in 2010

(206) 623-7292 office            > Key member on firm’s securities fraud cases against companies such as Boeing, Einstein
(206) 623-0594 fax                 Noah Bagel Corp., Identix, Midcom Communications, MidiSoft, Oppenheimer Delta
karlb@hbsslaw.com                  Partners, Pepsi Puerto Rico Bottling Co., PriceCostco, Templeton Vietnam Opportunities
                                   Fund and Wall Data
YEARS OF EXPERIENCE
> 24                             > Represents investors seeking to protect assets and recover investment losses from
                                   companies engaged in securities and accounting wrongdoing
PRACTICE AREAS                   EXPERIENCE
> Securities Litigation
> Investor Rights                > Certified Public Accountant
                                 > Certified Fraud Examiner
BAR ADMISSIONS
> Washington                     > Certified in Financial Forensics
                                 > Consultant at a national financial consulting firm specializing in expert witness testimony
EDUCATION
                                   on accounting and financial issues
> Georgetown University Law
  Center, J.D.                   > Graduated from Georgetown University Law Center, and from the University of Virginia
> University of Virginia, B.S.     with a B.S. in Accounting
  Accounting, Certified Public
  Accountant




www.hbsslaw.com                                                                                                                  110
 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  126 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3645




                                     OF COUNSEL

                                     Molly A. Booker
                                     Ms. Booker has a depth of commercial litigation experience across a variety
                                     of industries including business litigation, financial services, trademark and
                                     business torts.


CONTACT                              CURRENT ROLE
11 West Jefferson St.
                                     > Of Counsel, Hagens Berman Sobol Shapiro LLP
Suite 1000
Phoenix, AZ 85003                    > Ms. Booker has worked on a variety of complex cases at Hagens Berman, most recently relating to her
                                       expertise in the area of representing families of dialysis patients in wrongful death cases, in which she
602-840-5900 office
                                       has achieved monumental jury verdicts for her clients.
602-840-3012 fax
                                     EXPERIENCE
mollyb@hbsslaw.com
                                     > Shareholder, Litigation Attorney, Ryley, Carlock & Applewhite, P.A., Phoenix, AZ, 2007 - 2016
YEARS OF EXPERIENCE                  > Legal Intern, Federal Public Defender’s Office Phoenix, Phoenix, AZ, Summer 2005
> 12
                                     RECOGNITION
                                     > Selected to Super Lawyers 2018 - 2019, Rising Stars 2015 - 2017
BAR ADMISSIONS
> Arizona                            NOTABLE CASES
                                     > Molly helped secure a combined $383.5 million jury verdict in wrongful death cases against dialysis
COURT ADMISSIONS:
                                       provider DaVita. She represented the families of three patients who suffered cardiac arrests and died
> U.S. District Court, District of
                                       after receiving dialysis treatments at DaVita clinics. Each of the three parties was awarded $125 million
  Arizona
                                       in punitive damages from the jury, with compensatory damages ranging from $1.5 million to $5 million.
> U.S. Court of Appeals for the
  9th Circuit                        LEGAL ACTIVITIES
                                     > St. Mary’s Food Bank Alliance, Advisory Board Member, Mission & Means Committee Member, 2014-Present
EDUCATION
> University of Arizona, James       > Arizona Asian American Bar Association, Member, 2009-Present
  E. Rogers College of Law,          > State Bar of Arizona Committee on Minorities and Women in the Law, Past Chair
  J.D., Tucson, Arizona, 2007
> University of Southern             PRESENTATIONS
  California, B.A., summa cum        > “Current Legal Landscape,” University of Arizona Law School Board of Visitors, Panelist, April 2014
  laude, Phi Beta Kappa, Los         > “The Pen is Mightier than the Sword: Tips for Drafting and Enforcing Your Business Contracts,” Better
  Angeles, California, 2004            Business Bureau Accredited Business Seminar, August 2013
                                     > “Arbitration in Arizona and the Revised Uniform Arbitration Act,” Better Business Bureau Accredited
                                       Business Seminar, June 2011
                                     > “How to Turn Your Summer Job Into a Full-Time Position,” Arizona State University College of Law,
                                       Sponsored by the State Bar of Arizona Committee on Minorities and Women in the Law, April 2011
                                     > “Mechanics’ and Materialmen’s Liens: Understanding and Protecting Your Rights as a Contractor,
                                       Supplier, Property Owner, or Tenant,” Better Business Bureau Legal Series Seminar, May 2009
                                     > “Lock It Up: Protecting Your Trade Secrets and Preventing Unfair Competition,” Trade Secrets and
                                       Restrictive Covenants Seminar, September 2008

                                     LANGUAGES
                                     > Spanish

                                     PERSONAL INSIGHT
                                     Molly enjoys athletic challenges and her favorite pastimes are soccer, cycling and running. Endurance
                                     is her forte, and with good fortune, because she is a mom to triplets. Molly also has a penchant for
www.hbsslaw.com                      learning foreign languages. She is fluent in Spanish and lived in Madrid, Spain.                      111
 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  127 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3646




                                 OF COUNSEL

                                 Jeniphr A.E. Breckenridge

                                 Ms. Breckenridge has practiced with the firm since its founding in 1993.



CONTACT                          CURRENT ROLE
1301 Second Avenue
Suite 2000                       > Of Counsel, Hagens Berman Sobol Shapiro LLP, where she has practiced since the firm’s founding
Seattle, WA 98101                > Practice concentrates on class actions, including consumer, automobile defects, securities litigation
                                   fraud, and wage and hour claims
(206) 268-9325 office
(206) 623-0594 fax               NOTABLE CASES
jeniphr@hbsslaw.com
                                 > Metropolitan Securities Litigation
YEARS OF EXPERIENCE
                                 > Boeing Securities Litigation
>30                              > Raytheon Securities Litigation
                                 > Average Wholesale Price Litigation
PRACTICE AREAS                   > In re Pet Food Products Liability Litigation
> Securities / Investor Fraud
                                 > Toyota Unintended Acceleration Litigation
> Consumer Rights
> Products Liability             > State Tobacco cases

INDUSTRY EXPERIENCE
> Aeronautics
> Pharmaceutical Fraud

COURT ADMISSIONS
> Supreme Court of Washington
> USDC, Western District of
  Washington
> U.S. Court of Appeals, Third
  Circuit

EDUCATION
> University of Maryland Law
  School, J.D., Notes and
  Comments Editor, Maryland
  Law Review
> Georgetown University, B.A.




www.hbsslaw.com                                                                                                                            112
 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  128 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3647




                                    OF COUNSEL

                                    Mark S. Carlson

                                    Mr. Carlson is an active member of the legal community frequently making
                                    presentations to legal forums and industry groups on intellectual property law.



CONTACT                             CURRENT ROLE
1301 Second Avenue
Suite 2000                          > Of Counsel, Hagens Berman Sobol Shapiro LLP
Seattle, WA 98101                   > Working in intellectual property since 1987, handling a full range of intellectual property litigation focused
                                      primarily on patent infringement disputes
(206) 268-9346 office
(206) 623-0594 fax                  > Currently representing FlatWorld Interactives in patent infringement litigation against Apple, Samsung
markc@hbsslaw.com                     and LG involving touch screen gesture recognition technology in the iOS and Android operating
                                      systems, Thought Inc. against Oracle involving software application data persistence technology, and
YEARS OF EXPERIENCE
                                      the University of Utah in patent infringement litigation regarding RNA interference therapies for genetic
> 32
                                      diseases

PRACTICE AREAS                      > Active member of the legal community making presentations in legal forums and industry groups on
> Patent Infringement                 intellectual property law
> Trademark and Trade Dress
                                    > Active participant in the Seattle Intellectual Property Inn of Court and Washington State Patent Law
  Infringement
                                      Association
> Trade Secret Misappropriation
> Complex Litigation
                                    RECENT CASES

BAR ADMISSIONS                      > Twice litigated against AT&T on wireless handset, network and telematics patents
> Washington
                                    > Twice litigated on behalf of The Nautilus Group in patent, trademark, false advertising and unfair
> U.S. District Court, Western
                                      competition cases involving the BowFlex exercise machine and other exercise equipment
  District of Washington
> U.S. Court of Appeals, Federal    > Represented the owner of tradedress rights to the Stanley Classic vacuum bottle in trade dress litigation
  Circuit                             against Thermos
> Numerous other jurisdictions
  pro hac vice                      > Represented a software patent licensor in litigation against Microsoft over the scope of a license for
                                      relational database technology
EDUCATION
> University of Puget Sound         EXPERIENCE
  School of Law, J.D., cum          > Dorsey & Whitney, Patent Litigation Group
  laude, 1987                       > Bogle & Gates, Intellectual Property Litigation Group
> University of Washington, B.A.,
  History, 1984                     PUBLICATIONS/PRESENTATIONS
                                    > “The European Privacy Directive for Personal Data,” American Electronics Association Newsline for the
                                      Washington State Council
                                    > “Recovery of Pure Economic Loss in Product Liability Actions: An Economic Comparison of Three Legal
                                      Rules,” University of Puget Sound Law Review
                                    > “Patent Litigation and the Non-Practicing Entity,“ ITRI IP Executives Conference, University of
                                      Washington Foster School of Business, 2012



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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  129 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3648




                     OF COUNSEL

                     Mark S. Carlson
                     > “Vernor v. Autodesk, the Future, or Demise, of the First Sale and Essential Step Defenses in Copyright,”
                       Seattle Intellectual Property Inn of Court, 2011
                     > “What Are My Odds? A Disciplined Approach to Assessing Case Value and Litigation Risk,” Seattle
                       Intellectual Property Inn of Court, 2010
                     > “Medimmune v. Genentech: Consequences for Patent Licenses, Litigation and Settlements,” 2009
                     > “E-Discovery and the New Federal Rules,” 2008
                     > “Recent Developments in Pharmaceutical Patents,” 2008

                     LEGAL ACTIVITIES
                     > Seattle Intellectual Property Inn of Court
                     > Washington State Patent Law Association
                     > American Intellectual Property Law Association

                     NOTABLE CASES
                     > Thought v. Oracle
                     > FlatWorld v. Apple; v. Samsung; v. LG
                     > University of Utah v. Max Planck Institute, et al.
                     > Airbiquity v. AT&T, et al.
                     > Timeline v. Microsoft; v. Oracle; v. Sagent
                     > The Nautilus Group v. Icon Health and Fitness




www.hbsslaw.com                                                                                                             114
 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  130 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3649




                                    OF COUNSEL

                                    Jeannie Evans

                                    Successfully litigates multimillion- and multibillion-dollar antitrust
                                    and other complex fraud cases.


CONTACT                             CURRENT ROLE
455 N. Cityfront Plaza Drive
Suite 2410                          > Of Counsel, Hagens Berman Sobol Shapiro LLP
Chicago, IL 60611                   > Represents plaintiffs in complex litigation, focusing on antitrust and financial fraud claims

(708) 628-4966 office
                                    EXPERIENCE
(708) 628-4950 fax                  > Jeannie has successfully represented both plaintiffs and defendants in multimillion- and multibillion-
jeannie@hbsslaw.com                   dollar disputes in state and federal courts across the country
                                    > Co-Founder and Managing Partner of Agrawal Evans LLP, a trial and appellate boutique firm based in
YEARS OF EXPERIENCE
                                      Chicago
> 23
                                    > Kirkland & Ellis LLP (Chicago)
                                    > Wilson Sonsini Goodrich & Rosati (Palo Alto)
PRACTICE AREAS
> Antitrust Litigation              AWARDS & RECOGNITION
> Investor Fraud
> Securities                        > President, Harvard Law Society of Illinois, 2016-2017
                                    > Chicago Chapter Chair, J. Reuben Clark Law Society, 2016-2017
BAR ADMISSIONS                      > BYU Law School Board of Advisors, 2017
> Illinois                          > Best Lawyers, Women of Influence Nominee, 2017
> California                        > Illinois Super Lawyer, 2016 - 2018

CLERKSHIPS:                         PRESENTATIONS
> Hon. Alex Kozinski, U.S. Court
  of Appeals for the Ninth          > Basics of Accounting for Lawyers 2015, Practicing Law Institute (PLI)
  Circuit, summer 1997. Hon.        > Basics of Accounting for Lawyers 2014, Practicing Law Institute (PLI)
  Susan Illston, U.S. District      > Preparing the Expert Witness for Deposition 2013, Pincus Professional Education
  Court for the Northern District
  of California, summer 2003
                                    LANGUAGES
                                    > Cantonese (Chinese)
EDUCATION
                                    > Mandarin (Chinese)
> Harvard Law School, J.D. cum
   laude, 1997                      PERSONAL INSIGHT
   Executive Editor, Harvard
   Journal of Law and Public        Jeannie loves the outdoors — body surfing in the ocean, hiking in the mountains, running, or playing tennis
   Policy; Federalist Society;      with her husband and four children.
   Asia Law Society
> Brigham Young University,
   B.A., Political Science, summa
   cum laude, Ezra Taft Benson
   Scholar; University Honors,
   1994
   Editor-in-Chief, Journal
   of International and Area
   Studies

www.hbsslaw.com                                                                                                                            115
 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  131 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3650




                                   OF COUNSEL

                                   Philip J. Graves
                                   Mr. Graves brings to the firm more than 20 years of experience
                                   as a patent and intellectual property litigator, having represented
                                   companies in patent cases in many technical fields.


CONTACT                            CURRENT ROLE
301 North Lake Ave., Suite 920
Pasadena, CA                       > Of Counsel, Hagens Berman Sobol Shapiro, head of the firm’s intellectual property practice
91101                              > Practice focuses on intellectual property, including cases involving trademark infringement, copyright
                                     infringement, unfair competition and misappropriation of trade secrets
(213) 330-7147 office
(213) 330-7152 fax                 EXPERIENCE
phillipg@hbsslaw.com
                                   > Before joining Hagens Berman, Mr. Graves’ practice focused on represented technology companies in
YEARS OF EXPERIENCE
                                     patent cases involving network security, web-hosting, image capture, digital signature and encryption
> 28                                 technologies, nano-scale manufacturing and biotech, among many other technical fields.

                                   LEGAL ACTIVITIES
PRACTICE AREAS
> Intellectual Property            > State Bar of California
                                   > Alaska Bar Association
BAR ADMISSIONS
> U.S. Supreme Court               > Los Angeles Intellectual Property Law Association
> Supreme Court of California
> U.S. Court of Appeals, Federal     - 2015 Judges’ Night, Chair
  Circuit                            - 2011 Spring Seminar, Chair
> U.S. Court of Appeals, Ninth
  Circuit                          > American Intellectual Property Law Association
> U.S. District Court, Central
                                   > Federal Circuit Bar Association
  District of California
> U.S. District Court, Northern
                                   AWARDS & RECOGNITION
  District of California
> U.S. District Court, Eastern     > Pasadena Top Attorney, Pasadena Magazine (2016)
  District of California
> U.S. District Court, Southern
                                   > 40 Angelenos to Know in Intellectual Property Law, Los Angeles Business Journal (2012)
  District of California           > Southern California Super Lawyers®, Intellectual Property Litigation, Business Litigation (2004-2018)

EDUCATION                          PUBLICATIONS
> Columbia University School of
  Law (J.D., 1990)
                                   > Preparing to Defend a Section 337 Action: What District Court Litigators Need to Know, Lead Author, New
  Harlan Fiske Stone Scholar         Matter (Fall 2014)
  Writing and Research Editor,     > Intellectual Property: It’s Not Just for Specialists Anymore, Co-Presenter, Association of Corporate Counsel
  Columbia Business Law
                                     (Southern California Chapter), Long Beach, CA (June 19, 2014)
  Review
> University of Washington         > Section 337: Whether to Respond or Default, Lead Author, Intellectual Property Today (June 9, 2014)
  (B.A., cum laude, 1987)
  Phi Beta Kappa
  Robert A. Dahl Award




www.hbsslaw.com                                                                                                                                116
 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  132 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3651




                     OF COUNSEL

                     Philip Graves
                     > U.S. Patent Litigation under Section 337, Presenter, Shijingshan Scientific and Technological Services
                       Alliance/Beijing Intellectual Property Office/Zhongguancun Scientific and Technological Park, Beijing,
                       China (May 6, 2014)
                     > Double Exposure: Keeping Your Confidential Information Out of the Public Eye in the Wake of Apple v. Samsung,
                       Lead Author, ABA Landslide Magazine (May/June 2013 Issue)
                     > Potential Ramifications of Already v. Nike, Lead Author, Law360 (September 6, 2012)
                     > U.S. Patent Litigation Involving Pharmaceutical Patents, Co-Presenter, Taiwan Medical and Pharmaceutical
                       Industry Technology and Development Center, Taipei, Taiwan (May 25, 2012)
                     > Developments in Trademark Law and the Internet: Domain Name Disputes, Banner Ads, Pop-Ups, and
                       Related Issues, Author, 2004 Intellectual Property Institute of the State Bar of California
                     > Damages in Copyright and Patent Infringement Actions, Author, Intellectual Property Law Section of the
                       Alaska Bar Association

                     NOTABLE CASES
                     > Stamps.com, several patent infringement cases involving online postage generation and delivery,
                       network security, digital signature and encryption technology. As lead trial counsel, obtained a jury
                       verdict in Stamps.com’s favor, avoiding over $30 million in damages.
                     > Web.com Group, patent infringement suits in Arizona and Texas concerning a variety of backend and
                       client-facing content hosting and delivery functionalities, as well as several business litigation matters in
                       California in which Mr. Graves obtained a dismissal of one suit on summary judgment and affirmance of
                       another favorable judgment on appeal.
                     > Fotona d.d., a European manufacturer of medical lasers, in a patent infringement action involving dental
                       laser surgery technology. Following a three day evidentiary hearing, Mr. Graves obtained a favorable
                       resolution of the case and a full award of attorneys’ fees for the client.
                     > Developer of motion capture technology, breach of contract action involving rights in the technology.
                       As lead trial counsel, obtained a verdict in favor of the client as well as an award of all of the client’s
                       attorneys’ fees.
                     > Designer and importer of consumer electronics products, represented in a patent infringement action
                       venued in the International Trade Commission. The complainant dismissed its complaint on the eve of
                       trial, following the filing of the parties’ pretrial briefs and witness statements.
                     > Large publicly traded company, in several patent infringement suits in California and Texas involving
                       rapid prototyping technology.
                     > Technology development company, represented in a patent infringement suit involving imaging systems
                       used at tourist attractions and theme parks.
                     > Cosmetics company, represented in consolidated suits alleging unfair competition and infringement of
                       patents covering various prostaglandin analogs.

                     PERSONAL INSIGHT
                     Phil took a break from his judicial clerkship in 1991 to travel a war zone (Croatia, Serbia, Kosovo) and was
                     chased down a mountainside by Kosovar rebels.




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  133 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3652




                                   OF COUNSEL

                                   Laura Hayes

                                   Ms. Hayes is involved in class-action lawsuits against pharmaceutical
                                   companies and is committed to the vigorous prosecution of antitrust cases.



CONTACT                            CURRENT ROLE
55 Cambridge Parkway
                                   > Of Counsel, Hagens Berman Sobol Shapiro LLP
Suite 301
Cambridge, MA 02142                RECENT CASES
                                   > In re Intuniv Antitrust
(617) 475-1977 office
                                   > In re Effexor Antitrust
(617) 482-3003 fax
lhayes@hbsslaw.com                 > In re Loestrin 24 Fe Antitrust Litigation
                                   > In re Celebrex (Celecoxib) Antitrust Litigation
YEARS OF EXPERIENCE
> 13                               EXPERIENCE
                                   > Member of the team responsible for $94 million settlement on behalf of direct purchaser class in In re
PRACTICE AREAS                       Celebrex (Celecoxib) Antitrust Litigation, 2:13-cv-361, E.D. Va., ECF Nos. 64, 455, and the $120 million
> Antitrust Litigation               settlement (motion for preliminary approval pending) in In re Loestrin 24 Fe Antitrust Litigation, 1:13-
> Pharmaceutical Fraud               md-02472, D.R.I., ECF Nos. 10, 1050.
                                   > Prior to joining Hagens Berman, Laura was an associate at Gargiulo Rudnick LLP, where she litigated
CLERKSHIPS
                                     Medicaid and Medicare fraud cases. She also has years of work experience doing contract work on a
> Connecticut Judicial Branch
                                     variety of complex litigations.
> Appellate Division of the
                                   > Following law school, Laura was a clerk for the Connecticut Judicial Branch. In that role, she addressed
  Rhode Island Office of the
  Public Defender                    novel pre-emption and spoliation of evidence questions.
                                   > She is a graduate of Boston University School of Law, where she acted as articles editor for the Journal
BAR ADMISSIONS                       of Science and Technology Law.
> Supreme Judicial Court           > She received her Bachelor of Science degree from Boston University with a concentration in journalism.
  of the Commonwealth of
  Massachusetts                    PERSONAL INSIGHT
                                   Laura spends her free time in fall and winter managing and training sprint sled dogs and getting them and
COURT ADMISSIONS                   her husband to races in the Northeast, Quebec and sometimes Europe. She runs the B team in four-dog
> U.S. District Court for the      sled classes. Laura also serves on the board of the United States Federation of Sled Dog Sports.
  District of Massachusetts

EDUCATION
> Boston University School of
  Law, J.D., 2007
> Middlebury College School of
  Arabic
> Boston University, B.S., magna
  cum laude




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  134 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3653




                              OF COUNSEL

                              John D. Jenkins

                              John has extensive experience in the government and private sector as
                              a trial attorney and manager of complex investigations and prosecutions.



CONTACT                       CURRENT ROLE
(714) 222-2333 office
johnj@hbsslaw.com             > Of Counsel, Hagens Berman Sobol Shapiro LLP
                              > John Jenkins has considerable experience as a trial lawyer, corporate advisor, president of an
PRACTICE AREAS
                                internationally recognized investigative and security firm and expert in complex investigations and
> Investor Fraud
                                prosecutions.​
> Securities
                              EXPERIENCE
EDUCATION
> University of Southern      > Former Deputy District Attorney in Orange County, California
  California, B.A. and J.D.
                              > Prior to joining Hagens Berman, Mr. Jenkins was a lawyer at Hill, Wynne, Troop & Meisinger. He
                                also has more than 20 years of experience managing domestic and international investigations. He
                                was previously the president of CoreFacts, before and after the sale of CoreFacts as the investigative
                                consulting platform to what became CoreLogic, Inc. (NYSE: CLGX), a leading global risk mitigation and
                                business solutions provider. Prior to CoreFacts, he was an executive at two leading global investigative
                                consulting firms.

                              ACTIVITIES
                              > Member, Board of Governors at the University of Southern California
                              > Member, Board of Directors of Lear Capital

                              PERSONAL INSIGHT
                              In his spare time, John enjoys fishing with his son and watching his twin daughters compete as saber
                              fencers.




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  135 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3654




                                  OF COUNSEL

                                  Wesley Kelman
                                  Wes has worked for many years to protect the environment, including key early
                                  global warming cases, and on New Hampshire’s $236 million recovery against
                                  ExxonMobil in a groundwater contamination case.


CONTACT                           CURRENT ROLE
1280 Centre Street
Suite 230                         > Of Counsel, Hagens Berman Sobol Shapiro LLP
Newton Centre, MA 02459
                                  EXPERIENCE
(617) 641-9550 office             > Prior to joining Hagens Berman, Mr. Kelman practiced environmental law at Pawa Law Group where his
(617) 641-9551 fax                  clients included:
wesk@hbsslaw.com
                                   - The states of New Hampshire and Vermont in statewide MTBE groundwater contamination claims
YEARS OF EXPERIENCE                  against major oil companies
> 18
                                   - Trusts and an Alaskan native village in global warming claims

PRACTICE AREAS                     - Citizen groups including administrative litigation over air pollution permits, including a challenge to a
> Commercial Litigation              major new power plant
> Environmental Litigation
> Mass Torts
                                  > Mr. Kelman drafted papers submitted to state and federal appellate courts and helped other attorneys at
                                    Pawa Law Group try several cases to verdict.
BAR ADMISSIONS                    > Mr. Kelman also worked at the Environmental Protection Agency, Region 1, Boston, MA as enforcement
> Massachusetts                     counsel. He negotiated consent decrees under which private parties performed cleanups and brought
> New York                          enforcement actions against regulated parties. He was employee of the year for the Superfund section
                                    of the regional office, and won a “ROD of the Year” EPA national award for papers documenting EPA’s
COURT ADMISSIONS
                                    clean-up decision for the Sudbury River in Massachusetts.
> U.S. District Court, Southern
  District of New York            > Cleary, Gottlieb, Steen & Hamilton, Associate. In the wake of Argentina’s financial crisis of 2001, Mr.
> U.S. District Court of            Kelman was part of a small group of lawyers defending the Republic of Argentina against claims by
  Massachusetts                     holders of Argentina’s sovereign debt.

CLERKSHIPS:                       NOTABLE CASES
> Hon. Warren W. Matthews,        > Wes has worked on key early global warming cases and on behalf of state attorneys general who
  Alaska Supreme Court,
                                    have sued for damage to statewide groundwater supplies, including a $236 million recovery against
  Anchorage, AK 2004-05
                                    ExxonMobil for the state of New Hampshire.
> Hon. Jon O. Newman, U.S.
  Court of Appeals, Second        PERSONAL INSIGHT
  Circuit, Hartford, CT 2000-
                                  Wes loves to ride his bicycle and commutes on it through all four seasons.
  2001

EDUCATION
> Yale Law School, J.D., 2000,
  Yale Law Journal
 > University of Chicago, A.B.,
  History, Phi Beta Kappa, 1993




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  136 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3655




                                    OF COUNSEL

                                    Michella A. Kras

                                    State Bar of Arizona President’s Volunteer Service Award, 2010



CONTACT                             CURRENT ROLE
11 West Jefferson St.
Suite 1000                          > Of Counsel, Hagens Berman Sobol Shapiro LLP
Phoenix, AZ 85003                   > Practice focuses on class actions and complex litigation

(602) 224-2627 office               > Extensive expertise in complex litigation in a variety of commercial contexts, including actions involving
(602) 840-3012 fax                    various contractual breaches, RICO violations, securities fraud, negligent and intentional torts, and
michellak@hbsslaw.com                 federal and state employment law

YEARS OF EXPERIENCE                 RECOGNITION
> 16
                                    > State Bar of Arizona President’s Volunteer Service Award, 2010
PRACTICE AREAS                      > Rising Star, Southwest Super Lawyers, 2014
> Commercial Litigation
> Complex Civil Litigation          EXPERIENCE
                                    > Member of the commercial and securities litigation group in the Phoenix office of an international law
BAR ADMISSIONS
                                      firm where she worked on complex litigation matters involving private securities offerings, private
> Arizona
                                      lending, asset purchase agreements, shareholder and member disputes, and federal and state wage and
> U.S. District Court for the
  District of Arizona                 hour disputes
                                    > Associate, Steptoe & Johnson LLP, 2007-2013
EDUCATION
> Arizona State University          > Associate, Gammage & Burnham, work included civil litigation, employment law, election law, health
  College of Law, J.D., magna         care law and estate planning, 2004-2007
  cum laude, 2003
                                    > Judicial Law Clerk, Arizona Supreme Court, work consisted of a variety of appeals, including civil cases,
> Arizona State University, B.A.,
  1997                                criminal actions and attorney discipline, 2003-2004

                                    LEGAL ACTIVITIES
                                    > Consistent commitment to pro bono work. She’s worked on several pro bono matters, including
                                      obtaining Special Juvenile Immigrant Status for a teenager that was brought to the United States as a
                                      toddler and later abandoned by her parent
                                    > Volunteer and member of the steering committee for Wills for Heroes, an organization that provides free
                                      estate planning for Arizona’s first responders

                                    NOTABLE CASES
                                    > Successfully litigated and obtained summary judgment on multiple matters involving breach of contract,
                                      conversion, intentional interference and breach of fiduciary duty, even successfully piercing the
                                      corporate veil




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  137 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3656




                                     OF COUNSEL

                                     Benjamin A. Krass
                                     Ben positions his clients to succeed by his experience bringing environmental
                                     cases for more than a decade, the close relationships he builds with his clients
                                     and his attention to every aspect of a client’s case.


CONTACT                              CURRENT ROLE
1280 Centre Street
Suite 230                            > Of Counsel, Hagens Berman Sobol Shapiro LLP
Newton Centre, MA 02459
                                     EXPERIENCE
(617) 641-9550 office                > Prior to joining Hagens Berman, Mr. Krass was a Partner at Pawa Law Group where he gained
(617) 641-9551 fax                     extensive experience representing the states of New Hampshire, Rhode Island and Vermont in MTBE
benk@hbsslaw.com                       litigation.

YEARS OF EXPERIENCE                  > Litigated nearly every aspect of the New Hampshire MTBE case for over a decade and participated
> 17                                   in the three-month trial against ExxonMobil, including by handling the examination of expert and state
                                       witnesses.
PRACTICE AREAS
                                     > Involved in all of his prior firm’s other major environmental cases, including American Elec. Power Co. v.
> Environmental Litigation
                                       Connecticut, 131 S. Ct. 2527 (2011), Native Village of Kivalina v. ExxonMobil Corp., 696 F.3d 849 (9th Cir.
> Products Liability
                                       2012), and Green Mt. Chrysler Plymouth Dodge Jeep v. Crombie, 508 F. Supp. 2d 295 (D. Vt. 2007).
                                       Played a significant role in preparing evidence and cross examination in the multi-week Crombie trial.
BAR ADMISSIONS
> Massachusetts                      RECENT SUCCESS

COURT ADMISSIONS                     > Represented the state of New Hampshire from 2003-2016 in litigation against major oil companies for
> U.S. District Court, District of     statewide contamination of the state’s waters with the chemical and gasoline additive MTBE
  Massachusetts                      > Helped obtain settlements of $136 million from approximately a dozen defendants prior to or at the
> U.S. District Court, District of     commencement of trial and participated in the three-month trial against ExxonMobil which resulted
  Vermont                              in a $236 million jury verdict against ExxonMobil. The jury verdict was affirmed on appeal by the New
                                       Hampshire Supreme Court. New Hampshire v. Exxon Mobil Corp., 126 A.3d 266 (N.H. 2015), cert.
EDUCATION
                                       denied, 136 S. Ct. 2009 (2016).
> Boston College Law School,
  J.D., 2003
                                     NOTABLE DECISIONS
  Honors: Managing Editor,
  Boston College Environmental
                                     > State of New Hampshire v. Exxon Mobil Corp., 126 A.3d 266 (N.H. 2015) (upholding $236 million jury
  Affairs Law Review; Boston           verdict following three-month trial against petroleum company for polluting state’s groundwater)
  College Environmental              > Connecticut v. American Electric Power Co., 582 F.3d 309 (2d Cir. 2009) (reinstating global warming
  Law Society Certificate in           tort case filed by states and land trusts), rev’d on other grounds, 131 S. Ct. 2527 (2011)
  Environmental and Land             > State v. Hess Corp., 161 N.H. 426 (2011) (holding that, under parens patriae doctrine, a state suing
  Use Law; Adjunct Lecturer,           a polluter for groundwater contamination may recover as damages the cost of treating private well
  Environmental Law, Boston
                                       contamination)
  College Political Science
  Department (Spring 2003)           > New Hampshire v. N. Atlantic Refining, Ltd., 999 A.2d 396 (N.H. 2010) (upholding personal jurisdiction
> Universidad de Oviedo, 1999-         over oil company in MTBE litigation); New Hampshire v. Hess Corp., 982 A.2d 388 (N.H. 2009)
  2000, William J. Fulbright           (affirming proper service of process on two oil company defendants in MTBE litigation)
  scholarship
> Canisius College, B.A., summa      ACTIVITIES
  cum laude, 1999                    > President, Board of Directors, Transportation Children’s Center (2016-2017)


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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  138 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3657




                     OF COUNSEL

                     Benjamin A. Krass
                     PUBLICATIONS
                     > “Behind the Curve: The National Media’s Reporting on Global Warming,” 33 B.C. Envtl. Aff. L. Rev. 485
                       (2006)
                     > “Global Warming As A Public Nuisance: Connecticut v. American Electric Power,” 16 Fordham Envtl. L.
                       Rev. 407 (2005)
                     > “Comment: Combating Urban Sprawl in Massachusetts: Reforming the Zoning Act through Legal
                       Challenges,” 30 B.C. Envtl. Aff. L. Rev. 605 (2003)
                     LANGUAGES
                     > Spanish
                     PERSONAL INSIGHT
                     Ben is a competitive runner and enjoys winter mountaineering, backpacking, gardening and spending time
                     with his family.




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  139 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3658




                                  OF COUNSEL

                                  James J. Nicklaus
                                  During his legal career, Mr. Nicklaus has represented clients in antitrust,
                                  securities fraud, product liability and patent litigation.



CONTACT                           CURRENT ROLE
55 Cambridge Parkway
Suite 301                         > Of Counsel, Hagens Berman Sobol Shapiro LLP
Cambridge, MA 02142               > Practice focuses on pharmaceutical antitrust litigation and investigations of potential violations of
                                    antitrust law by pharmaceutical companies
(617) 475-1973 office
(617) 482-3003 fax                EXPERIENCE
jamesn@hbsslaw.com
                                  > Prior to joining Hagens Berman, Mr. Nicklaus worked for other firms in the Boston area, including
BAR ADMISSIONS                      representing clients in insurance coverage, product liability and lender liability litigation at Michienzie
> Massachusetts                     & Sawin LLC and representing clients in insurance coverage, patent, product liability, antitrust and
                                    securities fraud litigation at Willcox, Pirozzolo & McCarthy, P.C. Mr. Nicklaus began his legal career as
COURT ADMISSIONS                    an associate and junior partner at Hale and Dorr LLP (now WilmerHale).
> U.S. District Court for the
  District of Massachusetts

EDUCATION
> Harvard Law School, J.D.,
  magna cum laude, 1993
  Harvard Legal Aid Bureau,
  Student Representative
  on Committee on Clinical
  Education
> Harvard College, B.A.,
  East Asian Languages and
  Civilizations, cum laude, Phi
  Beta Kappa, 1990




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  140 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3659




                                   OF COUNSEL

                                   Jerrod C. Patterson
                                   Served as federal prosecutor for over nine years, prosecuting tax cases,
                                   fraud, and other financial crimes. Extensive experience trying complex
                                   cases to verdict.


CONTACT                            CURRENT ROLE
1301 Second Avenue
Suite 2000                         > Of Counsel, Hagens Berman Sobol Shapiro LLP
Seattle, WA 98101                  > Practice focuses on antitrust and other fraud cases, including Animation Workers Antitrust, Batteries
                                     Antitrust and Nespresso Antitrust
(206) 268-9378 office
(206) 623-0594 fax                 > Mr. Patterson brings to the firm extensive trial experience and a history of prosecuting complex fraud
jerrodp@hbsslaw.com                  cases, including tax fraud, bank fraud, wire fraud, money laundering and prescription fraud.

YEARS OF EXPERIENCE                RECOGNITION
> 18
                                   > Organized Crime and Drug Enforcement Task Force “Best Financial Investigation in the Nation” – 2012

PRACTICE AREAS                     > U.S. Attorney General “Outstanding Performance as a Special Assistant U.S. Attorney” – 2010
> Antitrust Litigation
                                   > Assistant Attorney General “Outstanding Tax Division Attorney” – 2009
> Racketeering
> Automotive Litigation            > Assistant Attorney General “Outstanding Tax Division Attorney” – 2008
BAR ADMISSIONS
                                   NOTABLE CASES
> Washington
> New York                         > In re Animation Workers Antitrust Litig., 14-cv-4062 LHK (N.D. Cal.): Class-action antitrust case against
> District of Columbia               major animation studios for conspiring to fix wages of their animators
CLERKSHIPS:
                                   > In re Lithium Ion Batteries Antitrust Litig., 12-cv-5129 YGR (N.D. Cal.): Class-action antitrust case against
> The Hon. Louis F. Oberdorfer,
  U.S. District Court for D.C.
                                     large battery producers for conspiring to fix prices
> U.S. Senate Judiciary            > Nespresso v. Ethical Coffee Co., 16-cv-0194 GMS (D. Del.): Represents counterclaimants, alleging
  Committee (Sen. Leahy)             Nespresso monopolized the single-serve coffee capsule market through predatory redesigns of their
  Washington, D.C.
                                     coffee machines
EDUCATION
> University of California,        > Melton v. Century Arms, 16-cv-21008 FAM (S.D. Fla.): Class-action case against assault rifle
  Berkeley School of Law (Boalt      manufacturer for selling rifles with a defective safety level, causing rifles to discharge without warning
  Hall), J.D., May 2002; top 15%
                                   > As a federal prosecutor, led or co-chaired 11 federal jury trials, and 22 bench trials
  of graduating class
> Johns Hopkins University,        EXPERIENCE
  School of Advanced
  International Studies            > Prior to joining Hagens Berman, Mr. Patterson served as an Assistant United States Attorney at the U.S.
  (SAIS) M.A. in International       Attorney’s Office in Seattle, WA.
  Economics and International        - Prosecuted complex fraud cases, including tax fraud, bank fraud, wire fraud, money laundering, and
  Relations, December 1997,            prescription fraud
  Graduated with distinction
                                     - Served as Project Safe Childhood Coordinator; led efforts to investigate and prosecute child
  (top 10%)
                                       pornography and child exploitation cases
> Brown University A.B. in
  International Relations, May       - Led prosecution of large-scale drug trafficking organizations, including cartels and street gangs, to
  1995, magna cum laude                interdict drug smuggling and investigate money laundering



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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  141 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3660




                     OF COUNSEL

                     Jerrod C. Patterson
                     > Trial Attorney, U.S. Department of Justice Washington, D.C., Tax Division, Northern Criminal
                       Enforcement Section
                        - Co-chaired prosecution of two defendants, in separate trials, for scheme to defraud the Cleveland
                          Catholic Diocese
                     > Special Assistant U.S. Attorney, U.S. Attorney’s Office for D.C. Nov. 2006 - May 2007
                       - Prosecuted 22 bench trials in Sex Offense/Domestic Violence Section
                     > Associate, Wilmer Cutler Pickering (WilmerHale)


                     PERSONAL INSIGHT
                     Although not a Washington state native, Mr. Patterson has quickly adopted Seattle as his hometown. In his
                     spare time, he and his family enjoy the local wineries, lakes and hiking trails.




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  142 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3661




                                    OF COUNSEL

                                    Greer N. Shaw

                                    Greer works hard for every client, large and small, with integrity and creativity.



CONTACT                             CURRENT ROLE
301 North Lake Ave.
Suite 920                           > Of Counsel, Hagens Berman Sobol Shapiro LLP
Pasadena, CA 91101
                                    RECOGNITION
(213) 330-7145 office
(213) 330-7152 fax                  > Southern California Super Lawyers®, Intellectual Property Litigation, 2014-2016; 2019
greers@hbsslaw.com
                                    EXPERIENCE
YEARS OF EXPERIENCE                 > Snell & Wilmer LLP, 2011-2015
> 22
                                    > Graves & Shaw LLP, 2009-2011
PRACTICE AREAS
> Appeals                           > Kirkland & Ellis LLP, 2004-2009
> Complex Commercial
> Intellectual Property             > Goodwin Procter LLP, 1998-2003
> Patent Litigation
> Trademark and Trade Dress         > U.S. Court of Appeals, First Circuit, 1997-1998
  Infringement
                                    LEGAL ACTIVITIES
> Trade Secret Misappropriation
BAR ADMISSIONS                      > Intellectual Property Owners Association; Litigation Committee (2014-2015)
> California
                                    > Los Angeles Intellectual Property Law Association; Board of Directors (2012-2015)
> Arizona
> Massachusetts                     > USC Intellectual Property Institute; 2015 Planning Committee
COURT ADMISSIONS
                                    > The Judge Paul R. Michel Intellectual Property American Inn of Court; Reporter (2008-2009), Team
> U.S. Court of Appeals, Federal
  Circuit
                                      Captain (2009, 2012); Program Chair (2012-2014)
> U.S. Court of Appeals, Ninth      > American Intellectual Property Law Association
  and First Circuits
> U.S. District Court, Central,     PRESENTATIONS
  Northern, Eastern and
  Southern Districts of             > “Nautilus, Ariad, and Beyond; The Current State of § 112’s Definiteness, Enablement, and Written
  California                          Description Requirements in Litigation and Prosecution,” Co-Presenter, Webinar produced by the State
> U.S. District Court, Districts      Bar of California, Patent Interest Group (March 18, 2015)
  of Arizona, Massachusetts,
  Nebraska and E.D. of Texas        > “LAIPLA Goes to Court - Settlement of IP Disputes,” Moderator (with Hon. George Wu, Hon. Gary Feess
CLERKSHIPS:
                                      (Ret.) and Hon. Suzanne Segal, U.S. District Court, Central District of California), presented by the Los
> Honorable Bailey Aldrich, U.S.      Angeles Intellectual Property Law Association (January 13, 2015)
  Court of Appeals, First Circuit
                                    > “Careers in Intellectual Property and Entertainment Law,” Panelist, sponsored by the Los Angeles
EDUCATION                             Intellectual Property Law Association and Pepperdine University School of Law (October 1, 2014)
> Boston University School of
  Law, J.D., magna cum laude;       > “Intellectual Property: It’s Not Just for Specialists Anymore,” Co-Presenter, Association of Corporate
  Managing Editor, Boston             Counsel (Southern California Chapter), Long Beach, CA (June 19, 2014)
  University Law Review
> University of California,
  Berkeley, B.A.

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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  143 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3662




                     OF COUNSEL

                     Greer Shaw
                     > “Hot Topics for In-House Patent Practitioners,” Moderator, “Washington in the West 2014” conference,
                       presented by Los Angeles Intellectual Property Law Association (January 24, 2014)
                     > “Hot Topics and Notable Developments in IP Law,” Co-Presenter, Association of Corporate Counsel
                       (Mountain West Chapter), Salt Lake City, UT (June 28, 2013)
                     > “Design Patent Infringement 2013,” Co-Presenter, Webinar produced by The Knowledge Group, LLC
                       (January 29, 2013)
                     > “Litigating Patents in the Central District: Local Practices and the Patent Pilot Program from the
                       Practitioner’s Perspective,” Moderator, Litigation Roundtable, Los Angeles Intellectual Property Law
                       Association, Los Angeles, CA (May 30, 2012)
                     > “U.S. Patent Litigation Involving Pharmaceutical Patents,” Co-Presenter, Taiwan Medical and
                       Pharmaceutical Industry Technology and Development Center, Taipei, Taiwan (May 25, 2012)
                     > “Washington in the West Conference,” Chairperson, sponsored by Los Angeles Intellectual Property Law
                       Association (February 14, 2012)
                     > “Dual Actor Infringement: Drafting and Enforcing Telecommunication and Computer Science Claims
                       Following BMC, Muniauction, SiRF and Akamai,” Panelist, Los Angeles Intellectual Property Law
                       Association, 2011 Spring Seminar (June 4, 2011)
                     > “IP Law – Where Do I Fit In?,” Panelist, Sponsored by The Palmer Center, the Los Angeles Intellectual
                       Property Law Association, and the Pepperdine University Career Development Office (October 28,
                       2008)
                     > “Patents & The Supreme Court,” Moderator, Panel presentation of the 10th Annual “Washington in the
                       West” Conference presented by the Los Angeles Intellectual Property Law Association (January 31,
                       2007)
                     > “Recent Developments In False Designation of Origin and Willful Patent Infringement,” Panelist,
                       Fifth Annual Technology Law Conference, Pepperdine University School of Law, Sponsored by the
                       Association of Corporate Counsel (June 25, 2004)

                     PERSONAL INSIGHT
                     When he is not helping clients who have been ripped off or wrongly accused, Greer enjoys scaling
                     mountains, exploring canyons, and rappelling down waterfalls with the Altadena Mountain Rescue Team of
                     the Los Angeles County Sheriff’s Department.




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  144 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3663




                                 OF COUNSEL

                                 Nick Styant-Browne
                                 Served as lead counsel in the trial against Australia’s major newspaper
                                 publishers, including “News,” which resulted in the deregulation of the
                                 system of distribution of newspapers and magazines throughout Australia.


CONTACT                          CURRENT ROLE
1301 Second Avenue
Suite 2000                       > Of Counsel, Hagens Berman Sobol Shapiro LLP
Seattle, WA 98101                > Practiced class-action and multi-plaintiff litigation since 2001

(206) 268-9373 office            > Current projects include Rio Tinto Litigation for human rights and environmental abuses at the Panguna
(206) 623-0594 fax                 mine on the Pacific island of Bougainville
nick@hbsslaw.com
                                 > Has been lead counsel in both bench and jury class action trials in Federal Court
YEARS OF EXPERIENCE
                                 EXPERIENCE
> 27
                                 > Senior partner (one of five) at Australia’s largest plaintiff law firm working on class actions,
PRACTICE AREAS                     environmental litigation and antitrust litigation
> Human Rights
> Environmental Protection       LEGAL ACTIVITIES
> Consumer Rights
                                 > Past elected member, Council of Greenpeace, Australia

BAR ADMISSIONS                   NOTABLE CASES
> Washington State Bar
                                 > Served as co-counsel on Australia’s then-largest class action against a wholly owned subsidiary of
  Association
> Australian State Bars
                                   Exxon, arising out of a gas plant explosion which shut down the gas supply to Melbourne and most of
  including Victoria, NSW, and     the State of Victoria for 10 days
  WA                             > Rio Tinto Litigation
> Supreme Court of Papua New
                                   Mr. Styant-Browne’s practice has involved several projects in the Pacific Rim, acting principally on
  Guinea
                                   behalf of the indigenous peoples of poor developing Pacific nations claiming environmental and human
                                   rights abuses. His successes and passion for the causes of indigenous peoples have led to him being
EDUCATION
> University of Melbourne          retained by the national governments of Pacific States including Tuvalu and the Kingdom of Tonga
                                 > BHP Environmental Litigation
                                   Mr. Styant-Browne’s meticulous outlining of the environmental devastation caused by the Ok Tedi
                                   mine in Papua New Guinea helped force mining companies adopt stricter environmental standards in
                                   developing countries
                                 > Toyota Unintended Acceleration Litigation
                                 > Thalidomide Drug Litigation




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  145 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3664




                                    OF COUNSEL

                                    Hannah Schwarzdchild
                                    Hannah has litigated cases involving employee and consumer rights, and
                                    now focuses on antitrust claims in the pharmaceutical industry.



CONTACT                             CURRENT ROLE
55 Cambridge Parkway
                                    > Of Counsel, Hagens Berman Sobol Shapiro LLP
Suite 301
Cambridge, MA 02142                 > Practice focuses on consumer and antitrust litigation

(617) 475-1966 office               EXPERIENCE
(617) 482-3003 fax                  > Prior to joining Hagens Berman, Ms. Schwarzschild coordinated large-scale litigation projects in Boston
hannahs@hbsslaw.com                   and Philadelphia. Over the past 25 years, she has litigated employment and consumer rights cases in
                                      federal and state courts and administrative agencies, including jury and bench trials and appeals.
YEARS OF EXPERIENCE
> 31                                PUBLICATIONS
                                    > Same-Sex Marriage and Constitutional Privacy, Berkeley Women’s Law Journal, 1989.
BAR ADMISSIONS
> State of California (inactive)    PERSONAL INSIGHT
> State of Pennsylvania             Hannah grew up in and around New York City. Before law school, she helped build a community arts
                                    facility in San Francisco’s Mission District in the 1980s and worked on nuclear arms control at the
PRACTICE AREAS
                                    Ploughshares Fund. Hannah has been working for LGBT rights and Middle East peace and justice for
> Antitrust Litigation
                                    more than 20 years. These days, her best times are spent biking around Cambridge and Cape Cod with
> Consumer Rights
                                    her partner and teenage stepdaughter in search of interesting food, art, wildlife and humans.
COURT ADMISSIONS
U.S. District Court for the
  Northern District of California
> Ninth Circuit Court of Appeals
> U.S. District Court for
  the Eastern District of
  Pennsylvania
> Third Circuit Court of Appeals

EDUCATION
> University of California,
  Berkeley, Boalt Hall School of
  Law, J.D., 1989
  AmJur Award, 1988; Best
  Brief Award, Moot Court
  Competition, 1987
> University of California,
  Berkeley, A.B., History, Phi
  Beta Kappa, 1986




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  146 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3665




                                      OF COUNSEL

                                      Nathaniel A. Tarnor

                                      Mr. Tarnor has litigated a wide variety of legal matters and takes pride in
                                      pursuing justice on behalf of his clients for as long as it takes to win.



CONTACT                               CURRENT ROLE
555 Fifth Avenue
Suite 1700                            > Of Counsel, Hagens Berman Sobol Shapiro LLP
New York, NY 10017                    > Represents American terrorism victims against Chiquita Brands International for violations of U.S. anti-
                                        terrorism laws in Columbia
212-752-5455 office
212-210-3980 fax                      > Practice concentrates on complex federal litigation
nathant@hbsslaw.com
                                      EXPERIENCE
YEARS OF EXPERIENCE
                                      > Milberg LLP, New York, NY, 2009-2016
> 15
                                      > Practice areas include antitrust, class actions, consumer protection, contractual disputes, securities and
BAR ADMISSIONS                          whistleblower representation in conjunction with the U.S. Department of Justice and the U.S. Securities
> State of Illinois                     & Exchange Commission
> State of New York
> District of Columbia                > Pro Bono: Represented families of American terrorism and torture victims before the U.S. Supreme
                                        Court and Second Circuit.
PRACTICE AREAS
                                      > Previously provided legal assistance to human rights victims from around the world in conjunction with
> Antitrust Litigation
> Anti-Terrorism                        other prominent law firms.
> Consumer Rights
                                      RECOGNITION
> Investor Fraud
> Whistleblower Litigation            > Chicago-Kent International Law Moot Court Honor Society, 2002-2004

COURT ADMISSIONS                      > Captain, Chicago-Kent International Law Moot Court Team, 2002-2004
> U.S. Supreme Court                  > Highest Oralist Score 2003 Philip C. Jessup International Law Moot Court Regional Competition
> U.S. Courts of Appeals for the
                                        Chicago-Kent Moot Court Team
  2nd and 7th Circuits, and for
  the District of Columbia            > CALI Award Commercial Payment Systems Law
> U.S. District Court for the
  District of Columbia                PERSONAL INSIGHT
> U.S. District Courts for the
                                      Nathaniel enjoys competing in endurance sports and hiking with his family.
  Northern & Central Districts
  of Illinois
> U.S. District Court for the
  Eastern & Southern District of
  New York

EDUCATION
> Chicago-Kent College of Law,
  J.D., CALI Award, 2004
> University of Illinois, B.A., Phi
  Beta Kappa, summa cum laude,
  Milton Ravoke Award, 2000


www.hbsslaw.com                                                                                                                               131
 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  147 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3666




                                 ASSOCIATE

                                 Tory Beardsley
                                 Ms. Beardsley has experience in prosecuting a variety of cases, including
                                 wrongful death, medical malpractice, negligence, fraud, consumer protection,
                                 data breach and bad faith insurance cases.


CONTACT                          CURRENT ROLE
11 West Jefferson St.
                                 > Associate, Hagens Berman Sobol Shapiro LLP
Suite 1000
Phoenix, AZ 85003                > Ms. Beardsley has experience prosecuting wrongful death, medical malpractice, negligence, negligence
                                   per se, intentional and negligent infliction of emotional distress, unjust enrichment, fraud, consumer
(602) 224-2642 office              protection, data breach and bad faith insurance cases.
(602) 840-3012 fax
toryb@hbsslaw.com                RECENT CASES
                                 > Member of the trial team representing the families of three patients who died after receiving dialysis at
YEARS OF EXPERIENCE                DaVita clinics. The case culminated with a $383.5 million jury verdict.
>5                               > Ms. Beardsley has also aided in prosecuting data breach cases litigated by the firm in Arizona.

PRACTICE AREAS                   RECENT SUCCESS
> Consumer Rights
                                 > In June 2018, Ms. Beardsley was on the trial team where a Denver jury awarded a monumental $383.5
                                   million jury verdict against GranuFlo dialysis provider, DaVita Inc. culminating lawsuits brought by
INDUSTRY EXPERIENCE
> Consumer Fraud                   families of three patients who suffered cardiac arrests and died after receiving dialysis treatments at
> Medical Negligence               DaVita clinics. Each of the three parties was awarded $125 million in punitive damages from the jury,
                                   with compensatory damages ranging from $1.5 million to $5 million.
BAR ADMISSIONS
> Arizona
                                 EXPERIENCE
                                 > Prior to beginning her litigation career at Hagens Berman, Ms. Beardsley specialized in land use and
COURT ADMISSIONS                   development with other firms in the Phoenix area, working closely with the local municipalities and
> U.S. District Court for the      politicians to gain approval on proposed developments and ensure developments compliance with city
  District of Arizona              code and zoning ordinance.
> U.S. District Court for the
  District of Colorado           ACTIVITIES
                                 > Chair - Herberger Young Leadership Board; Member
EDUCATION
> Arizona State University       PERSONAL INSIGHT
  Sandra Day O’Connor College
                                 When she’s not dedicating her time to the law, Tory enjoys staying active in a variety of ways. You can find
  of Law, J.D.
                                 her swimming, hiking, trail running or on her road bike. Tory is also active at Phoenix’s Herberger Theater
> University of Arizona, B.A.,
                                 Center as chair of the Young Leadership Board, an auxiliary board tasked with fundraising and cultivating
  Journalism & English
  Literature                     the next generation of theater patrons.




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  148 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3667




                                    ASSOCIATE

                                    Hannah Brennan
                                    Hannah is committed to improving access to medicines – both domestically
                                    and abroad – and has experience in drug pricing, patent and international right
                                    to health litigation.


CONTACT                             CURRENT ROLE
55 Cambridge Parkway
                                    > Associate, Hagens Berman Sobol Shapiro LLP
Suite 301
Cambridge, MA 02142                 > Practice focuses on drug pricing, consumer access to medications, healthcare fraud, antitrust and patent
                                      fraud
(617) 475-1950 office               > Member of the HBSS team representing a proposed class of insulin consumers in their claims against
(617) 482-3003 fax
                                      Eli Lilly, Novo Nordisk and Sanofi for fraudulently and unfairly increasing the cost of live-saving insulin
hannahb@hbsslaw.com
                                      medications. HBSS has been named lead counsel in this case.
YEARS OF EXPERIENCE                 > Member of the HBSS team prosecuting claims against Allergan for engaging in an anticompetitive
>6                                   scheme to keep generic versions of the eye medication, Restasis, off the market. This scheme includes
                                     fraud on the U.S. Patent and Trademark Office, sham litigation against generic manufacturers, meritless
PRACTICE AREAS                       citizen petitions to the Food and Drug Administration and sham transfer of patents to a Native American
> Antitrust Litigation               Tribe in an attempt to avoid invalidation. HBSS has been named lead counsel in this case.
> Civil & Human Rights
                                    > Member of the HBSS team prosecuting claims against GSK for its fraudulent marketing of the diabetes
  Litigation
> Consumer Rights
                                     medication, Avandia. HBSS has been named lead counsel in this case.
> Medical Devices
                                    RECENT SUCCESS
> Pharmaceutical Fraud
> RICO
                                    > $51.25 million proposed settlement in In re Restasis Antitrust Litigation. Hannah is member of the HBSS
                                      team that prosecuted claims against Allergan for fraudulently obtaining six patents from the U.S. Patent
INDUSTRY EXPERIENCE                   and Trademark Office, asserting those patents in federal court to delay generic competition, and then
> Drug Pricing                        transferring those patents to a Native American Tribe to avoid invalidation in violation of federal antitrust
> Patent                              law. The plaintiffs also alleged that Allergan filed a series of sham citizen petitions with the Food
> International Right to Health       and Drug Administration to delay generic competition. The proposed settlement between the direct
  Litigation                          purchaser class and Allergan is currently pending before the District Court for the Eastern District of
> International Trade                 New York.
  Agreements
                                    > Successful Third Circuit appeal of sealing orders in In re Avandia Marketing, Sales Practices and
                                      Products Liability Litigation. Hannah briefed and argued the class plaintiffs’ appeal of two district court
BAR ADMISSIONS
> Massachusetts                       orders sealing the entire summary judgment record. The Third Circuit issued a precedential opinion
                                      adopting the standard the plaintiffs urged for the public’s common law right of access and vacated
COURT ADMISSIONS                      the district courts’ orders. The Third Circuit also instructed the district court to consider the First
> Third Circuit                       Amendment argument the plaintiffs’ advanced.
                                    > Successful Third Circuit appeal of summary judgment ruling in In re Avandia Marketing, Sales Practices
CLERKSHIPS                            and Products Liability Litigation. Hannah briefed the class plaintiffs’ appeal of the district court’s grant
> Honorable Timothy B. Dyk of         of summary judgment in favor of the defendant. The Third Circuit issued a precedential opinion siding
  the United States Court of
                                      with the plaintiffs on all three issues presented in the appeal. The Third Circuit remanded the case to the
  Appeals for the Federal Circuit
                                      district court and ordered further discovery for the plaintiffs.
> Honorable Theodore McKee,
  Former Chief Judge of United      > $94 million recovery in In re Celebrex Antitrust Litigation. Hannah was member of the HBSS team that
  States Court of Appeals for
  the Third Circuit



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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  149 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3668




                                 ASSOCIATE

                                 Hannah Brennan
                                   prosecuted claims against Pfizer for fraudulently obtaining patents from the U.S. Patent and Trademark
EDUCATION                          Office and then asserted those patents to delay generics competition in violation of federal antitrust law.
> Yale Law School, J.D., 2013      The case settled mere weeks before trial
> Brown University, B.A., 2009
                                 EXPERIENCE
                                 > Prior to joining Hagens Berman, Ms. Brennan clerked for the Honorable Timothy B. Dyk of the United
                                   States Court of Appeals for the Federal Circuit and the Honorable Theodore McKee, Chief Judge of
                                   United States Court of Appeals for the Third Circuit.
                                 > She was awarded a Yale Gruber Fellowship in Global Justice and Women’s Rights to work for Public
                                   Citizen’s Global Access to Medicines Program. At Public Citizen, she worked on a broad range of
                                   healthcare issues, including: negotiation of the intellectual property provisions of the Trans-Pacific
                                   Partnership Agreement, compulsory licensing of HIV medications in Peru, and policies for improving
                                   access to Hepatitis C medications for veterans, Native Americans and prisoners.
                                 > In law school, Ms. Brennan worked in the Global Health and Justice Clinic, where she helped develop
                                   a human rights approach to intellectual property law. She also served in the Workers and Immigrants’
                                   Rights Advocacy Clinic, where she obtained a substantial settlement for a group of Latino construction
                                   workers with unpaid wage claims. She further represented Connecticut DREAMers in their legislative
                                   and regulatory campaigns to secure financial aid for undocumented students at Connecticut state
                                   universities.
                                 > Prior to law school, Ms. Brennan served as Fulbright Scholar in Lima, Peru, where she researched labor
                                   rights abuses in the domestic housework industry and advocated for greater government regulation of
                                   this area.

                                 LEGAL ACTIVITIES
                                 > Member, American Association for Justice

                                 RECOGNITION
                                 > Charles G. Albom Prize for Excellency in Appellate Advocacy

                                 PUBLICATIONS
                                 > Hannah Brennan, Christine Monahan, Zain Rizva, & Amy Kapczynski, Government Patent Use: How a Little
                                   Known Statute Can Bring Down Drug Prices and Transform Health, 18 Yale J. of L. & Tech. 275 (2016).
                                 > Hannah Brennan, The Cost of Confusion: The Paradox of Trademarked Pharmaceuticals, 22 Mich. Telecomm.
                                   & Tech. L. Rev. 1 (2016)
                                 > Hannah Brennan & Burcu Kilic, Freeing Trade at the Expense of Local Crop Markets?: A Look at the Trans-
                                   Pacific Partnership’s New Plant Related Intellectual Property Rights From Human Rights Perspective, Harv.
                                   Hum. Rts. J. Online (2015)
                                 > Burcu Kilic, Hannah Brennan, & Peter Maybarduk, What Is Patentable Under the Trans-Pacific Trade
                                   Partnership?, 40 Yale J. Int’l L. Online 1 (2015)
                                 > Inside Views: The TPP’s New Plant-Related Intellectual Property Provisions, Intellectual Property Watch (Oct.
                                   17, 2014)
                                 > A Human Rights Approach to Intellectual Property and Access to Medicines, Yale Global Health and
                                   Justice Partnership
                                 > Trabajo en servicio doméstico: capacitación laboral y agencias de empleo [Domestic House Work: Labor
                                   Training and Employment Agencies] (Asociación Grupo de Trabajo Redes eds., 2010)



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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  150 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3669




                     ASSOCIATE

                     Hannah Brennan
                     LANGUAGES
                     > Spanish

                     PERSONAL INSIGHT
                     Hannah’s favorite city is Lima, her favorite state is Vermont and her favorite 90s action movie is The
                     Fugitive.




www.hbsslaw.com                                                                                                               135
 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  151 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3670




                                      ASSOCIATE

                                      Rochella T. Davis

                                      Rochella is experienced in handling issues of first impression in complex
                                      matters.



CONTACT                               CURRENT ROLE
55 Cambridge Parkway
                                      > Associate, Hagens Berman Sobol Shapiro LLP
Suite 301
Cambridge, MA 02142                   > Rochella focuses on nationwide pharmaceutical antitrust class actions. She is actively involved in In re
                                        Glumetza Antitrust Litigation, a class action suit challenging an anticompetitive conspiracy among drug
(617) 475-1976 office                   manufacturers of Type 2 diabetes drug, Glumetza.
(617) 482-3003 fax
rochellad@hbsslaw.com                 EXPERIENCE
                                      > Prior to joining Hagens Berman, Ms. Davis served as an appellate law clerk to Chief Justice Rhys S.
YEARS OF EXPERIENCE                     Hodge of the Supreme Court of the United States Virgin Islands where she conducted legal research
>2                                      and analyzed issues of first impression.
                                      > In law school, Ms. Davis represented criminal defendants accused of misdemeanors as a certified
PRACTICE AREAS                          student attorney in the Suffolk Defenders Clinic.
> Antitrust Litigation
> Pharmaceutical Fraud                PRO BONO
                                      > Suffolk University Law School Pro Bono Honors, 2017. Rochella completed 270 hours of pro bono
CLERKSHIPS
                                        service in law school.
> Supreme Court of the United
  States Virgin Islands
                                      LEGAL ACTIVITIES
BAR ADMISSIONS
                                      > American Bar Association, Antitrust Division
> New York
                                      > New York Bar Association, Antitrust Division
EDUCATION
                                      RECOGNITION
> Suffolk University Law              > Robert A. Fuchs Memorial Prize in Labor Law, 2016
  School, J.D., Trial & Appellate
  Advocacy Concentration with         PUBLICATIONS
  distinction, 2017, Journal of       > ”Talent Can’t Be Allocated: A Labor Economics Justification for No-Poaching Agreement Criminality in
  Trial & Appellate Advocacy            Antitrust Regulation,” 12 Brook. J. Corp. Fin. & Com. L. 279 (2018).

> Johns Hopkins University,           > “To Whom Should We Point Our Stylus?: Allocating the Burden of Review in E-discovery of Social Media
  M.S., 2022                            Content,” 22 Suffolk J. Trial & App. Advoc. 121 (2017).

> University of the Virgin Islands,   PERSONAL INSIGHT
  B.A., summa cum laude, 2014         When she’s not vigorously representing her clients’ interests, Rochella enjoys cooking and exploring food
                                      culture in new cities.




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  152 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3671




                                     ASSOCIATE

                                     John DeStefano

                                     Mr. DeStefano takes special pride in protecting the public against
                                     broad-based frauds and swindles and the corruption of honest enterprise.



CONTACT                              CURRENT ROLE
11 West Jefferson St.
                                     > Associate, Hagens Berman Sobol Shapiro LLP
Suite 1000
Phoenix, AZ 85003                    > Practice focuses on consumer, insurance, and antitrust class actions as well as appellate representation

(602) 224-2628 office
                                     RECENT SUCCESS
(602) 840-3012 fax                   > Obtained court approval of $400 million settlement to compensate Hyundai and Kia owners for
johnd@hbsslaw.com                      misstatement of EPA fuel economy ratings. Settlement payments averaged $353 for Hyundai owners
                                       and $667 for Kia owners.
PRACTICE AREAS
                                     > Obtained appellate reversal of judgment for defendant in multimillion-dollar business ownership dispute
> Consumer Protection
> Commercial Litigation              > In class action against Liberty Mutual insurance for deceptively reducing payments to accident victims
> Privacy Rights                       for the value of their totaled vehicles, defeated motion to dismiss so that all claims can proceed
> Appellate Advocacy
                                     EXPERIENCE
BAR ADMISSIONS                       > Snell & Wilmer LLP 2009-2013
> U.S. Supreme Court
                                     > American Inns of Court Pegasus Scholar 2012: study of commercial, media, and privacy law with
> U.S. Court of Appeals, Ninth
                                       barristers and judges in the U.K.
  Circuit
> U.S. Court of Appeals, Tenth       > U.S. District Court for the District of Arizona, Law Clerk to the Hon. Neil V. Wake 2008-2009
  Circuit                            > U.S. Court of Appeals for the Ninth Circuit, Law Clerk to the Hon. William C. Canby, Jr. 2007-2008
> U.S. District Court, District of
  Arizona                            RECOGNITION
> Supreme Court of Arizona           > Super Lawyers, Rising Star: Class Action/Mass Tort 2015 - 2017
                                     > Arizona Foundation for Legal Services & Education, Top Pro Bono Attorneys in Arizona Award 2013
EDUCATION
> University of Arizona Law          NOTABLE CASES
  School, J.D., Senior Managing
  Editor, Arizona Law Review
                                     > In re Pre-Filled Propane Tank Antitrust Litigation
> Harvard University, B.A.,          > In re Hyundai & Kia Fuel Economy Litigation
  Classics                           > Jim Brown v. Electronic Arts Inc.
                                     > In re NCAA Student-Athlete Name and Likeness Licensing Litigation
                                     > Antonick v. Electronic Arts Inc.
                                     > In re Swift Transportation Co., Inc.
                                     > Represented an international human rights organization as amicus curiae in the U.S. Supreme Court
                                       case Moloney v. United States, opposing the enforcement of a foreign law enforcement subpoena for
                                       confidential academic research in the U.S. (pro bono)
                                     > Olberg v. Allstate Insurance Co.




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  153 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3672




                     ASSOCIATE

                     John DeStefano
                     > Lundquist v. First National Insurance Company of America
                     > Gunn v. Continental Casualty Co.

                     LEGAL ACTIVITIES
                     > American Association for Justice
                     > Program Chair (current), Treasurer (past), Lorna Lockwood American Inn of Court
                     > Volunteer Lawyers Program of Arizona

                     PERSONAL INSIGHT
                     When John’s great-grandfather came from Italy to Boston, he lost his life savings to a man he met named
                     Charles Ponzi. A century later, John takes special pride in protecting the public against broad-based
                     frauds and swindles and the corruption of honest enterprise.




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  154 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3673




                                    ASSOCIATE

                                    Rachel E. Fitzpatrick
                                    Ms. Fitzpatrick was a member of the trial team responsible for a $5.25
                                    million dollar jury verdict on behalf of an Ohio plaintiff who was badly
                                    burned while trying to rescue her paraplegic son.


CONTACT                             CURRENT ROLE
11 West Jefferson St.
                                    > Associate, Hagens Berman Sobol Shapiro LLP
Suite 1000
Phoenix, AZ 85003                   > Practice focuses on complex civil litigation and nationwide class actions, including consumer fraud and
                                      mass tort
(602) 224-2636 office               > Ms. Fitzpatrick worked on behalf of student-athlete plaintiffs in the highly publicized cases Keller v.
(602) 840-3012 fax
                                      Electronic Arts and In re NCAA Student-Athlete Name and Likeness Licensing Litigation. The cases allege that
rachelf@hbsslaw.com
                                      video game manufacturer Electronic Arts, the National Collegiate Athletic Association and the Collegiate
                                      Licensing Company violated state right of publicity laws and the NCAA’s contractual agreements with
YEARS OF EXPERIENCE
>8                                    student-athletes by using the names, images and likenesses of the student athletes in EA’s NCAA-
                                      themed football and basketball video games.
PRACTICE AREAS                      RECENT SUCCESS
> Complex Civil Litigation          > In March 2012, Ms. Fitzpatrick was a member of the trial team responsible for a $5.25 million dollar jury
> Consumer Fraud
                                      verdict on behalf of an Ohio plaintiff who was badly burned while trying to rescue her paraplegic son
> Mass Tort
                                      from his burning home. The verdict is believed to be the largest in Columbiana County, Ohio history.
BAR ADMISSIONS                      NOTABLE CASES
> Arizona
                                    > Keller v. Electronic Arts Inc., U.S. Court of Appeals, Ninth Circuit, Case No. 10-15387
EDUCATION                           > In re: NCAA Student-Athlete Name and Likeness Licensing Litigation, U.S. District Court, ND Cal., Case No.
> Arizona State University, B.S.,     3:09-CV-01967-CW
  magna cum laude, 2007
                                    > Antonick v. Electronic Arts, Inc., U.S. District Court, ND Cal., Case No. 3:11-CV-01543-CRB
> Arizona State University
  Sandra Day O’Connor College       PERSONAL INSIGHT
  of Law, J.D., 2011
                                    Ms. Fitzpatrick spent three years as a professional NFL cheerleader for the Arizona Cardinals and traveled
                                    with the squad to Iraq, Kuwait and the United Arab Emirates to perform for troops stationed overseas.




www.hbsslaw.com                                                                                                                                139
 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  155 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3674




                                   ASSOCIATE

                                   Anthea D. Grivas

                                   Working on behalf of consumers, continuing a long-standing dedication to
                                   public interest legal advocacy.



CONTACT                            CURRENT ROLE
1301 Second Avenue
                                   > Associate, Hagens Berman Sobol Shapiro LLP
Suite 2000
Seattle, WA 98101                  > Significant complex multi-party litigation experience with an emphasis on anti-trust price-fixing, product
                                     liability and nationwide class action cases on behalf of consumers. Ms. Grivas develops successful
(206) 268-9307 office                litigation theories and strategies, drafts legal motions and handles all aspects of large-scale multi-firm
(206) 623-0594 fax                   case discovery.
antheag@hbsslaw.com
                                   > Ms. Grivas’ contributions to the firm have included:
YEARS OF EXPERIENCE                  - Member of In re Automotive Parts Antitrust Litigation team
> 18                                 - Drafted interrogatories and discovery motions, managed multi-firm review and oversaw in-house
                                       deposition preparation in In re Toyota Motor Corp. Sudden, Unintended Acceleration matter
PRACTICE AREAS
                                     - Extensive discovery work in an anti-trust case brought against several of the world’s largest
> Consumer Protection
                                       manufacturers of TFT-LCD products
> Anti-Trust
> Civil and Human Rights             - Part of team working on class-action litigation brought by collegiate student athletes who suffered
                                       concussions/traumatic brain injuries
BAR ADMISSIONS                       - Litigation against a large, publicly traded medical waste disposal company on behalf of small
> Washington                           businesses

EDUCATION
                                     - Nationwide class-action cases brought by homeowners with catastrophic property damage claims
> University of Washington             against makers of water connectors
  School of Law, J.D., 2001          - Litigation involving the world’s largest fruit and vegetable company, claiming it misled consumers
> University of Washington, B.A.       about its environmental record
  Political Science, 1995
                                   RECENT SUCCESS
                                   > NCAA Concussions – part of HB legal team whose efforts resulted in settlement providing medical-
                                     monitoring program for current and former student-athletes, sweeping changes to the NCAA’s approach
                                     to concussion treatment and prevention, and a $5 million concussion research fund.
                                   > In re Toyota Motor Corp. Sudden, Unintended Acceleration – part of HB legal team that obtained record
                                     settlement on behalf of auto purchasers.
                                   > In re TFT-LCD (Flat Panel) Antitrust Litigation – part of HB legal team that obtained settlement on behalf of
                                     TFT-LCD product purchasers.
                                   > Trabakoolas v. Watts Water Technologies, Inc. – part of HB legal team that obtained settlement on behalf of
                                     customers.
                                   > Dole Bananas – part of HB legal team whose efforts resulted in settlement on behalf of local
                                     communities in Guatemala.




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  156 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3675




                     ASSOCIATE

                     Anthea D. Grivas
                     RECOGNITION
                     > Ms. Grivas has been recognized by the University of Washington’s law school for her commitment to
                       advocacy on behalf of the public interest, and was awarded the university’s annual dean’s list award for
                       high scholarship.
                     > Public Justice recognized the In re Toyota Motor Corp. Sudden, Unintended Acceleration team for its work
                       on behalf of auto consumers.

                     EXPERIENCE
                     > Ms. Grivas has a long-standing dedication to legal advocacy on behalf of traditionally underrepresented
                       groups. She is a former co-chair of an organization that helps prepare Violence Against Women Act
                       self-petitions on behalf of survivors of domestic violence, has represented refugees with disabilities in
                       INS administrative proceedings, worked as an advocate for families receiving Temporary Assistance for
                       Needy Families benefits, and has visited womens’ shelters to conduct public assistance trainings.
                     > As a summer law clerk, Ms. Grivas worked on Arc of Washington vs. Quasim, a significant case
                       brought on behalf of individuals with developmental disabilities. She was tasked with researching
                       and constructing a legal argument against the state of Washington’s claim of deliberative process
                       privilege, and her work helped expose a state audit report containing what the Seattle Post-Intelligencer
                       described as “damning revelations” regarding the state’s limited oversight of services for disabled
                       individuals.
                     > Ms. Grivas also has a strong technical background, incorporating over a decade of electronic discovery
                       institutional knowledge, and has seven years of experience in litigation impacting the software industry,
                       including work in the compliance phase of US v. Microsoft.

                     LEGAL ACTIVITIES
                     > Northwest Immigrant Rights Project
                     > Solid Ground/Fremont Public Association
                     > Public Interest Law Association
                     > Women’s Law Caucus
                     > Immigrant Families Advocacy Project
                     > American Civil Liberties Union of Washington
                     > KCBA Neighborhood Legal Clinics program

                     PUBLICATIONS
                     > Author, “An Unreal Dream: The Impact of DNA Technology on the American Criminal Justice System,”
                      (DeNovo, XVI.IV, 2002)

                     NOTABLE CASES
                     > Toyota Motor Corp. Sudden, Unintended Acceleration
                     > In re TFT-LCD flat panel litigation
                     > NCAA Concussions

                     PERSONAL INSIGHT
                     Ms. Grivas is a lifelong musician who has performed at the Northwest Folklife Festival, Northwest
                     Orchestra Festival, the Nippon Kan theater and as principal violinist and concertmaster with a local
                     symphony orchestra.



www.hbsslaw.com                                                                                                             141
 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  157 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3676




                                  ASSOCIATE

                                  Ben Harrington
                                  Ben focuses on challenging fraudulent business practices and enforcing
                                  antitrust laws, drawing from his extensive experience representing both
                                  plaintiffs and defendants at all stages of litigation.


CONTACT                           CURRENT ROLE
715 Hearst Ave.
                                  > Associate, Hagens Berman Sobol Shapiro LLP
Suite 202
Berkeley, CA 94710                EXPERIENCE
                                  > Prior to joining Hagens Berman, Ben worked as a litigation associate in the New York office of Quinn
(510) 725-3000 office
                                    Emanuel Urquhart & Sullivan LLP
(510) 725-3001 fax
benh@hbsslaw.com                  PERSONAL INSIGHT
                                  If Ben is not working you will probably find him chasing after his young daughter, noodling on a guitar or
YEARS OF EXPERIENCE
                                  tending to his ever-growing stable of bicycles.
> 12


INDUSTRY EXPERIENCE
> Antitrust Litigation
> Consumer Rights
> Pharmaceutical Fraud

BAR ADMISSIONS
> California
> New York

COURT ADMISSIONS
> U.S. District Court for the
  Southern District of New York
> U.S. District Court for the
  Eastern District of New York

CLERKSHIPS
> Honorable Nina Gershon,
  U.S. District Court for the
  Eastern District of New York,
  2014-2016
> Honorable Harris Hartz,
  U.S. Court of Appeals, Tenth
  Circuit, 2008-2009

EDUCATION
> University of California,
  Hastings College of the Law,
  J.D., summa cum laude, 2008
> The Evergreen State College,
  B.A., 2001




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  158 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3677




                                   ASSOCIATE

                                   Kristie A. LaSalle

                                   Ms. LaSalle graduated magna cum laude from Brooklyn Law School in 2012.



CONTACT                            CURRENT ROLE
55 Cambridge Parkway
                                   > Associate, Hagens Berman Sobol Shapiro LLP
Suite 301
Cambridge, MA 02142                > Practice focuses on nationwide class-action litigation against pharmaceutical companies that violate
                                     antitrust, consumer protection and anti-fraud laws.
(617) 475-1951 office
(617) 482-3003 fax                 EXPERIENCE
kristiel@hbsslaw.com               > After law school, Ms. LaSalle served for two years as a law clerk in the Staff Attorney’s Office for
                                     the U.S. Court of Appeals for the Second Circuit, where she handled motions practice and appeals of
YEARS OF EXPERIENCE                  complex class-action litigation.
>7                                 > Prior to law school, Ms. LaSalle worked as a paralegal at a large Philadelphia law firm as a member of
                                     the legal team defending a pharmaceutical fraud class action.
PRACTICE AREAS
> Antitrust Litigation             RECOGNITION
> Pharmaceutical Fraud             > Order of the Barristers

CLERKSHIPS
                                   > Scholarly Journal Writing Award
> Law Clerk, Staff Attorney’s      > John P. O’Boyle Memorial Endowed Scholarship, Carswell Scholarship, Dean’s Merit Scholarship,
  Office for the U.S. Court of       Centennial Grant
  Appeals for the Second Circuit
                                   PUBLICATIONS
BAR ADMISSIONS                     > Author, “The Other 99% of the Expressive Conduct Doctrine: the Occupy Wall Street Movement and
> Massachusetts                      the Importance of Recognizing the Contribution of Conduct to Speech,” 18 Tex. J. on Civ. Rights & Civ.
> New York
                                     Liberties 1 (2013)
COURT ADMISSIONS                   > Author, “A Prescription for Change: Citizens United’s Implications for Regulation of Off-Label Promotion
> U.S. Supreme Court                 of Prescription Pharmaceuticals,” 19 J.L. Pol’y 867 (2011)
> U.S. Court of Appeals,           > Kristie LaSalle & Kristen Johnson, The Misapplication of the Presumption of Patent Validity, 33 Antitrust
  First Circuit                      Health Care Chronicle 11 (2018)
> U.S. Court of Appeals,
  Third Circuit                    PERSONAL INSIGHT
> U.S. Tax Court
                                   Kristie is the unexpected combination of a performing improviser, competitive weightlifter and Ravenclaw.
> U.S. District Court for the
  District of Massachusetts

EDUCATION
> Brooklyn Law School, JD,
  magna cum laude, 2012
> Swarthmore College, BA 2006




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  159 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3678




                                    ASSOCIATE

                                    Jessica R. MacAuley
                                    Ms. MacAuley was a fundamental part of the In re: Celebrex Antitrust
                                    Litigation trial team, which resulted in a $94 million settlement.




CONTACT                             CURRENT ROLE
55 Cambridge Parkway
                                    > Associate, Hagens Berman Sobol Shapiro LLP
Suite 301
Cambridge, MA 02142                 > Practice focuses on nationwide antitrust class actions and consumer fraud
                                    > Member of the HBSS team of attorneys litigating on behalf of direct purchasers in In re: Restasis
(617) 475-1967 office                 Antitrust Litigation. Ms. MacAuley directed day-to-day efforts for HBSS and was the leader of a team
(617) 482-3003 fax
                                      of attorneys investigating allegations related to the defendant’s (Allergan) filing of sham citizen petition.
jessicam@hbsslaw.com
                                      Papers have recently been filed with the court for the approval of a proposed $51.25 million settlement.
YEARS OF EXPERIENCE                 > Leading team of attorneys investigating privilege claims made by defendants in the In re Glumetza
>7                                    Antitrust Litigation.
                                    > Integral part of a trial team for class of direct purchasers in the In re: Celebrex Antitrust Litigation, which
PRACTICE AREAS                        settled before trial for $94 million.
> Antitrust Litigation
                                    > Counsel in the In re: Suboxone Antitrust Litigation and the In re: Niaspan Antitrust Litigation. Tasked
> Consumer Rights
                                      with overseeing the litigation for the HBSS office.
> Pharmaceutical Fraud
                                    > Instrumental in reaching a $98 million settlement for direct purchasers of the immunosuppressant,
BAR ADMISSIONS                        Prograf.
> Massachusetts                     > Oversaw discovery efforts, including managing meet and confers with defendants and directing factual
> District Court of
                                      issues for depositions, on behalf of direct purchasers In re: Solodyn Antitrust Litigation, a multi-district
  Massachusetts
                                      litigation challenging anticompetitive conduct by pharmaceutical drug makers that settled pre-trial with
> Second Circuit Court of
  Appeals                             four defendants totaling over $76 million.

                                    EXPERIENCE
EDUCATION
> Northeastern University, B.A.,    > During law school Ms. MacAuley was a certified legal intern for the Rural Economic Development Clinic,
  cum laude, 2005                     advising clients on Marcellus shale exploration land rights, FDA regulations for artisanal cheese makers
> The Pennsylvania State              and formation of corporate entities for dairy farmers.
  University, Dickinson School of   RECOGNITION
  Law, J.D., 2012
                                    > “Rising Star,” Massachusetts Super Lawyers Magazine, 2015 - 2019

                                    NOTABLE CASES
                                    > In re: Prograf Antitrust Litigation
                                    > In re: Solodyn Antitrust Litigation
                                    > In re: Celebrex Antitrust Litigation
                                    > In re: Restasis Antitrust Litigation

                                    PERSONAL INSIGHT
                                    Jessica has long been active in social justice movements, starting in kindergarten when she led an
                                    unsuccessful boycott of Columbus Day.




www.hbsslaw.com                                                                                                                                  144
 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  160 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3679




                                    ASSOCIATE

                                    Abbye Klamann Ognibene
                                    Ms. Ognibene believes in taking on corporations in the fight for plaintiffs’ rights,
                                    including the right to online privacy and to fair pricing in medical care and
                                    consumer goods.


CONTACT                             CURRENT ROLE
55 Cambridge Parkway
                                    > Associate, Hagens Berman Sobol Shapiro LLP
Suite 301
Cambridge, MA 02142                 EXPERIENCE
                                    > Prior to joining Hagens Berman, Ms. Ognibene was an associate at Pierce Bainbridge Beck Price &
(617) 482-3700 office
                                      Hecht, where she helped launch a class-action practice group litigating digital privacy, consumer rights
(617) 482-3003 fax
rochellad@hbsslaw.com
                                      and antitrust cases. She also worked on cutting edge class-action litigation at Lieff Cabraser Heimann &
                                      Bernstein, focusing on digital privacy and antitrust cases.
YEARS OF EXPERIENCE                 > While in law school, Abbye worked for more than two years as a law clerk to the legal team of DeBoer
>3                                    v. Snyder, consolidated sub nom. Obergefell v. Hodges, which guaranteed the nationwide right to marry
                                      for same-sex couples.
PRACTICE AREAS
> Antitrust Litigation              LEGAL ACTIVITIES
> Class Actions
                                    > Member, American Association for Justice
> Consumer Rights
                                    RECOGNITION
CLERKSHIPS
> Supreme Court of the United       > Robert A. Fuchs Memorial Prize in Labor Law, 2016
  States Virgin Islands
                                    PERSONAL INSIGHT
BAR ADMISSIONS                      Before attending law school, Abbye worked in radio journalism in her home state of Missouri. She spends
> California                        her time outside of the office with her two large rescue dogs, preferably with a glass of Vermont whiskey
> District of Columbia              in one hand and a good book in the other.
> New York

COURT ADMISSIONS
> U.S. District Court for the
  Northern District of California
> U.S. District Court for the
  Central District of California
> U.S. Court of Appeals, Ninth
  Circuit

EDUCATION
> University of Michigan, J.D.,
  cum laude, 2016
> University of Missouri
  Columbia, B.J., cum laude,
  2011




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  161 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3680




                                    ASSOCIATE

                                    Rio Pierce

                                    A magna cum laude graduate of Harvard Law School, Rio focuses his
                                    practice on ensuring fair and free markets for the benefit of consumers.



CONTACT                             CURRENT ROLE
715 Hearst Ave.
                                    > Associate, Hagens Berman Sobol Shapiro LLP
Suite 202
Berkeley, CA 94710                  RECENT SUCCESS

(510) 725-3000 office
                                    > Achieved favorable settlements for group of 80 tenants in tort suit against landlords for slum housing
(510) 725-3001 fax                    conditions.
riop@hbsslaw.com
                                    RECOGNITION
YEARS OF EXPERIENCE                 > Chayes Fellow, National Prosecuting Authority in Cape Town, South Africa
>6
                                    > Teaching Fellow, Copyright EdX

PRACTICE AREAS                      EXPERIENCE
> Consumer Protection
                                    > Prior to joining Hagens Berman, Mr. Pierce worked as an associate for two years at Munger, Tolles &
> Intellectual Property
                                      Olson, where he gained significant experience in class action and complex commercial litigation. Mr.
BAR ADMISSIONS
                                      Pierce also did extensive pro bono work on immigration matters.
> California                        > Law Clerk, U.S. Court of Appeals for the Ninth Circuit, Judge Jerome Farris, 2013-2014
                                    > Associate, Munger Tolles & Olson, 2014-2016
COURT ADMISSIONS
> U.S. District Court for the
                                    LEGAL ACTIVITIES
  Central District of California
> U.S. District Court for the       > American Association for Justice
  Northern District of California
> U.S. District Court for the       PUBLICATIONS
  Southern District of California   > “A Heavy Hand or A Light Touch: What Force Will California’s Anti-SLAPP Statute Have After Baral v.
                                      Schnitt?” California Litigation Review, 2015
CLERKSHIPS:
> Honorable Jerome Farris of        PERSONAL INSIGHT
  the U.S. Court of Appeals for
                                    A proud California native, Rio loves exploring the whole state, especially Big Sur. Prior to law school, Rio
  the Ninth Circuit, 2013 - 2014
                                    worked at Miramax for several years and still loves a good indie film. In his free time, Rio enjoys making
EDUCATION                           pies.
> Harvard Law School, magna
  cum laude, 2013
> Duke University, magna cum
  laude, 2005




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  162 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3681




                                  ASSOCIATE

                                  Christopher R. Pitoun
                                  Christopher R. Pitoun has focused on consumer litigation since graduating
                                  from law school and has gained broad experience representing individuals,
                                  municipalities and small businesses in all forms of complex litigation.


CONTACT                           CURRENT ROLE
301 North Lake Ave.
                                  > Associate, Hagens Berman Sobol Shapiro LLP
Suite 920
Pasadena, CA 91101                > Practice focuses on class actions and other complex litigation

(213) 330-7148 office
                                  EXPERIENCE
(213) 330-7152 fax                > Associate, Girardi Keese, 2011-2014, where he gained extensive experience representing plaintiffs in
chrisp@hbsslaw.com                  business litigation involving copyright and trademark disputes, breach of contract claims and breach
                                    of fiduciary duty claims. He also worked on a number of nationwide class actions involving products
YEARS OF EXPERIENCE                 liability matters in the pharmaceutical and construction industries.
>9
                                  > Office of the Attorney General of California, Business and Tax Division, Winter 2010

PRACTICE AREAS                    LEGAL ACTIVITIES
> Consumer Protection
                                  > Federal Bar Association
> Intellectual Property
                                  > American Association For Justice (AAJ)
BAR ADMISSIONS                    > Consumer Attorneys Association of Los Angeles (CAALA)
> California
> U.S. District Court, Central    NOTABLE CASES
  District of California          > Ford F-150 & Ranger Fuel Economy and Sales Practices Litigation
> U.S. District Court, Northern   > Sake House Restaurants Racial Discrimination Litigation
  District of California          > Fiat Chrysler Gear Shifter Rollaway, Litigation
> U.S. District Court, Southern   > Countrywide Financial, et al. Pretextual Appraisal Litigation
  District of California          > EZconn Corp., Litigation
> U.S. District Court, Eastern    > Students v. USC and Dr. Tyndall
  District of California
                                  PERSONAL INSIGHT
EDUCATION
> Loyola Law School, Los          > Prior to attending law school, Chris taught English and French to high school students in China.
  Angeles, J.D. 2011, Note and    > Chris later decided to become a lawyer while marketing the film “Michael Clayton.”
  Comment Editor, Loyola of
  Los Angeles Entertainment
  Law Review
> University of Chicago, M.A.
  2005
> University of Michigan, B.A.,
  with High Honors, 2004
> London School of Economics,
  General Course, 2003




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  163 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3682




                                    ASSOCIATE

                                    Benjamin J. Siegel
                                    Mr. Siegel is an experienced litigator with a focus on antitrust law who has
                                    represented clients in state and federal courts, on appeals, as well as before
                                    arbitrators and governmental agencies, and has achieved significant settlements.


CONTACT                             CURRENT ROLE
715 Hearst Ave.
Suite 202                           > Associate, Hagens Berman Sobol Shapiro LLP
Berkeley, CA 94710
                                    EXPERIENCE
(510) 725-3033 office               > Following his work at Boies, Schiller & Flexner LLP in 2008-2009, Mr. Siegel has litigated cases on
(510) 725-3001 fax                    behalf of plaintiffs for the past seven years.
bens@hbsslaw.com
                                    LEGAL ACTIVITIES
YEARS OF EXPERIENCE
> 12                                > Alameda County Bar Association

PRACTICE AREAS
                                    RECENT CASES
> Antitrust Litigation              > In re Optical Disk Drive Prods. Antitrust Litigation, No. 3:10-md-2143-RS (N.D. Cal.)
                                    > In re NCAA Grant-In-Aid Antitrust Litigation, 4:14-md-02541-CW (N.D. Cal.)
BAR ADMISSIONS
> California                        > In re Resistors Antitrust Litigation, 5:15-cv-03820-JD (N.D. Cal.)

COURT ADMISSIONS
                                    PUBLICATIONS
> U.S. District Court for the       > Benjamin Siegel, Constitutional Rights and the Counter-Majoritarian Dilemma (May 15, 2007)
  Northern District of California     (unpublished Master’s thesis, University of Texas at Austin).
> U.S. District Court for the
  Eastern District of California    > Benjamin Siegel, Note, Applying a “Maturity Factor” Without Compromising the Goals of the Class Action,
> U.S. Court of Appeals               85 Texas L. Rev. 741 (2007) (Texas Law Review Best Litigation Note, Volume 85).
> Ninth Circuit
                                    > Benjamin Siegel et al., Beyond the Numbers: Improving Postsecondary Success through a Central Texas
CLERKSHIPS
                                      High School Data Center, LBJ School of Public Affairs, Policy Research Report No. 148 (2005).
> Hon. Thomas M. Reavley, U.S.      > Benjamin Siegel, California Must Protect Health Care for Medi-Cal Children, 15 Youth L. News 1 (2004),
  Court of Appeals for the Fifth      available at http://www.youthlaw.org.
  Circuit
                                    > Jenny Brodsky, Jack Habib & Benjamin Siegel, Lessons for Long-Term Care Policy, World Health
EDUCATION                             Organization, Publication No: WHO/NMH7CCL/02.1 (2002).
> The University of Texas School
                                    > Jenny Brodsky, Jack Habib, Miriam Hirschfeld & Benjamin Siegel, Care of the Frail Elderly in Developed
  of Law, The University of
  Texas LBJ School of Public          and Developing Countries: the Experience and the Challenges, 14 Aging Clinical & Experimental
  Affairs, J.D., M.P.A., Order of     Research 279 (2002).
  the Coif, High Honors, 2007
> Articles Editor, Texas Law
                                    PERSONAL INSIGHT
  Review; Texas Law Review          When not working to enforce the nation’s antitrust laws, Mr. Siegel enjoys spending time with his wife
  Best Litigation Note, Volume      and two young children in his hometown of Oakland, California. He also likes playing softball and pick-up
  85; Texas Law Public Interest
                                    basketball with his friends.
  Fellowship; LBJ Foundation
  Award, First in Class
> Yale University, B.A. Political
  Science, cum laude, Phi Beta
  Kappa, 2000




www.hbsslaw.com                                                                                                                             148
 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  164 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3683




                                      ASSOCIATE

                                      Whitney K. Siehl

                                      Ms. Siehl works tirelessly and has achieved millions of dollars in settlements for
                                      her clients. Her passion and empathy is unmatched.



CONTACT                               CURRENT ROLE
455 N. Cityfront Plaza Drive
                                      > Associate, Hagens Berman Sobol Shapiro LLP
Suite 2410
Chicago, IL 60611                     > Ms. Siehl’s Plaintiffs’ litigation practice focuses on complex class-action and individual cases in the
                                        areas of sexual abuse, sexual harassment, and sports law
(708) 628-4963 office                 > Represents an actress and entertainment industry class against The Weinstein Company, Harvey
(708) 628-4950 fax
                                        Weinstein and related companies for racketeering and sexual assault
whitneyk@hbsslaw.com
                                      > Represents students and alumnae of the University of Southern California in a class-action lawsuit
YEARS OF EXPERIENCE                     against the university and Dr. George Tyndall for his alleged decades-long sexual abuse of patients
>7
                                      EXPERIENCE
PRACTICE AREAS                        > Prior to joining Hagens Berman, Ms. Siehl was an associate in the Chicago office of a well-respected
> Civil & Human Rights Litigation       Plaintiffs’ firm representing families and children in birth injury and birth trauma litigation nationwide.
> Class Actions                       > She worked previously at another Chicago firm where she gained experience in all aspects of civil
> Employment Litigation                 litigation with a focus on medical malpractice and professional liability matters.
> Personal Injury Litigation
> Sexual Abuse & Harassment           RECENT SUCCESS
                                      > Ms. Siehl played a significant role in a $4 million settlement for a child who suffered severe and
BAR ADMISSIONS                          permanent brain damage due to the medical providers’ delay in recognizing a placental abruption.
> Illinois                            > Assisted in a $3.5 million settlement for a child with a hypoxic-ischemic brain injury that resulted from
                                        too much Pitocin and a physician’s failure to recognize fetal distress.
COURT ADMISSIONS
> United States District Court for    RECOGNITION
  the Northern District of Illinois   > 2020 Illinois Class Action/Mass Torts Rising Star, Super Lawyers
> United States Court of Appeals
                                      > 2019 Rising Star, Super Lawyers Magazine for Plaintiffs’ Personal Injury
  for the Seventh Circuit
> Supreme Court of the United         > 2017 Award for Excellence in Pro Bono Service from the United States District Court for the Northern
  States                                District of Illinois and the Chicago Chapter of the Federal Bar Association
                                      > 2013 Member of National Champion Team for Sutherland Cup National Constitutional Law Moot Court
CLERKSHIPS                              Competition
> Extern for Judge George C.          > CALI Award for Highest Grade in Legislation Clinic, Dispute Systems Design, and Comparative Legal
  Smith on the Southern District        Professions
  of Ohio
                                      > Named a Public Service Fellow with Dean’s Special Recognition

EDUCATION                             LEGAL ACTIVITIES
> The Ohio State University           > Women’s Bar Association of Illinois
  Moritz College of Law, J.D.,
                                         - Officer - Recording Secretary - 2019 - Present
  cum laude, 2013
                                         - Board of Directors - 2017 - Present
> Northwestern University, B.A.,
  2009
                                      > American Association for Justice Birth Trauma Litigation Group, Member
                                      > Illinois Trial Lawyers Association, Member
                                         - ITLA Women’s Caucus, Member

www.hbsslaw.com                                                                                                                                   149
 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  165 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3684




                     ASSOCIATE

                     Whitney K. Siehl
                     ACTIVITIES
                     > Professional Board Member, PAWS Chicago – the Midwest’s largest no-kill animal shelter

                     PRO BONO
                     > In 2017, Ms. Siehl received an Award for Excellence in Pro Bono Service from the United States District
                     Court for the Northern District of Illinois and the Chicago Chapter of the Federal Bar Association for her
                     dedication to representing underserved individuals in employment discrimination matters.

                     PUBLICATIONS
                     > #Us Too: Gender Inequality in the Legal Profession, American Association for Justice, Birth Trauma
                       Litigation Group Newsletter, Lead Article, February 2018.

                     PERSONAL INSIGHT
                     Whitney is an avid golfer and chairs the annual golf outing for the Women’s Bar Association of Illinois. At
                     Northwestern, she was a member of the women’s golf team. She was previously a member of the Miami
                     University cross country and track teams, where the cross country team was selected as NCAA Academic
                     All-Americans. As a four-sport athlete, Whitney was recently inducted into the Port Clinton High School
                     Athletic Hall of Fame.
                     She enjoys epic feats of endurance and serves as a pace group leader for Chicago Marathon training.
                     To date, she has completed 10 marathons, a half Iron distance triathlon, and numerous short course
                     triathlons. She recently completed the 2019 Escape from Alcatraz Triathlon in San Francisco.




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  166 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3685




                                 ASSOCIATE

                                 Emilee Sisco
                                 Ms. Sisco practices in the areas of sports litigation, antitrust and consumer
                                 protection. As a former Division I athlete, she has worked on the firm’s cases
                                 against the NCAA, furthering the rights of college-athletes across the nation.


CONTACT                          CURRENT ROLE
1301 Second Avenue
                                 > Associate, Hagens Berman Sobol Shapiro LLP
Suite 2000
Seattle, WA 98101
                                 EXPERIENCE
(206) 623-7292 office
(206) 623-0594 fax
                                 > Law Clerk for Washington State Office of the Attorney General – Antitrust Division
emilees@hbsslaw.com
                                 LEGAL ACTIVITIES
YEARS OF EXPERIENCE              > During 2L and 3L years in law school, Ms. Sisco was a fulltime volunteer intern for the WSBA Moderate
>4
                                   Means Program. She volunteered more than 250 hours of pro bono service during law school.

PRACTICE AREAS                   RECOGNITION
> Antitrust Litigation
                                 > Honoree for Outstanding Antitrust Litigation Achievement in Private Law Practice, American Antitrust
> Consumer Rights
                                   Institute, 2019
> Sports Litigation

                                 RECENT CASES
BAR ADMISSIONS
> Washington                     > Namoff v. Fleishman & Shapiro, P.C. et al
                                 > In re: National Prescription Opiate Litigation
COURT ADMISSIONS                 > In re: NCAA Athletic Grant-In-Aid Cap Antitrust Litigation
> U.S. District Court, Western   > In re: General Motors LLC Ignition Switch Litigation
  District of Washington

                                 LANGUAGES
EDUCATION
                                 > Latin
> Seattle University School of
  Law, J.D.
                                 PERSONAL INSIGHT
> University of Oregon, B.A.
                                 Ms. Sisco was a Division I volleyball athlete for the University of Oregon and University of Colorado.
                                 She was a member of the U.S. Women’s Volleyball A3 team and was also a three-sport varsity
                                 athlete throughout high school, earning top 10 state finishes in two events at the WIAA Track & Field
                                 Championship.




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  167 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3686




                                    ASSOCIATE

                                    Danielle Smith

                                    Ms. Charles is an investor and consumer rights attorney with a background
                                    in litigation and public entities.



CONTACT                             CURRENT ROLE
715 Hearst Ave.
                                    > Associate, Hagens Berman Sobol Shapiro
Suite 202
Berkeley, CA 94710                  RECENT CASES

(510) 725-3038 office
                                    > BlackRock iShares ETF August 24, 2015 Flash Crash Litigation
(510) 725-3001 fax                  > Colman et al. v. Theranos, Inc., et al., Case Number: 5:16-cv-06822
daniellec@hbsslaw.com
                                    ACTIVITIES
YEARS OF EXPERIENCE                 > Oakland NAACP – Legal Redress Chair
>8
                                    > Board Member, Conservatory of Vocal and Instrumental Arts, Oakland, CA
BAR ADMISSIONS
                                    LEGAL ACTIVITIES
> California
                                    > Member, Alameda County Bar Association
PRACTICE AREAS
                                    PRESENTATIONS
> Class Actions
> Complex Civil Litigation          > California School Boards Association - Annual Workshop for California Council of School Attorneys,
> Consumer Rights                     December 2015.
> Investor Fraud
> Securities                        PERSONAL INSIGHT
                                    When she’s not working tirelessly to protect her clients’ interests, Danielle enjoys biking, movies and
COURT ADMISSIONS                    action/RPG gaming.
> U.S. District Court for the
  Northern District of California
> U.S. District Court for the
  Southern District of California

EDUCATION
> Harvard Law School, J.D.,
  2012
> Columbia University, B.A.,
  2009




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  168 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3687




                                    ASSOCIATE

                                    Shelby R. Smith

                                    Shelby has dedicated her career to serving
                                    vulnerable victims of violent crimes.



CONTACT                             CURRENT ROLE
1301 Second Avenue
                                    > Associate, Hagens Berman Sobol Shapiro LLP
Suite 2000
                                    > Prosecutes personal injury cases and class action cases on behalf of consumers
Seattle, WA 98101
                                    > Currently represents student-athletes in personal injury litigation pertaining to concussions/traumatic
(206) 268-9370 office                 brain injuries suffered during sporting activities
(206) 623-0594 fax                  > Currently represents victims who have suffered severe personal injuries due to their mothers ingesting
shelby@hbsslaw.com                    thalidomide during pregnancy in the late 1950’s and early 1960’s without knowing that the drug had not
                                      been approved by the FDA
YEARS OF EXPERIENCE                 > She continues to represent victims of domestic violence and sexual assault to obtain protection orders
> 18                                  so that their abusers cannot have any contact with them
                                    > Also represents crime victims who wish to keep their counseling records private during criminal
PRACTICE AREAS                        Proceedings
> Personal Injury Litigation
> Sports Concussions                NOTABLE CASES
> Social Work Negligence            > Volkswagen Emissions Defect Litigation
> Nursing Home/Adult Family         > Mercedes BlueTEC Emissions Litigation
  Home Negligence                   > GM Ignition Switch Recall
> Daycare/School Negligence         > Corvette Overheating
> Civil Rights                      > Harvey Weinstein Sexual Harassment RICO
> Privacy Rights                    > USC and Dr. George Tyndall Sexual Abuse
> Consumer Protection
                                    EXPERIENCE
BAR ADMISSIONS                      > Litigation associate, Williams Kastner, where she planned and executed a civil caseload involving
> Washington                          defense of physicians, hospitals, dentists and other healthcare providers. While at Williams Kastner,
> U.S. District Court, Western        Ms. Smith developed successful litigation strategies, handled case discoveries, secured depositions,
  District of Washington              managed trial preparation, drafted and argued legal motions, and conducted voir dire and jury trials.
                                    > Prior to working at Hagens Berman, Ms. Smith worked for 10 years at the King County Prosecuting
EDUCATION
                                      Attorney’s Office, working on cases in a diverse set of areas, including the sexual assault, violent
> Seattle University, J.D.,           crime, district court, domestic violence, felony filing and special drug units. During her 10 years as a
  Member, Public Interest Law         prosecutor, Ms. Smith tried over 100 felony jury trials. She spent five years in the Domestic Violence
  Society, 2000                       Unit and Special Assault Unit where she handled hundreds of cases involving physical and sexual abuse
> University of Washington, B.A.,
                                      of children and adults.
  cum laude, Sociology, 1996
                                    LEGAL ACTIVITIES
                                    > Consistent commitment to pro bono work and services for victims of domestic violence and sexual
                                      assault

                                    PERSONAL INSIGHT
                                    Shelby Smith was born and raised in Seattle, and graduated from Garfield High School—which also
                                    boasts Quincy Jones and Jimi Hendrix as alums. She has a passion for live music and fashion, and has
                                    never met a sport she did not enjoy competing in: while raising three daughters and practicing law, Shelby
                                    plays on competitive indoor and outdoor soccer teams, and runs at least one marathon and two half-
                                    marathons every year.

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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  169 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3688




                                   ASSOCIATE

                                   Zoran (Zoki) Tasic
                                   Zoki is an accomplished legal writer, having written extensively for all of the judges of
                                   the Seventh Circuit during his three‑year term as a judicial staff clerk. He also wrote
                                   numerous winning briefs during his time as a trial attorney with the DOJ’s Antitrust
                                   Division.


CONTACT                            CURRENT ROLE
455 N. Cityfront Plaza Drive
                                   > Associate, Hagens Berman Sobol Shapiro LLP
Suite 2410
Chicago, IL 60611                  EXPERIENCE
                                   > Trial Attorney at the U.S. Department of Justice, Antitrust Division, 2016-18
(708) 628-4960 office
(708) 628-4950 fax                 > Staff Law Clerk, U.S. Court of Appeals for the Seventh Circuit, 2013-16
zorant@hbsslaw.com                 > During law school:
                                     - Washington University Appellate Clinic, 2012-13
YEARS OF EXPERIENCE
>6
                                     - Legal Practice Teaching Assistant for Prof. Ann Davis Shields, Washington University School of Law,
                                       2012-13
BAR ADMISSIONS                       - Summer Law Clerk, American Civil Liberties Union of Eastern Missouri, Summer 2012
> Illinois                           - Consumer Unit Intern, Legal Services of Eastern Missouri, Spring 2012
                                     - St. Louis City Trial Division Intern, Legal Services of Eastern Missouri, Summer 2011
COURT ADMISSIONS
> U.S. District Court for the      PUBLICATIONS
  Northern District of Illinois    > Reforming Richard Posner: The Former Federal Judge Needs to Overhaul His Assessment of the Seventh
> U.S. Court of Appeals for the
                                     Circuit’s Staff Attorney Program and Correct the Errors in His Book (Oct. 2017), Summary
  Seventh Circuit
                                   > Note, The Speaker the Court Forgot: Re-Evaluating NLRA Section 8(b)(4)(B)’s Secondary Boycott Restrictions in
CLERKSHIPS                           Light of Citizens United and Sorrell, 90 WASH. U. L. REV. 237 (2012)
> Staff Law Clerk, U.S. Court
  of Appeals for the Seventh       PRESENTATIONS
  Circuit, 2013-16                 > How to Write Well and Influence People (Madison, Wis. Aug. 2017): Presentation on legal writing to staff
                                     attorneys of Legal Action of Wisconsin’s Elder Rights Project.
EDUCATION                          > Procedural Issues in Pro Se Litigation: Dismissal of an Indigent Pro Se’s Complaint for Non-Payment of Fees
> Washington University School       (Chicago, Ill. Mar. 2016): Presentation to all pro se law clerks employed by federal district courts within
  of Law, J.D., magna cum laude,     the Seventh Circuit.
  2013
> Washington University in         LANGUAGES
  St. Louis, B.S., Electrical
                                   > Proficient in Bosnian, Croatian, and Serbian
  Engineering, magna cum laude,
  2006 and A.B., Music, summa      PERSONAL INSIGHT
  cum laude, 2006                  Zoki enjoys photography and reading nonfiction. He recently began relearning to play the piano, an
                                   instrument he briefly studied in college.




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  170 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3689




                                   ASSOCIATE

                                   Jessica Thompson
                                   Jessica began her legal career at an AMLaw 100 firm representing Fortune-ranked
                                   corporations in antitrust, intellectual property and financial services industries. Though
                                   grateful for the intense training that those matters provided, Jessica is proud to now be
                                   working for the good guys.


CONTACT                            CURRENT ROLE
1301 Second Avenue
                                   > Associate, Hagens Berman Sobol Shapiro LLP
Suite 2000
Seattle, WA 98101                  > Practice focuses on complex consumer protection cases, primarily within the realms of automotive and
                                     emissions litigation
(206) 268-9398 office              > Ms. Thompson is currently involved in many of the firm’s high-profile auto cases, including litigation
(206) 623-0594 fax
                                     against General Motors for faulty ignition switches that are linked to more than 120 fatalities, and
jessicat@hbsslaw.com
                                     emissions-cheating cases brought against Mercedes, Fiat Chrysler and GM. She worked on the
                                     Volkswagen CleanDiesel emissions lawsuits brought on behalf of consumers and of franchise dealers.
YEARS OF EXPERIENCE
> 10                               RECENT SUCCESS
                                   > Conducting internal investigations on behalf of financial services company into compliance with
PRACTICE AREAS
                                     business conduct rules such as trade allocation and trade errors
> Commercial Litigation
> Class Actions                    > Defending mobile merchandiser against consumer class actions filed throughout the country alleging
                                     unauthorized charges to cell phone customers
BAR ADMISSIONS                     > Representing health insurance providers in a multidistrict antitrust suit consolidated in the Northern
> District of Columbia
                                     District of Alabama
> Maryland
> Washington                       > Represented chemical manufacturer in trade secret and contract case against competitor. Won
                                     temporary restraining order in Michigan state court.
EDUCATION                          > Defended international hospitality company in contract suit challenging its national sales program
> University of Baltimore School
   of Law, Baltimore, Maryland,    EXPERIENCE
   J.D. magna cum laude, 2010      > Crowell & Moring LLP, Washington, D.C., Associate, 2011 - 2014
   - Honors: Class Rank 21/333;    > Cadwalader, Wickersham & Taft LLP, Washington, D.C., Associate, 2011
     G.P.A. 3.68                   > Howrey LLP, Washington, D.C., Litigation Associate, 2010 - 2011
   - Honors: Highest Grade in      > Howrey LLP, Washington, D.C., Summer Associate, 2009
     the Class Award, Evidence
                                   > Montgomery County State’s Attorney’s Office, Rockville, MD, Student Attorney, 2010
   - Law Review: Staff Editor,
     University of Baltimore Law   ACTIVITIES
     Review
                                   > Webinar: “Garden Leaves and Other Strategies to Protect Trade Secrets When Losing Employees,”
> University of Baltimore,
                                     Crowell & Moring, March 28, 2013 - Present
  Baltimore, Maryland, B.A. cum
  laude, 2005                      > Workshop: “Don’t Sign that Yet!,” Crowell & Moring, Washington, D.C., March 5, 2013 - Present
   - Major: Community Studies
     and Civic Engagement
                                   PUBLICATIONS
                                   > “The ITC Can Play a Critical Role in Combating International Trade Secret Theft,” Intellectual Property
                                     Today, Jan. 20, 2012
                                   > Client Alerts & Newsletters:




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  171 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3690




                     ASSOCIATE

                     Jessica Thompson
                      - “Consensus Grows as Congress Continues to Refine Its Efforts to Create a Federal Civil Cause of
                         Action For Certain Trade Secret Theft,” Regulatory Alert (May 12, 2014)
                      - “Federal Trade Secret Reform Continues With Two New Attempts to Improve Protection,” Regulatory
                         Alert (July 22, 2013)
                      - “Supreme Court Rejects Attempt by Class Action Plaintiff to Plead Around Federal Court Jurisdiction,”
                         (Mar. 22, 2013)

                     PERSONAL INSIGHT
                     Jessica comes from a working-class Baltimore family. Though she has dutifully relearned the
                     pronunciation of words like water (not “wooder”) and wash (not “warsh”), she continues to inquire
                     about “dem O’s” and refuses to participate in the singing of “Shout” at the seventh-inning stretch. It’s an
                     abomination.




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  172 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3691




                                 ASSOCIATE

                                 Breanna Van Engelen

                                 Breanna advocates on behalf of consumers in complex litigation,
                                 including in antitrust cases and cases involving unfair competition.



CONTACT                          CURRENT ROLE
1301 Second Avenue
                                 > Associate, Hagens Berman Sobol Shapiro LLP
Suite 2000
Seattle, WA 98101                EXPERIENCE

(206) 623-7292 office            > Prior to joining Hagens Berman, Breanna was an associate at K&L Gates LLP in Seattle, where she
(206) 623-0594 fax                 focused on Internet and technology law. Breanna took one of the first electronic impersonation cases in
breannav@hbsslaw.com               Washington state to trial. At trial, she secured an $8.9 million dollar verdict for her clients – the largest
                                   verdict ever awarded to a non-celebrity in an electronic impersonation/invasion of privacy case.
PRACTICE ARES
> Antitrust Litigation           MEDIA INTERVIEWS
> Consumer Rights
                                 > Brooke Jarvis, How One Woman’s Digital Life Was Weaponized Against Her, WIRED (Nov. 11, 2017, 6:00 AM)
BAR ADMISSIONS
                                   (https://www.wired.com/story/how-one-womans-digital-life-was-weaponized-against-her/)
> Washington
                                 PRESENTATIONS
EDUCATION                        > “Taking the Distribution of Intimate Images to Trial,” Presentation at 9th Annual Domestic Violence
> University of Michigan Law       Symposium, Seattle, WA, Sept. 2017
  School, J.D.
> Washington State University,   PERSONAL INSIGHT
  B.A., magna cum laude          Breanna grew up in Idaho, where she learned to ski in the winter and race horses on mountain trails in
                                 the summer. Before becoming an attorney, Breanna taught at a pre-school in eastern Washington. When
                                 she’s not working, you can find Breanna on her parents’ ranch in Texas, taking care of the land and
                                 snuggling animals.




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  173 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3692




                                    ASSOCIATE

                                    Mark Vazquez
                                    During law school, Mark served as an editor for the DePaul Law Review,
                                    graduated from the top of his class, and earned the CALI Excellence for the
                                    Future Award in all five of his legal writing and trial advocacy courses.


CONTACT                             CURRENT ROLE
455 N. Cityfront Plaza Drive
                                    > Associate, Hagens Berman Sobol Shapiro LLP
Suite 2410
Chicago, IL 60611                   EXPERIENCE

(708) 628-4962 office               > Mark comes to Hagens Berman with a variety of clerkship experience, having clerked for both Judge
(708) 628-4950 fax                    John Z. Lee at the federal trial level and Justice Jesse G. Reyes at the state appellate level.
markv@hbsslaw.com
                                    > During law school, Mark served as an editor for the DePaul Law Review, graduated from the top of
YEARS OF EXPERIENCE                   his class, and earned the CALI Excellence for the Future Award in all five of his legal writing and trial
>7
                                      advocacy courses.
BAR ADMISSIONS                      PUBLICATIONS
> Illinois
                                    > People v. Kladis and the Illinois Courts’ Treatment of Evidence Spoliation by Law Enforcement, Illinois State
CLERKSHIPS                            Bar Association Criminal Justice Newsletter, Vol. 56, No. 1 (August 2012)
> Hon. John Z. Lee, Northern
  District of Illinois              PERSONAL INSIGHT
> Hon. Jesse G. Reyes, Illinois
  Appellate Court, First District   An avid musician, Mark has been playing bass and guitar for various rock, blues, jazz, and country acts
                                    since he was in grade school. You can frequently hear him alongside his father at bar association events
EDUCATION                           throughout Chicago—that is, should you be able to hear anything in a crowded room full of lawyers.
> DePaul University College of
  Law, J.D., summa cum laude,
  2012
> Editor, DePaul Law Review
> University of Chicago, B.A.,
  2006




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  174 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3693




                                     ASSOCIATE

                                     Bradley J. Vettraino
                                     Mr. Vettraino is committed to challenging corporate misconduct and has
                                     represented institutional and individual plaintiffs in numerous complex
                                     class actions across the country.


CONTACT                              CURRENT ROLE
55 Cambridge Parkway
                                     > Associate, Hagens Berman Sobol Shapiro LLP
Suite 301
Cambridge, MA 02142                  > Practice focuses on pharmaceutical antitrust litigation and prosecuting other healthcare-related fraud
                                     > Responsible for day-to-day management for HBSS of In re Zetia (ezetimibe) Antitrust Litigation,
(617) 482-3700 office                  MDL No. 2836 (E.D. Va.), a federal antitrust suit against Merck & Co and Glenmark Pharmaceuticals
(617) 482-3003 fax
                                       alleging the two unlawfully agreed to delay access to generic ezetimibe for years, resulting in billions in
bradleyv@hbsslaw.com
                                       overcharges to purchasers
YEARS OF EXPERIENCE                  > Instrumental in overcoming motions to compel arbitration against class representatives in multiple cases
>6
                                     EXPERIENCE
BAR ADMISSIONS                       > Associate at a nationwide class-action firm, where he prosecuted numerous securities, merger and
> Illinois                             acquisition, and consumer class actions on behalf of both individuals and large public pension funds
> Massachusetts                      > After graduating from Washington University in St. Louis School of Law in 2013, Mr. Vettraino worked
> Missouri                             for two preeminent toxic tort and products liability firms representing individuals harmed by corporate
                                       negligence and greed.
COURT ADMISSIONS
> U.S. District Court, District of   PERSONAL INSIGHT
  Massachusetts                      Mr. Vettraino grew up in Colorado, where he became the first in his family to graduate from college. After
> U.S. District Court, Southern      achieving his law degree, Mr. Vettraino became a plaintiff’s attorney. He has spent his entire career as a
  District of Illinois
                                     lawyer representing individuals and organizations wronged by corporate greed.
EDUCATION
> Washington University in St.
  Louis School of Law, J.D.,
  2013
 > Metropolitan State University
  of Denver, B.A., 2009




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 Case 8:17-cv-00838-JLS-JDE Document 139-2 Filed 09/30/20 HPage  175 of 175 Page ID
                                                           AGENS BERMAN SOBOL SHAPIRO LLP
                                     #:3694




                                    ASSOCIATE

                                    Ted Wojcik
                                    Ted is devoted to working on behalf of those harmed by corporate
                                    misconduct, and has experience advocating for individuals in several
                                    contexts.


CONTACT                             CURRENT ROLE
1301 Second Avenue
                                    > Associate, Hagens Berman Sobol Shapiro LLP
Suite 2000
Seattle, WA 98101
                                    EXPERIENCE
(206) 623-7292 office
(206) 623-0594 fax                  > Prior to joining Hagens Berman, Ted served as a clerk to U.S. District Judge Mark H. Cohen, and prior
tedw@hbsslaw.com                      to that, for Judge Marjorie Allard in the Alaska Court of Appeals.

YEARS OF EXPERIENCE                 > During law school, Ted interned for the Alaska Public Defender Agency in Palmer, Alaska, and the
>4                                    New Orleans City Attorney’s Office. He also worked as a student attorney in the landlord/tenant and
                                      immigration legal services clinics, and was an editor for the Yale Law Journal.
BAR ADMISSIONS
> Georgia                           > Before law school, Ted worked for a year as a high school teacher in the Marshall Islands.

CLERKSHIPS                          PERSONAL INSIGHT
> Judge Mark H. Cohen, U.S.
  District Court for the Northern   A Maine native and recent Seattle transplant, Ted is working hard to master the intricacies of composting
  District of Georgia, Atlanta,     and to remember that the ocean lies to the west now, not the east.
  GA, 2016-2018
> Judge Marjorie Allard, Alaska
  Court of Appeals, Anchorage,
  AK, 2015-2016

EDUCATION
> Yale Law School, J.D., 2015
> Dartmouth College, A.B., 2011,
  magna cum laude




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